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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (___)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )

                       MOTION OF DEBTORS FOR ENTRY
               OF AN ORDER (I) APPROVING BIDDING PROCEDURES,
        (II) SCHEDULING CERTAIN DATES AND DEADLINES WITH RESPECT
       THERETO, (III) APPROVING THE FORM AND MANNER OF NOTICE
      THEREOF, (IV) APPROVING THE STALKING HORSE AGREEMENT,
    (V) ESTABLISHING NOTICE AND PROCEDURES FOR THE ASSUMPTION
   AND ASSIGNMENT OF CONTRACTS AND LEASES, (VI) AUTHORIZING
 THE ASSUMPTION AND ASSIGNMENT OF ASSUMED CONTRACTS AND LEASES,
(VII) APPROVING THE SALE OF ASSETS, AND (VIII) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

as follows in support of this motion:2

                                              Preliminary Statement

             1.     In the weeks leading up to the Petition Date, the Debtors commenced a

comprehensive marketing process in pursuit of one or more value-maximizing transactions for

potential sales of all, substantially all, or any portion of the Debtors’ business as a leading national




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.
2     A detailed description of the Debtors and their business, including the facts and circumstances giving rise to the
      Debtors’ chapter 11 cases, is set forth in the Declaration of Michael Prendergast, Interim Chief Executive Officer
      of JOANN Inc., in Support of the Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day
      Declaration”), filed contemporaneously herewith and incorporated by reference herein. Capitalized terms used
      but not otherwise defined herein shall have the meanings ascribed to them in the First Day Declaration, the Interim
      Cash Collateral Order (as defined below), and the Bidding Procedures (as defined below), as applicable.
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retailer of sewing, arts and crafts, and select home décor products. As described more fully in the

First Day Declaration, JOANN has faced significant strategic and operational challenges since

emerging from its pre-packaged chapter 11 cases in 2024 and, since then, has worked to improve

its restock levels and become profitable again. However, before this transition was completed,

JOANN experienced increasingly tight liquidity levels, making it impossible to service its debt

load. Accordingly, JOANN, with the assistance of Centerview Partners, LLC (“Centerview”),

commenced a marketing process to enter into one or more sale transactions that would maximize

the value of the Debtors’ assets beyond their liquidation value.

       2.      Those efforts bore fruit. The Company has received a “stalking horse” agency

agreement in hand with Gordon Brothers Retail Partners, LLC (the “Stalking Horse Bidder,” its

bid, the “Stalking Horse Bid,” and such agency agreement, the “Stalking Horse Agreement”) for

the right to liquidate all of the Debtors’ Assets (as defined below). However, this proposal has not

yet been tested through the crucible of a robust and competitive market check within the

protections of the bankruptcy process. The Debtors plan to utilize the chapter 11 process to

continue its comprehensive, strategic marketing process to solicit higher and better offers than the

Stalking Horse Bid, including potential going concern bids.

       3.      Accordingly, pursuant to this Motion, the Debtors seek to formalize Bidding

Procedures (as defined below) to continue their ongoing third-party marketing process and enter

into one or more transactions, whether that be the Stalking Horse Bid or any bid or combination

of bids that provides greater value to the Debtors’ stakeholders, including a going concern bid.

This path forward will also require the Debtors to comply with certain Milestones negotiated with




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the Debtors’ Prepetition ABL and FILO Lenders, as required by the Interim Cash Collateral Order

and as more fully described herein.3

        4.       The Debtors will continue pursuing and considering all actionable options in

accordance with the Bidding Procedures (as defined below). The Debtors are seeking to sell all of

their assets through one or multiple transactions, to the bidder(s) that present the greatest value

maximizing alternative in aggregate on a going concern or liquidation basis. These assets include,

but are not limited to, the Debtors’ inventory, unexpired leases, executory contracts, equipment,

supplies, intellectual property (including the Debtors’ customer database), insurance proceeds,

prepaid expenses and deposits, and books and records, in each case, free and clear of all liens,

claims, interests, or other encumbrances (collectively, the “Assets”). The bidding procedures

attached to the Bidding Procedures Order (as defined below) as Exhibit 1 (the “Bidding

Procedures”) provide significant flexibility to market the Debtors’ assets in one or multiple

transactions (each, a “Sale Transaction”). If approved, the Bidding Procedures will provide

sufficient time for the Debtors to continue marketing the Assets, receive and evaluate bids, and, at

the Debtors’ discretion, hold an auction or auctions to determine the highest or otherwise best bids

for the Assets as a whole or in component pieces.

        5.       The Debtors commenced these chapter 11 cases with consensual use of Cash

Collateral, granting the Debtors with runway to pursue value-maximizing sale(s) of the Debtors’

Assets. Under the terms of the proposed Interim Cash Collateral Order, the Debtors must satisfy

certain milestones for the sale of their Assets, including:


3   “Interim Cash Collateral Order” means the Interim Order (I) Authorizing the Debtors to Use Cash Collateral,
    (II) Granting Adequate Protection to Prepetition Secured Creditors, (III) Modifying Automatic Stay,
    (IV) Scheduling a Final Hearing, and (V) Granting Related Relief attached as Exhibit A to the Motion of Debtors
    for Entry of Interim and Final Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate
    Protection to Prepetition Secured Creditors, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,
    and (V) Granting Related Relief filed concurrently with the filing of this motion.



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               •     the Bid Deadline must be not later than February 12, 2025;

               •     the Auction, if any, must conclude by February 14, 2025; and

               •     on or before eight days after the conclusion of the Auction, if any, the Debtors
                     shall have obtained an order from the Court approving a Winning Bid that is
                     acceptable to the Prepetition ABL Agent and the Prepetition FILO Agent each
                     in their sole discretion.

       6.      Time is of the essence. As set forth in the First Day Declaration, the Debtors face

significant liquidity constraints which are best addressed through a swift but robust marketing and

sale process, in turn avoiding the value-destructive consequences of protracted chapter 11 cases.

A thorough yet expedited bidding process and consummation of one or more Sale Transactions

are vitally important to the Debtors’ efforts to maximize value. Conversely, if the Bidding

Procedures are not approved or there is any material delay to the proposed sale timeline, then the

Debtors’ ability to maximize value for the benefit of all stakeholders will be jeopardized.

       7.      The Debtors believe it is critical that the sale process be consummated on the

timeline set forth below, which is (a) consistent with the milestones in the Interim Cash Collateral

Order and (b) provides the Debtors with sufficient runway to continue their prepetition marketing

process to secure the highest or otherwise best purchase price possible for some or all of the

Debtors’ Assets. The Bidding Procedures and the related relief requested in this motion are in the

best interests of the Debtors’ estates and their stakeholders. Accordingly, the Debtors respectfully

request that the Court grant this motion.

                                          Relief Requested

       8.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Bidding Procedures Order”):

               (a)      authorizing and approving the Bidding Procedures attached as Exhibit 1 to
                        the Bidding Procedures Order;




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                (b)     approving the terms of the Stalking Horse Agreement attached to the
                        Bidding Procedures Order as Exhibit 2, including the Expense
                        Reimbursement (as defined below), and the Debtors’ designation of the
                        Stalking Horse Bid as a Qualified Bid (as defined below);

                (c)     establishing certain dates and deadlines related thereto and scheduling an
                        auction, if any (the “Auction”);

                (d)     approving the form and manner of notice of the Auction, if any, and the Sale
                        Transactions, attached to the Bidding Procedures Order as Exhibit 3
                        (the “Sale Notice”), and the notices of Winning Bidder(s) (as defined
                        below), attached to the Bidding Procedures Order as Exhibit 4 (the “Notice
                        of Winning Bidder”);

                (e)     approving procedures for the assumption and assignment of the Assigned
                        Contracts (as defined below) in connection with the Sale Transactions
                        (the “Assumption and Assignment Procedures”), and approving the form
                        and manner of the notice thereof, attached as Exhibit 5 to the Bidding
                        Procedures Order (the “Cure Notice”); and

                (f)     granting related relief.

                                       Jurisdiction and Venue

        9.      The United States District Court for the District of Delaware has jurisdiction over

this matter pursuant to 28 U.S.C. § 1334, which was referred to the United States Bankruptcy

Court for the District of Delaware (the “Court”) under 28 U.S.C. § 157 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012.     The Debtors confirm their consent, pursuant to rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

        10.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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       11.       The statutory bases for the relief requested herein are sections 105(a), 363, and 365

of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rules 2002,

6004, 6006, 9007, 9008, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Local Rules 2002–1, 6004–1 and 9013–1.

                                            Background

       12.       JOANN Inc., together with its Debtor and non-Debtor affiliates (collectively,

“JOANN” or the “Company”) is a leading national retailer of sewing, arts and crafts, and select

home décor products. Founded in Cleveland, Ohio, JOANN currently operates in 49 states with

approximately 800 stores and 4 distribution centers. For over 80 years, JOANN has fueled the

creativity and passion of its customers, the sewists, quilters, crocheters, crafters, and creative

enthusiasts, with high quality products and a dedication to customer service.

       13.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

business and managing their property as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. Concurrently with the filing of this motion, the Debtors filed a

motion requesting procedural consolidation and joint administration of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has

been made in these chapter 11 cases, and no official committees have been appointed

or designated.




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                                     The Proposed Sale Process

I.        The Proposed Schedule.

          14.    Pursuant to the Bidding Procedures, the Debtors will solicit the highest or otherwise

best proposals according to the following proposed schedule, subject to Court approval and

availability:

                   Date and Time
                                                                     Event or Deadline
     (all times in the prevailing Eastern Time)
 February 12, 2025, at 5:00 p.m.                  Bid Deadline
                                                  Notice of Winning Bidder and Cancellation of
 February 13, 2025
                                                  Auction (if no Auction)
 February 13, 2025                                Sale Objection Deadline to the Stalking Horse Bid
 February 14, 2025, at 10:00 a.m.                 Auction (if any)
 February 14, 2025, at 10:00 a.m. (subject
                                                  Sale Hearing (if no Auction)
 to Court availability)
 February 15, 2025 (or as soon as
                                                  Notice of Winning Bidder(s) (if there is an Auction)
 reasonably practicable thereafter)
                                                  Sale Objection Deadline for Winning Bid(s) (if there
 February 18, 2025, at 5:00 p.m.
                                                  is an Auction)
 February 22, 2025, at 10:00 a.m. (subject
                                                  Sale Hearing (if there is an Auction)
 to Court availability)

          15.    In addition to the time spent marketing the Assets prepetition, this timeline would

provide the Debtors with an opportunity to conduct a thorough but swift process to market test the

Stalking Horse Bid and solicit additional bids for all Assets, ultimately maximizing the value of

their Assets for the recovery of all stakeholders. The Debtors will utilize the time prior to, and

after, entry of the Bidding Procedures Order to actively market the Assets to expedite the

solicitation of bids for the Assets in advance of the Bid Deadline (as defined below). In light of

the foregoing, the Debtors have determined that the proposed schedule is in the best interests of

the Debtors’ estates, will assist in establishing whether and to what extent a market exists for the



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Assets, provide interested parties with sufficient opportunity to participate in the Sale

Transactions, and ultimately will result in the highest and best bid for the Assets under the

circumstances.        Moreover, the timeline avoids a protracted chapter 11 case that would be

detrimental to maximizing the value of the Assets.

II.       The Stalking Horse Bid and Material Terms of the Stalking Horse Agreement.

          16.      The Debtors also request approval of the Stalking Horse Agreement including the

Expense Reimbursement, and corresponding Stalking Horse Bid, as a Qualified Bid. Having the

flexibility to designate the Stalking Horse Bidder for the Assets will give the Debtors the ability

to maximize the value of the Assets for creditors and other stakeholders by setting the floor at the

Auction, if any, and prompt an efficient marketing process. The ability to designate the Stalking

Horse Bidder is a reasonable and sound exercise of the Debtors’ business judgment and provides

an actual benefit to the Debtors’ estates.

          17.      The following chart summarizes the terms and conditions of the Stalking Horse

Agreement attached to the Bidding Procedures Order as Exhibit 2 and discloses certain information

required pursuant to Local Rule 6004 1:4




4     This summary is provided for the convenience of the Court and parties in interest. To the extent there is any
      conflict between this summary and the Stalking Horse Agreement, the Stalking Horse Agreement shall govern in
      all respects. All references to schedules or sections in the following summary shall refer to schedules or sections
      of the Stalking Horse Agreement. Terms used but not defined in this summary description have the meaning
      ascribed to such term as in the Stalking Horse Agreement.



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  Stalking Horse Agreement                                      Summary Description
          Provision
Stalking Horse Agreement
                                Seller: JOANN, Inc. together with its subsidiaries and affiliates (the “Merchant”)
Parties
                                Agent: Gordon Brothers Retail Partners, LLC (“Agent”)
See Preamble
Assets                          Assets, Avoidance Actions, and Other Causes of Action.
See §§ 1, 5.1(b),               “Assets” means Merchandise, Owned FF&E, Leases, Contracts, all intellectual
                                property rights owned by Merchant, and other real or tangible property.
                                “Merchandise” means all goods owned by Merchant for resale as of the occurrence of
                                the Closing, wherever located, including, for clarity, all goods that are on-order or in-
                                transit as of the Closing, other than Excluded Goods.
                                “Owned FF&E” means the furniture, furnishings, trade fixtures, machinery,
                                equipment, office supplies, Supplies (as defined below), conveyor systems, racking,
                                rolling stock, and other tangible personal property owned by Merchant.
                                “Leases” means any or all of Merchant’s unexpired leases of non-residential real
                                property (together with all amendments, extensions, modifications, and other material
                                documents related thereto).
                                “Contracts” means executory contracts (together with all amendments, extensions,
                                modifications, and other material documents related thereto).
                                “Avoidance Actions” means claims and causes of action arising under chapter 5 of the
                                Bankruptcy Code and similar state law.
                                “Other Causes of Action” means, except as provided for in Section 16.21(d), all other
                                claims and causes of action, including but not limited to commercial tort claims, based
                                on facts and circumstances existing as of the Closing, whether or not theretofore
                                discovered or asserted.
Asset Designation Rights        Upon the occurrence of the Closing, Agent shall have the exclusive right to market
                                and sell, and/or otherwise designate the purchasers, transferees, and/or assignees of
See § 15.2
                                (which may in certain circumstances be Agent, any of the entities comprising Agent,
                                any of their respective affiliates, and/or a new entity created by any of the foregoing),
                                any or all of the Assets free and clear of all liens, claims, and encumbrances thereon
                                (other than Permitted Encumbrances), without further order of the Bankruptcy Court
                                (the “Asset Designation Rights”). Agent is authorized to execute, in the name of and
                                as agent for Merchant, any and all deeds, bills of sale, and other instruments or
                                documents necessary to effectuate the sale, transfer, or other conveyance of any of the
                                Assets, none of which instruments or documents shall require Merchant to incur any
                                obligations or other liabilities beyond the terms of this Agreement.
Sale of Unexpired Leases Free   Upon the occurrence of the Closing and until the earlier to occur of (i) the end of the
and Clear                       Lease/Contract Designation Rights Period applicable to a particular Lease or Contract
                                and (ii) May 31, 2025 (as may be amended by written agreement of the Parties,
Local Bankr. R.
                                the “Designation Rights Termination Date”), Agent shall have the exclusive right to
6004-1(b)(iv)(M)
                                designate the purchasers, assignees, sublessees, or other transferees of Merchant’s
See § 15.1                      right, title, and interest in and to any or all of the Leases and Contracts
                                (the “Lease/Contract Designation Rights”) upon the terms and conditions agreed upon
                                between Agent and such designee.

                                Merchant shall cooperate reasonably with Agent to arrange for the sale, sublease,
                                assignment, and other transfer, as applicable, of the Leases and Contracts, with such


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  Stalking Horse Agreement                                  Summary Description
          Provision
                             sale and assignment to be on such terms as Agent deems acceptable in its sole and
                             absolute discretion. Without limiting the generality of the foregoing, Merchant agrees
                             (1) to provide Agent with all due diligence materials and information as Agent shall
                             reasonably request in connection with its efforts to market and attempt to sell or
                             otherwise dispose of the Leases and Contracts (including complete copies thereof and
                             any abstracts prepared with respect thereto, and all communications with the
                             counterparties thereunder, all property surveys, all environmental reports and tax and
                             utility records), with Agent to bear all reasonable third party out-of-pocket costs and
                             expenses relating thereto, in all cases to the extent reasonably available to Merchant,
                             and (2) to cooperate with Agent, its agents, and any potential purchasers assignees,
                             sublessees, or other transferees of any of the Leases and/or Contracts.

                             Solely to the extent requested by Agent, Merchant shall exercise renewal and/or
                             extension options under the Leases and Contracts.

                             At any time prior to the end of the Lease/Contract Designation Rights Period
                             applicable to a particular Lease or Contract, Agent shall have the right, which right
                             may be exercised at any time and from time to time, to file a Lease/Contract
                             Assumption Notice in the Bankruptcy Cases designating the purchasers, assignees,
                             sublessees, or other transferees (which may in certain circumstances be Agent, any of
                             the entities comprising Agent, any of their respective affiliates, and/or a new entity
                             created by any of the foregoing) of one or more Leases and/or Contracts (which may
                             occur without further order of the Bankruptcy Court pursuant to the Approval Order)
                             and setting forth the proposed cure amount due pursuant to section 365 of the
                             Bankruptcy Code. The Approval Order shall provide that (a) the counterparties to the
                             Leases or Contracts identified in any Lease/Contract Assumption Notice shall have
                             ten (10) days to object to the proposed assumption and assignment, (b) if no objection
                             to the proposed assumption and assignment of a Lease or Contract is timely received,
                             such Lease or Contract shall, upon payment of the applicable cure payment, if any, to
                             the applicable counterparty, automatically be deemed assumed by Merchant and sold,
                             assigned, or otherwise transferred to the purchasers, assignees, or other transferees
                             identified in the Lease/Contract Assumption Notice pursuant to sections 363 and 365
                             of the Bankruptcy Code, without further order of the Bankruptcy Court or further
                             action by any person or entity, and (c) if an objection to the proposed assumption and
                             assignment of a Lease or Contract is timely received, such Lease or Contract shall not
                             be assumed or assigned until such objection is resolved by agreement of the applicable
                             counterparty or order of the Bankruptcy Court.
                             The designee under any Lease/Contract Assumption Notice shall be required, if
                             requested by the applicable counterparty, to provide adequate assurance of future
                             performance with respect to such Lease or Contract if the applicable counterparty so
                             requests. Merchant shall have no responsibility for any cure amounts with respect to
                             any Lease or Contract assumption and assignment.
Purchase Price               “Purchase Price” means (a) the Debt Payoff; (b) the Wind-Down Payments; (c)
                             Central Services Payments, and (d) Expenses.
See § 3.1




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  Stalking Horse Agreement                                   Summary Description
          Provision
Wind-Down Funding            At Closing, Agent shall make an initial cash payment to Merchant equal to sixty-five
                             percent (65%) of the Wind-Down Budget (the “Initial Wind-Down Payment”).
See § 3.1(b)
                             Thirty (30) days after the Closing, Agent shall make a second cash payment to
                             Merchant equal to thirty-five percent (35%) of the Wind-Down Budget (the “Second
                             Wind-Down Payment” and, together with the Initial Wind-Down Payment, the
                             “Wind-Down Payments”). The Wind-Down Payments shall not exceed the amount
                             set forth in Exhibit 3.1(b) (the “Wind-Down Budget”); provided, however, that, solely
                             with respect to the 503(b)(9) Claim subcategory of the Wind-Down Budget, any
                             amounts that have not been expended by Merchant as of the Designation Rights
                             Termination Date shall be returned to Agent upon the earlier of (i) the dismissal or
                             conversion of the Bankruptcy Cases; or (ii) the effective date of a plan of liquidation
                             of Merchant. With respect to the 503(b)(9) Claim subcategory, Merchant agrees not
                             to make any payments until the date that is 60 days from the Closing (unless extended
                             upon mutual agreement between Merchant and Agent). Merchant shall keep Agent
                             informed on a timely basis of its efforts to reconcile 503(b)(9) claims and shall use
                             best efforts to negotiate settlements with respect to the 503(b)(9) claims, in
                             consultation with Agent.
Consideration to Agent       Upon the occurrence of the Closing and following the satisfaction of the Initial
                             Purchase Price Funding, all Proceeds (including proceeds from Additional Agent
See § 3.2
                             Merchandise) shall be the exclusive property of Agent.
                             Merchant shall hold all of the Assets in trust for the benefit of Agent. Any Proceeds
                             received by, or that otherwise come into the possession of, Merchant at any time after
                             the Closing shall be segregated and held strictly in trust for the benefit of Agent, shall
                             not be commingled with Merchant’s own assets, shall not become property of
                             Merchant’s bankruptcy estate, and shall be paid over to Agent promptly upon receipt
                             by Merchant or upon notice received by Merchant from Agent, but in any event no
                             later than the Weekly Sale Reconciliation.
                             To the extent that there is Merchandise remaining at the Sale Termination Date
                             (the “Remaining Merchandise”), such Remaining Merchandise shall be deemed
                             automatically transferred to Agent free and clear of all liens, claims, and
                             encumbrances (other than Permitted Encumbrances). Agent and its affiliates shall be
                             authorized to sell or otherwise dispose of the Remaining Merchandise with all logos,
                             brand names, and other Intellectual Property intact, and shall be authorized to
                             advertise the sale of the Remaining Merchandise using the Intellectual Property.
Expenses                     Subject to and only upon Closing, Agent shall be responsible for all “Expenses,”
                             which shall be paid by Agent in accordance with Section 4.3 below. As used herein,
See § 4
                             “Expenses” shall mean the actual operating expenses that arise solely after Closing
                             through the Sale Termination Date, that are incurred at the direction of the Agent, to
                             facilitate Agent’s conduct under this Agreement, or otherwise as agreed to by the
                             Agent in writing, which are strictly limited to the following expenses:

                                     (a) actual hourly or salaried payroll, as applicable, with respect to all
                             Retained Employees and any temporary labor engaged for the GOB Sale that are used
                             in connection with conducting the GOB Sale for actual days/hours worked;

                                      (b) any amounts related to (i) benefits arising, accruing or attributable to
                             the period between the Closing and the Sale Term: (w) vacation days or vacation pay,
                             (x) sick days or sick leave or any other form of paid time off, (y) maternity leave or



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Stalking Horse Agreement                                  Summary Description
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                           other leaves of absence, and (z) ERISA coverage and similar contributions, and
                           (ii) any amounts payable by Merchant for benefits (including FICA, unemployment
                           taxes, workers’ compensation and healthcare insurance, but excluding Excluded
                           Payroll Benefits) for Retained Employees used in the GOB Sale (the “Payroll
                           Benefits”);

                                  (c) subject to Section 6.1, the actual Occupancy Expenses in the amounts
                           shown on Exhibit 4.1(c);

                                    (d) Retention Bonuses, if applicable, for Retained Employees, as provided
                           for in Section 9.4;

                                   (e) advertising and direct mailings initiated by Agent relating to the GOB
                           Sale, Store interior and exterior signage and banners procured by Agent, and sign-
                           walkers or drivers procured by Agent, in each case relating to the GOB Sale;

                                   (f)   credit card fees, bank card fees, and chargebacks and credit/bank card
                           discounts with respect to Merchandise sold in the GOB Sale;

                                    (g) bank service charges (for Store, corporate accounts, and Agency
                           Accounts), check guarantee fees, and bad check expenses to the extent directly
                           attributable to the GOB Sale;

                                 (h) costs for additional Supplies at the Stores necessary to conduct the
                           GOB Sale as solely to the extent requested by Agent;

                                   (i)   all fees and charges required to comply with applicable laws in
                           connection with the GOB Sale solely to the extent agreed to by Agent;

                                   (j)    Store cash theft and other Store cash shortfalls in the registers;

                                    (k) any Central Services Expenses in excess of the Central Services Budget
                           to the extent such expenses are incurred at the direction of the Agent, to facilitate
                           Agent’s conduct under this Agreement, or otherwise as agreed to by the Agent
                           in writing;

                                   (l)    the Distribution Center Expenses;

                                    (m) postage, courier and overnight mail charges requested by Agent to the
                           extent relating to the GOB Sale;

                                   (n)    third party payroll processing expenses associated with the GOB
                           Sale; and

                                    (o) costs of transfers initiated by Agent of Merchandise and Additional
                           Agent Merchandise between and among the Stores and Distribution Centers during
                           the Sale Term, including delivery and freight costs, it being understood that Agent
                           shall be responsible for coordinating such transfer of Merchandise.




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  Stalking Horse Agreement                                  Summary Description
          Provision
                                      (p) Subject to and only upon entry of the Approval Order, Agent shall be
                             responsible for the payment of all Expenses out of Proceeds (or from Agent’s own
                             accounts if and to the extent there are insufficient Proceeds). All Expenses incurred
                             during each week of the GOB Sale (i.e. Sunday through Saturday) shall be paid by
                             Agent to or on behalf of Merchant, or paid by Merchant and thereafter reimbursed by
                             Agent as provided for herein; provided, however, in the event that the actual amount
                             of an Expense is unavailable on the date of the reconciliation (such as payroll),
                             Merchant and Agent shall agree to an estimate of such amounts, which amounts will
                             be reconciled once the actual amount of such Expense becomes available. To the
                             extent necessary or appropriate, Agent shall work with Merchant in good faith to fund
                             Expenses in advance as needed to ensure the timely payment thereof. Agent and/or
                             Merchant may review or audit the Expenses at any time. To the extent such Expenses
                             are paid by Merchant, Merchant shall provide Agent with payments that Merchant
                             intends to issue for such Expenses at least one business day before issuance, which
                             register shall identify amounts and expense categories of such payments.

GOB Sale Term                Subject to satisfaction of the conditions precedent set forth in Section 10 hereof, the
                             GOB Sale shall commence at each Store on a date determined by Agent in its sole
See § 6.1
                             discretion after the occurrence of the Closing (the “Sale Commencement Date”) and
                             shall end at each Store no later than May 31, 2025 (the “Sale Termination Date”, and
                             the period from the Sale Commencement Date to the Sale Termination Date as to each
                             Store being the “Sale Term”). Agent may, in its discretion, earlier terminate the GOB
                             Sale on a Store-by-Store basis or close a Distribution Center, upon written notice to
                             Merchant at least five (5) days prior to the end of a calendar month (a “Vacate Notice”)
                             and vacate such Store or Distribution Center, in accordance with Section 6.2, by the
                             end of such calendar month (the “Vacate Date”); provided, however, that Agent’s
                             obligations to pay all Expenses, including Occupancy Expenses, for each Store or
                             Distribution Center, as applicable, subject to a Vacate Notice shall continue only until
                             the applicable Vacate Date.

Conduct of the GOB Sale      Agent shall be permitted to conduct the GOB Sale as a “going out of business,” “store
                             closing,” “sale on everything,” “everything must go,” or similarly themed sale
See § 8.1–8.2
                             throughout the Sale Term without compliance with any Liquidation Sale Laws, subject
                             to the Approval Order. Agent shall conduct the GOB Sale in the name of and on behalf
                             of Merchant in a commercially reasonable manner and in compliance with the terms
                             of this Agreement and Applicable General Laws and subject to the Approval Order.
                             Agent shall conduct the GOB Sale in accordance with the sale guidelines attached
                             hereto as Exhibit 8.1 (the “Sale Guidelines”). In addition to any other rights granted
                             to Agent hereunder in conducting the GOB Sale, Agent shall have the right:

                                     (a)      to establish GOB Sale prices and discounts and Store hours;

                                      (b)      except as otherwise expressly included as an Expense, to use without
                             charge during the Sale Term all FF&E, IT Systems, existing Supplies, intangible assets
                             (including Merchant’s name, logo and tax identification numbers and, other
                             Intellectual Property), Store keys, case keys, security codes and safe and lock
                             combinations required to gain access to and operate the Stores, and any other assets of
                             Merchant located at the Stores or Distribution Centers (whether owned, leased, or
                             licensed), solely to the extent such use does not violate any Applicable General Law;




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  Stalking Horse Agreement                                   Summary Description
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                                     (c)        (i) subject to satisfaction of Agent’s payment obligations under this
                             Agreement, to be provided by Merchant with central office facilities, central
                             administrative services and personnel to process and perform Central Services and
                             provide other central office services reasonably necessary for the GOB Sale; (ii) to use
                             reasonably sized offices located at Merchant’s central office facility to effect the GOB
                             Sale; and (iii) to use all customer lists, mailing lists, email lists, and web and social
                             networking sites and other Intellectual Property utilized by Merchant in connection
                             with its business (to the extent such items can be segregated to the Stores or
                             Distribution Centers and solely in connection with the GOB Sale and subject to
                             Applicable General Laws and any other restrictions requested by Merchant in order
                             for Merchant and Agent to comply with Merchant’s privacy policies, contracts,
                             agreements, or applicable laws governing the use and dissemination of personal or
                             confidential information, including consumer personal data);

                                      (d)    to establish and implement advertising, signage and promotion
                             programs consistent with the “going out of business,” “store closing,” “sale on
                             everything,” “everything must go,” or similarly themed sale, including without
                             limitation by means of media advertising, and similar interior and exterior signs and
                             banners, and the use of sign walkers or drivers, each at Agent’s sole cost as an
                             Expense;

                                    (e)      to include Additional Agent Merchandise in the GOB Sale in
                             accordance with Section 8.9; and

                                     (f)      to transfer Merchandise between and among the Stores and
                             Distribution Centers.

                             During the Sale Term, all sales of Merchandise and Additional Agent Merchandise
                             will be “final sales” and “as is,” and appropriate signage and sales receipts will reflect
                             the same. Agent shall not warrant the Merchandise in any manner, but will, to the
                             extent legally permissible, pass on all manufacturers’ warranties to customers. Except
                             as otherwise provided herein, during the Sale Term, all sales will be made only for
                             cash or nationally recognized bank credit or debit cards. Upon entry of the Approval
                             Order, Agent shall not accept or honor coupons during the Sale Term. Agent shall
                             clearly mark all receipts for the Merchandise sold at the Stores during the Sale Term
                             so as to distinguish the sale of such Merchandise from the goods sold prior to the Sale
                             Commencement Date.

Employee Matters             Subject to the Central Services Budget and payment of Expenses, Agent may use
                             Merchant’s employees in the conduct of the GOB Sale to the extent Agent deems
See § 9.1
                             necessary for the GOB Sale, and Agent may select and schedule the number and type
                             of Merchant’s employees required for the GOB Sale. Agent shall identify any such
                             employees to be used in connection with the GOB Sale (each such employee, a
                             “Retained Employee”) prior to the Sale Commencement Date. Notwithstanding the
                             foregoing, Merchant’s employees shall at all times remain employees of Merchant.
                             Agent’s selection and scheduling of Merchant’s employees shall at all times comply
                             with all applicable collective bargaining agreements, laws and regulations. Merchant
                             and Agent agree that, except to the extent that wages and benefits of Retained
                             Employees constitute Expenses hereunder, nothing contained in this Agreement and
                             none of Agent’s actions taken in respect of the GOB Sale shall be deemed to constitute



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                             an assumption by Agent of any of Merchant’s obligations relating to any of Merchant’s
                             employees including, without limitation, Worker Adjustment Retraining Notification
                             Act (“WARN Act”) claims and other termination type claims and obligations, or any
                             other amounts required to be paid by statute or law; nor shall Agent become liable
                             under any employment agreement, collective bargaining agreement, or be deemed a
                             joint or successor employer with respect to such employees. For the avoidance of
                             doubt, Merchant shall be responsible for providing any required notice under the
                             WARN Act or state laws with respect to its employees and otherwise comply with the
                             WARN Act or state laws with respect to any “plant closing” or “mass layoff” (as
                             defined in the WARN Act) or group termination or similar event affecting the
                             employees, whether before or after the date of this Agreement. Merchant shall not,
                             without the prior consent of Agent, raise the salary or wages or increase the benefits
                             for, or pay any bonuses or other extraordinary payments to, any Store or Distribution
                             Center employees prior to the Sale Termination Date. Merchant shall not transfer any
                             employee in anticipation of the GOB Sale nor any Retained Employee during the Sale
                             Term, in each case without Agent’s prior consent, not to be unreasonably withheld.
                             To the extent reasonably requested in writing by Agent, and at Agent’s expense,
                             Merchant shall use commercially reasonable efforts to hire additional temporary
                             employees to facilitate the GOB Sale, which employees shall constitute Retained
                             Employees for purposes of this Agreement.

Excluded Assets & Record     “Excluded Assets” means:
Retention
                                       (a) all documents prepared or received by Merchant or any of its affiliates
Local Bankr. R.
                             or on their behalf in connection with the sale of the Assets, this Agreement or the other
6004-1(b)(iv)(J)
                             Agency Documents, the transactions contemplated by this Agreement, or the
See § 16.21(d)               Bankruptcy Case, including (a) all records and reports prepared or received by
                             Merchant or any of its Affiliates or representatives in connection with the sale of the
                             Assets or the transactions contemplated by this Agreement, including all analyses
                             relating to the business of Merchant or any of its Affiliates so prepared or received,
                             (b) all bids and expressions of interest received from third parties with respect to the
                             acquisition of any of Merchant’s or any of its Affiliates’ businesses or assets, (c) all
                             privileged materials, documents and records of Merchant or any of its Affiliates,
                             (d) copies of the documents, materials and data related to liabilities prior to the
                             Closing, (e) confidentiality agreements with prospective purchasers of the Assets, and
                             (f) any other files or records to the extent relating to any Excluded Assets or liabilities
                             or the Bankruptcy Case;

                                      (b) all current and prior insurance policies or employee benefit plans of
                             Merchant or any of its Affiliates, including for the avoidance of doubt all director and
                             officer insurance policies, and all rights and benefits of any nature of Merchant or any
                             of its Affiliates with respect thereto, including all insurance recoveries thereunder and
                             rights to assert claims with respect to any such insurance recoveries;

                                     (c)    all equity interests;

                                     (d) Merchant’s claims, causes of action or other rights under this
                             Agreement, including the Purchase Price, or any agreement, certificate, instrument, or
                             other document executed and delivered between Merchant or its Affiliates and Agent
                             or any of its Affiliates or designees in connection with the transactions contemplated



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  Stalking Horse Agreement                                    Summary Description
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                             by this Agreement, or any other agreement between Merchant or any of its Affiliates
                             and Agent or any of its Affiliates or designees entered into on or after the date hereof;

                                      (e) all claims and causes of action contemplated to be released pursuant to
                             the consummation of a plan of liquidation of Merchant, against Merchant’s related
                             parties only, notwithstanding anything contrary in this Agreement;

                                      (f)    the Funded Reserve Account, as defined in the Cash Collateral Order;

                                      (g)    all liabilities or other amounts owing from Merchant or any of its
                             Affiliates;

                                      (h)    all IT Systems; and

                                      (i)     tax attributes of Merchant and its Affiliates other than those transferring
                             to Agent by operation of applicable tax law, and other than refunds that do not offset
                             tax liabilities of Merchant or that otherwise result in cash payments to Merchant.

Representations and          Customary representations and warranties by Agent and Merchant, including but not
Warranties                   limited to a representation by Agent that it has, and will have at the Closing, sufficient
See § 11                     funds in an aggregate amount necessary to pay the Purchase Price and any Expenses,
                             to perform their obligations as they become due in accordance with their terms and to
                             consummate all of the other transactions, including the payment of the Purchase Price
                             and all fees, expenses of, and other amounts required to be paid by, Agent in
                             connection with the transactions.
Agent’s Security Interest    Upon the occurrence of the Closing and satisfaction of the Debt Payoff, Agent is
See § 14                     hereby granted first priority, senior security interests in and liens upon all Assets, all
                             Proceeds, and any proceeds thereof, which security interests and liens shall be deemed
                             by the Approval Order to be automatically perfected. The Approval Order shall grant
                             Agent relief from the automatic stay, and nothing in the Approval Order shall inhibit
                             Agent’s ability, to take any action Agent deems appropriate to perfect such security
                             interests and liens. From and after the Closing, the Merchant shall not grant any other
                             party any security interests in or liens upon the Assets, Proceeds, or proceeds thereof.
                             Any security interests in or liens upon the Assets prior to the Closing and satisfaction
                             of the Debt Payoff shall attach to the Purchase Price as of the Closing.

                             Upon the occurrence of the Closing and until all Assets have been sold or otherwise
                             disposed of, Agent shall have a superpriority administrative expense claim against
                             Merchant, which is senior to all other administrative expenses (including any other
                             superpriority –administrative expense claims) to the extent of any amounts owing
                             from Merchant to Agent in connection with this Agreement, including as a result of
                             any breach of this Agreement.
Agent Dropout Rights         At any time prior to the expiration of the Lease/Contract Designation Rights Period or
See §15.3                    the Designation Rights Termination Date (as applicable), Agent shall have the right,
                             upon five (5) days’ written notice (the “Dropout Notice Period”), which right may be
                             exercised at any time and from time to time in Agent’s sole and absolute discretion, to
                             provide notice to Merchant (each such notice, a “Dropout Notice”) of Agent’s election
                             to discontinue its efforts to market and attempt to sell, assign, transfer, license,
                             designate the acquirer or purchaser, or otherwise dispose of any Asset (each,


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  Stalking Horse Agreement                                  Summary Description
          Provision
                             a “Dropout Asset” and, collectively, the “Dropout Assets”). Upon the effective date
                             of any Dropout Notice, (i) Agent shall have no further obligation or liability with
                             respect to the subject Dropout Asset, and (ii) Merchant shall thereafter be solely
                             responsible for all such Dropout Asset(s) from and after the effective date of the
                             Dropout Notice. Upon expiration of the Dropout Notice Period, all rights to the
                             Dropout Assets shall revert to Merchant, and Merchant may dispose of such Dropout
                             Asset in such manner as Merchant may elect, and one hundred percent (100%) of all
                             proceeds realized upon a disposition of such Dropout Asset shall be the exclusive
                             property of Merchant (and shall not constitute Proceeds). The delivery of a Dropout
                             Notice shall not result in a reduction of the Purchase Price payable hereunder. Prior
                             to the expiration of the Dropout Notice Period, the Agent, in its sole and absolute
                             discretion, may withdraw any Dropout Notice upon written notice to Merchant.
                             Effective upon the conclusion of the Designation Rights Termination Date, and
                             without any further act by or on behalf of the Agent (such date, the “Deemed Drop
                             Out Date”), Agent shall be deemed to have provided Merchant with a Dropout Notice
                             (the “Deemed Drop Out Notice”) for all remaining Assets (other than Assets that were
                             subject to a prior Asset Designation Notice, which Deemed Drop Out Notice shall be
                             deemed effective as of the Deemed Drop Out Date).
Agent Indemnification        Agent shall indemnify Merchant (and their respective estates) for up to
See § 13.7(b)                $10,000,000.00 on account of any Administrative Expense Claim or Priority Tax
                             Claim attributable to the tax consequences associated with the elimination or
                             cancellation of, transfer of, or withdrawal from the Key Man Insurance Policy
                             Program provided for under certain Pre-1986 Corporate Owned Life Insurance
                             policies issued in 1984 and 1985 by Provident Life and Accident Insurance Company
                             (the “Key Man Insurance Policies” and any associated tax liability, the “Key Man
                             Insurance Tax Liability”) upon the tax becoming payable to the relevant taxing
                             authority. Merchant shall use best efforts to, and reasonably cooperate with, Agent and
                             its professionals in efforts to, mitigate and/or offset the amount of any Key Man
                             Insurance Tax Liability, including by evaluating the availability of any tax attributes
                             that could reduce or eliminate the Key Man Insurance Tax Liability, considering the
                             appropriate classification of any Key Man Insurance Tax Liability, considering
                             structuring alternatives to monetize the Key Man Insurance Policies or otherwise
                             preventing any Key Man Insurance Tax Liability from arising. For the avoidance of
                             doubt, Agent shall be entitled to the net proceeds (if any), after payment of any
                             associated tax liability, of the Key Man Insurance Policies, including if such proceeds
                             become due and payable prior to the Merchant’s withdrawal.
Sale to Insider              N/A
Local Bankr. R.
6004-1(b)(iv)(A)
Agreements with Management   N/A
Local Bankr. R.
6004-1(b)(iv)(B)
Releases                     N/A
Local Bankr. R.
6004-1(b)(iv)(C)




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  Stalking Horse Agreement                                      Summary Description
          Provision
Private Sale / No Competitive   The Debtors have proposed an open Auction and sale process.
Bidding
Local Bankr. R.
6004-1(b)(iv)(D)
Closing and Other Deadlines     Closing shall occur by February 14, 2025.
Local Bankr. R.
6004-1(b)(iv)(E)
See § 10(a)
Good Faith Deposit              N/A
Local Bankr. R.
6004-1(b)(iv)(F)
Interim Arrangements with       N/A
Proposed Agent
Local Bankr. R.
6004-1(b)(iv)(G)
Use of Proceeds                 On the Closing Date, in accordance with payoff letters by each of the ABL Agent (the
Local Bankr. R.                 “ABL Payoff Letter”) and FILO Agent (the “FILO Payoff Letter” and, together with
6004-1(b)(iv)(H)                the ABL Payoff Letter, the “Payoff Letters”) in form and substance satisfactory to
                                each such party, Agent shall:
See § 3.1(a)
                                         (a) to the ABL Agent, for the benefit of the ABL Lenders, and certain other
                                persons as directed in the ABL Payoff Letter, (a) pay the amount in cash necessary to
                                indefeasibly pay in full in cash all Prepetition Revolving Obligations (as defined in
                                the Cash Collateral Order), including, without limitation, all outstanding principal,
                                accrued interest, fees, costs and expenses (including, without limitation, all attorneys’
                                fees, costs and expenses), and (b) provide and/or post cash collateral for (and/or
                                replacement of) any issued and outstanding letters of credit (in form and substance
                                acceptable the Prepetition ABL Agent), in each case in accordance with and as set
                                forth in the ABL Payoff Letter (such amounts and other consideration, the “ABL
                                Payoff”); and

                                        (b) pay to the FILO Agent, for the benefit of the FILO Lenders, and certain
                                other persons as directed in the FILO Payoff Letter, the amount in cash necessary to
                                indefeasibly pay in full in cash all Prepetition FILO Obligations (as defined in the
                                Cash Collateral Order), including, without limitation, all outstanding principal,
                                accrued interest, fees, costs and expenses (including, without limitation, all attorneys’
                                fees, costs and expenses) and make whole obligations, all as set forth in the FILO
                                Payoff Letter (such amounts and other consideration, the “FILO Payoff” and, together
                                with the ABL Payoff, the “Debt Payoff”).

Tax Exemption                   N/A
Local Bankr. R.
6004-1(b)(iv)(I)
Sale of Avoidance Actions       Agent and its designees are granted derivative standing to pursue the Avoidance
                                Actions (subject to Section 11.2(f)) and Other Causes of Action in the name of and/or


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  Stalking Horse Agreement                                     Summary Description
          Provision
Local Bankr. R.                  on behalf of Merchant.
6004-1(b)(iv)(K)
See § 2(b)(xxviii)
Requested Findings as to         Neither Agent nor any entity comprising Agent is or shall be a mere continuation of
Successor Liability              Merchant or otherwise subject to successor liability in connection with any of the
Local Bankr. R.                  Assets.
6004-1(b)(iv)(L)
See § 2(b)(xxx)
Credit Bid                       N/A
Local Bankr. R.
6004-1(b)(iv)(N)
Relief from Bankruptcy Rule      The Debtors have requested a waiver of the fourteen-day stay under Bankruptcy
6004(h)                          Rule 6004(h).
Local Bankr. R.
6004-1(b)(iv)(O)


     III.      The Bidding Procedures.

               18.    The Debtors developed and proposed the Bidding Procedures, attached as Exhibit 1

     to the Bidding Procedures Order, to solicit, receive, and evaluate bids in a fair, accessible, and

     expeditious manner. The Bidding Procedures facilitate the continuation of the marketing process

     and are designed to permit an efficient, competitive, and value-maximizing sale process for the

     Assets.

               19.    The Bidding Procedures will provide potential bidders with ample notice and time

     to conduct thorough due diligence (most of which started prepetition) and to submit binding bids

     in advance of the Auction, if any. The Bidding Procedures are designed to encourage all

     prospective bidders to put their best bid forward, effectuate an expeditious, value-maximizing

     process with minimal disruption, and create a path towards consummation of the Sale Transactions

     and the highest or otherwise best available recoveries for the Debtors’ stakeholders. The proposed

     Bidding Procedures are in the best interests of all stakeholders and should be approved.



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              20.      The following describes the salient points of the Bidding Procedures and discloses

    certain information required pursuant to Local Rule 6004-1:5

        Requirement                                                    Description
Submissions to the            All submissions to the Debtors required or permitted to be made under the Bidding
Debtors; Consultation         Procedures must be directed to each of the following persons or entities unless otherwise
Parties                       provided:

                                   A. Debtors: JOANN Inc., Attn.: Ann Aber, EVP, Chief Legal and Human
                                      Resources Officer (ann.aber@joann.com).

                                   B. Debtors’ Proposed Counsel: (i) Kirkland & Ellis LLP, 601 Lexington Avenue,
                                      New York, New York 10022, Attn.: Aparna Yenamandra, P.C.
                                      (aparna.yenamandra@kirkland.com), Kirkland & Ellis LLP, 333 West Wolf Point
                                      Plaza,     Chicago,     Illinois    60654,    Attn.:     Jeffrey   Michalik
                                      (jeff.michalik@kirkland.com),         and         Lindsey        Blumenthal
                                      (lindsey.blumenthal@kirkland.com); and (ii) Cole Schotz P.C., 500 Delaware
                                      Avenue, Suite 1410, Wilmington, Delaware 19801, Attn.: Patrick J. Reilley
                                      (preilley@coleschotz.com), Stacy L. Newman (snewman@coleschotz.com),
                                      Michael E. Fitzpatrick (mfitzpatrick@coleschotz.com), and Jack M. Dougherty
                                      (jdougherty@coleschotz.com).

                                   C. Debtors’ Proposed Investment Banker: Centerview Partners, LLC, 31 West 52nd
                                      Street, 22nd Floor, New York, New York 10019, Attn.: Ryan Kielty
                                      (rkielty@centerview.com), Karn Chopra (kchopra@centerview.com), and Daniel
                                      Bendetson (dbendetson@centerview.com).

                                   D. Prepetition ABL Agent: (i) Morgan, Lewis & Bockius LLP, One Federal Street,
                                      Boston, Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter
                                      (marjorie.crider@morganlewis.com and christopher.carter@morganlewis.com),
                                      and (ii) Reed Smith LLP, 1201 North Market Street, Suite 1500, Wilmington,
                                      Delaware 19801, Attn: Kurt F. Gwynne and Jason D. Angelo
                                      (kgwynne@reedsmith.com and jangelo@reedsmith.com).

                                   E. Prepetition FILO Agent: (i) Choate Hall & Stewart LLP, 2 International Place,
                                      Boston, Massachusetts 02110, Attn: John Ventola (jventola@choate.com) and
                                      Jonathan Marshall (jmarshall@choate.com) and (ii) DLA Piper LLP (US) 1201 N
                                      Market St. Suite 2100, Wilmington, Delaware 19801, Stuart Brown
                                      (stuart.brown@us.dlapiper.com).

                                   F. Prepetition Term Loan Agent: ArentFox Schiff LLP, 1301 Avenue of the
                                      Americas, 42nd Floor, New York, New York 10019, Attn: Jeffrey Gleit



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          The following summary is provided for convenience purposes only and is qualified in its entirety by the Bidding
          Procedures. Because the Bidding Procedures are attached as Exhibit 1 to the Bidding Procedures Order, they are
          not restated in their entirety herein. To the extent any of the terms described below are inconsistent with the
          Bidding Procedures, the Bidding Procedures control in all respects. Capitalized terms used in this summary but
          not defined herein shall have the meanings ascribed to them in the Bidding Procedures.



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        Requirement                                                    Description
                                       (jeffrey.gleit@afslaw.com), Jonathan Bagg (jonathan.bagg@afslaw.com), and
                                       Matthew Bentley (matthew.bentley@afslaw.com).

                              The “Consultation Parties” are (A) the Prepetition ABL Agent and the Prepetition FILO
                              Agent, and (B) any statutory committee appointed in these cases (the “Committee”);
                              provided that any Consultation Party, including any member of the Committee, who submits
                              a Bid (as defined below), including a Credit Bid, for any Assets in connection with these
                              Bidding Procedures, or is a participant in any active Bid with respect to any Asset(s), shall
                              immediately no longer be a Consultation Party with respect to the evaluation and
                              qualification of competing Bids for the Assets included in their Bid or with respect to seeking
                              and/or obtaining information about other Bids, unless and until such party unequivocally
                              revokes its Bid and waives its right to continue in the bidding process, but shall remain a
                              Consultation Party for other purposes set forth in these Bidding Procedures; provided,
                              further, that immediately upon any Consultation Party’s secured debt (as applicable) being
                              indefeasibly paid in full in cash, such Consultation Party shall immediately no longer be a
                              Consultation Party under these Bidding Procedures.6 Materials and information provided by
                              the Debtors or their advisors to the advisors to any Consultation Party may be shared with
                              such Consultation Party, subject in all respects to these Bidding Procedures, the Bidding
                              Procedures Order, and the respective Confidentiality Agreement entered into by and among
                              or otherwise agreed to between each such Consultation Party and the Debtors.

                              The Debtors shall consult with the Consultation Parties in good faith regarding the sale
                              process for the Assets and the Sale Transactions, including evaluation of any and all Bids,
                              scheduling and operation of the Auction (if applicable), selection of a Winning Bid (as
                              defined below), negotiation of the purchase agreement or agency agreement, as applicable,
                              as well as any modifications of these Bidding Procedures. The Debtors shall also provide to
                              the Consultation Parties and their advisors regular reports concerning the sale process,
                              including parties contacted, proposals received, and any due diligence requested by potential
                              purchasers.

Potential Bidders &           To participate in the bidding process or otherwise be considered for any purpose under these
Acceptable Bidders            Bidding Procedures, a person or entity interested in consummating a Sale Transaction
                              (a “Potential Bidder”) must deliver or have previously delivered to the Debtors and each of
                              their advisors the following documents and information (unless the Debtors, in their
                              reasonable business judgment after consultation with the Consultation Parties, choose to
                              waive any of the requirements set forth in this Section 4 for any Potential Bidder):

                                  A. an executed confidentiality agreement on terms acceptable to the Debtors
                                     (a “Confidentiality Agreement”);

                                  B. sufficient information that the Potential Bidder has or can reasonably obtain the
                                     financial capacity to close a purchase of the targeted assets, the adequacy of which




    6     If any Prepetition ABL and FILO Lender submits a Bid or otherwise is a participant with respect to any active
          Bid, the other Prepetition ABL and FILO Lenders shall remain Consultation Parties; provided that such bidding
          Prepetition ABL and FILO Lender shall be precluded from receiving or reviewing information or documentation
          not otherwise available to all Acceptable Bidders, and the other Prepetition ABL and FILO Lenders shall not
          share or otherwise discuss such information with the bidding Prepetition ABL and FILO Lender.



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     Requirement                                               Description
                              must be acceptable to the Debtors, in consultation with the Consultation Parties
                              (i.e., no financing out); and

                          C. any other information or documentation that the Debtors reasonably request.

                      The Debtors, in their reasonable business judgment and in consultation with the Consultation
                      Parties, will determine and notify each Potential Bidder whether such Potential Bidder has
                      submitted adequate documents so that such Potential Bidder may proceed to conduct due
                      diligence and submit a Bid (as defined below) (such Potential Bidder, an “Acceptable
                      Bidder”). The Debtors shall promptly inform the Consultation Parties of any entity that
                      becomes an Acceptable Bidder.

                      The Debtors may, in their reasonable business judgment, conduct a process for the sale of
                      unsold assets that are not included in any Winning Bid(s) (as defined below), subject to the
                      Cash Collateral Order.

Due Diligence         The Debtors, with their advisors, have established an electronic data room (the “Data
                      Room”) that provides standard and customary diligence materials, including information to
                      allow Acceptable Bidders to submit a Qualified Bid (as defined below).

                      Only Acceptable Bidders shall be eligible to receive due diligence information and access to
                      the Data Room and to additional non-public information regarding the Debtors. Subject to
                      the other terms herein, the Debtors may provide to each Acceptable Bidder reasonable due
                      diligence information, as requested by such Acceptable Bidder in writing, as soon as
                      reasonably practicable after such request. For all Acceptable Bidders, the due diligence
                      period will end on the Bid Deadline. The Debtors may, in their reasonable business judgment
                      after consultation with the Consultation Parties, but shall have no obligation to, furnish any
                      additional due diligence information to any person following the Bid Deadline.

                      The Debtors shall not furnish any confidential information relating to the Assets, liabilities
                      of the Debtors, or the Sale Transactions to any person except to an Acceptable Bidder or to
                      such Acceptable Bidder’s duly authorized representatives subject to the applicable
                      Confidentiality Agreement. The Debtors and their advisors shall coordinate all reasonable
                      requests from Acceptable Bidders for additional information and due diligence access;
                      provided that the Debtors may decline to provide such information to Acceptable Bidders
                      who, at such time and in the Debtors’ reasonable business judgment, have not established,
                      or who have raised doubt, that such Acceptable Bidder intends in good faith to, or has the
                      capacity to, consummate a Sale Transaction.

                      Neither the Debtors nor any of their representatives shall be obligated to furnish any
                      information of any kind whatsoever relating to the Assets (a) to any person or entity who is
                      not an Acceptable Bidder or (b) if and to the extent doing so would (1) violate any law to
                      which the Debtors are subject, including any privacy law, (2) result in the disclosure of any
                      trade secrets of third parties in breach of any contract with such third party, (3) violate any
                      legally-binding obligation of any Debtor with respect to confidentiality, non-disclosure or
                      privacy, or (4) jeopardize protections afforded to any Debtor under the attorney-client
                      privilege or the attorney work product doctrine (provided that, in case of each of clauses (1)
                      through (4), the Debtors shall use commercially reasonable efforts to (x) provide such access
                      as can be provided (or otherwise convey such information regarding the applicable matter as
                      can be conveyed) without violating such privilege, doctrine, contract, obligation or law and
                      (y) provide such information in a manner without violating such privilege, doctrine, contract,


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     Requirement                                             Description
                     obligation, or law).

                     The Debtors, in consultation with the Consultation Parties, also reserve the right to withhold
                     any diligence materials that the Debtors determine are sensitive or otherwise not appropriate
                     for disclosure, including to an Acceptable Bidder whom the Debtors determine in
                     consultation with the Consultation Parties is a competitor of the Debtors, a potential
                     competitor of the Debtors, or is affiliated with any competitor of the Debtors. Neither the
                     Debtors nor their representatives shall be obligated to furnish information of any kind
                     whatsoever to any person that is not determined to be an Acceptable Bidder.

                     All due diligence requests directed to the Debtors must be directed to: Ryan Kielty
                     (rkielty@centerview.com) and Daniel Bendetson (dbendetson@centerview.com).

                     Each Potential Bidder or Acceptable Bidder shall comply with all reasonable requests
                     for information and due diligence access made by the Debtors, their advisors, regarding
                     such Potential Bidder or Acceptable Bidder, as applicable, and its contemplated Sale
                     Transaction. Failure by a Potential Bidder or Acceptable Bidder to comply with
                     reasonable requests for additional information and due diligence access will be a basis
                     for the Debtors to determine that the Potential Bidder or Acceptable Bidder, as
                     applicable, is not a Qualified Bidder. Failure by a Qualified Bidder to comply with
                     such requests for additional information and due diligence access will be a basis for the
                     Debtors, after consultation with the Consultation Parties, to determine that a bid made
                     by a Qualified Bidder is not a Qualified Bid.

Bid Requirements     Any proposal, solicitation, or offer to consummate a Sale Transaction (each, a “Bid”) must
                     be submitted in writing and must satisfy the following requirements (collectively, the “Bid
                     Requirements”):

                         A. Proposed Sale Transaction. Each Bid must clearly propose a Sale Transaction as
                            to the Assets. Each Bid must specify (1) which of such Assets—with as much
                            specificity as is possible—are to be included in the proposed Sale Transaction
                            (the “Acquired Assets”), (2) to the extent such Bid is for substantially all of the
                            Assets, which Assets, if any, are to be excluded from the proposed Sale Transaction
                            (the “Excluded Assets”), (3) the liabilities and obligations, including any debt and
                            cure costs to be assumed (the “Assumed Liabilities”), and (4) as applicable, whether
                            the Acceptable Bidder intends to operate the Debtors’ business as a going concern,
                            acquire certain Assets, or otherwise liquidate the business. For the avoidance of
                            doubt, all Assets held by non-Debtor subsidiaries shall be presumed to be Excluded
                            Assets.

                         B. Purchase Price. Each Bid must (a) clearly specify the purchase price to be paid,
                            assuming a purchase of the applicable Assets and assumption of any Assumed
                            Liabilities (the “Purchase Price”); (b) identify separately any cash and non-cash
                            components (which non-cash components shall be limited only to credit bids and
                            Assumed Liabilities) of the Purchase Price in United States dollars; and (c) indicate
                            the allocation of the Purchase Price among the applicable Assets. The Purchase
                            Price shall exceed the Stalking Horse Bid by at least the aggregate sum of (1) the
                            Expense Reimbursement, and (2) such additional amount as determined by the
                            Debtors in their reasonable business judgment after consultation with the
                            Consultation Parties, and shall include a cash component sufficient to satisfy the
                            “Obligations” under the ABL/FILO Credit Agreement and the Prepetition


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Requirement                                            Description
                       ABL/FILO Obligations (including the cash collateralization of all obligations
                       related to letters of credit and contingent exposure, as applicable) to be Paid in Full
                       (each as defined in the Cash Collateral Order) on the closing of the Sale Transaction;
                       provided, however, that the Debtors reserve the right to approve joint Bids that
                       satisfy the foregoing conditions and are acceptable to the Prepetition ABL Agent
                       and the Prepetition FILO Agent.

                   C. Deposit. Other than a Credit Bid, each Bid must be accompanied by a cash deposit
                      equal to ten percent (10%) of the applicable aggregate Purchase Price
                      (the “Deposit”), to be held in one or more escrow accounts on terms acceptable to
                      the Debtors and the Consultation Parties; provided that the Debtors, in their
                      reasonable business judgment and in consultation with the Consultation Parties, may
                      elect to waive or modify the requirement of a Deposit on a case-by-case basis. To
                      the extent the Purchase Price of a Bid is increased, at any time or from time to time,
                      whether prior to commencement of the Auction or during the Auction, the amount
                      of the Deposit shall automatically increase accordingly (to be equal to ten percent
                      (10%) of any increased Purchased Price) and the corresponding Potential Bidder
                      will pay into escrow the amount of such increase, as promptly as practicable, and in
                      any event within one business day, following such increase. Without limiting the
                      foregoing, if a Purchase Price is increased in order to make a bid into a Qualified
                      Bid, the Debtors may, in consultation with the Consultation Parties, condition
                      participation of the applicable Potential Bidder at the Auction on such Potential
                      Bidder paying the then full amount of the Deposit into escrow prior to
                      commencement of the Auction or such participation. For the avoidance of doubt, a
                      Bid that is comprised of both a Credit Bid and cash consideration does not need to
                      include a Deposit.

                   D. Transaction Documents. Each Bid must be accompanied by an executed form of
                      purchase agreement or agency agreement, which the Debtors shall make available
                      to Acceptable Bidders via the Debtors’ electronic data room pursuant to the due
                      diligence process, with respect to the proposed Sale Transaction, including the
                      exhibits, schedules, and ancillary agreements related thereto and any other related
                      material documents integral to such Bid.

                   E. Back-Up Bidder Commitment. Each Bid must include a written commitment by
                      the applicable Potential Bidder to serve as a Back-Up Bidder (as defined below) in
                      the event that such Potential Bidder’s Bid is not selected as the Winning Bid;
                      provided that the foregoing shall not apply to any Potential Bidder that (1) both
                      (a) qualifies as a Secured Party (as defined below) and (b) submits a Credit Bid; or
                      (2) is the Stalking Horse Bidder.

                   F. Proof of Financial Ability to Perform. To the extent that a Bid is not accompanied
                      by evidence of the Potential Bidder’s capacity to consummate the Sale Transaction
                      set forth in its Bid with cash on hand, each Bid must include unconditional
                      committed financing from a reputable financing institution, documented to the
                      satisfaction of the Debtors in consultation with the Consultation Parties, that
                      demonstrates that the Potential Bidder has: (i) received sufficient debt and/or equity
                      funding commitments to satisfy the Potential Bidder’s Purchase Price and other
                      obligations under its Bid; and (ii) adequate working capital financing or resources
                      to finance going concern operations for the applicable Assets and the proposed Sale
                      Transaction. Such funding commitments or other financing must be unconditional


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Requirement                                            Description
                        and must not be subject to any internal approvals, syndication requirements,
                        diligence, or credit committee approvals, and shall have covenants and conditions
                        reasonably acceptable to the Debtors, in consultation with the Consultation Parties.

                   G. Contingencies; No Financing or Diligence Outs. Each Bid shall not be
                      conditioned on the obtaining or the sufficiency of financing or any internal approval,
                      or on the outcome or review of due diligence.

                   H. Identity. Each Bid must fully disclose the identity of each entity that will be bidding
                      or otherwise participating in connection with such Bid—including each equity
                      holder or other financial backer of the Potential Bidder if such Potential Bidder is
                      an entity formed for the purpose of consummating the proposed Sale Transaction
                      contemplated by such Bid—and the complete terms of any such participation. Each
                      Bid must also fully disclose whether any current or former officer, director, or equity
                      holder of the Debtors, or any entity affiliated with any current or former officer,
                      director, or equity holder of the Debtors, will be bidding or otherwise participating
                      in connection with such Bid, including any employment or compensation
                      arrangements being negotiated or agreed to between the Qualified Bidder and any
                      employee of the Debtors. Under no circumstances shall any undisclosed insiders,
                      principals, equity holders, or financial backers of the Debtors be associated with any
                      Bid. Each Bid should also include contact information for the specific person(s)
                      and counsel whom the Debtors (and their advisors) should contact regarding such
                      Bid.

                   I.   Authorization. Each Bid must contain evidence acceptable to the Debtors that the
                        Potential Bidder has obtained authorization or approval from its board of directors
                        (or a comparable governing body) with respect to the submission of its Bid and the
                        consummation of the Sale Transaction contemplated by such Bid.

                   J.   Contracts and Leases. Each Bid must identify each and every executory contract
                        and unexpired lease to be assumed and assigned in connection with the proposed
                        Sale Transaction (collectively, the “Assigned Contracts”). Each Bid must be
                        accompanied by adequate assurance of future performance under all Assigned
                        Contracts, which shall include audited and unaudited financial statements, tax
                        returns, bank account statements, and a description of the business to be conducted
                        at the premises, and such other documentation as the Debtors may request
                        (the “Adequate Assurance Package”). The Adequate Assurance Package should be
                        submitted in its own compiled PDF document.

                   K. As-Is, Where-Is. Each Bid must include a written acknowledgement and
                      representation that: (1) the Potential Bidder has had an opportunity to conduct due
                      diligence regarding the Sale Transaction prior to making its offer; (2) the Potential
                      Bidder has relied solely upon its own independent review, investigation, or
                      inspection of any documents in making its Bid; (3) except as may be set forth in
                      Definitive Sale Documents (as defined below) concerning such Bid, the Potential
                      Bidder did not rely, and is not relying upon any written or oral statements,
                      representations, promises, warranties, or guaranties whatsoever, whether express,
                      implied by operation of law, or otherwise, by the Debtors or their advisors or other
                      representatives regarding the Sale Transaction, the completeness of any information
                      provided in connection therewith or the Auction, if any, or otherwise; and (4) the




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Requirement                                             Description
                        Potential Bidder did not engage in any collusive conduct and acted in good faith in
                        submitting its Bid.

                    L. No Break-Up Fee or Reimbursement of Expenses. Each Bid, with the exception
                       of the Stalking Horse Bid, must expressly state and acknowledge that such Potential
                       Bidder shall not be entitled to, and shall not seek, any transaction break-up fee,
                       termination fee, expense reimbursement, working fee, or similar type of payment.
                       Each Bid must expressly waive any claim or right to assert any substantial
                       contribution administrative expense claim under section 503(b) of the Bankruptcy
                       Code or the payment of any broker fees or costs in connection with bidding for any
                       of the Assets and/or otherwise participating in the Auction or the sale process.

                    M. Transition Services. Each Bid must state or otherwise estimate the types of
                       transition services, if any, the Potential Bidder would require of and/or provide to
                       the Debtors, including an estimate of the time any such transition services would be
                       required of and/or provided to the Debtors, if the Potential Bidder’s Bid were
                       selected as the Winning Bid for the applicable Assets.

                    N. Commitment to Close. Each Bid must include a commitment to close as soon as
                       practicable and state the expected date of closing of the Sale Transaction, which for
                       the avoidance of doubt must be either on or before the date specified in Section 1 of
                       these Bidding Procedures.

                    O. Irrevocable Bid. Each Bid must contain a statement by the applicable Potential
                       Bidder acknowledging and agreeing that such Bid and each of its provisions is
                       binding upon the Potential Bidder and irrevocable in all respects.

                    P. Compliance with Bidding Procedures. Each Bid must contain a covenant that the
                       applicable Potential Bidder will comply in all respects with the terms of these
                       Bidding Procedures and the Bidding Procedures Order.

                    Q. Combination Bids. For Bids that contemplate a purchase of multiple categories of
                       Assets, each Bid must specify: (i) allocation of the Purchase Price across each Asset;
                       (ii) for Bids that include unexpired leases specifically, the Purchase Price must be
                       allocated across each individual property included in the Bid; and (iii) Bids must
                       indicate whether the offer is on an “all or none” basis in the event that the Potential
                       Bidder is outbid for certain Assets contemplated in the Bid.

                    R. Initial Assets Overbid. Any incremental Bids that comply with the terms set forth
                       in Section 10(ii) of these Bidding Procedures (each an “Overbid”) regarding all or
                       substantially all of the Assets must have a value to the Debtors, in the Debtors’
                       exercise of their reasonable business judgment, after consultation with their advisors
                       and the Consultation Parties that is at least the sum of (i) one hundred thousand
                       United States dollar ($100,000.00) more than the value offered under the Stalking
                       Horse Agreement plus (ii) the Expense Reimbursement (the “Initial
                       Assets Overbid”).

                By submitting a Bid, each Potential Bidder is agreeing, and shall be deemed to have agreed,
                to abide by and honor the terms of these Bidding Procedures and to refrain from
                (A) submitting a Bid after conclusion of the Auction (if any) or (B) seeking to reopen the
                Auction (if any) once closed. The submission of a Bid shall constitute a binding and


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     Requirement                                                   Description
                          irrevocable offer (a) for the Winning Bidder, until consummation of the proposed Sale
                          Transaction, (b) for the Back-Up Bidder (if any), as provided in these Bidding
                          Procedures, including Section 12 hereof, and (c) for any bidder other than the Winning
                          Bidder, the Back-Up Bidder, or any Secured Party that submitted a Credit Bid, until
                          two (2) business days after entry of the Court’s order approving the Winning Bid and
                          (if applicable) the Back-Up Bid for the applicable Assets (each, as applicable, a “Sale
                          Order”), which shall be in form and substance reasonably acceptable to the Prepetition
                          ABL Agent and the Prepetition FILO Agent, and each Bid must include a written
                          acknowledgment and representation to such effect.

Bid Deadline              Any Bid for the Assets must be transmitted via email (in .pdf or similar format) to the Debtors
                          and their advisors (as specified in Section 2 hereof) so as to be actually received by such
                          parties on or before February 12, 2025, by 5:00 p.m. (prevailing Eastern Time)
                          (the “Bid Deadline”).

                          The Debtors shall promptly provide the Consultation Parties copies of all Bids received by
                          the Debtors, but in no event later than the next business day following receipt.

Qualified Bids &          A Bid is a “Qualified Bid” if the Debtors, in their reasonable business judgment and in
Qualified Bidders         consultation with the Consultation Parties, determine that such Bid (A) satisfies the Bid
                          Requirements set forth above and (B) is reasonably likely to be consummated if selected as
                          the Winning Bid (or Back-Up Bid, as applicable) for the applicable Assets; provided that the
                          Stalking Horse Bid shall constitute and be deemed a Qualified Bid and, for the avoidance of
                          doubt, need not comply with each Bid Requirement. For the avoidance of doubt,
                          Combination Bids may constitute a Qualified Bid.

                          An Acceptable Bidder that submits a Qualified Bid is a “Qualified Bidder” with respect to
                          the Assets to which such Qualified Bid relates; provided that the Stalking Horse Bidder shall
                          constitute and be deemed a Qualified Bidder. To the extent that any Prepetition ABL and
                          FILO Lender submits a Credit Bid in accordance with Section 9 herein, such bid shall be a
                          Qualified Bid, and such Prepetition ABL and FILO Lender shall be a Qualified Bidder with
                          respect to such Bid.

                          As soon as reasonably practicable after the applicable Bid Deadline, the Debtors will notify
                          each Acceptable Bidder whether such party is a Qualified Bidder and shall provide the
                          Consultation Parties’ counsel with a copy of each Qualified Bid. If an Acceptable Bidder’s
                          Bid is determined not to be a Qualified Bid, the Debtors will refund such Acceptable Bidder’s
                          Deposit (if any) on the date that is three business days after the Bid Deadline.

                          Between the date that the Debtors notify an Acceptable Bidder that it is a Qualified Bidder
                          and the date set for the Auction, the Debtors may discuss, negotiate, or seek clarification of
                          any Qualified Bid from a Qualified Bidder. Without the prior written consent of the Debtors
                          following consultation with the Consultation Parties, a Qualified Bidder may not modify,
                          amend, or withdraw its Qualified Bid, except for proposed amendments to increase the
                          Purchase Price, or otherwise improve the terms of, the Qualified Bid, during the period that
                          such Qualified Bid remains binding as specified in these Bidding Procedures; provided that
                          any Qualified Bid may be improved at the Auction (if any) as set forth herein. Any improved
                          Qualified Bid must continue to comply with the requirements for Qualified Bids set forth in
                          these Bidding Procedures.




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     Requirement                                                Description
                      Notwithstanding anything herein to the contrary, the Debtors, in consultation with the
                      Consultation Parties, reserve the right to work with (A) Potential Bidders and Acceptable
                      Bidders to aggregate two or more Bids into a single consolidated Bid prior to the applicable
                      Bid Deadline and (B) Qualified Bidders to aggregate two or more Qualified Bids into a single
                      Qualified Bid prior to the conclusion of the Auction (if any). The Debtors, in consultation
                      with the Consultation Parties, reserve the right to cooperate with any Acceptable Bidder to
                      cure any deficiencies in a Bid that is not initially deemed to be a Qualified Bid. The Debtors,
                      in consultation with the Consultation Parties, may accept a single Qualified Bid or multiple
                      Bids that, if taken together in the aggregate, would otherwise meet the standards for a single
                      Qualified Bid (in which event those multiple Qualified Bidders shall be treated as a single
                      Qualified Bidder and their Bid a single Qualified Bid for purposes of the Auction (if any)).

Right To Credit Bid   Any Qualified Bidder that has a valid and perfected lien on any Assets of the Debtors’ estates
                      (a “Secured Party”) shall be entitled to credit bid all or a portion of the face value of such
                      Secured Party’s claims against the Debtors toward the Purchase Price specified in such
                      Qualified Bidder’s Bid (a “Credit Bid”); provided that a Secured Party shall be entitled to
                      credit bid its claim(s) only with respect to Assets that are subject to a valid and perfected lien
                      in favor of such Secured Party as to such claim(s).

Auction               If the Debtors receive two or more Qualified Bids with respect to the same or overlapping
                      Assets or group of Assets, the Debtors may, in consultation with the Consultation Parties,
                      conduct an auction (the “Auction”) to determine the Winning Bidder (or Back-Up Bidder,
                      as applicable) with respect to such Assets. In such event, the Debtors will (A) notify all
                      Qualified Bidders of the highest or otherwise best Qualified Bid with respect to the
                      applicable Assets, as determined by the Debtors in their reasonable business judgment and
                      in consultation with the Consultation Parties (each such Qualified Bid, a “Baseline Bid”) and
                      (B) provide copies of the documents setting forth the terms of the Baseline Bid(s) to all
                      Qualified Bidders, in each case, as soon as reasonably practicable after the Bid Deadline and
                      in any event no later than prior to the commencement of the Auction. The Debtors’
                      determination of which Qualified Bid constitutes the Baseline Bid shall consider any factors
                      the Debtors, in their reasonable business judgment and in consultation with the Consultation
                      Parties, deem relevant to the value of the Qualified Bid to the Debtors’ estates and the
                      Debtors’ patient care mandate and related regulatory requirements.

                      If the Debtors, in consultation with the Consultation Parties, determine that they have
                      received no Qualified Bids other than the Stalking Horse Bid or they have received only a
                      single Qualified Bid, then the Auction will not occur, and the Stalking Horse Bid or the
                      Qualified Bid will be deemed to be the Winning Bid(s) for the Assets to which the Stalking
                      Horse Bid or Qualified Bid relates. If the Debtors make such a determination, the Debtors
                      shall file a notice with the Court within one business day of making such determination.

                      If the Debtors receive two or more Qualified Bids for the same Assets, an Auction may take
                      place on or after February 14, 2025, at a time to be announced by the Debtors in consultation
                      with the Consultation Parties, via remote video and/or in person at the Debtors’ election, and
                      shall be conducted in a timely fashion according to the procedures set forth below
                      (the “Auction Procedures”).

                                                       AUCTION PROCEDURES

                      A.      The Debtors Shall Conduct the Auction; General Provisions. The Debtors, with
                              the assistance of their advisors, shall direct and preside over any Auction and shall


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Requirement                                          Description
                     consult with the Consultation Parties throughout the Auction process. At the
                     commencement of the Auction, the Debtors, in consultation with the Consultation
                     Parties (1) may announce procedural and related rules governing the Auction,
                     including time periods available to all Qualified Bidders to submit any successive
                     Bid(s) and (2) shall describe the terms of the Baseline Bid. Only incremental Bids
                     that comply with the terms set forth in Section 10(ii) of these Bidding Procedures
                     shall be considered Overbids. Overbids shall be made and received on an open
                     basis, and all material terms of each Overbid shall be fully disclosed to all other
                     Qualified Bidders. The Debtors, in consultation with the Consultation Parties, shall
                     determine in their reasonable business judgment whether an incremental Bid is an
                     Overbid. The Debtors shall maintain a written transcript of all Bids made and
                     announced at the Auction, including the Baseline Bid, all Overbids, and the Winning
                     Bid (or Back-Up Bid, as applicable) (as defined below).

                     Only Qualified Bidders, the Debtors, the Consultation Parties and each of their
                     respective legal and financial advisors, creditors in these chapter 11 cases, and any
                     other parties specifically invited or permitted to attend by the Debtors, shall be
                     entitled to attend the Auction, and the Qualified Bidders shall appear at the Auction
                     in person and may speak or bid themselves or through duly authorized
                     representatives. Except as otherwise permitted by the Debtors in consultation with
                     the Consultation Parties, only Qualified Bidders shall be entitled to bid at
                     the Auction.

                     The Debtors and the Consultation Parties have the right to request any additional
                     information that will allow the Debtors to make a reasonable determination as to a
                     Qualified Bidder’s financial and other capabilities to consummate the transactions
                     contemplated by their proposal and any further information that the Debtors and the
                     Consultation Parties believe is reasonably necessary to clarify and evaluate any Bid
                     made by a Qualified Bidder during the Auction.

                     The Debtors may, subject to Section 15 of these Bidding Procedures, and with the
                     consent of the Prepetition ABL Agent and the Prepetition FILO Agent, announce at
                     the Auction modified or additional procedures for conducting the Auction or
                     otherwise modify these Bidding Procedures.

                B.   Terms of Overbids. Each Overbid must comply with the following terms:

                     1.       Minimum Overbid Increment. At the commencement of the initial
                              solicitation of Overbids, the Debtors, in consultation with the
                              Consultation Parties, shall announce the minimum increment by which
                              any Overbid must exceed the applicable Baseline Bid, which amount
                              shall not be lower than one-hundred thousand United States Dollars
                              ($100,000); provided that the first Overbid with regard to the Assets shall
                              be the Initial Assets Overbid. At the commencement of each subsequent
                              round of solicitation of Overbids, the Debtors shall announce the
                              minimum increment by which any Overbid must exceed the Prevailing
                              Highest Bid (as defined below) at such time. The Debtors may, in their
                              reasonable business judgment and in consultation with the Consultation
                              Parties, announce increases or reductions to the applicable minimum
                              Overbid increment at any time during the Auction.




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Requirement                                          Description
                     2.       Conclusion of Each Overbid Round. Upon the solicitation of each round
                              of Overbids, the Debtors may announce a deadline by which time any
                              Overbids must be submitted to the Debtors (an “Overbid Round
                              Deadline”); provided that the Debtors, in their reasonable business
                              judgment and after consultation with the Consultation Parties, may
                              extend any Overbid Round Deadline.

                     3.       Overbid Alterations. An Overbid may contain alterations, modifications,
                              additions, or deletions of any terms of the Bid no less favorable in the
                              aggregate to the Debtors’ estates than any prior Qualified Bid or Overbid,
                              as determined in the Debtors’ reasonable business judgment and after
                              consultation with the Consultation Parties, but shall otherwise comply
                              with the terms of these Bidding Procedures.

                     4.       Announcing Highest Bid. Subsequent to each Overbid Round Deadline,
                              the Debtors shall announce whether the Debtors, in consultation with the
                              Consultation Parties, have identified an Overbid as being higher or
                              otherwise better than, in the initial Overbid round, the Baseline Bid or, in
                              subsequent rounds, the Overbid previously designated by the Debtors as
                              the prevailing highest or otherwise best Bid (the “Prevailing Highest
                              Bid”). The Debtors shall describe to all applicable Qualified Bidders the
                              material terms of any new Overbid designated by the Debtors as the
                              Prevailing Highest Bid, as well as the value attributable by the Debtors to
                              such Prevailing Highest Bid.

                C.   Consideration of Overbids. The Debtors reserve the right, in their reasonable
                     business judgment and in consultation with the Consultation Parties, to adjourn the
                     Auction one or more times, to, among other things (1) facilitate discussions between
                     the Debtors and Qualified Bidders, (2) allow Qualified Bidders the opportunity to
                     consider how they wish to proceed, and (3) provide Qualified Bidders the
                     opportunity to provide the Debtors with such additional evidence as the Debtors, in
                     their reasonable business judgment, may require, that the Qualified Bidder has
                     sufficient internal resources or has received sufficient and sufficiently unconditional
                     financing commitments to consummate the proposed Sale Transaction at the
                     prevailing Overbid amount.

                D.   Closing the Auction. The Auction shall continue until there is only one Qualified
                     Bid for a particular group of Assets that the Debtors determine, in their reasonable
                     business judgment and in consultation with the Consultation Parties, to be the
                     highest or otherwise best Qualified Bid for the applicable assets. Such Qualified
                     Bid shall be designated the “Winning Bid” (or Back-Up Bid, as applicable, and the
                     Qualified Bidder who submitted the Winning Bid, the “Winning Bidder”) with
                     respect to its proposed Acquired Assets, at which time the Auction with respect to
                     such Assets shall be closed; provided that (1) such Auction shall not close unless
                     and until all Qualified Bidders have been given a reasonable opportunity to submit
                     an Overbid at the Auction to the then Prevailing Highest Bid; and (2) the Debtors’
                     designation of a Qualified Bid as a Winning Bid (or Back-Up Bid, as applicable)
                     shall be subject to and conditioned on finalization of definitive documentation and
                     the Court’s approval of such Winning Bid (or Back-Up Bid, as applicable),
                     applicable regulatory and third-party approvals, and the consummation of the Sale
                     Transaction contemplated thereby. As soon as reasonably practicable after the


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     Requirement                                                  Description
                                 designation of a Winning Bid (or Back-Up Bid, as applicable), the Debtors, in
                                 consultation with the Consultation Parties, shall finalize definitive documentation to
                                 implement the terms of such Winning Bid (or Back-Up Bid, as applicable) and cause
                                 such definitive documentation to be filed with the Court.

                                 Notwithstanding anything to the contrary herein, the Debtors shall not, without the
                                 consent of the Prepetition ABL Agent and the Prepetition FILO Agent, select a
                                 Winning Bid unless such Winning Bid, either individually or in combination with
                                 other Winning Bids, as applicable, provides for the satisfaction of the “Obligations”
                                 under the ABL/FILO Credit Agreement and the Prepetition ABL/FILO Obligations
                                 (including the cash collateralization of all obligations related to letters of credit and
                                 contingent exposure, as applicable) to be Paid in Full (each as defined in the Cash
                                 Collateral Order) on the closing of the Sale Transaction

                         E.      No Collusion; Good Faith Offer. Each Qualified Bidder participating at the
                                 Auction will be required to confirm on the record at the Auction that (1) such
                                 Qualified Bidder has not engaged in any collusion with respect to the bidding
                                 process (2) such Qualified Bidders’ Qualified Bid is a good faith and irrevocable
                                 offer and such Qualified Bidder intends to consummate the Sale Transaction
                                 contemplated by its Qualified Bid if such Qualified Bid is the Winning Bid
                                 (or Back-Up Bid, as applicable) with respect to the applicable Acquired Assets, and
                                 (3) will serve as Back-Up Bid.

                         F.      Rejection of Bids. The Debtors, in their reasonable business judgment, in
                                 consultation with the Consultation Parties, may reject, at any time prior to the
                                 conclusion of the Auction, any Bid that the Debtors determine, after consultation
                                 with the Consultation Parties, is (1) inadequate or insufficient, (2) not in conformity
                                 with the requirements of the Bankruptcy Code and/or these Bidding Procedures, or
                                 (3) contrary to the best interests of the Debtors, their estates, their creditors, and
                                 other stakeholders.

Designation of a Back-   If for any reason the Winning Bidder fails to consummate the Qualified Bid within the time
Up Bidder                permitted after the entry of the Sale Order approving the Sale to the Winning Bidder, then
                         the Qualified Bidder or Qualified Bidders with the next-highest or otherwise second-best Bid
                         (each, a “Back-Up Bidder”), as determined by the Debtors after consultation with the
                         Consultation Parties, and with the consent of the Prepetition ABL Agent and the Prepetition
                         FILO Agent, at the conclusion of the Auction and announced at that time to all the Qualified
                         Bidders participating therein and as set forth in the Sale Order, will automatically be deemed
                         to have submitted the highest or otherwise best Bid or Bids (each, a “Back-Up Bid”), and
                         the Debtors shall consummate the transaction pursuant to the Back-Up Bid as soon as is
                         commercially reasonable without further order of the Bankruptcy Court upon at least twenty-
                         four hours advance notice, which notice will be filed with the Court; provided that the
                         forgoing shall not apply to any Potential Bidder that (1) both (a) qualifies as a Secured Party
                         and (b) submits a Credit Bid; or (2) is the Stalking Horse Bidder.

                         Upon designation of the Back-Up Bidder at the Auction, the Back-Up Bid must remain open
                         and irrevocable until the earlier of (1) the closing of the transactions contemplated by the
                         Winning Bid notwithstanding any outside date set forth in such Back-Up Bidder’s proposed
                         purchase agreement and (2) the date that is four months following the conclusion of
                         the Auction.




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     Requirement                                                    Description
Fiduciary Out             Notwithstanding anything to the contrary in these Bidding Procedures or any document filed
                          with or entered by the Court, nothing in these Bidding Procedures or the Bidding Procedures
                          Order shall require a Debtor or its board of directors, board of managers, or similar governing
                          body to take any action or to refrain from taking any action with respect to the Sale
                          Transactions or these Bidding Procedures solely to the extent such Debtor or governing body
                          determines in good faith, in consultation with counsel, that taking or failing to take such
                          action, as applicable, would be inconsistent with applicable law or its fiduciary obligations
                          under applicable law.

                          Further, notwithstanding anything to the contrary in these Bidding Procedures or any
                          document filed with or entered by the Court, until the entry of the Sale Order, the Debtors
                          and their respective directors, managers, officers, employees, investment bankers, attorneys,
                          accountants, consultants, and other advisors or representatives shall have the right to:
                          (A) consider, respond to, and facilitate alternate proposals for sales or other transactions
                          involving any or all of the Assets (each, an “Alternate Proposal”); (B) provide access to non-
                          public information concerning the Debtors to any entity or enter into confidentiality
                          agreements or nondisclosure agreements with any entity; (C) maintain or continue
                          discussions or negotiations with respect to Alternate Proposals; (D) otherwise cooperate
                          with, assist, participate in, or facilitate any inquiries, proposals, discussions, or negotiations
                          of Alternate Proposals; and (E) enter into or continue discussions or negotiations with any
                          person or entity regarding any Alternate Proposal.

“As Is, Where Is”         Consummation of the Sale Transactions will be on an “as is, where is” basis and without
                          representations or warranties of any kind, nature, or description by the Debtors or their
                          estates, except as specifically accepted and agreed to by the Debtors in the executed
                          definitive written documentation for the Sale Transactions (the “Definitive Sale
                          Documents”). Unless otherwise specifically accepted and agreed to by the Debtors in
                          Definitive Sale Documents, all of the Debtors’ right, title, and interest in and to the Assets
                          disposed of in the Sale Transaction will be transferred to the Winning Bidder (or Back-Up
                          Bidder, as applicable) free and clear of all pledges, liens, security interests, encumbrances,
                          claims, charges, options, and interests in accordance with sections 363(f) of the Bankruptcy
                          Code and subject to the terms and conditions of the Cash Collateral Order.

                          By submitting a Bid, each bidder will be deemed to acknowledge and represent that it (A) has
                          had an opportunity to conduct adequate due diligence regarding the Debtors and the proposed
                          Sale Transaction prior to making its Bid, (B) has relied solely on its own independent review,
                          investigation, and inspection of any document, including executory contracts and unexpired
                          leases, in making its Bid, and (C) did not rely on or receive from any person or entity
                          (including any of the Debtors or their advisors or other representatives) any written or oral
                          statements, representations, promises, warranties, or guaranties whatsoever, whether
                          express, implied by operation of law, or otherwise, with respect to the Sale Transaction or
                          the completeness of any information provided in connection with the Sale Transaction or the
                          Auction (if any), except as may be set forth in Definitive Sale Documents




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     Requirement                                                 Description
Commissions             The Debtors shall be under no obligation to pay any commissions, fees, or expenses to any
                        Potential Bidder’s agent, advisor, or broker. All commissions, fees, or expenses for any such
                        agents, advisors, or brokers shall be paid by the applicable Potential Bidder at such Potential
                        Bidder’s discretion. In no case shall any commissions, fees, or expenses for any Potential
                        Bidder’s agent, advisor, or broker be deducted from any proceeds derived from any Sale of
                        the Assets.




Reservation of Rights   The Debtors may, in consultation with the Consultation Parties, be entitled to modify these
                        Bidding Procedures in their reasonable business judgment in consultation with the
                        Consultation Parties in any manner that will best promote the goals of these Bidding
                        Procedures, or impose, at or prior to the Auction (if any), additional customary terms and
                        conditions on a Sale Transaction, including: (A) extending the deadlines set forth in these
                        Bidding Procedures; (B) adjourning the Auction at the Auction; (C) adding procedural rules
                        that are reasonably necessary or advisable under the circumstances for conducting the
                        Auction (if any); (D) canceling the Auction; and (E) rejecting any or all Bids or Qualified
                        Bids. All such modifications and additional rules will be communicated to each of the
                        Consultation Parties, Potential Bidders, and Qualified Bidders; provided that, to the extent
                        such modifications occur at the Auction, disclosure of such modifications is limited to those
                        in attendance at the Auction; provided, further that (i) the Debtors shall not amend these
                        Bidding Procedures, the Bidding Procedures Order, or the bidding process to modify their
                        obligations to consult with the Prepetition ABL Agent or the Prepetition FILO Agent without
                        the consent of such parties or further order of the Bankruptcy Court, (ii) any extension of the
                        deadlines set forth in these Bidding Procedures that breaches a Milestone set forth in the
                        Cash Collateral Order shall require the consent of the Prepetition ABL Agent and the
                        Prepetition FILO Agent, and (iii) without the consent of the Prepetition ABL Agent or the
                        Prepetition FILO Agent, the Debtors shall not adopt new rules, procedures, or deadlines, or
                        otherwise modify these Bidding Procedures or the Bidding Procedures Order in a manner
                        that alters, limits, or imposes additional burdens on the rights of the Prepetition ABL Agent
                        or the Prepetition FILO Agent, including (x) requiring the Prepetition ABL Agent or the
                        Prepetition FILO Agent to include a deposit as part of a Credit Bid or (y) imposing additional
                        conditions on their rights to Credit Bid or to be deemed a Qualified Bidder (and their Bids
                        deemed Qualified Bids).

                        Notwithstanding anything to the contrary in these Bidding Procedures or the Bidding
                        Procedures Order, the rights of the Prepetition ABL Agent and the Prepetition FILO Agent
                        under the Cash Collateral Order (and the Intercreditor Agreements referenced therein) to
                        consent to the Sale (and any terms and conditions thereof) of any portion of their collateral,
                        including, without limitation, any Assets, are expressly preserved and not waived or impaired
                        by these Bidding Procedures or the Bidding Procedures Order. For the avoidance of doubt,
                        nothing in these Bidding Procedures or the Bidding Procedures Order shall amend or impair
                        any provision of the Cash Collateral Order (including the Milestones therein) or the rights of
                        the Prepetition ABL Agent and the Prepetition FILO Agent thereunder.

                        Each reference in these Bidding Procedures and the Bidding Procedures Order to
                        “consultation” (or similar phrase) with the Consultation Parties shall mean consultation in
                        good faith.




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     Requirement                                                  Description
Consent to Jurisdiction   All Qualified Bidders at the Auction shall be deemed to have consented to the jurisdiction
                          of the Court and waived any right to a jury trial in connection with any disputes relating to
                          the Auction or the construction and enforcement of these Bidding Procedures.


Sale Hearing              The Court shall hold a hearing to consider approval of the Winning Bid(s) (and Back-Up
                          Bid(s), as applicable) and the Sale Transactions contemplated thereby (the “Sale Hearing”).
                          If there is not an Auction, the Sale Hearing shall be held on February 14, 2025, subject
                          to the availability of the Court. If there is an Auction, the Sale Hearing shall be held
                          on February 22, 2025, subject to the availability of the Court. The Sale Hearing may
                          be continued to a later date by the Debtors, in consultation with the Consultation
                          Parties, by sending written notice to all Qualified Bidders and Consultation Parties
                          prior to, or by making an announcement at, the Sale Hearing. No further notice of any
                          such continuance will be required to be provided to any bidder or other party.

Return of Deposit         Any Deposits provided by Qualified Bidders shall be held in one or more escrow accounts
                          on terms acceptable to the Debtors. Any such Deposits will be returned to Qualified Bidders
                          that are not Winning Bidders (or Back-Up Bidders, as applicable) on the date that is
                          three business days after the Auction (if any). Any Deposit provided by a Winning Bidder
                          (or Back-Up Bidder, as applicable) shall be applied to the Purchase Price of the applicable
                          Sale Transaction at closing.

                          If a Winning Bidder (or Back-Up Bidder, as applicable) fails to consummate the Sale
                          Transaction contemplated by its Winning Bid (or Back-Up Bid, as applicable) because of a
                          breach by such Winning Bidder (or Back-Up Bidder, as applicable), the Debtors will not
                          have any obligation to return any Deposit provided by such Winning Bidder (or Back-Up
                          Bidder, as applicable), which may be retained by the Debtors as liquidated damages, in
                          addition to any and all rights, remedies, or causes of action that may be available to the
                          Debtors and their estates.


            21.     Importantly, the Bidding Procedures recognize and comply with the Debtors’

    fiduciary obligations to maximize sale value, and, as such, do not impair the Debtors’ ability to

    consider all qualified bid proposals and, as noted, preserve the Debtors’ right to modify the Bidding

    Procedures as necessary or appropriate to maximize value for the Debtors’ estates.

            A.      Form and Manner of Sale Notice.

            22.     As soon as reasonably practicable after entry of the Bidding Procedures Order, the

    Debtors will cause the Sale Notice, substantially in the form attached as Exhibit 3 to the Bidding

    Procedures Order, to be served (including by e-mail, where applicable) on the following parties or

    their respective counsel, if known: (a) the Notice Parties (as defined below); (b) counsel to the



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Stalking Horse Bidder; (c) all parties to executory contracts and leases to be assumed and assigned

as part of a proposed Sale Transaction; (d) all parties who have expressed a written interest in the

Assets; (e) all known holders of liens, encumbrances, and other claims secured by the Assets;

(f) the Internal Revenue Service; (g) all applicable state and local taxing authorities; (h) each

governmental agency that is an interested party with respect to a Sale Transaction; (i) all known

holders of liens, encumbrances, and other claims secured by Assets; and (j) all parties that have

requested or that are required to receive notice pursuant to Bankruptcy Rule 2002 and Local

Rule 2002-1.

       23.     In addition, as soon as reasonably practicable after entry of the Bidding Procedures

Order, the Debtors will provide notice of the Auction, if any, and the Sale Hearing through the

publication of the Sale Notice on the website of the Debtors’ proposed noticing and claims agent

to be retained in the chapter 11 cases, Kroll Restructuring Administration LLC, at

https://cases.ra.kroll.com/Joann2025 (the “Case Website”) and will also publish the Sale Notice,

with any modifications necessary for ease of publication (the “Publication Notice”), once in The

New York Times (national edition) to provide notice to any other potential interested parties.

       24.     The Debtors respectfully submit that the Sale Notice and Publication Notice are

reasonably calculated to provide interested parties with timely and proper notice of the proposed

Sale Transactions and Sale Hearing and an opportunity to respond accordingly.

       B.      Summary of the Assumption and Assignment Procedures.

       25.     The Debtors seek entry of the Assumption and Assignment Procedures to facilitate

the fair and orderly assumption and assignment of the Assigned Contracts in connection with the

Sale Transactions. Because the Cure Notice, attached as Exhibit 5 to the Bidding Procedures

Order, sets forth the Assumption and Assignment Procedures in detail, they are not restated herein.




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Generally, however, the Assumption and Assignment Procedures: (a) outline the process by which

the Debtors will serve notice to all counterparties to the Assigned Contracts regarding the proposed

assumption and assignment and related cure amounts, if any, informing such parties of their right

and the procedures to object thereto and (b) establish objection and other relevant deadlines and

the manner for resolving disputes relating to the assumption and assignment of the Assigned

Contracts to the extent necessary.

                                           Basis for Relief

I.      The Relief Sought in the Bidding Procedures Order Is in the Best Interests of the
        Debtors’ Estates and Should Be Approved.

        26.     Courts have made clear that a debtor’s business judgment is entitled to substantial

deference with respect to the procedures to be used in selling an estate’s assets.

See, e.g., In re Culp, 550 B.R. 683, 697 (D. Del. 2015) (“In determining whether to authorize use,

sale or lease of property of the estate under Section 363, courts require the [Debtor] to show that a

sound business purpose justifies such actions. If the [Debtor’s] decision evidences a sound

business purpose, then the Bankruptcy Court should approve the sale.”) (quoting

In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999)); In re Schipper, 933

F.2d 513, 515 (7th Cir. 1991) (“Under Section 363, the debtor in possession can sell property of

the estate . . . if he has an ‘articulated business justification[.]’” (citation omitted)); In re Martin,

91 F.3d 389, 395 (3d Cir. 1996) (citing Schipper, 933 F.2d at 515); see also In re Integrated Res.,

Inc., 147 B.R. 650, 656–57 (S.D.N.Y. 1992) (noting that bidding procedures that have been

negotiated by a trustee are to be reviewed according to the deferential “business judgment”

standard, under which such procedures and arrangements are “presumptively valid”).

        27.     The paramount goal in any proposed sale of property of the estate is to maximize

the proceeds received by the estate. See In re Adams Res. Expl. Corp., No. 17-10866, 2017 WL



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5484017, at *3 (Bankr. D. Del. Sept. 20, 2017) (“The relief requested in the Sale Motion . . . is a

necessary and appropriate step toward enabling the Debtor to maximize the value of its bankruptcy

estate, and it is in the best interests of the Debtor, its estate and its creditors.”); In re Mushroom

Transp. Co., 382 F.3d 325, 339 (3d Cir. 2004) (debtor in possession “had a fiduciary duty to protect

and maximize the estate’s assets”); In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998)

(“The purpose of procedural bidding orders is to facilitate an open and fair public sale designed to

maximize value for the estate.”); In re Food Barn Stores, Inc., 107 F.3d 558, 564–65 (8th Cir.

1997) (noting that in bankruptcy sales, “a primary objective of the [Bankruptcy] Code [is] to

enhance the value of the estate at hand”); Integrated Res., 147 B.R. at 659 (“It is a well-established

principle of bankruptcy law that the objective of bankruptcy rules and the Debtor’s duty with

respect to such sales is to obtain the highest price or greatest overall benefit possible for the

estate.”) (citation omitted).

        28.     To that end, courts uniformly recognize that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing the value received by the estate

and therefore are appropriate in the context of bankruptcy transactions. See, e.g., In re Dura Auto,

Sys., No. 06-11202, 2007 WL 7728109, at *90 (Bankr. D. Del. Aug. 15, 2007) (stating that bidding

procedures “enhanc[ing] competitive bidding are consistent with the goal of maximizing the value

received by the estate and therefore are appropriate in the context of bankruptcy sales”);

Integrated Res., 147 B.R. at 659 (noting that bidding procedures “are important tools to encourage

bidding and to maximize the value of the debtor’s assets”); In re Fin. News Network, Inc., 126 B.R.

152, 156 (Bankr. S.D.N.Y. 1991) (“[C]ourt-imposed rules for the disposition of assets . . . [should]

provide an adequate basis for comparison of offers, and [should] provide for a fair and efficient

resolution of bankrupt estates.”).




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       29.     The Debtors believe that the proposed Bidding Procedures will promote active

bidding from seriously interested parties and will elicit the highest or otherwise best offers

available for the Assets. The proposed Bidding Procedures will allow the Debtors to conduct the

Sale Transactions in a controlled, fair, and open fashion that will encourage participation by

financially capable bidders who will offer the best package for the Debtors’ Assets and who can

demonstrate the ability to close a transaction. Specifically, the Bidding Procedures contemplate

an open auction process with minimal barriers to entry and provide potential bidding parties with

sufficient time to perform due diligence and acquire the information necessary to submit a timely

and well-informed bid.

       30.     At the same time, the Bidding Procedures provide the Debtors with a robust

opportunity to consider competing bids and select the highest or otherwise best offer for the

completion of the Sale Transactions. In addition, entry into the Stalking Horse Agreement will

further ensure that the Debtors obtain fair market value by setting a minimum purchase price for

the Debtors’ Assets that will be tested in the marketplace. As such, creditors of the Debtors’ estates

can be assured that the consideration obtained will be fair and reasonable and at or above market.

       31.     Accordingly, for all of the foregoing reasons, the Debtors believe that the Bidding

Procedures will encourage robust bidding for the Assets, are appropriate under the relevant

standards governing auction proceedings and bidding incentives in bankruptcy proceedings, and

are consistent with other procedures previously approved by courts in this District.

See, e.g., In re Am. Tire Distribs., Inc., No. 24-12391 (CTG) (Bankr. D. Del. Nov. 26, 2024)

(approving similar auction proceedings); In re SunPower Corp., No. 24-11649 (CTG) (Bankr. D.

Del. Aug. 29, 2024) (same); In re Vyaire Med., Inc., No, 24-11217 (BLS) (Bankr. D. Del. July 11,




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2024) (same); In re Sientra, Inc., No. 24-10245 (JTD) (Bankr. D. Del. Mar. 5, 2024) (same);

In re MVK FarmCo LLC, No. 23-11721 (LSS) (Bankr. D. Del. Nov. 17, 2023) (same).7

        A.       The Form and Manner of Service of the Sale Notice Should Be Approved.

        32.      Pursuant to Bankruptcy Rule 2002(a), the Debtors are required to provide creditors

with twenty-one days’ notice of the Sale Hearing. Pursuant to Bankruptcy Rule 2002(c), such

notice must include the time and place of the Auction (if any) and the Sale Hearing and the deadline

for filing any objections to the relief requested herein.

        33.      As noted above, as soon as reasonably practicable following entry of the Bidding

Procedures Order, the Debtors will serve the Sale Notice upon the following parties or their

respective counsel, if known: (a) the Notice Parties (as defined below); (b) counsel to the Stalking

Horse Bidder; (c) all parties to executory contracts and leases to be assumed and assigned as part

of a proposed Sale Transaction; (d) all parties who have expressed a written interest in the Assets;

(e) all known holders of liens, encumbrances, and other claims secured by the Debtors’ assets;

(f) the Internal Revenue Service; (g) all applicable state and local taxing authorities; (h) each

governmental agency that is an interested party with respect to a Sale Transaction; (i) all known

creditors of the Debtors; and (j) all parties that have requested or that are required to receive notice

pursuant to Bankruptcy Rule 2002 and Local Rule 2002-1(b).

        34.      In addition, as soon as reasonably practicable following entry of the Bidding

Procedures Order, the Debtors will provide notice of the Sale Hearing through the publication of

the Sale Notice on the Case Website and will also publish the Publication Notice once in The New




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    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.



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York Times (national edition) to provide notice to any other potential interested parties in

accordance with Bankruptcy Rule 9008.

       35.     The Debtors submit that notice of this motion and the related hearing to consider

entry of the Bidding Procedures Order, coupled with service of the Sale Notice, the Publication

Notice, and the Cure Notice as provided for herein, constitutes good and adequate notice of the

Sale Transactions and any proceedings with respect thereto in compliance with, and satisfaction

of, the applicable requirements of Bankruptcy Rules 2002 and 6004. Accordingly, the Debtors

request that this Court approve the form and manner of the Sale Notice and Cure Notice.

       B.      The Expense Reimbursement Has a Sound Business Purpose and Should Be
               Approved.

       36.     With respect to the Stalking Horse Bidder and the purchase and sale of the Assets,

the Debtors request approval to offer the Expense Reimbursement, which is customary for

transactions of this type.     As discussed above, the Expense Reimbursement comprises

reimbursement (a) up to five hundred thousand dollars ($500,000) for reasonable out-of-pocket

expenses and (b) up to one million, six hundred thousand dollars ($1,600,000), reasonable costs

incurred to acquire signage for “going out of business” sales.

       37.     The use of a stalking horse in a public auction process for the sale of a debtor’s

assets is a customary practice in chapter 11 cases, as the use of a stalking horse bid is, in many

circumstances, the best way to maximize value in an auction process by “establish[ing] a

framework for competitive bidding and facilitat[ing] a realization of that value.” Off. Comm. Of

Unsecured Creditors v. Interforum Holding, LLC, No. 11-CV-219, 2011 WL 2671254, at *1 (E.D.

Wis. July 7, 2011).

       38.     Generally, stalking horse expense reimbursements are a normal, and, in many cases,

necessary component of significant sales conducted under section 363 of the Bankruptcy Code.



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For example, courts have found that because a “corporation [has] a duty to encourage bidding, [bid

protections] can be necessary to discharge [such] duties to maximize value. . . . [Expense

reimbursements] may be legitimately necessary to convince a white knight to enter the bidding by

providing some form of compensation for the risks it is undertaking.” In re Integrated Res., Inc.,

147 B.R. at 660-61 (emphasis added) (internal quotation marks omitted). As a result, courts

routinely approve such expense reimbursements in connection with proposed bankruptcy sales

where a proposed reimbursement provides a benefit to the estate. See In re Energy Future

Holdings Corp., 904 F.3d 298, 313 (3d Cir. 2018) (holding that “the allowability of [bid

protections] . . . depends upon the requesting party’s ability to show that the fees [a]re actually

necessary to preserve the value of the estate”) (internal quotations omitted); In re Reliant Energy

Channelview LP, 594 F.3d 200, 206 (3d Cir. 2010); In re O’Brien Env’t Energy, Inc., 181 F.3d

527, 533 (3d Cir. 1999); In re Women First Healthcare, Inc., 332 B.R. 115, 121–23 (Bankr. D.

Del. 2005). The Debtors believe that the allowance of the Expense Reimbursement is in the best

interests of their estates and their creditors, as the Stalking Horse Bidder will establish a floor for

further bidding that may increase the consideration given in exchange for the Assets for the benefit

of the Debtors’ estates.

       39.     In the Third Circuit, expense reimbursements, such as those proposed here, are

subject to the general standard used for administrative expenses under section 503 of the

Bankruptcy Code. Energy Future, 904 F.3d at 313 (“[T]ermination fees are subject to the same

general standard used for all administrative expenses under 11 U.S.C. § 503.”); Women First

Healthcare, Inc., 332 B.R. at 121–23 (holding that the general standard used for all administrative

expenses applies to expense reimbursements). Thus, the allowability of expense reimbursements,

“like that of other administrative expenses, depends upon the requesting party’s ability to show




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that the fees were actually necessary to preserve the value of the estate.” Reliant Energy, 594 F.3d

at 206 (internal quotations omitted) (quoting O’Brien, 181 F.3d at 535).

        40.      Similar expense reimbursements have been approved by this Court. See, e.g.,

In re Am. Tire Distribs., Inc., No. 24-12391 (CTG) (Bankr. D. Del. Nov. 26, 2024) (authorizing a

break-up fee and expense reimbursement up to 4% of the purchase price); In re SunPower Corp.,

No. 24-11649 (CTG) (Bankr. D. Del. Aug. 29, 2024) (authorizing expense reimbursement of

$550,000); In re Vyaire Med., Inc., No. 24-11217 (BLS) (Bankr. D. Del. July 11, 2024)

(authorizing stalking horse break-up fee of 3% and expense reimbursement of $250,000);

In re Sientra, Inc., No. 24-10245 (JTD) (Bankr. D. Del. Mar. 5, 2024) (authorizing stalking horse

break-up fee of 3% and expense reimbursement of $500,000); In re MVK FarmCo LLC,

No. 23-11721 (LSS) (Bankr. D. Del. Nov. 17, 2023) (authorizing stalking horse break-up fee of

3% inclusive of expense reimbursement). 8 Accordingly, for the reasons set forth above, the

Debtors respectfully request that the Court grant the Debtors the authority and direction to incur

and pay the Expense Reimbursement to the Stalking Horse Bidder.

        C.       The Assumption and Assignment Procedures Are Appropriate and Should
                 Be Approved.

        41.      As set forth above, the Sale Transactions may contemplate the assumption and

assignment of contracts to the Winning Bidder(s) arising from the Auction, if any. In connection

with this process, the Debtors believe it is necessary to establish the Assumption and Assignment

Procedures by which: (a) the Debtors and contract counterparties can reconcile cure obligations,

if any, in accordance with section 365 of the Bankruptcy Code; and (b) such counterparties can

object to the assumption and assignment of contracts and/or related cure amounts.


8
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.



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        42.      As set forth in the Bidding Procedures Order, the Debtors also request that any party

that fails to object to the proposed assumption and assignment of any contract be deemed to consent

to the assumption and assignment of the applicable contract pursuant to section 365 of the

Bankruptcy Code on the terms set forth in the Sale Order, along with the cure amounts identified

in the contract notice. See, e.g., In re Boy Scouts of Am., 642 BR 504, 569 (Bankr. D. Del. 2022)

(“The lack of objection of a [creditor] is also consensual for purposes of § 363 and, again,

permissible under § 363(f)(2).”); In re Tabone, Inc., 175 B.R. 855, 858 (Bankr. D.N.J. 1994)

(same); Pelican Homestead v. Wooten (In re Gabel), 61 B.R. 661, 667 (Bankr. W.D.

La. 1985) (same).

        43.      The Debtors believe that the Assumption and Assignment Procedures are fair and

reasonable, provide sufficient notice to parties to the executory contracts and leases, and provide

certainty to all parties in interest regarding their obligations and rights in respect thereof.

Accordingly, the Debtors request that the Court approve the Assumption and Assignment

Procedures set forth in the Bidding Procedures Order.

        D.       The Sale Transactions Should Be Approved as an Exercise of Sound Business
                 Judgment.

        44.      Section 363(b)(1) of the Bankruptcy Code provides that a debtor, “after notice and

a hearing, may use, sell or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). The sale of a debtor’s assets should be authorized pursuant to

section 363 of the Bankruptcy Code if a sound business purpose exists for the proposed

transaction. See, e.g., Schipper, 933 F.2d at 515 (“Under Section 363, the debtor in possession can

sell property of the estate . . . if he has an ‘articulated business justification’ . . . .”); see also Martin,

91 F.3d at 395 (same); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.),




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722 F.2d 1063, 1070 (2d Cir. 1983) (same); In re Telesphere Commc’s, Inc., 179 B.R. 544, 552

(Bankr. N.D. Ill. 1999) (same).

       45.     Once the Debtors articulate a valid business justification, the business judgment

rule “is a presumption that in making a business decision the directors of a corporation acted on

an informed basis, in good faith, and in the honest belief that the action taken was in the best

interests of the company.” In re S.N.A. Nut Co., 186 B.R. 98, 102 (Bankr. N.D. Ill. 1995) (citation

omitted); In re Filene's Basement, LLC, No. 11-13511, 2014 WL 1713416, at *12

(Bankr. D. Del. Apr. 29, 2014) (“If a valid business justification exists, then a strong presumption

follows that the agreement at issue was negotiated in good faith and is in the best interests of the

estate.”) (citing Martin, 91 F.3d at 394.); In re Johns-Manville Corp., 60 B.R. 612, 615–16

(Bankr. S.D.N.Y. 1986) (“[A] presumption of reasonableness attaches to a debtor’s

management decisions.”).

               1.      A Sound Business Purpose Exists for the Sale Transactions.

       46.     The Debtors believe that the Sale Transactions will maximize the value of their

Assets after exposing them to the market as part of a competitive, arm’s length process.

Consequently, after being subject to a “market check” in the form of the Auction, the bid that is

ultimately successful will constitute, in the Debtors’ reasonable business judgment, the highest or

otherwise best offer for the Assets and will provide a greater recovery for their estates than any

known or practicably available alternative.          See, e.g., In re Trans World Airlines, Inc.,

No. 01-00056, 2001 WL 1820326, at *4 (Bankr. D. Del. 2001) (stating that while a “section 363(b)

sale transaction does not require an auction procedure, [t]he auction procedure has developed over

the years as an effective means for producing an arm’s length fair value transaction”).




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        47.     Thus, the Debtors submit that the Winning Bid(s) will constitute the highest or

otherwise best offer for the Assets and will provide a greater recovery for the Debtors’ estates than

would be provided by any other available alternative. As such, the Debtors’ determination to sell

the Assets through an auction process and subsequently to enter into an agency agreement or

purchase agreement, as applicable, with the Winning Bidder(s), will be a valid and sound exercise

of the Debtors’ business judgment. Therefore, the Debtors request that the Court make a finding

that the proposed sale of the Assets is a proper exercise of the Debtors’ business judgment and is

rightly authorized.

        48.     The Debtors have demonstrated that a sound business purpose exists for the sale

free and clear of all encumbrances, due and adequate notice will be provided, the purchase price

reflects fair value, and the Sale Transactions have been proposed in good faith without collusion

or undue influence. The Debtors reserve the right to submit supplemental materials, including

declarations, in connection with the Sale Transactions.

                2.      Adequate and Reasonable Notice of the Sale Transactions Will Be
                        Provided.

        49.     The Sale Notice: (a) will be served in a manner that provides parties in interest

notice of the date, time, and location of the Auction, if any, and the Sale Hearing; (b) informs

parties in interest of the deadlines for objecting to the Sale Transactions or the assumption and

assignment of contracts; and (c) otherwise includes all information relevant to parties interested in

or affected by the Sale Transactions. Significantly, the form and manner of the Sale Notice will

have been approved by this Court pursuant to the Bidding Procedures Order after notice and a

hearing before it is served on parties in interest.




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               3.      The Sale Transactions and Purchase Price Will Reflect a Fair Value
                       Transaction.

       50.     It is well-settled that, where there is a court-approved auction process, a full and

fair price is presumed to have been obtained for the assets sold, as “the best way to determine value

is exposure to the market.” Bank of Am. Nat’l Trust & Sav. Ass’n. v. 203 N. LaSalle St. P’ship,

526 U.S. 434, 457 (1999); Trans World Airlines, at *4 (Bankr. D. Del. 2001).

       51.     As described herein, prior to the Bid Deadline, Centerview will continue to market

the Assets in order to solicit other offers consistent with the Bidding Procedures. For example,

Centerview may contact presumably interested parties as well as previously solicited parties,

continue to provide acceptable bidders with data room access and requested information, consider

a variety of alternative transaction structures, and otherwise assist the Debtors with all efforts to

increase transaction value. In this way, the number of bidders that are eligible to participate in a

competitive Auction process will be maximized.

               4.      The Bidding Procedures Ensure that the Sale Transactions Will Be
                       Proposed in Good Faith and Without Collusion, and the Stalking Horse
                       Bidder(s) or Winning Bidder(s) Will Be “Good-Faith Purchasers.”

       52.     The Debtors request that the Court find the Winning Bidder(s) (including, for the

avoidance of doubt, the Stalking Horse Bidder whose bid is the Winning Bid), arising from the

Auction, if any, are entitled to the benefits and protections provided by section 363(m) of the

Bankruptcy Code in connection with the sale of the assets.

       53.     Section 363(m) of the Bankruptcy Code provides in pertinent part:

               [t]he reversal or modification on appeal of an authorization under
               subsection (b) or (c) of this section of a sale or lease or property does
               not affect the validity of a sale or lease under such authorization to
               an entity that purchased or leased such property in good faith,
               whether or not such entity knew of the pendency of the appeal,
               unless such authorization and such sale or lease were stayed pending
               appeal.



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11 U.S.C. § 363(m).

       54.     Section 363(m) of the Bankruptcy Code thus protects the purchaser of assets sold

pursuant to section 363 of the Bankruptcy Code from the risk that it will lose its interest in the

purchased assets if the order allowing the sale is reversed on appeal, as long as such purchaser

leased or purchased the assets in “good faith.” While the Bankruptcy Code does not define “good

faith,” courts have held that a purchaser shows its good faith through the integrity of its conduct

during the course of the sale proceedings, finding that where there is a lack of such integrity, a

good-faith finding may not be made. See, e.g., In re Abbotts Dairies of Pa., Inc., 788 F.2d 143,

147 (3d Cir. 1986) (“Typically, the misconduct that would destroy a [buyer’s] good faith status at

a judicial sale involves fraud, collusion between the [proposed buyer] and other bidders or the

trustee, or an attempt to take grossly unfair advantage of other bidders.” (citation omitted));

In the Matter of Andy Frain Servs., Inc., 798 F.2d 1113, 1125 (7th Cir. 1986) (“The requirement

that a purchaser act in good faith [] speaks to the integrity of his conduct in the course of

the sale proceedings.” (citation omitted)); In re Sasson Jeans, Inc., 90 B.R. 608, 610

(S.D.N.Y. 1988) (same).

       55.     Accordingly, the Debtors believe that the Winning Bidder(s) arising from the

Auction, if any, should be entitled to the full protections of section 363(m) of the Bankruptcy Code.

               5.      The Sale Transactions Should Be Approved “Free and Clear” Under
                       Section 363(f).

       56.     Section 363(f) of the Bankruptcy Code permits a debtor to sell property free and

clear of another party’s interest in the property if: (a) applicable nonbankruptcy law permits such

a free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale

price of the property exceeds the value of all liens on the property; (d) the interest is the subject of




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a bona fide dispute; or (e) the holder of the interest could be compelled in a legal or equitable

proceeding to accept a monetary satisfaction of its interest. See 11 U.S.C. § 363(f).

        57.      Section 363(f) of the Bankruptcy Code is drafted in the disjunctive.             Thus,

satisfaction of any of the requirements enumerated therein will suffice to warrant the Debtors’ sale

of the assets free and clear of all interests (i.e., all liens, claims, rights, interests, pledges,

obligations, restrictions, limitations, charges, or encumbrances), except with respect to any

interests that may constitute an assumed liability under the applicable agency agreement or

purchase agreement. See In re Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002)

(“[I]f any of the five conditions are met, the debtor has the authority to conduct the sale free and

clear of all liens.”).

        58.      The Debtors submit that any interest that will not be an assumed liability satisfies

or will satisfy at least one of the five conditions of section 363(f) of the Bankruptcy Code, and that

any such interest will be adequately protected by either being paid in full at the time of closing, or

by having it attach to the net proceeds of the Sale Transactions, subject to any claims and defenses

the Debtors may possess with respect thereto. The Debtors accordingly request authority to convey

the assets to the Winning Bidder(s) arising from the Auction, if any, free and clear of all liens,

claims, rights, interests, pledges, obligations, restrictions, limitations, charges, or encumbrances,

with any such liens, claims, rights, interests, pledges, obligations, restrictions, limitations, charges,

or encumbrances to attach to the proceeds of the Sale Transactions.

                 6.      Credit Bidding Should Be Authorized Under Section 363(k) of the
                         Bankruptcy Code.

        59.      A secured creditor is allowed to “credit bid” the amount of its claim in a sale.

Section 363(k) of the Bankruptcy Code provides, in relevant part, that unless the court for cause

orders otherwise, the holder of a claim secured by property that is the subject of the sale “may bid



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at such sale, and, if the holder of such claim purchases such property, such holder may offset such

claim against the purchase price of such property.” 11 U.S.C. § 363(k). Even if a secured creditor

is undersecured as determined in accordance with section 506(a) of the Bankruptcy Code,

section 363(k) of the Bankruptcy Code allows such secured creditor to bid the total face value of

its claim and does not limit the credit bid to the claim’s economic value. In re Submicron Sys.

Corp., 432 F.3d 448, 459–60 (3d Cir. 2006) (“It is well settled among district court and bankruptcy

courts that creditors can bid the full face value of their secured claims under section 363(k).”).

        60.      In this district, absent cause for restricting credit bidding, courts have consistently

ruled in favor of reserving a secured creditor’s right to credit bid its claim. See, e.g., In re Am.

Tire Distribs., Inc., No. 24-12391 (CTG) (Bankr. D. Del. Nov. 26, 2024) (approving bid

procedures which authorized parties with secured claims to credit bid); In re SunPower Corp.,

No. 24-11649 (CTG) (Bankr. D. Del. Aug. 29, 2024) (same); In re Sientra, Inc., No. 24-10245

(JTD) (Bankr. D. Del. Mar. 5, 2024) (same); In re MVK FarmCo LLC, No. 23-11721 (LSS)

(Bankr. D. Del. Nov. 17, 2023) (same); In re Yellow Corp., No. 23-11069 (CTG) (Bankr. D. Del.

Sept. 15, 2023) (same). 9

        61.      Accordingly, the Debtors’ prepetition secured lenders should be entitled to credit

bid some or all of the claims secured by their collateral pursuant to section 363(k) of the

Bankruptcy Code.




9
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.



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               7.      The Assumption and Assignment of Contracts Reflects the Debtors’
                       Reasonable Business Judgment.

       62.     To facilitate and effectuate the sale of the Assets, the Debtors seek authority to

assign or transfer executory contracts to the Winning Bidder(s) arising from the Auction, if any,

to the extent required by such bidders.

       63.     Section 365 of the Bankruptcy Code authorizes a debtor to assume and/or assign

their executory contracts and unexpired leases, subject to the approval of the court, provided that

the defaults under such contracts and leases are cured and adequate assurance of future

performance is provided. The Debtors’ decision to assume or reject an executory contract or

unexpired lease must only satisfy the “business judgment rule” and will not be subject to review

unless such decision is clearly an unreasonable exercise of such judgment. See, e.g., Grp. of Inst’l

Invrs. v. Chi., Milwaukee, St. Paul & Pac. R.R. Co., 318 U.S. 523 (1943) (applying Bankruptcy

Act section 77(b), predecessor to Bankruptcy Code section 365, and rejecting test of whether

executory contract was burdensome in favor of whether rejection is within debtor’s business

judgment); Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 40 (3d Cir. 1989)

(describing deference to a debtor’s business judgment as “breathing space afforded [to] the debtor

to consider whether to reject or assume executory contracts under the [Bankruptcy] Code”);

In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006) (“The propriety of a decision to reject

an executory contract is governed by the business judgment standard.”); In re Network Access

Sols., Corp., 330 B.R. 67, 75 (Bankr. D. Del. 2005) (“The standard for approving the assumption

of an executory contract is the business judgment rule.”).

       64.     Here, the Court should approve the decision to assume and assign the

Assigned Contracts in connection with the Sale Transactions as a sound exercise of the Debtors’

business judgment. First, the Assigned Contracts may be necessary to operate certain assets and,



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as such, they are essential to inducing the best offer for those assets. And second, it is unlikely

that any purchaser would want to acquire certain assets unless a significant number of the contracts

and leases needed to operate such assets, if applicable, are included in the transaction.

       65.     Accordingly, the Debtors submit that the assumption and assignment of the

Assigned Contracts by way of the Assumption and Assignment Procedures should be approved as

an exercise of the Debtors’ business judgment.

               8.        Defaults Under the Assigned Contracts Will Be Cured Through
                         the Sale Transactions.

       66.     Upon finding that a debtor has exercised its business judgment in determining that

assuming an executory contract is in the best interest of its estate, courts must then evaluate

whether the assumption meets the requirements of section 365(b) of the Bankruptcy Code,

specifically that a debtor (a) cure, or provide adequate assurance of promptly curing, prepetition

defaults in the executory contract, (b) compensate parties for pecuniary losses arising therefrom,

and (c) provide adequate assurance of future performance thereunder. This section “attempts to

strike a balance between two sometimes competing interests, the right of the contracting

non-debtor to get the performance it bargained for and the right of the debtor’s creditors to get the

benefit of the debtor’s bargain.” In re Luce Indus., Inc., 8 B.R. 100, 107 (Bankr. S.D.N.Y. 1980).

       67.     The Debtors submit that the statutory requirements of section 365(b)(1)(A) of the

Bankruptcy Code will be promptly satisfied. Because the Assumption and Assignment Procedures

provide a clear process by which to resolve disputes over cure amounts or other defaults, the

Debtors are confident that if defaults exist that must be cured, such cure will be achieved fairly,

efficiently, and properly, consistent with the Bankruptcy Code and with due respect to the rights

of non-Debtor parties.




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               9.      Non-Debtor Parties Will Be Adequately Assured of Future
                       Performance.

       68.     Similarly, the Debtors submit that the third requirement of section 365(b) of the

Bankruptcy Code—adequate assurance of future performance—is also satisfied given the facts

and circumstances present here. “The phrase ‘adequate assurance of future performance’ was

adopted from Uniform Commercial Code section 2-609” and is to be given a practical, pragmatic

construction based upon the facts and circumstances of each case. In re U.L. Radio Corp., 19 B.R.

537, 542 (Bankr. S.D.N.Y. 1982). Although no single solution will satisfy every case, “the degree

of assurance necessary falls considerably short of an absolute guaranty.” In re Decora Indus., Inc.,

No. 00-4459, 2002 WL 32332749, at *8 (D. Del. May 20, 2002) (citing In re Prime Motor Inns,

Inc., 166 B.R. 993, 997 (Bankr. S.D. Fla. 1994)). Among other things, adequate assurance may

be given by demonstrating the assignee’s financial health and experience in managing the type of

enterprise or property assigned. See Dura Auto., 2007 WL 7728109, at *97 (finding adequate

assurance of future performance present where a prospective assignee has financial resources and

has expressed a willingness to devote sufficient funding to a business to give it a strong likelihood

of succeeding); In re Bygaph, Inc., 56 B.R. 596, 605−06 (Bankr. S.D.N.Y. 1986) (same).

       69.     The Debtors believe that they can and will demonstrate that the requirements for

assumption and assignment of the Assigned Contracts to the Winning Bidder(s) arising from the

Auction, if any, will be satisfied. As required by the Bidding Procedures, the Debtors will evaluate

the financial wherewithal of potential bidders before designating such party a Qualified Bidder

(e.g., financial credibility, willingness, and ability of the interested party to perform under the

Assigned Contracts) and will demonstrate such financial wherewithal, willingness, and ability to

perform under the Assigned Contracts assigned to the Winning Bidder(s) arising from the Auction.

Further, the Assumption and Assignment Procedures provide the Court and other interested parties



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ample opportunity to evaluate and, if necessary, challenge the ability of the Winning Bidder(s)

arising from the Auction to provide adequate assurance of future performance and object to the

assumption of the Assigned Contracts or proposed cure amounts. The Court therefore should have

a sufficient basis to authorize the Debtors to reject or assume and assign the Assigned Contracts.

       E.      Relief Under Bankruptcy Rules 6004(h) and 6006(d) Is Appropriate.

       70.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

of property . . . is stayed until the expiration of fourteen days after the entry of the order, unless

the court orders otherwise.” Additionally, Bankruptcy Rule 6006(d) provides that an “order

authorizing the trustee to assign an executory contract or unexpired lease . . . is stayed until the

expiration of fourteen days after the entry of the order, unless the court orders otherwise.” The

Debtors request that any sale order, if necessary, entered in connection with a Sale Transaction be

effective immediately upon its entry by providing that the fourteen-day stays under Bankruptcy

Rules 6004(h) and 6006(d) are waived.

       71.     The purpose of Bankruptcy Rules 6004(h) and 6006(d) is to provide sufficient time

for an objecting party to appeal before an order can be implemented. See Advisory Committee

Notes to Fed. R. Bankr. P. 6004(h) and 6006(d). Although Bankruptcy Rules 6004(h) and 6006(d)

and the Advisory Committee Notes are silent as to when a court should “order otherwise” and

eliminate or reduce the fourteen-day stay period, the leading treatise on bankruptcy suggests that

the fourteen-day stay should be eliminated to allow a sale or other transaction to close immediately

“where there has been no objection to procedure.”            10 Collier on Bankruptcy ¶ 6004.10

(15th rev. ed. 2006). Furthermore, if an objection is filed and overruled, and the objecting party

informs the court of its intent to appeal, the stay may be reduced to the amount of time actually

necessary to file such appeal. Id.




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       72.     To maximize the value received for the Assets, the Debtors seek to close the Sale

Transactions as soon as possible after the Sale Hearing. Accordingly, the Debtors hereby request

that the Court waive the fourteen-day stay period under Bankruptcy Rules 6004(h) and 6006(d).

                                       Reservation of Rights

       73.     Notwithstanding anything to the contrary herein, nothing contained in this motion

or any actions taken pursuant to any order granting the relief requested by this motion (including

any payment made in accordance with any such order), is intended as or shall be construed or

deemed to be: (a) an implication or admission as to the amount of, basis for, or validity of any

particular claim against the Debtors under the Bankruptcy Code or other applicable

non-bankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s rights to dispute

any particular claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission, or finding that any particular claim is an administrative expense

claim, other priority claim, or otherwise of a type specified or defined in this motion or any order

granting the relief requested by this motion; (e) a request or authorization to assume, adopt, or

reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation of the

Debtors’ or any other party in interest’s claims, causes of action, or other rights under the

Bankruptcy Code or any other applicable law. If the Court grants the relief sought herein, any

payment made pursuant to the Court’s order is not intended and should not be construed as an

admission as to the validity, priority, or amount of any particular claim or a waiver of the Debtors’

or any other party in interest’s rights to subsequently dispute such claim.

                       Waiver of Bankruptcy Rules 6004(a) and 6004(h)

       74.     The Debtors request that the Court enter an order providing that notice of the relief


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requested herein satisfies Bankruptcy Rule 6004(a) and that the Debtors have established cause to

exclude such relief from the fourteen day stay period under Bankruptcy Rule 6004(h).

                                               Notice

       75.     The Debtors will provide notice of this motion to the following parties or their

respective counsel: (a) the Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”); (b) counsel to the Prepetition Term Loan Agent; (c) counsel to the Prepetition

ABL Agent; (d) counsel to the Prepetition FILO Agent; (e) the creditors listed on the Debtors’

consolidated list of thirty creditors holding the largest unsecured claims; (f) the United States

Attorney for the District of Delaware; (g) the Internal Revenue Service; (h) the state attorneys

general for states in which the Debtors conduct business; (i) the Stalking Horse Bidder and counsel

thereto; and (j) any party that is entitled to notice pursuant to Bankruptcy Rule 2002 (collectively,

the “Notice Parties”). As this motion is seeking “first day” relief, within two business days of the

hearing on this motion, the Debtors will serve copies of this motion and any order entered in respect

to this motion as required by Local Rule 9013-1(m). The Debtors submit that, in light of the nature

of the relief requested, no other or further notice need be given.

                           [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors request entry of the Bidding Procedures Order, substantially

in the form attached hereto as Exhibit A, (a) granting the relief requested herein and (b) granting

such other relief as the Court deems appropriate under the circumstances.

Dated: January 15, 2025
Wilmington, Delaware

 /s/ Patrick J. Reilley
  COLE SCHOTZ P.C.                                 KIRKLAND & ELLIS LLP
  Patrick J. Reilley (No. 4451)                    KIRKLAND & ELLIS INTERNATIONAL LLP
  Stacy L. Newman (No. 5044)                       Joshua A. Sussberg, P.C. (pro hac vice pending)
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 Proposed Co-Counsel to the Debtors                Proposed Co-Counsel to the Debtors
 and Debtors in Possession                         and Debtors in Possession
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                       Exhibit A

                Bidding Procedures Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (___)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )        Re: Docket No. _

                          ORDER (I) APPROVING BIDDING
            PROCEDURES, (II) SCHEDULING CERTAIN DATES AND DEADLINES
         WITH RESPECT THERETO, (III) APPROVING THE FORM AND MANNER OF
        NOTICE THEREOF, (IV) APPROVING THE STALKING HORSE AGREEMENT,
       (V) ESTABLISHING NOTICE AND PROCEDURES FOR THE ASSUMPTION
      AND ASSIGNMENT OF ASSUMED CONTRACTS AND LEASES, (VI) AUTHORIZING
     THE ASSUMPTION AND ASSIGNMENT OF ASSUMED CONTRACTS AND LEASES,
    (VII) APPROVING THE SALE OF ASSETS, AND (VIII) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing and approving the

Bidding Procedures attached hereto as Exhibit 1, (b) approving the terms of the Stalking Horse

Agreement attached as Exhibit 2 and the Stalking Horse Bid as a Qualified Bid, (c) establishing

certain related dates and deadlines, (d) approving the form and manner of notice of the Auction

and the Sale Transactions, attached hereto as Exhibit 3 (the “Sale Notice”), (e) approving the form

and manner of notice of the Winning Bidder(s) if there is no auction attached hereto as

Exhibit 4(a), and, if there is an auction, the form and manner of notice of the Winning Bidder(s)

attached hereto as Exhibit 4(b) (collectively, the “Notice of Winning Bidder” and “Exhibit 4”),



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
      Bidding Procedures, as applicable.

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(f) approving the Assumption and Assignment Procedures, including the notices of potential

assumption and proposed cure amounts attached hereto as Exhibit 5 (the “Cure Notice”), and

(g) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and the United States District Court for the District of Delaware having jurisdiction

over this matter pursuant to 28 U.S.C. § 1334, which was referred to the Court under 28 U.S.C. §

157 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate and no other or further notice need or shall be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein, if any, at a hearing before this Court on [●], 2025 (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY FOUND AND
                               3
DETERMINED THAT:




3   The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law pursuant
    to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent
    any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any
    of the following conclusions of law constitute findings of fact, they are adopted as such.


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        Jurisdiction and Venue. The United States District Court for the District of Delaware has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was referred to the United States

Bankruptcy Court for the District of Delaware (the “Court”) under 28 U.S.C. § 157 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012.            This matter is a core proceeding pursuant to

28 U.S.C. § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        Statutory and Legal Predicates. The statutory and legal predicates for the relief requested

in the Motion are sections 105(a), 363, 365, 503, and 507 of the Bankruptcy Code, Bankruptcy

Rules 2002, 6004, 6006, 9007, 9008, and 9014 and Local Rules 1075-1, 2002-1, and 9013-1. The

Debtors have articulated good and sufficient reasons for the Court to grant the relief requested in

the Motion.

        Sale Process. The Debtors and their advisors have been engaging with a number of

potential interested parties to solicit and develop the highest and otherwise best offers for

the Assets.

        Bidding Procedures.       The Debtors have articulated good and sufficient business

reasons for the Court to approve the bidding procedures attached hereto as Exhibit 1

(the “Bidding Procedures”).      The Bidding Procedures are fair, reasonable and appropriate, and

are designed to maximize the value of the proceeds of one or more sales (the “Sale Transactions”)

of the Debtors’ assets (the “Assets”). The Bidding Procedures were negotiated in good faith and

at arm’s-length and are reasonably designed to promote a competitive and robust bidding process

to generate the greatest level of interest in the Assets.

        Stalking Horse Bidder. The Expense Reimbursement payable under the Stalking Horse

Agreement shall be deemed an actual and necessary cost of preserving the Debtors’ estates within




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the meaning of sections 503(b) and 507(a)(2) of the Bankruptcy Code and treated as an allowed

administrative expense claim against the Debtors’ estates pursuant to sections 503(b) and 507(a)(2)

of the Bankruptcy Code.

          Sale Notice.   The Sale Notice, substantially in the form attached hereto as Exhibit 3, is

reasonably calculated to provide interested parties with timely and proper notice of the Auction (if

any) and any Sale Transaction with respect to the Assets, including, without limitation: (a) the

date, time, and place of the Auction; (b) the Bidding Procedures; (c) the deadline for filing

objections to the Sale Transactions and entry of an order approving any Sale Transactions; and

(d) notice of the proposed assumption and assignment of Contracts to the Winning Bidder(s),

if any.

          Assumption and Assignment Provisions.          The Debtors have articulated good and

sufficient business reasons for the Court to approve the assumption and assignment procedures set

forth herein (the “Assumption and Assignment Procedures”), which are fair, reasonable, and

appropriate.     The Assumption and Assignment Procedures comply with the provisions of

section 365 of the Bankruptcy Code and Bankruptcy Rule 6006.

          Notice of Winning Bidder. The Notice of Winning Bidder, substantially in the form

attached hereto as Exhibit 4, is reasonably calculated to provide interested parties with timely and

proper notice of any proposed Sale Transaction with respect to the Assets, including, without

limitation: (a) the Winning Bidder(s) for the Assets, (b) the Back-Up Bidder(s), if applicable,

(c) the key terms of the proposed Sale Transaction, and (d) the date, time, and place of the

Sale Hearing.

          Cure Notice. The Cure Notice, the form of which is attached hereto as Exhibit 5, is

appropriate and reasonably calculated to provide all interested parties with timely and proper notice




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of the Assumption and Assignment Procedures, as well as any and all objection deadlines related

thereto, and no other or further notice shall be required for the Motion and the procedures described

therein (including the Assumption and Assignment Procedures), except as expressly

required herein.

       Notice.     Notice of the Motion, the proposed Bidding Procedures, the proposed

Assignment and Assumption Procedures, and the Hearing was (i) appropriate and reasonably

calculated to provide all interested parties with timely and proper notice, (ii) in compliance with all

applicable requirements of the Bankruptcy Code, the Bankruptcy Rules and the Local Rules and

(iii) adequate and sufficient under the circumstances of the Debtors’ chapter 11 cases, such that no

other or further notice need or shall be required or provided except as set forth in the Bidding

Procedures and the Assumption and Assignment Procedures. A reasonable opportunity to object

and be heard regarding the relief granted herein has been afforded to all parties in interest.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       The Motion is GRANTED as set forth herein.

       All objections to the relief granted in this order (the “Order”) that have not been withdrawn,

waived, or settled, and all reservations of rights included therein, are hereby overruled and denied

on the merits with prejudice.

A.     The Bidding Procedures

       1.        The Bidding Procedures attached hereto as Exhibit 1 are hereby approved, are

incorporated herein by reference, and shall govern the Bids and proceedings related to any sale of

the Assets and the Auction (if any) in all respects. The procedures and requirements set forth in

the Bidding Procedures, including those associated with submitting a Qualified Bid, are fair,

reasonable, and appropriate, and are designed to maximize recoveries for the benefit of the




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Debtors’ estates, creditors, and other parties in interests. The Debtors are authorized to take any

and all actions necessary or appropriate to implement the Bidding Procedures.

        2.      The failure to specifically include or reference any particular provision of the

Bidding Procedures in the Motion or this Order shall not diminish or otherwise impair the

effectiveness of such procedures, it being the Court’s intent that the Bidding Procedures are

approved in their entirety, as if fully set forth in this Order.

        3.      Subject to this Order and the Bidding Procedures, the Debtors, in the exercise of

their reasonable business judgment and in a manner consistent with their fiduciary duties and

applicable law, in consultation with the Consultation Parties, shall have the right to, in each case

with respect to any Assets being sold pursuant to the Bidding Procedures, (a) determine which

Qualified Bid is the highest or otherwise best offer for the applicable Assets, (b) reject any Bid that

the Debtors determine is (i) inadequate or insufficient, (ii) not in conformity with the requirements

of the Bankruptcy Code or the Bidding Procedures, or (iii) contrary to the best interests of the

Debtors’ estates and their creditors, and (c) impose such other terms and conditions upon Qualified

Bidders as the Debtors determine to be in the best interests of the Debtors’ estates in these

chapter 11 cases.

        4.      Subject to this Order and the Bidding Procedures, the Debtors shall have the right,

in their reasonable business judgment and in a manner consistent with their fiduciary duties and

applicable law, in consultation with the Consultation Parties, to modify the Bidding Procedures,

including to, among other things, (a) extend or waive deadlines or other terms and conditions set

forth therein, (b) adopt new rules and procedures for conducting the bidding and the Auction

process, (c) provide reasonable accommodations to the Stalking Horse Bidder, or (d) otherwise

modify the Bidding Procedures to further promote competitive bidding for and maximizing the




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value of the Assets, as applicable; provided that such extensions, waivers, new rules and

procedures, accommodations, and modifications (except as are consented to or otherwise approved

or permitted in accordance with the Bidding Procedures) (i) do not conflict with and are not

inconsistent with this Order, the Bidding Procedures, the Bankruptcy Code, or any order of the

Court and (ii) are as promptly as practicable communicated to each Qualified Bidder or at the

Auction (if any).

       5.      If the Debtors, in consultation with the Consultation Parties, determine not to

conduct an Auction for the Assets, then the Debtors shall file a notice with the Court of such

determination within one (1) business day of making such determination.

       6.      The Debtors shall consult with the Consultation Parties in good faith regarding the

sale process for the Assets and the Sale Transactions, including evaluation of any and all Bids,

scheduling and operation of the Auction (if applicable), and selection of a Winning Bid, as well as

any modifications of the Bidding Procedures, provided that subject to the Bidding Procedures, the

Debtors shall not be required to consult with a Consultation Party regarding the evaluation of Bids

or the selection of a Winning bid if such Consultation Party has submitted a competing Bid.

       7.      Except for the Expense Reimbursement provided to the Stalking Horse Bidder, no

person or entity participating in the Debtors’ sale process under the Bidding Procedures shall be

entitled to any expense reimbursement, break-up fees, “topping” fees, termination fees, or other

fees, payments, or reimbursements whatsoever in connection with any Bid, preparation thereof, or

participation at the Auction (if any) or generally under the Bidding Procedures; and, by submitting

a Bid, such person or entity shall be deemed to have forever waived its right to request or to file

with the Court any request for allowance or payment of any such expense reimbursement or fee(s),

whether by virtue of section 503(b) of the Bankruptcy Code or otherwise.




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       8.      Any deposit provided by the Stalking Horse Bidder or other Qualified Bidder (as

required under the Bidding Procedures or the Stalking Horse Agreement) shall be held in escrow

by the Debtors or their agent and shall not become property of the Debtors’ bankruptcy estates

unless and until released from escrow to the Debtors pursuant to the terms of the Bidding

Procedures, the applicable escrow agreement, or an order of the Court.

B.     The Stalking Horse Agreement and Expense Reimbursement.

       9.      The Debtors are authorized to enter into the Stalking Horse Agreement with Gordon

Brothers Retail Partners, LLC (“Gordon Brothers”) for the purchase and sale of the Assets attached

as Exhibit 2, and the terms of the Stalking Horse Agreement are hereby approved. Gordon

Brothers shall be deemed the Stalking Horse Bidder and a Qualified Bidder, and Gordon Brothers’

Bid contemplated by the Stalking Horse Agreement shall be deemed a Qualified Bid and, for

avoidance of doubt, need not comply with each Bid Requirement.

       10.     The Expense Reimbursement for the Stalking Horse Bidder is approved in its

entirety, and the amount of such Expense Reimbursement shall be an allowed administrative

expense claim under section 503(b) of the Bankruptcy Code. The Debtors are authorized and

directed to pay any amounts that may become due to the Stalking Horse Bidder on account of the

Expense Reimbursement on the terms set forth in the Stalking Horse Agreement. For the

avoidance of doubt, no other Qualified Bidder for the Assets shall be entitled to any form of

expense reimbursement.




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C.      Important Dates and Deadlines.

        11.    The following dates and deadlines are hereby approved:

                 Date and Time
                                                                    Event or Deadline
     (all times in prevailing Eastern Time)
 February 12, 2025, at 5:00 p.m.                 Bid Deadline
                                                 Notice of Winning Bidder and Cancellation of
 February 13, 2025
                                                 Auction (if no Auction)
 February 13, 2025                               Sale Objection Deadline for the Stalking Horse Bid
 February 14, 2025, at 10:00 a.m.                Auction (if any)
 February 14, 2025, at 10:00 a.m. (subject
                                                 Sale Hearing (if no Auction)
 to Court availability)
 February 15, 2025 (or as soon as
                                                 Notice of Winning Bidder(s) (if there is an Auction)
 reasonably practicable thereafter)
                                                 Sale Objection Deadline for Winning Bid(s) (if there
 February 18, 2025, at 5:00 p.m.
                                                 is an Auction)
 February 22, 2025, at 10:00 a.m. (subject
                                                 Sale Hearing (if there is an Auction)
 to Court availability)

        12.    The deadline by which Bids for any Assets, as applicable, must be actually received

by the Debtors and their advisors (as set forth in the Bidding Procedures) is February 12, 2025,

at 5:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”).

        13.    Each Qualified Bidder participating in the Auction, if any, shall be required to

confirm that it has not engaged in any collusion with respect to any bidding (including preparing

or submitting its Bid(s)) or the Sale Transactions, as set forth in the Bidding Procedures; and the

Auction, if any, shall be transcribed or otherwise recorded.

        14.    The Debtors shall file with the Court the Notice of Winning Bidder, identifying the

identity of the Winning Bidder(s) (as applicable), the amount of the Winning Bid(s) (as applicable),

and, if the Winning Bidder (as applicable) is a credit bidder, what portion of its bid is a credit bid

and what portion (if any) is cash, by: February 13, 2025, or as soon as reasonably practicable



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thereafter if there is not an Auction, and February 15, 2025 or as soon as reasonably practicable

thereafter if there is an Auction. If the Winning Bidder is a special purpose entity, the notice shall

also identify the entity or entities that are its primary equity holders, or otherwise control, the

special purpose entity.

       15.     Objections to the proposed order approving any Winning Bid(s) (and/or designation

of a Back-Up Bid(s), as applicable) (the “Sale Order,” and such objections, “Sale Objections”)

must be made on or before: February 13, 2025, at 5:00 p.m. (prevailing Eastern Time) to the

Stalking Horse Bid, or February 18, 2025, at 5:00 p.m. (prevailing Eastern Time) (the “Sale

Objection Deadline”) if there is an Auction, and the Sale Order shall be in form and substance

reasonably acceptable to the Prepetition ABL Agent and the Prepetition FILO Agent. All Sale

Objections must: (a) be in writing; (b) conform to the applicable provisions of the Bankruptcy

Rules and the Local Rules; (c) state with particularity the legal and factual basis for the Sale

Objection and the specific grounds therefor; and (d) be filed with the Court and served so as to be

actually received by the following parties (the “Notice Parties”) no later than the Sale

Objection Deadline:




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      Proposed Co-Counsel to the Debtors                        Proposed Co-Counsel to the Debtors
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                                                           The Prepetition Term Loan Agent and Counsel
  Proposed Investment Banker to the Debtors                                     Thereto
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          New York, New York 10019                                   New York, New York 10019
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                                                                               - and -
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       16.     If any party fails to timely file with the Court and serve a Sale Objection by the

Sale Objection Deadline or otherwise abide by the procedures set forth in the Bidding Procedures

regarding an objection to the Sale Transaction, such party shall be barred from asserting, at the

Sale Hearing or otherwise, any objection to the relief requested in the Motion or to the

consummation and performance of the Sale Transaction, including the transfer of the applicable

Asset(s) to the applicable Winning Bidder(s) free and clear of all liens, claims, interests, and

encumbrances pursuant to section 363(f) of the Bankruptcy Code, and shall be deemed to

“consent” to the Sale Transaction for purposes of section 363(f) of the Bankruptcy Code.

       17.     The Court will hold a hearing to consider approval of the Sale Transaction(s) on

February 14, 2025 at 10:00 a.m. (prevailing Eastern Time), subject to Court availability if there

is not an Auction, and February 22, 2025 at 10:00 a.m. (prevailing Eastern Time), subject to

Court availability if there is an Auction (the “Sale Hearing”). The Sale Hearing may be adjourned

in accordance with the Bidding Procedures by announcement in open court or on the Court’s calendar

without any further notice required.

E.     Credit Bidding

       18.     Any bidder holding a perfected security interest in any of the Assets may seek to

credit bid all, or a portion of, such bidder’s claims for its respective collateral in accordance with

section 363(k) of the Bankruptcy Code (each such bid, a “Credit Bid”); provided, that such Credit

Bid complies with the terms of the Bidding Procedures. Any Credit Bid that complies with the terms

of the Bidding Procedures shall qualify as a Qualified Bid without requiring a good faith deposit,

and the applicable Prepetition ABL Lenders, Prepetition ABL Agent, Prepetition FILO Lenders, or

Prepetition FILO Agent shall be deemed a Qualified Bidder for purposes of any such Credit Bid.




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F.     Notice of Sale Transactions

       19.          The Sale Notice, substantially in the form attached to this Order as Exhibit 3, is

approved with respect to the Auction which may be held under the Bidding Procedures. Within

three (3) business days of the entry of this Order, the Debtors shall cause the Sale Notice to be

served (including by e-mail, where applicable) upon parties in interest and, along with the Motion,

this Order, and all of this Order’s exhibits and schedules, posted on the Debtors’ restructuring

webpage        at    https://cases.ra.kroll.com/Joann2025     (or   such    other   applicable   URL)

(the “Case Webpage”).

       20.          Within three (3) business days after entry of this Order or as soon as reasonably

practicable thereafter, the Debtors shall place a publication version of the Sale Notice for one day

in The New York Times (national edition) and post it onto the Case Webpage. Such notice shall be

deemed sufficient and proper notice of the Bidding Procedures, the Sale Transactions, and the

Auction (if any) with respect to known interested parties and no other or further notice shall

be required.

       21.          Within one (1) business day after the conclusion of the Auction (if any), or as soon

as reasonably practicable thereafter and in accordance with the Bidding Procedures, the Debtors

will file on the docket the Notice of Winning Bidder substantially in the form attached to this Order

as Exhibit 3.

G.     Assumption and Assignment Procedures.

       22.          The Assumption/Assignment Procedures below are hereby approved in all respects

and shall be the procedures by which the Debtors will notify any counterparties

(the “Contract Counterparties”) to executory contracts and unexpired leases with the Debtors

(the “Contracts”) of proposed cure amounts in the event the Debtors determine to assume and




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assign such Contracts in connection with the Sale Transactions. Within two (2) business days of

the Auction, if any, for any Sale Transaction, to the extent the Debtors seek to assume and assign

an executory contract and/or unexpired lease, the Debtors will provide via first class mail and/or

email (to the extent email is reasonably known) information of all proposed forms of adequate

assurance of future performance they have received from the Stalking Horse Bidder or each

Winning Bidder and Back-up Bidder, as applicable, to Contract Counterparties and their counsel,

if known. Requests by contract or lease counterparties to receive adequate assurance information

via e-mail may be made to Debtors’ counsel at: aparna.yenamandra@kirkland.com,

jeff.michalik@kirkland.com, and lindsey.blumenthal@kirkland.com.

       23.     Nothing in this Order shall be deemed to limit the Debtors’ or the Winning Bidder’s

ability to negotiate partial assumption and/or assumption and assignment of Contracts with

Contract Counterparties on a consensual basis.

       a.      Cure Notice. No later than fourteen (14) calendar days prior to any Cure Objection
               deadline, the Debtors shall file with the Court and serve via first class mail,
               electronic mail, or overnight delivery, the Cure Notices, attached hereto as
               Exhibit 5, on the Contract Counterparties and the Consultation Parties, and post
               the Cure Notice to the Case Webpage.

       b.      Content of Cure Notice. The Cure Notice shall notify the applicable Contract
               Counterparties that the Contracts may be subject to assumption and assignment in
               connection with the Sale, and contain the following information: (i) a list of the
               applicable Contracts that may be assumed or assumed and assigned in connection
               with the Sale (the “Assigned Contracts,” and each individually,
               an “Assigned Contract”); (ii) the applicable Contract Counterparties;
               (iii) the Debtors’ good faith estimates of the proposed amount necessary to cure all
               monetary defaults, if any, under each Assigned Contract (the “Cure Costs”); and
               (iv) the deadline by which any Contract Counterparty to an Assigned Contract must
               file an objection to the proposed assumption, assignment, cure, and/or adequate
               assurance and the procedures relating thereto (the “Cure Objection”); provided that
               service of a Cure Notice does not constitute an admission that such Assigned
               Contract is an executory contract or unexpired lease or that such Assigned Contract
               will be assumed at any point by the Debtors or assumed and assigned pursuant to
               any Winning Bid.




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c.    Cure Objections. Cure Objections, if any, to a Cure Notice must: (i) be in writing;
      (ii) comply with the applicable provisions of the Bankruptcy Rules, the Local
      Rules, and any order governing the administration of these chapter 11 cases;
      (iii) state with specificity the nature of the objection and, if the Cure Objection
      pertains to the proposed Cure Costs, state the cure amount alleged to be owed to
      the objecting Contract Counterparty, together with any applicable and appropriate
      documentation in support thereof; provided that the Debtors may modify any Cure
      Objection deadline by filing a notice of such modification on the Court’s docket.

d.    Effects of Filing a Cure Objection. A properly filed Cure Objection will reserve
      such objecting party’s rights against the Debtors only with respect to the
      assumption and assignment of the Assigned Contract at issue, and/or objection to
      the accompanying Cure Costs, as set forth in the Cure Objection, but will not
      constitute an objection to the remaining relief requested in the Sale Order.

e.    Dispute Resolution. Any Cure Objection to the assumption or assumption and
      assignment of an Assigned Contract or Cure Costs that remains unresolved after
      the Sale Hearings shall be heard at such later date as may be agreed upon by the
      parties or fixed by the Court. To the extent that any Cure Objection cannot be
      resolved by the parties, such Contract shall be assumed and assigned only upon
      satisfactory resolution of the Cure Objection, to be determined in the Winning
      Bidder’s reasonable discretion. To the extent a Cure Objection remains unresolved,
      the Contract may be conditionally assumed and assigned, subject to the consent of
      the Winning Bidder, pending a resolution of the Cure Objection after notice and a
      hearing. If a Cure Objection is not satisfactorily resolved, the Winning Bidder may
      determine that such Contract should not be assumed and assigned, in which case
      the Winning Bidder(s) will not be responsible for any Cure Costs in respect of such
      contract. Notwithstanding the foregoing, if a Cure Objection relates solely to the
      Cure Costs (any such objection, a “Cure Dispute”), the applicable Assigned
      Contract may be assumed by the Debtors and assigned to the Winning Bidder
      provided that the cure amount the Contract Counterparty asserts is required to be
      paid under section 365(b)(1)(A) and (B) of the Bankruptcy Code (or such lower
      amount as agreed to by the Contract Counterparty) is deposited in a segregated
      account by the Debtors pending the Court’s adjudication of the Cure Dispute or the
      parties’ consensual resolution of the Cure Dispute.

f.    Supplemental Cure Notice. If the Debtors discover Contracts inadvertently
      omitted from the Cure Notice or a Winning Bidder identifies other Contracts that it
      desires to assume or assume and assign in connection with the sale, the Debtors
      may, after consultation with such Winning Bidder, at any time before the closing
      of the sale, supplement the Cure Notice with previously omitted Contracts, or
      modify a previously filed Cure Notice, including by modifying the previously
      stated Cure Costs associated with any Contracts (the “Supplemental Cure Notice”).

g.    Objection to the Supplemental Cure Notice. Any Contract Counterparty listed
      on the Supplemental Cure Notice may file an objection (a “Supplemental Cure
      Objection”) only if such objection is to the proposed assumption or assumption and


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               assignment of the applicable Contracts or the proposed Cure Costs, if any, modified
               by the Supplemental Cure Notice.               All Supplemental Cure Objections
               must: (i) state, with specificity, the legal and factual basis for the objection as well
               as what Cure Costs are required, if any; (ii) include appropriate documentation in
               support thereof; and (iii) be filed no later than 5:00 p.m. (prevailing Eastern Time)
               on the date that is fourteen (14) calendar days following the date of service of such
               Supplemental Cure Notice, which date will be set forth in the Supplemental
               Cure Notice.

       h.      Dispute Resolution of Supplemental Cure Objection. If a Contract Counterparty
               files a Supplemental Cure Objection in a manner that is consistent with the
               requirements set forth above, and the parties are unable to consensually resolve the
               dispute, the Debtors shall seek an expedited hearing before the Court to determine
               the Cure Costs, if any, and approve the assumption of the relevant Contracts. If
               there is no such objection, then the Debtors shall obtain an order of this Court fixing
               the Cure Costs and approving the assumption of any Contract listed on a
               Supplemental Cure Notice. Notwithstanding the foregoing, if a Supplemental Cure
               Objection relates solely to a Cure Dispute, the applicable Assigned Contract may
               be assumed by the Debtors and assigned to the Winning Bidder provided that the
               cure amount the Contract Counterparty asserts is required to be paid under
               section 365(b)(1)(A) and (B) of the Bankruptcy Code (or such lower amount as
               agreed to by the Contract Counterparty) is deposited in a segregated account by the
               Debtors pending the Court’s adjudication of the Cure Dispute or the parties’
               consensual resolution of the Cure Dispute.

H.     Miscellaneous.

       24.     All persons and entities that participate in the applicable Auction (if any) or bidding

for any Assets during the sale process under the Bidding Procedures shall be deemed to have

knowingly and voluntarily (i) consented to the core jurisdiction of the Court to enter any order

related to the Bidding Procedures, the Auction (if any), or any other relief requested in the Motion

or granted in this Order, and (ii) waived any right to a jury trial in connection with any disputes

relating to the Bidding Procedures, the Auction, or any other relief requested in the Motion or

granted in this Order.

       25.     This Order shall be binding on the Debtors and its successors and assigns, including

any chapter 7 or chapter 11 trustee or other fiduciary appointed for the estates of the Debtors.




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       26.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       27.      To the extent that there may be any inconsistency between the terms of the Motion,

the Stalking Horse Agreement, the Bid Procedures, and this Order, the terms of this Order

shall govern.

       28.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief (including any payment made in accordance with this Order), nothing in this Order is

intended as or shall be construed or deemed to be: (a) an implication or admission as to the amount

of, basis for, or validity of any particular claim against the Debtors under the Bankruptcy Code or

other applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

rights to dispute any particular claim on any grounds; (c) a promise or requirement to pay any

particular claim; (d) an implication, admission, or finding that any particular claim is an

administrative expense claim, other priority claim, or otherwise of a type specified or defined in

this Order or the Motion or any order granting the relief requested by the Motion; (e) a request or

authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability, or perfection

of any lien on, security interest in, or other encumbrance on property of the Debtors’ estates; (g) a

waiver or limitation of the Debtors’ or any other party in interest’s claims, causes of action, or

other rights under the Bankruptcy Code or any other applicable law; (h) an approval, assumption,

adoption, or rejection of any agreement, contract, lease, program, or policy under section 365 of

the Bankruptcy Code; (i) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,




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or perfection or seek avoidance of all such liens; (j) a waiver of the obligation of any party in

interest to file a proof of claim; or (k) otherwise affecting the Debtors’ rights under section 365 of

the Bankruptcy Code to assume or reject any executory contract or unexpired lease. Any payment

made pursuant to this Order is not intended and should not be construed as an admission as to the

validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any other party

in interest’s rights to subsequently dispute such claim.

         29.      Notwithstanding anything to the contrary in this Order or the Bidding Procedures,

the rights of the Prepetition ABL Agent and the Prepetition FILO Agent under the Cash Collateral

Order4 (and the Intercreditor Agreements referenced therein) to consent to the Sale Transaction(s)

(and any terms and conditions thereof) of any portion of their collateral, including, without

limitation, any Assets, are expressly preserved and not waived or impaired by the Bidding

Procedures or this Order. For the avoidance of doubt, nothing in this Order or the Bidding

Procedures shall amend or impair any provision of the Cash Collateral Order (including the

Milestones therein) or the rights of the Prepetition ABL Agent and the Prepetition FILO Agent

thereunder.

         30.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

         31.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         32.      The Debtors are authorized to make non-substantive changes to the Bidding

Procedures, the Assumption and Assignment Procedures, and any related documents without


4 “Cash Collateral Order” means any interim or final order approving the use of cash collateral, and any budgets in
connection therewith governing any such use of cash collateral, whichever is then in effect, as applicable.


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further order of the Court, including, without limitation, changes to correct typographical and

grammatical errors.

       33.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       34.    This Court shall retain jurisdiction over any and all matters arising from or related to

the implementation, interpretation, and/or enforcement of this Order.




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                         Exhibit 1

                    Bidding Procedures
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (___)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )

                                           BIDDING PROCEDURES

        On [●], 2025 (the “Petition Date”), JOANN Inc. and the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed voluntary petitions for relief under
chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),
in the United States Bankruptcy Court for the District of Delaware (the “Court”).

        Thereafter, on [●], 2025, the Court entered the Order (I) Approving Bidding Procedures,
(II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving the Form and
Manner of Notice Thereof, (IV) Approving the Stalking Horse Agreement, (V) Establishing Notice
and Procedures for the Assumption and Assignment of Assumed Contracts and Leases,
(VI) Authorizing the Assumption and Assignment of Assumed Contracts and Leases,
(VII) Approving the Sale of Assets, and (VIII) Granting Related Relief [Docket No. [●]]
(the “Bidding Procedures Order”), by which the Court approved the bidding procedures set forth
herein (these “Bidding Procedures”).2

       These Bidding Procedures set forth the process by which the Debtors are authorized to
conduct a marketing and sale process (including pursuant to an Auction (as defined below), if any)
for the sale or sales of some, all, or substantially all of the Debtors’ assets
(the “Sale Transactions”).

        The ability of the Debtors to undertake and consummate any Sale Transaction shall be
subject to competitive bidding as set forth in these Bidding Procedures and approval of any Sale
Transaction by the Court. The Debtors will consider bids for any or all of the Assets in a single

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.

2
      Unless otherwise specified herein, capitalized terms used but not defined herein shall have the meanings ascribed
      to such terms in the Bidding Procedures Order, its respective motion filed at [Docket No. [●]], the Interim Order
      (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured
      Creditors, (III) Modifying Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief, or
      its respective motion, filed at Docket. No. [●].
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bid from a single bidder or in multiple bids from multiple bidders. Any bid for less than all of the
Assets, even if such bid is the highest or otherwise best bid for such Assets, is subject to higher or
otherwise better bids for packages of Assets that may include such Assets. Additionally, any bid
on all of the Assets is subject to bids on individual Assets or packages of Assets that are, in the
aggregate, higher or otherwise better bids. The Debtors may determine in their discretion,
following consultation with the Consultation Parties, whether to proceed with a Sale of any Asset
pursuant to these Bidding Procedures.

1. ASSETS TO BE AUCTIONED

        The Debtors are seeking to sell all of their assets, or any portion thereof to the person or
entity making the most value maximizing bid through the process outlined in these Bidding
Procedures. These assets include, but are not limited to, the Debtors’ going-concern business,
unexpired leases, executory contracts, equipment, inventory, supplies, intellectual property,
insurance proceeds, prepaid expenses and deposits, and books and records, in each case, free and
clear of all liens, claims, interests, or other encumbrances (collectively, the “Assets”).

2. KEY DATES AND DEADLINES

                 Date and Time
                                                                    Event or Deadline
     (all times in prevailing Eastern Time)
 February 12, 2025, at 5:00 p.m.                 Bid Deadline
                                                 Notice of Winning Bidder and Cancellation of
 February 13, 2025
                                                 Auction (if no Auction)
 February 13, 2025                               Sale Objection Deadline to the Stalking Horse Bid
 February 14, 2025, at 10:00 a.m.                Auction (if any)
 February 14, 2025, at 10:00 a.m. (subject
                                                 Sale Hearing (if no Auction)
 to Court availability)
 February 15, 2025 (or as soon as
                                                 Notice of Winning Bidder(s) (if there is an Auction)
 reasonably practicable thereafter)
                                                 Sale Objection Deadline for Winning Bid(s) (if there
 February 18, 2025, at 5:00 p.m.
                                                 is an Auction)
 February 22, 2025, at 10:00 a.m. (subject
                                                 Sale Hearing (if there is an Auction)
 to Court availability)


3.      SUBMISSIONS TO THE DEBTORS; CONSULTATION PARTIES

      All submissions to the Debtors required or permitted to be made under these Bidding
Procedures must be directed to each of the following persons or entities unless otherwise provided:

        3.1.    Debtors: JOANN Inc., Attn.: Ann Aber, EVP, Chief Legal & HR Officer
                (ann.aber@joann.com).


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       3.2.    Debtors’ Proposed Counsel: (i) proposed co-counsel to the Debtors, Kirkland &
               Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Aparna
               Yenamandra, P.C. (aparna.yenamandra@kirkland.com), Kirkland & Ellis LLP,
               333 West Wolf Point Plaza, Chicago, Illinois 60654, Attn.: Jeffrey Michalik
               (jeff.michalik@kirkland.com),        and         Lindsey           Blumenthal
               (lindsey.blumenthal@kirkland.com); and (ii) Cole Schotz P.C., 500 Delaware
               Avenue,        Suite      1410,      Wilmington,        Delaware       19801,
               Attn.: Patrick J. Reilley (preilley@coleschotz.com), Stacy L. Newman
               (snewman@coleschotz.com),            Michael           E.          Fitzpatrick
               (mfitzpatrick@coleschotz.com),      and       Jack        M.        Dougherty
               (jdougherty@coleschotz.com).

       3.3.    Debtors’ Proposed Investment Banker: Centerview Partners, LLC, 31 West 52nd
               Street, 22nd Floor, New York, New York 10019, Attn.: Ryan Kielty
               (rkielty@centerview.com), Karn Chopra (kchopra@centerview.com), and Daniel
               Bendetson (dbendetson@centerview.com).

       3.4.    Prepetition ABL Agent: (i) Morgan, Lewis & Bockius LLP, One Federal Street,
               Boston, Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter
               (marjorie.crider@morganlewis.com and christopher.carter@morganlewis.com),
               and (ii) Reed Smith LLP, 1201 North Market Street, Suite 1500, Wilmington,
               Delaware 19801, Attn: Kurt F. Gwynne and Jason D. Angelo
               (kgwynne@reedsmith.com and jangelo@reedsmith.com).

       3.5.    Prepetition FILO Agent: (i) Choate Hall & Stewart LLP, 2 International Place,
               Boston, Massachusetts 02110, Attn: John Ventola (jventola@choate.com) and
               Jonathan Marshall (jmarshall@choate.com) and (ii) DLA Piper LLP (US) 1201 N
               Market St. Suite 2100, Wilmington, Delaware 19801, Stuart Brown
               (stuart.brown@us.dlapiper.com).

       3.6.    Prepetition Term Loan Agent: ArentFox Schiff LLP, 1301 Avenue of the Americas,
               42nd Floor, New York, New York 10019, Attn: Jeffrey Gleit
               (jeffrey.gleit@afslaw.com), Jonathan Bagg (jonathan.bagg@afslaw.com), and
               Matthew Bentley (matthew.bentley@afslaw.com).

        The “Consultation Parties” are (A) the Prepetition ABL Agent and the Prepetition FILO
Agent, and (B) any statutory committee appointed in these cases (the “Committee”); provided that
any Consultation Party, including any member of the Committee, who submits a Bid (as defined
below), including a Credit Bid, for any Assets in connection with these Bidding Procedures, or is
a participant in any active Bid with respect to any Asset(s), shall immediately no longer be a
Consultation Party with respect to the evaluation and qualification of competing Bids for the
Assets included in their Bid or with respect to seeking and/or obtaining information about other
Bids, unless and until such party unequivocally revokes its Bid and waives its right to continue in
the bidding process, but shall remain a Consultation Party for other purposes set forth in these
Bidding Procedures; provided, further, that immediately upon any Consultation Party’s secured
debt (as applicable) being indefeasibly paid in full in cash, such Consultation Party shall



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immediately no longer be a Consultation Party under these Bidding Procedures. 3 Materials and
information provided by the Debtors or their advisors to the advisors to any Consultation Party
may be shared with such Consultation Party, subject in all respects to these Bidding Procedures,
the Bidding Procedures Order, and the respective Confidentiality Agreement entered into by and
among or otherwise agreed to between each such Consultation Party and the Debtors.

        The Debtors shall consult with the Consultation Parties in good faith regarding the sale
process for the Assets and the Sale Transactions, including evaluation of any and all Bids,
scheduling and operation of the Auction (if applicable), selection of a Winning Bid (as defined
below), negotiation of the purchase agreement or agency agreement, as applicable, as well as any
modifications of these Bidding Procedures. The Debtors shall also provide to the Consultation
Parties and their advisors regular reports concerning the sale process, including parties contacted,
proposals received, and any due diligence requested by potential purchasers.

4. POTENTIAL BIDDERS & ACCEPTABLE BIDDERS

        To participate in the bidding process or otherwise be considered for any purpose under
these Bidding Procedures, a person or entity interested in consummating a Sale Transaction
(a “Potential Bidder”) must deliver or have previously delivered to the Debtors and each of their
advisors the following documents and information (unless the Debtors, in their reasonable business
judgment after consultation with the Consultation Parties, choose to waive any of the requirements
set forth in this Section 4 for any Potential Bidder):

        4.1.     an executed confidentiality agreement on terms acceptable to the Debtors
                 (a “Confidentiality Agreement”);

        4.2.     sufficient information that the Potential Bidder has or can reasonably obtain the
                 financial capacity to close a purchase of the targeted assets, the adequacy of which
                 must be acceptable to the Debtors, in consultation with the Consultation Parties
                 (i.e., no financing out); and

        4.3.     any other information or documentation that the Debtors reasonably request.

       The Debtors, in their reasonable business judgment and in consultation with the
Consultation Parties, will determine and notify each Potential Bidder whether such Potential
Bidder has submitted adequate documents so that such Potential Bidder may proceed to conduct
due diligence and submit a Bid (as defined below) (such Potential Bidder, an “Acceptable
Bidder”). The Debtors shall promptly inform the Consultation Parties of any entity that becomes
an Acceptable Bidder.



3
    If any Prepetition ABL and FILO Lender submits a Bid or otherwise is a participant with respect to any active
    Bid, the other Prepetition ABL and FILO Lenders shall remain Consultation Parties; provided that such bidding
    Prepetition ABL and FILO Lender shall be precluded from receiving or reviewing information or documentation
    not otherwise available to all Acceptable Bidders, and the other Prepetition ABL and FILO Lenders shall not
    share or otherwise discuss such information with the bidding Prepetition ABL and FILO Lender.



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       The Debtors may, in their reasonable business judgment, conduct a process for the sale of
unsold assets that are not included in any Winning Bid(s) (as defined below), subject to the Cash
Collateral Order.4

5.       DUE DILIGENCE

      The Debtors, with their advisors, have established an electronic data room (the “Data
Room”) that provides standard and customary diligence materials, including information to allow
Acceptable Bidders to submit a Qualified Bid (as defined below).

        Only Acceptable Bidders shall be eligible to receive due diligence information and access
to the Data Room and to additional non-public information regarding the Debtors. Subject to the
other terms herein, the Debtors may provide to each Acceptable Bidder reasonable due diligence
information, as requested by such Acceptable Bidder in writing, as soon as reasonably practicable
after such request. For all Acceptable Bidders, the due diligence period will end on the Bid
Deadline. The Debtors may, in their reasonable business judgment after consultation with the
Consultation Parties, but shall have no obligation to, furnish any additional due diligence
information to any person following the Bid Deadline.

        The Debtors shall not furnish any confidential information relating to the Assets, liabilities
of the Debtors, or the Sale Transactions to any person except to an Acceptable Bidder or to such
Acceptable Bidder’s duly authorized representatives subject to the applicable Confidentiality
Agreement. The Debtors and their advisors shall coordinate all reasonable requests from
Acceptable Bidders for additional information and due diligence access; provided that the Debtors
may decline to provide such information to Acceptable Bidders who, at such time and in the
Debtors’ reasonable business judgment, have not established, or who have raised doubt, that such
Acceptable Bidder intends in good faith to, or has the capacity to, consummate a Sale Transaction.

        Neither the Debtors nor any of their representatives shall be obligated to furnish any
information of any kind whatsoever relating to the Assets (a) to any person or entity who is not an
Acceptable Bidder or (b) if and to the extent doing so would (1) violate any law to which the
Debtors are subject, including any privacy law, (2) result in the disclosure of any trade secrets of
third parties in breach of any contract with such third party, (3) violate any legally-binding
obligation of any Debtor with respect to confidentiality, non-disclosure or privacy, or
(4) jeopardize protections afforded to any Debtor under the attorney-client privilege or the attorney
work product doctrine (provided that, in case of each of clauses (1) through (4), the Debtors shall
use commercially reasonable efforts to (x) provide such access as can be provided (or otherwise
convey such information regarding the applicable matter as can be conveyed) without violating
such privilege, doctrine, contract, obligation or law and (y) provide such information in a manner
without violating such privilege, doctrine, contract, obligation, or law).

       The Debtors, in consultation with the Consultation Parties, also reserve the right to
withhold any diligence materials that the Debtors determine are sensitive or otherwise not
appropriate for disclosure, including to an Acceptable Bidder whom the Debtors determine in

4
     “Cash Collateral Order” means any interim or final order approving the use of cash collateral, and any budgets
     in connection therewith governing any such use of cash collateral, whichever is then in effect, as applicable.



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consultation with the Consultation Parties is a competitor of the Debtors, a potential competitor of
the Debtors, or is affiliated with any competitor of the Debtors. Neither the Debtors nor their
representatives shall be obligated to furnish information of any kind whatsoever to any person that
is not determined to be an Acceptable Bidder.

        All due diligence requests directed to the Debtors must be directed to: Ryan Kielty
(rkielty@centerview.com) and Daniel Bendetson (dbendetson@centerview.com).

        Each Potential Bidder or Acceptable Bidder shall comply with all reasonable requests
for information and due diligence access made by the Debtors, their advisors, regarding such
Potential Bidder or Acceptable Bidder, as applicable, and its contemplated Sale Transaction.
Failure by a Potential Bidder or Acceptable Bidder to comply with reasonable requests for
additional information and due diligence access will be a basis for the Debtors to determine
that the Potential Bidder or Acceptable Bidder, as applicable, is not a Qualified Bidder.
Failure by a Qualified Bidder to comply with such requests for additional information and
due diligence access will be a basis for the Debtors, after consultation with the Consultation
Parties, to determine that a bid made by a Qualified Bidder is not a Qualified Bid.

6.     BID REQUIREMENTS.

       Any proposal, solicitation, or offer to consummate a Sale Transaction (each, a “Bid”) must
be submitted in writing and must satisfy the following requirements (collectively, the “Bid
Requirements”):

       6.1.    Proposed Sale Transaction. Each Bid must clearly propose a Sale Transaction as
               to the Assets. Each Bid must specify (1) which of such Assets—with as much
               specificity as is possible—are to be included in the proposed Sale Transaction
               (the “Acquired Assets”), (2) to the extent such Bid is for substantially all of the
               Assets, which Assets, if any, are to be excluded from the proposed Sale Transaction
               (the “Excluded Assets”), (3) the liabilities and obligations, including any debt and
               cure costs to be assumed (the “Assumed Liabilities”), and (4) as applicable,
               whether the Acceptable Bidder intends to operate the Debtors’ business as a going
               concern, acquire certain Assets, or otherwise liquidate the business. For the
               avoidance of doubt, all Assets held by non-Debtor subsidiaries shall be presumed
               to be Excluded Assets.

       6.2.    Purchase Price. Each Bid must (a) clearly specify the purchase price to be paid,
               assuming a purchase of the applicable Assets and assumption of any Assumed
               Liabilities (the “Purchase Price”); (b) identify separately any cash and non-cash
               components (which non-cash components shall be limited only to credit bids and
               Assumed Liabilities) of the Purchase Price in United States dollars; and (c) indicate
               the allocation of the Purchase Price among the applicable Assets. The Purchase
               Price shall exceed the Stalking Horse Bid by at least the aggregate sum of (1) the
               Expense Reimbursement for the Assets, and (2) such additional amount as
               determined by the Debtors in their reasonable business judgment after consultation
               with the Consultation Parties, and shall include a cash component sufficient to
               satisfy the “Obligations” under the ABL/FILO Credit Agreement and the


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        Prepetition ABL/FILO Obligations (including the cash collateralization of all
        obligations related to letters of credit and contingent exposure, as applicable) to be
        Paid in Full (each as defined in the Cash Collateral Order) on the closing of the Sale
        Transaction; provided, however, that the Debtors reserve the right to approve joint
        Bids that satisfy the foregoing conditions and are acceptable to the Prepetition ABL
        Agent and the Prepetition FILO Agent.

6.3.    Deposit. Other than a Credit Bid, each Bid must be accompanied by a cash deposit
        equal to ten percent (10%) of the applicable aggregate Purchase Price
        (the “Deposit”), to be held in one or more escrow accounts on terms acceptable to
        the Debtors and the Consultation Parties; provided that the Debtors, in their
        reasonable business judgment and in consultation with the Consultation Parties,
        may elect to waive or modify the requirement of a Deposit on a case-by-case basis.
        To the extent the Purchase Price of a Bid is increased, at any time or from time to
        time, whether prior to commencement of the Auction or during the Auction, the
        amount of the Deposit shall automatically increase accordingly (to be equal to ten
        percent 10% of any increased Purchased Price) and the corresponding Potential
        Bidder will pay into escrow the amount of such increase, as promptly as practicable,
        and in any event within one business day, following such increase. Without
        limiting the foregoing, if a Purchase Price is increased in order to make a bid into a
        Qualified Bid, the Debtors may, in consultation with the Consultation Parties,
        condition participation of the applicable Potential Bidder at the Auction on such
        Potential Bidder paying the then full amount of the Deposit into escrow prior to
        commencement of the Auction or such participation. For the avoidance of doubt, a
        Bid that is comprised of both a Credit Bid and cash consideration does not need to
        include a Deposit.

6.4.    Transaction Documents. Each Bid must be accompanied by an executed form of
        purchase agreement or agency agreement, which the Debtors shall make available
        to Acceptable Bidders via the Debtors’ electronic data room pursuant to the due
        diligence process, with respect to the proposed Sale Transaction, including the
        exhibits, schedules, and ancillary agreements related thereto and any other related
        material documents integral to such Bid.

6.5.    Back-Up Bidder Commitment. Each Bid must include a written commitment by
        the applicable Potential Bidder to serve as a Back-Up Bidder (as defined below) in
        the event that such Potential Bidder’s Bid is not selected as the Winning Bid;
        provided that the foregoing shall not apply to any Potential Bidder that (1) both
        (a) qualifies as a Secured Party (as defined below) and (b) submits a Credit Bid; or
        (2) is the Stalking Horse Bidder.

6.6.    Proof of Financial Ability to Perform. To the extent that a Bid is not
        accompanied by evidence of the Potential Bidder’s capacity to consummate the
        Sale Transaction set forth in its Bid with cash on hand, each Bid must include
        unconditional committed financing from a reputable financing institution,
        documented to the satisfaction of the Debtors in consultation with the Consultation
        Parties, that demonstrates that the Potential Bidder has: (i) received sufficient debt


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         and/or equity funding commitments to satisfy the Potential Bidder’s Purchase Price
         and other obligations under its Bid; and (ii) adequate working capital financing or
         resources to finance going concern operations for the applicable Assets and the
         proposed Sale Transaction. Such funding commitments or other financing must be
         unconditional and must not be subject to any internal approvals, syndication
         requirements, diligence, or credit committee approvals, and shall have covenants
         and conditions reasonably acceptable to the Debtors, in consultation with the
         Consultation Parties.

6.7.     Contingencies; No Financing or Diligence Outs. Each Bid shall not be
         conditioned on the obtaining or the sufficiency of financing or any internal
         approval, or on the outcome or review of due diligence.

6.8.     Identity. Each Bid must fully disclose the identity of each entity that will be
         bidding or otherwise participating in connection with such Bid—including each
         equity holder or other financial backer of the Potential Bidder if such Potential
         Bidder is an entity formed for the purpose of consummating the proposed Sale
         Transaction contemplated by such Bid—and the complete terms of any such
         participation. Each Bid must also fully disclose whether any current or former
         officer, director, or equity holder of the Debtors, or any entity affiliated with any
         current or former officer, director, or equity holder of the Debtors, will be bidding
         or otherwise participating in connection with such Bid, including any employment
         or compensation arrangements being negotiated or agreed to between the Qualified
         Bidder and any employee of the Debtors. Under no circumstances shall any
         undisclosed insiders, principals, equity holders, or financial backers of the Debtors
         be associated with any Bid. Each Bid should also include contact information for
         the specific person(s) and counsel whom the Debtors (and their advisors) should
         contact regarding such Bid.

6.9.     Authorization. Each Bid must contain evidence acceptable to the Debtors that the
         Potential Bidder has obtained authorization or approval from its board of directors
         (or a comparable governing body) with respect to the submission of its Bid and the
         consummation of the Sale Transaction contemplated by such Bid.

6.10.    Contracts and Leases. Each Bid must identify each and every executory contract
         and unexpired lease to be assumed and assigned in connection with the proposed
         Sale Transaction (collectively, the “Assigned Contracts”). Each Bid must be
         accompanied by adequate assurance of future performance under all Assigned
         Contracts, which shall include audited and unaudited financial statements, tax
         returns, bank account statements, and a description of the business to be conducted
         at the premises, and such other documentation as the Debtors may request
         (the “Adequate Assurance Package”). The Adequate Assurance Package should be
         submitted in its own compiled PDF document.

6.11.    As-Is, Where-Is. Each Bid must include a written acknowledgement and
         representation that: (1) the Potential Bidder has had an opportunity to conduct due
         diligence regarding the Sale Transaction prior to making its offer; (2) the Potential


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         Bidder has relied solely upon its own independent review, investigation, or
         inspection of any documents in making its Bid; (3) except as may be set forth in
         Definitive Sale Documents (as defined below) concerning such Bid, the Potential
         Bidder did not rely, and is not relying upon any written or oral statements,
         representations, promises, warranties, or guaranties whatsoever, whether express,
         implied by operation of law, or otherwise, by the Debtors or their advisors or other
         representatives regarding the Sale Transaction, the completeness of any
         information provided in connection therewith or the Auction, if any, or otherwise;
         and (4) the Potential Bidder did not engage in any collusive conduct and acted in
         good faith in submitting its Bid.

6.12.    No Break-Up Fee or Reimbursement of Expenses. Each Bid, with the exception
         of the Stalking Horse Bid, must expressly state and acknowledge that such Potential
         Bidder shall not be entitled to, and shall not seek, any transaction break-up fee,
         termination fee, expense reimbursement, working fee, or similar type of payment.
         Each Bid must expressly waive any claim or right to assert any substantial
         contribution administrative expense claim under section 503(b) of the Bankruptcy
         Code or the payment of any broker fees or costs in connection with bidding for any
         of the Assets and/or otherwise participating in the Auction or the sale process.

6.13.    Transition Services. Each Bid must state or otherwise estimate the types of
         transition services, if any, the Potential Bidder would require of and/or provide to
         the Debtors, including an estimate of the time any such transition services would
         be required of and/or provided to the Debtors, if the Potential Bidder’s Bid were
         selected as the Winning Bid for the applicable Assets.

6.14.    Commitment to Close. Each Bid must include a commitment to close as soon as
         practicable and state the expected date of closing of the Sale Transaction, which for
         the avoidance of doubt must be either on or before the date specified in Section 2
         of these Bidding Procedures.

6.15.    Irrevocable Bid. Each Bid must contain a statement by the applicable Potential
         Bidder acknowledging and agreeing that such Bid and each of its provisions is
         binding upon the Potential Bidder and irrevocable in all respects.

6.16.    Compliance with Bidding Procedures. Each Bid must contain a covenant that
         the applicable Potential Bidder will comply in all respects with the terms of these
         Bidding Procedures and the Bidding Procedures Order.

6.17.    Combination Bids. For Bids that contemplate a purchase of multiple categories
         of Assets, each Bid must specify: (i) allocation of the Purchase Price across each
         Asset; (ii) for Bids that include unexpired leases specifically, the Purchase Price
         must be allocated across each individual property included in the Bid; and (iii) Bids
         must indicate whether the offer is on an “all or none” basis in the event that the
         Potential Bidder is outbid for certain Assets contemplated in the Bid.




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       6.18.    Initial Assets Overbid. Any incremental Bids that comply with the terms set forth
                in Section 11(ii) of these Bidding Procedures (each an “Overbid”) regarding all or
                substantially all of the Assets must have a value to the Debtors, in the Debtors’
                exercise of their reasonable business judgment, after consultation with their
                advisors and the Consultation Parties that is at least the sum of (i) one hundred
                thousand United States dollars ($100,000.00) more than the value offered under the
                Stalking Horse Agreement plus (ii) the Expense Reimbursement (the “Initial
                Assets Overbid”).

        By submitting a Bid, each Potential Bidder is agreeing, and shall be deemed to have agreed,
to abide by and honor the terms of these Bidding Procedures and to refrain from (A) submitting a
Bid after conclusion of the Auction (if any) or (B) seeking to reopen the Auction (if any) once
closed. The submission of a Bid shall constitute a binding and irrevocable offer (a) for the
Winning Bidder, until consummation of the proposed Sale Transaction, (b) for the Back-Up
Bidder (if any), as provided in these Bidding Procedures, including Section 12 hereof, and
(c) for any bidder other than the Winning Bidder, the Back-Up Bidder, or any Secured Party
that submitted a Credit Bid, until two (2) business days after entry of the Court’s order
approving the Winning Bid and (if applicable) the Back-Up Bid for the applicable Assets
(each, as applicable, a “Sale Order”), which shall be in form and substance reasonably
acceptable to the Prepetition ABL Agent and the Prepetition FILO Agent, and each Bid must
include a written acknowledgment and representation to such effect.

7.     STALKING HORSE BIDDER.

        In connection with the Stalking Horse Agreement and in recognition of the Stalking Horse
Bidder’s expenditure of time, energy, and resources, the Debtors are authorized and directed to
provide (i) up to $500,000 to cover the Stalking Horse Bidder’s reasonable out-of-pocket costs and
expenses, associated with due diligence and professionals’ fees and expenses associated with,
among other things, negotiating, drafting, and obtaining approval of the Stalking Horse Agreement
and (ii) up to $1,600,000.00 for any actual, reasonable costs incurred to acquire signage for a
“going out of business” sale (the “Expense Reimbursement”). For the avoidance of doubt, no other
Qualified Bidder for the Assets shall be entitled to any form of bid protections.

8.     BID DEADLINE.

       Any Bid for the Assets must be transmitted via email (in .pdf or similar format) to the
Debtors and their advisors (as specified in Section 3 hereof) so as to be actually received by such
parties on or before February 12, 2025, by 5:00 p.m. (prevailing Eastern Time) (the “Bid
Deadline”).

       The Debtors shall promptly provide the Consultation Parties copies of all Bids received by
the Debtors, but in no event later than the next business day following receipt.

9.     QUALIFIED BIDS & QUALIFIED BIDDERS.

       A Bid is a “Qualified Bid” if the Debtors, in their reasonable business judgment and in
consultation with the Consultation Parties, determine that such Bid (A) satisfies the Bid
Requirements set forth above and (B) is reasonably likely to be consummated if selected as the


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Winning Bid (or Back-Up Bid, as applicable) for the applicable Assets; provided that the Stalking
Horse Bid shall constitute and be deemed a Qualified Bid and, for the avoidance of doubt, need
not comply with each Bid Requirement. For the avoidance of doubt, Combination Bids may
constitute a Qualified Bid.

        An Acceptable Bidder that submits a Qualified Bid is a “Qualified Bidder” with respect to
the Assets to which such Qualified Bid relates; provided that the Stalking Horse Bidder shall
constitute and be deemed a Qualified Bidder. To the extent that any Prepetition ABL and FILO
Lender submits a Credit Bid in accordance with Section 10 herein, such bid shall be a Qualified
Bid, and such Prepetition ABL and FILO Lender shall be a Qualified Bidder with respect to such
Bid.

        As soon as reasonably practicable after the applicable Bid Deadline, the Debtors will notify
each Acceptable Bidder whether such party is a Qualified Bidder and shall provide the
Consultation Parties’ counsel with a copy of each Qualified Bid. If an Acceptable Bidder’s Bid is
determined not to be a Qualified Bid, the Debtors will refund such Acceptable Bidder’s Deposit
(if any) on the date that is three business days after the Bid Deadline.

       Between the date that the Debtors notify an Acceptable Bidder that it is a Qualified Bidder
and the date set for the Auction, the Debtors may discuss, negotiate, or seek clarification of any
Qualified Bid from a Qualified Bidder. Without the prior written consent of the Debtors following
consultation with the Consultation Parties, a Qualified Bidder may not modify, amend, or
withdraw its Qualified Bid, except for proposed amendments to increase the Purchase Price, or
otherwise improve the terms of, the Qualified Bid, during the period that such Qualified Bid
remains binding as specified in these Bidding Procedures; provided that any Qualified Bid may be
improved at the Auction (if any) as set forth herein. Any improved Qualified Bid must continue
to comply with the requirements for Qualified Bids set forth in these Bidding Procedures.

        Notwithstanding anything herein to the contrary, the Debtors, in consultation with the
Consultation Parties, reserve the right to work with (A) Potential Bidders and Acceptable Bidders
to aggregate two or more Bids into a single consolidated Bid prior to the applicable Bid Deadline
and (B) Qualified Bidders to aggregate two or more Qualified Bids into a single Qualified Bid
prior to the conclusion of the Auction (if any). The Debtors, in consultation with the Consultation
Parties, reserve the right to cooperate with any Acceptable Bidder to cure any deficiencies in a Bid
that is not initially deemed to be a Qualified Bid. The Debtors, in consultation with the
Consultation Parties, may accept a single Qualified Bid or multiple Bids that, if taken together in
the aggregate, would otherwise meet the standards for a single Qualified Bid (in which event those
multiple Qualified Bidders shall be treated as a single Qualified Bidder and their Bid a single
Qualified Bid for purposes of the Auction (if any)).

10.    RIGHT TO CREDIT BID.

        Any Qualified Bidder that has a valid and perfected lien on any Assets of the Debtors’
estates (a “Secured Party”) shall be entitled to credit bid all or a portion of the face value of such
Secured Party’s claims against the Debtors toward the Purchase Price specified in such
Qualified Bidder’s Bid (a “Credit Bid”); provided that a Secured Party shall be entitled to credit




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bid its claim(s) only with respect to Assets that are subject to a valid and perfected lien in favor of
such Secured Party as to such claim(s).

11.    AUCTION.

        If the Debtors receive two or more Qualified Bids with respect to the same or overlapping
Assets or group of Assets, the Debtors may, in consultation with the Consultation Parties, conduct
an auction (the “Auction”) to determine the Winning Bidder (or Back-Up Bidder, as applicable)
with respect to such Assets. In such event, the Debtors will (A) notify all Qualified Bidders of the
highest or otherwise best Qualified Bid with respect to the applicable Assets, as determined by the
Debtors in their reasonable business judgment and in consultation with the Consultation Parties
(each such Qualified Bid, a “Baseline Bid”) and (B) provide copies of the documents setting forth
the terms of the Baseline Bid(s) to all Qualified Bidders, in each case, as soon as reasonably
practicable after the Bid Deadline and in any event no later than prior to the commencement of the
Auction. The Debtors’ determination of which Qualified Bid constitutes the Baseline Bid shall
consider any factors the Debtors, in their reasonable business judgment and in consultation with
the Consultation Parties, deem relevant to the value of the Qualified Bid to the Debtors’ estates
and the Debtors’ patient care mandate and related regulatory requirements.

       If the Debtors, in consultation with the Consultation Parties, determine that they have
received no Qualified Bids other than the Stalking Horse Bid or they have received only a single
Qualified Bid, then the Auction will not occur, and the Stalking Horse Bid or the Qualified Bid
will be deemed to be the Winning Bid(s) for the Assets to which the Stalking Horse Bid or
Qualified Bid relates. If the Debtors make such a determination, the Debtors shall file a notice
with the Court within one business day of making such determination.

        If the Debtors receive two or more Qualified Bids for the same Assets, the Auction may
take place on or after February 14, 2025, at a time to be announced by the Debtors in consultation
with the Consultation Parties, via remote video and/or in person at the Debtors’ election, and shall
be conducted in a timely fashion according to the procedures set forth below (the “Auction
Procedures”).




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                               AUCTION PROCEDURES

(i)     The Debtors Shall Conduct the Auction(s); General Provisions. The Debtors,
        with the assistance of their advisors, shall direct and preside over any Auction and
        shall consult with the Consultation Parties throughout the Auction process. At the
        commencement of the Auction, the Debtors, in consultation with the Consultation
        Parties (1) may announce procedural and related rules governing the Auction,
        including time periods available to all Qualified Bidders to submit any successive
        Bid(s) and (2) shall describe the terms of the Baseline Bid. Only incremental Bids
        that comply with the terms set forth in Section 11(ii) of these Bidding Procedures
        shall be considered Overbids. Overbids shall be made and received on an open
        basis, and all material terms of each Overbid shall be fully disclosed to all other
        Qualified Bidders. The Debtors, in consultation with the Consultation Parties, shall
        determine in their reasonable business judgment whether an incremental Bid is an
        Overbid. The Debtors shall maintain a written transcript of all Bids made and
        announced at the Auction, including the Baseline Bid, all Overbids, and the Winning
        Bid (or Back-Up Bid, as applicable) (as defined below).

        Only Qualified Bidders, the Debtors, the Consultation Parties and each of their
        respective legal and financial advisors, creditors in these chapter 11 cases, and any
        other parties specifically invited or permitted to attend by the Debtors, shall be
        entitled to attend the Auction, and the Qualified Bidders shall appear at the Auction
        in person and may speak or bid themselves or through duly authorized
        representatives. Except as otherwise permitted by the Debtors in consultation with
        the Consultation Parties, only Qualified Bidders shall be entitled to bid at the
        Auction.

        The Debtors and the Consultation Parties have the right to request any additional
        information that will allow the Debtors to make a reasonable determination as to a
        Qualified Bidder’s financial and other capabilities to consummate the transactions
        contemplated by their proposal and any further information that the Debtors and the
        Consultation Parties believe is reasonably necessary to clarify and evaluate any Bid
        made by a Qualified Bidder during the Auction.

        The Debtors may, subject to Section 16 of these Bidding Procedures, and with the
        consent of the Prepetition ABL Agent and the Prepetition FILO Agent, announce at
        the Auction modified or additional procedures for conducting the Auction or
        otherwise modify these Bidding Procedures.

(ii)    Terms of Overbids. Each Overbid must comply with the following terms:

        (a)    Minimum Overbid Increment. At the commencement of the initial
               solicitation of Overbids, the Debtors, in consultation with the Consultation
               Parties, shall announce the minimum increment by which any Overbid must
               exceed the applicable Baseline Bid, which amount shall not be lower than
               one-hundred thousand United States Dollars ($100,000); provided that the
               first Overbid with regard to the Assets shall be the Initial Assets Overbid.


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                At the commencement of each subsequent round of solicitation of Overbids,
                the Debtors shall announce the minimum increment by which any Overbid
                must exceed the Prevailing Highest Bid (as defined below) at such time.
                The Debtors may, in their reasonable business judgment and in consultation
                with the Consultation Parties, announce increases or reductions to the
                applicable minimum Overbid increment at any time during the Auction.

         (b)    Conclusion of Each Overbid Round. Upon the solicitation of each round of
                Overbids, the Debtors may announce a deadline by which time any
                Overbids must be submitted to the Debtors (an “Overbid Round Deadline”);
                provided that the Debtors, in their reasonable business judgment and after
                consultation with the Consultation Parties, may extend any Overbid Round
                Deadline.

         (c)    Overbid Alterations. An Overbid may contain alterations, modifications,
                additions, or deletions of any terms of the Bid no less favorable in the
                aggregate to the Debtors’ estates than any prior Qualified Bid or Overbid,
                as determined in the Debtors’ reasonable business judgment and after
                consultation with the Consultation Parties, but shall otherwise comply with
                the terms of these Bidding Procedures.

         (d)    Announcing Highest Bid. Subsequent to each Overbid Round Deadline, the
                Debtors shall announce whether the Debtors, in consultation with the
                Consultation Parties, have identified an Overbid as being higher or
                otherwise better than, in the initial Overbid round, the Baseline Bid or, in
                subsequent rounds, the Overbid previously designated by the Debtors as the
                prevailing highest or otherwise best Bid (the “Prevailing Highest Bid”).
                The Debtors shall describe to all applicable Qualified Bidders the material
                terms of any new Overbid designated by the Debtors as the Prevailing
                Highest Bid, as well as the value attributable by the Debtors to such
                Prevailing Highest Bid.

(iii)    Consideration of Overbids. The Debtors reserve the right, in their reasonable
         business judgment and in consultation with the Consultation Parties, to adjourn the
         Auction one or more times, to, among other things (1) facilitate discussions between
         the Debtors and Qualified Bidders, (2) allow Qualified Bidders the opportunity to
         consider how they wish to proceed, and (3) provide Qualified Bidders the
         opportunity to provide the Debtors with such additional evidence as the Debtors, in
         their reasonable business judgment, may require, that the Qualified Bidder has
         sufficient internal resources or has received sufficient and sufficiently unconditional
         financing commitments to consummate the proposed Sale Transaction at the
         prevailing Overbid amount.

(iv)     Closing the Auction. The Auction shall continue until there is only one Qualified
         Bid for a particular group of Assets that the Debtors determine, in their reasonable
         business judgment and in consultation with the Consultation Parties, to be the
         highest or otherwise best Qualified Bid for the applicable assets. Such Qualified


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               Bid shall be designated the “Winning Bid” (or Back-Up Bid, as applicable, and the
               Qualified Bidder who submitted the Winning Bid, the “Winning Bidder”) with
               respect to its proposed Acquired Assets, at which time the Auction with respect to
               such Assets shall be closed; provided that (1) such Auction shall not close unless
               and until all Qualified Bidders have been given a reasonable opportunity to submit
               an Overbid at the Auction to the then Prevailing Highest Bid; and (2) the Debtors’
               designation of a Qualified Bid as a Winning Bid (or Back-Up Bid, as applicable)
               shall be subject to and conditioned on finalization of definitive documentation and
               the Court’s approval of such Winning Bid (or Back-Up Bid, as applicable),
               applicable regulatory and third-party approvals, and the consummation of the Sale
               Transaction contemplated thereby. As soon as reasonably practicable after the
               designation of a Winning Bid (or Back-Up Bid, as applicable), the Debtors, in
               consultation with the Consultation Parties, shall finalize definitive documentation to
               implement the terms of such Winning Bid (or Back-Up Bid, as applicable) and cause
               such definitive documentation to be filed with the Court.

               Notwithstanding anything to the contrary herein, the Debtors shall not, without the
               consent of the Prepetition ABL Agent and the Prepetition FILO Agent, select a
               Winning Bid unless such Winning Bid, either individually or in combination with
               other Winning Bids, as applicable, provides for the satisfaction of the “Obligations”
               under the ABL/FILO Credit Agreement and the Prepetition ABL/FILO Obligations
               (including the cash collateralization of all obligations related to letters of credit and
               contingent exposure, as applicable) to be Paid in Full (each as defined in the Cash
               Collateral Order) on the closing of the Sale Transaction.

       (v)     No Collusion; Good Faith Offer. Each Qualified Bidder participating at the
               Auction will be required to confirm on the record at the Auction that (1) such
               Qualified Bidder has not engaged in any collusion with respect to the bidding
               process (2) such Qualified Bidders’ Qualified Bid is a good faith and irrevocable
               offer and such Qualified Bidder intends to consummate the Sale Transaction
               contemplated by its Qualified Bid if such Qualified Bid is the Winning Bid
               (or Back-Up Bid, as applicable) with respect to the applicable Acquired Assets, and
               (3) will serve as Back-Up Bid.

       (vi)    Rejection of Bids. The Debtors, in their reasonable business judgment, in
               consultation with the Consultation Parties, may reject, at any time prior to the
               conclusion of the Auction, any Bid that the Debtors determine, after consultation
               with the Consultation Parties, is (1) inadequate or insufficient, (2) not in conformity
               with the requirements of the Bankruptcy Code and/or these Bidding Procedures, or
               (3) contrary to the best interests of the Debtors, their estates, their creditors, and
               other stakeholders.

12.    DESIGNATION OF A BACK-UP BIDDER.

       If for any reason the Winning Bidder fails to consummate the Qualified Bid within the time
permitted after the entry of the Sale Order approving the Sale to the Winning Bidder, then the
Qualified Bidder or Qualified Bidders with the next-highest or otherwise second-best Bid (each,


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a “Back-Up Bidder”), as determined by the Debtors after consultation with the Consultation
Parties, and with the consent of the Prepetition ABL Agent and the Prepetition FILO Agent, at the
conclusion of the Auction and announced at that time to all the Qualified Bidders participating
therein and as set forth in the Sale Order, will automatically be deemed to have submitted the
highest or otherwise best Bid or Bids (each, a “Back-Up Bid”), and the Debtors shall consummate
the transaction pursuant to the Back-Up Bid as soon as is commercially reasonable without further
order of the Bankruptcy Court upon at least twenty-four hours advance notice, which notice will
be filed with the Court; provided that the forgoing shall not apply to any Potential Bidder that
(1) both (a) qualifies as a Secured Party and (b) submits a Credit Bid; or (2) is the Stalking Horse
Bidder.

       Upon designation of the Back-Up Bidder at the Auction, the Back-Up Bid must remain
open and irrevocable until the earlier of (1) the closing of the transactions contemplated by the
Winning Bid notwithstanding any outside date set forth in such Back-Up Bidder’s proposed
purchase agreement and (2) the date that is four months following the conclusion of the Auction.

13.    FIDUCIARY OUT.

        Notwithstanding anything to the contrary in these Bidding Procedures or any document
filed with or entered by the Court, nothing in these Bidding Procedures or the Bidding Procedures
Order shall require a Debtor or its board of directors, board of managers, or similar governing body
to take any action or to refrain from taking any action with respect to the Sale Transactions or these
Bidding Procedures solely to the extent such Debtor or governing body determines in good faith,
in consultation with counsel, that taking or failing to take such action, as applicable, would be
inconsistent with applicable law or its fiduciary obligations under applicable law.

        Further, notwithstanding anything to the contrary in these Bidding Procedures or any
document filed with or entered by the Court, until the entry of the Sale Order, the Debtors and their
respective directors, managers, officers, employees, investment bankers, attorneys, accountants,
consultants, and other advisors or representatives shall have the right to: (A) consider, respond to,
and facilitate alternate proposals for sales or other transactions involving any or all of the Assets
(each, an “Alternate Proposal”); (B) provide access to non-public information concerning the
Debtors to any entity or enter into confidentiality agreements or nondisclosure agreements with
any entity; (C) maintain or continue discussions or negotiations with respect to Alternate
Proposals; (D) otherwise cooperate with, assist, participate in, or facilitate any inquiries, proposals,
discussions, or negotiations of Alternate Proposals; and (E) enter into or continue discussions or
negotiations with any person or entity regarding any Alternate Proposal.

14.    “AS IS, WHERE IS.”

        Consummation of the Sale Transactions will be on an “as is, where is” basis and without
representations or warranties of any kind, nature, or description by the Debtors or their estates,
except as specifically accepted and agreed to by the Debtors in the executed definitive written
documentation for the Sale Transactions (the “Definitive Sale Documents”). Unless otherwise
specifically accepted and agreed to by the Debtors in Definitive Sale Documents, all of the
Debtors’ right, title, and interest in and to the Assets disposed of in the Sale Transaction will be
transferred to the Winning Bidder (or Back-Up Bidder, as applicable) free and clear of all pledges,


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liens, security interests, encumbrances, claims, charges, options, and interests in accordance with
sections 363(f) of the Bankruptcy Code and subject to the terms and conditions of the Cash
Collateral Order.

        By submitting a Bid, each bidder will be deemed to acknowledge and represent that it
(A) has had an opportunity to conduct adequate due diligence regarding the Debtors and the
proposed Sale Transaction prior to making its Bid, (B) has relied solely on its own independent
review, investigation, and inspection of any document, including executory contracts and
unexpired leases, in making its Bid, and (C) did not rely on or receive from any person or entity
(including any of the Debtors or their advisors or other representatives) any written or oral
statements, representations, promises, warranties, or guaranties whatsoever, whether express,
implied by operation of law, or otherwise, with respect to the Sale Transaction or the completeness
of any information provided in connection with the Sale Transaction or the Auction (if any), except
as may be set forth in Definitive Sale Documents.

15.    COMMISSIONS.

        The Debtors shall be under no obligation to pay any commissions, fees, or expenses to any
Potential Bidder’s agent, advisor, or broker. All commissions, fees, or expenses for any such
agents, advisors, or brokers shall be paid by the applicable Potential Bidder at such Potential
Bidder’s discretion. In no case shall any commissions, fees, or expenses for any Potential Bidder’s
agent, advisor, or broker be deducted from any proceeds derived from any Sale Transaction for the
Assets. This Section 15 shall not apply to any Expense Reimbursement that becomes payable
pursuant to the terms of the Stalking Horse Agreement.

16.    RESERVATION OF RIGHTS.

         The Debtors may, in consultation with the Consultation Parties, be entitled to modify these
Bidding Procedures in their reasonable business judgment in consultation with the Consultation
Parties in any manner that will best promote the goals of these Bidding Procedures, or impose, at
or prior to the Auction (if any), additional customary terms and conditions on a Sale Transaction,
including: (A) extending the deadlines set forth in these Bidding Procedures; (B) adjourning the
Auction at the Auction; (C) adding procedural rules that are reasonably necessary or advisable
under the circumstances for conducting the Auction (if any); (D) canceling the Auction; and
(E) rejecting any or all Bids or Qualified Bids. All such modifications and additional rules will be
communicated to each of the Consultation Parties, Potential Bidders, and Qualified Bidders;
provided that, to the extent such modifications occur at the Auction, disclosure of such
modifications is limited to those in attendance at the Auction; provided, further that (i) the Debtors
shall not amend these Bidding Procedures, the Bidding Procedures Order, or the bidding process
to modify their obligations to consult with the Prepetition ABL Agent or the Prepetition FILO
Agent without the consent of such parties or further order of the Bankruptcy Court, (ii) any
extension of the deadlines set forth in these Bidding Procedures that breaches a Milestone set forth
in the Cash Collateral Order shall require the consent of the Prepetition ABL Agent and the
Prepetition FILO Agent, and (iii) without the consent of the Prepetition ABL Agent or the
Prepetition FILO Agent, the Debtors shall not adopt new rules, procedures, or deadlines, or
otherwise modify these Bidding Procedures or the Bidding Procedures Order in a manner that
alters, limits, or imposes additional burdens on the rights of the Prepetition ABL Agent or the


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Prepetition FILO Agent, including (x) requiring the Prepetition ABL Agent or the Prepetition
FILO Agent to include a deposit as part of a Credit Bid or (y) imposing additional conditions on
their rights to Credit Bid or to be deemed a Qualified Bidder (and their Bids deemed Qualified
Bids).

        Notwithstanding anything to the contrary in these Bidding Procedures or the Bidding
Procedures Order, the rights of the Prepetition ABL Agent and the Prepetition FILO Agent under
the Cash Collateral Order (and the Intercreditor Agreements referenced therein) to consent to the
Sale (and any terms and conditions thereof) of any portion of their collateral, including, without
limitation, any Assets, are expressly preserved and not waived or impaired by these Bidding
Procedures or the Bidding Procedures Order. For the avoidance of doubt, nothing in these Bidding
Procedures or the Bidding Procedures Order shall amend or impair any provision of the Cash
Collateral Order (including the Milestones therein) or the rights of the Prepetition ABL Agent and
the Prepetition FILO Agent thereunder.

       Each reference in these Bidding Procedures and the Bidding Procedures Order to
“consultation” (or similar phrase) with the Consultation Parties shall mean consultation in good
faith.

17.    CONSENT TO JURISDICTION.

       All Qualified Bidders at the Auction shall be deemed to have consented to the jurisdiction
of the Court and waived any right to a jury trial in connection with any disputes relating to the
Auction or the construction and enforcement of these Bidding Procedures.

18.    SALE HEARING.

        The Court shall hold a hearing to consider approval of the Winning Bid(s) (and Back-Up
Bid(s), as applicable) and the Sale Transactions contemplated thereby (the “Sale Hearing”). The
Sale Hearing shall be held on February 14, 2025, subject to the availability of the Court if
there is not an Auction, and February 22, 2025, subject to the availability of the Court if
there is an Auction. The Sale Hearing may be continued to a later date by the Debtors, in
consultation with the Consultation Parties, by sending written notice to all Qualified Bidders
and Consultation Parties prior to, or by making an announcement at, the Sale Hearing. No
further notice of any such continuance will be required to be provided to any bidder or other
party.

19.    RETURN OF DEPOSIT.

        Any Deposits provided by Qualified Bidders shall be held in one or more escrow accounts
on terms acceptable to the Debtors. Any such Deposits will be returned to Qualified Bidders that
are not Winning Bidders (or Back-Up Bidders, as applicable) on the date that is three business
days after the Auction (if any). Any Deposit provided by a Winning Bidder (or Back-Up Bidder,
as applicable) shall be applied to the Purchase Price of the applicable Sale Transaction at closing.

       If a Winning Bidder (or Back-Up Bidder, as applicable) fails to consummate the Sale
Transaction contemplated by its Winning Bid (or Back-Up Bid, as applicable) because of a breach
by such Winning Bidder (or Back-Up Bidder, as applicable), the Debtors will not have any


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obligation to return any Deposit provided by such Winning Bidder (or Back-Up Bidder, as
applicable), which may be retained by the Debtors as liquidated damages, in addition to any and
all rights, remedies, or causes of action that may be available to the Debtors and their estates.




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                        Exhibit 2

                Stalking Horse Agreement
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                                                                               Execution Version


                                   AGENCY AGREEMENT

        This Agency Agreement (“Agreement”) is made as of January 15, 2025, by and between
(a) JOANN Inc. (together with its subsidiaries listed on Annex 1, the “Merchant”) and (b) Gordon
Brothers Retail Partners, LLC (“Agent”; and together with Merchant each a “Party” and
collectively the “Parties”).

Section 1. Recitals

        WHEREAS, on January 15, 2025 (the “Petition Date”), Merchant commenced voluntary
chapter 11 bankruptcy cases (the “Bankruptcy Cases”) in the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”).

       WHEREAS, Merchant entered into that certain Second Amended and Restated Credit
Agreement (the “Credit Agreement”) dated as of April 30, 2024, by and among Jo-Ann Stores,
LLC, as borrower, the other Loan Parties thereto, Bank of America, N.A., as administrative agent
and collateral agent (the “ABL Agent”), and 1903P Loan Agent, LLC, as FILO Documentation
Agent (as defined in the Credit Agreement) (the “FILO Agent”); and

       WHEREAS, Merchant operates retail stores and desires that Agent act as Merchant’s
exclusive agent for the purposes of:

        (a)    selling all of the Merchandise (as hereinafter defined) from Merchant’s retail store
               locations identified on Exhibit 1(a)(1) attached hereto (each a “Store” and
               collectively the “Stores”), distribution centers (including e-commerce facilities)
               identified on Exhibit 1(a)(2) attached hereto (each a “Distribution Center” and
               collectively, the “Distribution Centers”), wholesale channels or any other channel
               by means of a “going out of business,” “store closing,” “sale on everything,”
               “everything must go,” or similar sale as described further below (the “GOB Sale”),
               with the nature and manner of advertising the GOB Sale being in Agent’s sole
               discretion, subject to the terms and conditions of this Agreement and the Sale
               Guidelines and Approval Order (each as defined below);

        (b)    marketing and selling, or otherwise designating the purchasers of the furniture,
               furnishings, trade fixtures, machinery, equipment, office supplies, Supplies (as
               defined below), conveyor systems, racking, rolling stock, and other tangible
               personal property (collectively, “FF&E”) owned by Merchant, wherever located
               (“Owned FF&E”);

        (c)    designating the purchasers, assignees, sublessees, or other transferees of any or all
               of Merchant’s unexpired leases of non-residential real property (together with all
               amendments, extensions, modifications, and other material documents related
               thereto, each a “Lease” and all such Leases collectively, the “Leases”) and
               executory contracts (together with all amendments, extensions, modifications, and
               other material documents related thereto, each a “Contract” and all such Contracts
               collectively, the “Contracts”), in each case excluding any Leases or Contracts that
               may be rejected as permitted and in accordance with the procedures under the
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               Approval Order (defined below) and subject to the assumption and assignment
               procedures to be incorporated into the Approval Order;

        (d)    marketing and selling, or otherwise designating the purchasers, assignees, and/or
               licensees of any or all IP Rights owned by Merchant (the “Intellectual Property”);
               and

        (e)    marketing and selling, or otherwise designating the purchasers, licensees, and/or
               assignees of any or all of Merchant’s right, title, and interest in and to other real or
               tangible property (such right, title and interest, the “Other Assets” and, collectively
               with Merchant’s right, title, and interest in and to the Merchandise, Owned FF&E,
               Leases, Contracts, and Intellectual Property, the “Assets”). For the avoidance of
               doubt, the Other Assets include but are not limited to all cash on hand in the
               Merchant’s retail store locations, cash in transit, cash in bank accounts, Merchant’s
               interest in and rights with respect to cash posted as collateral for letters of credit or
               bonds, receivables (including credit card receivables), refunds of any nature,
               deposits, security deposits, credit card processing float, payment processor
               reserves, real property, sublease income, proceeds of retail sales of Merchandise in
               all of the Debtors’ retail store locations from and after the Closing, claims and
               causes of action arising under chapter 5 of the Bankruptcy Code and similar state
               law (“Avoidance Actions”), and, except as provided for in Section 16.21(d), all
               other claims and causes of action, including but not limited to commercial tort
               claims, based on facts and circumstances existing as of the Closing, whether or not
               theretofore discovered or asserted (“Other Causes of Action”); provided, that
               neither the Agent, nor any Person claiming by, through or on behalf of the Agent
               (including by operation of law, sale, assignment, conveyance or otherwise) shall
               pursue, prosecute, litigate, institute or commence an action based on, assert, sell,
               use defensively, convey, assign or file any claim or cause of action that relates to
               an Avoidance Action or Other Cause of Action against, in each case, a related party
               of the Merchant; provided, further, that Other Assets shall not include any Excluded
               Assets.

       NOW, THEREFORE, in consideration of the Purchase Price (as defined below) and the
mutual covenants and agreements set forth in this Agreement, the Parties hereby agree as follows:

Section 2. Appointment of Agent/Approval Order. As soon as practicable after entry of the
Bid Procedures Order, but in any event, no later than two (2) business days after entry of the Bid
Procedures Order, Merchant shall file in the Bankruptcy Cases a motion, if necessary, and a
proposed form of order (the “Approval Order”) in form and substance satisfactory to the
Prepetition ABL Agent and the Prepetition FILO Agent (as defined in the Cash Collateral Order
(as defined herein)) and the Agent. The Approval Order shall, among other things:

       (a)     find that:

               (i)          this Agreement is in the best interest of Merchant, its estate and
                            creditors, and other parties-in-interest;



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        (ii)       the Parties entered into this Agreement in good faith pursuant to Section
                   363(m) of the Bankruptcy Code and without collusion as described in
                   Section 363(n) of the Bankruptcy Code;

        (iii)      time is of the essence in effectuating this Agreement and proceeding
                   with the GOB Sale at the Stores uninterrupted;

        (iv)       Merchant’s decision to enter into this Agreement and perform its
                   obligations under this Agreement is a reasonable exercise of Merchant’s
                   sound business judgment consistent with its fiduciary duties and is in
                   the best interests of Merchant, its estate, its creditors, and other parties-
                   in-interest; and

        (v)        this Agreement was negotiated in good faith and at arms’ length and
                   Agent is entitled to the protections of section 363(m) and 364(e) of the
                   Bankruptcy Code; and

(b)     order, adjudge, and decree that:

        (i)        this Agreement and all of the transactions contemplated hereby are
                   approved in their entirety;

        (ii)       the Parties are authorized to continue to take any and all actions as may
                   be necessary or desirable to implement this Agreement and each of the
                   transactions contemplated hereby;

        (iii)      following the satisfaction of the Debt Payoff, the Initial Wind-Down
                   Payment, and the Initial Central Services Payment (each as defined
                   herein) (together, the “Initial Purchase Price Funding”), and in
                   accordance with this Agreement, and subject to Agent’s compliance
                   with its other obligations hereunder, Agent shall have the exclusive right
                   to market and sell, or otherwise designate the purchasers, licensees,
                   and/or assignees of, any or all of the Assets free and clear of all liens,
                   claims, and encumbrances thereon (other than Permitted Encumbrances)
                   without further order of the Bankruptcy Court;

        (iv)       the sale, license, transfer, or other conveyance of any Assets (other than
                   the Assets being sold pursuant to the GOB Sale, as to which no further
                   notice shall be required) reflected in notices filed in the Bankruptcy
                   Cases from time to time by Agent, substantially in the form annexed
                   hereto as Exhibit 2(b)(iv) (each an “Asset Designation Notice”), shall
                   be automatically effective on the date reflected in the applicable Asset
                   Designation Notice and subject to the satisfaction of any closing
                   conditions reflected therein, and the sale or other conveyance of such
                   Assets shall be free and clear of all liens, claims, and encumbrances
                   (other than Permitted Encumbrances) without further order of the
                   Bankruptcy Court; provided, however, that nothing in the Approval



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           Order shall inhibit the ability of Agent to seek other or further orders of
           the Court in connection with the sale or other disposition of any Assets;

  (v)      the form of Asset Designation Notice is approved;

  (vi)     subject to Agent’s compliance with its payment obligations under this
           Agreement and the Approval Order, Agent is authorized to execute, in
           the name of and as agent for Merchant, any and all deeds, bills of sale,
           and other instruments or documents necessary to effectuate the sale,
           transfer, or other conveyance of any of the Assets, none of which
           instruments or documents shall require Merchant to incur any
           obligations or other liabilities beyond the terms of this Agreement;

  (vii)    following the satisfaction of the Initial Purchase Price Funding, all
           proceeds (cash or otherwise or payments from insurance on the Assets
           or Merchandise) of or from any of the Assets or Additional Agent
           Merchandise except as otherwise set forth in this Agreement and
           exclusive of amounts to pay Sales Taxes (“Proceeds”), including but not
           limited to all Proceeds arising from the sale, lease, licensing,
           assignment, or other disposition of any of the Assets and all service or
           other revenue received in the Stores, shall be the sole property of Agent,
           and Agent shall be entitled to retain all Proceeds for its own account;

  (viii)   following the occurrence of the Closing, and the satisfaction of the
           Initial Purchase Price Funding, Merchant and any trustee appointed in
           the Bankruptcy Cases or any successor cases thereto shall hold the
           Assets (other than the Assets being sold through the GOB Sale) strictly
           in trust for the benefit of Agent and, as such, the Assets shall not
           constitute property of Merchant’s bankruptcy estate pursuant to and
           consistent with 11 U.S.C. § 541(b)(1) at any time following the Closing;

  (ix)     following the satisfaction of the Initial Purchase Price Funding, any
           Proceeds received by, or that otherwise come into the possession of,
           Merchant at any time after the Closing shall be segregated and held
           strictly in trust for the benefit of Agent, shall not be commingled with
           Merchant’s own assets, and, as such, shall not become property of
           Merchant’s bankruptcy estate pursuant to and consistent with 11 U.S.C.
           §541(b)(1), and shall be paid over to Agent promptly, but in any event,
           not later than in connection with each Weekly Sale Reconciliation;

  (x)      following the satisfaction of the Initial Purchase Price Funding, and
           solely to the extent that any Assets or Proceeds are, notwithstanding the
           Approval Order, subsequently determined to constitute property of
           Merchant’s estate, but subject to Agent’s obligation to pay Expenses
           and fund the Wind-Down Payments, Agent shall have first priority,
           senior security interests and liens on all such Assets and Proceeds,
           which liens shall be deemed automatically perfected and (x) the


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           Merchant shall be expressly prohibited from granting any security
           interests or liens on the Assets and Proceeds thereof and (y) to the extent
           that any security interest or lien is granted or otherwise attaches,
           voluntarily or involuntarily, (other than the security interests and liens
           in favor of the Agent) to any Assets or Proceeds, such security interests
           and liens shall be void ab initio without further order of the Court;
           provided that nothing in the Approval Order shall inhibit Agent’s
           ability, and the Approval Order shall expressly authorize Agent, to take
           any action Agent deems appropriate to perfect and enforce security
           interests and liens granted in its favor;

  (xi)     following the satisfaction of the Initial Purchase Price Funding and
           subject to Agent’s obligation to pay Expenses and fund the Wind-Down
           Payments, until all Assets have been sold or otherwise disposed of, and
           solely to the extent that any Assets or Proceeds are, notwithstanding the
           Approval Order, subsequently determined to constitute property of
           Merchant’s estate, Agent shall have a superpriority administrative
           expense claim, which is senior to all other administrative expense
           claims (including any other superpriority administrative expense
           claims) against Merchant to the extent of any amounts owing from
           Merchant to Agent in connection with this Agreement, including as a
           result of any breach of this Agreement and/or as a result of any Proceeds
           being in Merchant’s possession;

  (xii)    the Lease/Contract Designation Rights are approved, and Agent is
           authorized to designate the assignees of any or all of the Contracts and
           Leases pursuant thereto;

  (xiii)   Agent shall have the exclusive right to use the Stores and all other Assets
           for the purpose of conducting the GOB Sale, free of any interference
           from any entity or person, subject to compliance with this Agreement
           (including payment of Expenses and Wind-Down Payments) the Sale
           Guidelines (as defined below) and Approval Order;

  (xiv)    Agent, as the exclusive agent for Merchant, is authorized to conduct,
           advertise, post signs, utilize sign-walkers, and otherwise promote the
           GOB Sale as a “going out of business”, “store closing”, “sale on
           everything”, “everything must go”, or similarly themed sale, in
           accordance with the Sale Guidelines (as the same may be modified and
           approved by the Bankruptcy Court), subject to compliance with the Sale
           Guidelines, the Approval Order, and all applicable federal, state, and
           local laws, regulations and ordinances, including, without limitation, all
           laws and regulations relating to advertising, privacy, consumer
           protection, occupational health and safety and the environment, together
           with all applicable statutes, rules, regulations and orders of, and
           applicable restrictions imposed by, governmental authorities
           (collectively, the “Applicable General Laws”), other than all applicable


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            laws, ordinances, rules, regulations, or licensing requirements in respect
            of “going out of business”, “store closing” or similarly-themed sales
            (collectively, the “Liquidation Sale Laws”); provided, however, that
            notwithstanding any other provision in the Approval Order, no party
            waives any rights to argue any position with respect to whether the
            conduct was in compliance with the Approval Order and/or any
            applicable law, or that the enforcement of such applicable law is
            preempted by the Bankruptcy Code;

  (xv)      provided that the GOB Sale is conducted in accordance with and subject
            to the Sale Guidelines and the Approval Order, and in light of provisions
            in the laws of many Governmental Units (as defined in the Bankruptcy
            Code) that exempt court-ordered sales from their provisions, Agent and
            Merchant, to the extent applicable, will be presumed to be in compliance
            with any Liquidation Sale Laws and are authorized to conduct the GOB
            Sale in accordance with the terms of the Approval Order and the Sale
            Guidelines without the necessity of further showing compliance with
            any such Liquidation Sale Laws;

  (xvi)     Agent may use all Intellectual Property consistent with Merchant’s
            ordinary course of business usage and in connection with the conduct of
            the GOB Sale;

  (xvii)    unless otherwise ordered by the Bankruptcy Court, all newspapers and
            other advertising media in which the GOB Sale is advertised shall be
            directed to accept the Approval Order as binding and to allow the Parties
            to consummate the transactions provided for in this Agreement,
            including, without limitation, conducting and advertising the GOB Sale
            in the manner contemplated by this Agreement;

  (xviii)   unless otherwise ordered by the Bankruptcy Court, all utilities,
            landlords, creditors, and other interested parties and all persons acting
            for or on their behalf shall not interfere with or otherwise impede the
            conduct of the GOB Sale, or institute any action in any forum other than
            the Bankruptcy Court that in any way directly or indirectly interferes
            with or obstructs or impedes the conduct of the GOB Sale;

  (xix)     the Bankruptcy Court retains exclusive jurisdiction over the
            enforcement and interpretation of, and over and all matters arising from,
            this Agreement;

  (xx)      Merchant is directed to provide weekly reporting to Agent of all
            amounts expended for Expenses and the Central Services Expenses as
            set forth in the Central Services Budget;

  (xxi)     Merchant shall make its books and records reasonably available to
            Agent;



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  (xxii)     Agent shall not be liable for any claims against Merchant except as
             expressly provided for in this Agreement and Merchant shall not be
             liable for any claims against Agent except as expressly provided for in
             this Agreement;

  (xxiii)    all payments made by Merchant on account of the Central Services
             Expenses shall be made pursuant to, and solely in accordance with, the
             Central Services Budget (on a line item basis);

  (xxiv)     Agent shall neither have nor incur any obligation to advance or fund any
             amounts to or for Merchant except as set forth in this Agreement;

  (xxv)      any amendment to or other modification of the Central Services Budget
             shall only be effective upon approval by Agent in its sole discretion;

  (xxvi)     Agent is authorized to sell the Additional Agent Merchandise on the
             terms set forth herein, subject to the Sale Guidelines;

  (xxvii)    Except as provided for herein, following the occurrence of the Closing,
             neither the Merchant nor any other entity acting on its behalf or as its
             successor (including but not limited to the any statutory committee
             appointed in the Bankruptcy Cases and any chapter 7 or 11 trustee) may
             recover from the Agent any costs or expenses of preserving, or
             disposing of, any of the Assets, this Agreement shall be binding on any
             chapter 7 or 11 trustee, and any subsequently appointed chapter 7 trustee
             is authorized to and shall conduct the business of the Merchant for the
             limited purposes of complying with and executing under and in
             accordance with this Agreement, all of the foregoing without further
             order of the Court;

  (xxviii)   Agent and its designees are granted derivative standing to pursue the
             Avoidance Actions (subject to Section 11.2(f) below) and Other Causes
             of Action in the name of and/or on behalf of Merchant;

  (xxix)     in the event any of the provisions of the Approval Order are modified,
             amended or vacated by a subsequent order of the Bankruptcy Court or
             any other court, Agent shall be entitled to the protections provided in
             Bankruptcy Code sections 363(m) and 364(e) and, no such appeal,
             modification, amendment or vacatur shall affect the validity and
             enforceability of the GOB Sale or the liens or priority authorized or
             created under this Agreement or the Approval Order;

  (xxx)      neither Agent nor any entity comprising Agent is or shall be a mere
             continuation of Merchant or otherwise subject to successor liability in
             connection with any of the Assets;

  (xxxi)     upon receipt by the ABL Agent and FILO Agent and certain other
             persons of the Debt Payoff as directed in the Payoff Letters pursuant to


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                          Section 3.1(a) of this Agreement, all ongoing commitments under the
                          Credit Agreement shall be canceled and terminated;

               (xxxii)    to the extent Agent has not designated the Agent or other assignee of
                          any Assets (any Assets so not designated by such date, the “Residual
                          Assets”) as of May 31, 2025 (as may be amended by written agreement
                          of the Parties, the “Asset Designation Rights Termination Date”),
                          (1) ownership of all cash (on hand, in the bank, in transit, posted in
                          respect of letters of credit or bonds or otherwise), credit card processing
                          float, accounts receivable, notes receivable, credit card receivables,
                          other receivables, deposits, security deposits, proceeds of retail sales in
                          all of the Debtors’ retail store locations, rights to refunds, other rights to
                          payment, Intellectual Property, and, subject to Section 7.1, ownership
                          of all Remaining Merchandise, comprising Residual Assets shall vest in
                          Agent or its designee, and (2) ownership of all other Residual Assets
                          shall revert to the Debtors’ estates, each on the Designation Rights
                          Termination Date;

               (xxxiii)   the Final Reconciliation (as defined below), once agreed to by Merchant
                          and Agent, shall be automatically deemed approved pursuant to
                          Bankruptcy Code section 105(a) and Rule 9019 of the Federal Rules of
                          Bankruptcy Procedure without further order of the Bankruptcy Court or
                          action by any party; and

               (xxxiv)    this Agreement, the Approval Order, and all provisions hereof and
                          thereof are binding on any successor to Merchant, including but not
                          limited to any chapter 7 or chapter 11 trustee, and subject to Agent’s
                          obligation to pay Expenses and fund the Wind-Down Payments, any
                          such successor shall continue to hold all Assets and Proceeds strictly in
                          trust for the benefit of Agent.

Section 3. Consideration to Merchant and Agent.

        3.1             Purchase Price. The aggregate consideration being provided to Merchant
in exchange for Agent’s rights and Merchant’s obligations under this Agreement is as follows
(collectively, the “Purchase Price”):

           (a)    Debt Payoff. On the Closing Date, in accordance with payoff letters by each of
the ABL Agent (the “ABL Payoff Letter”) and FILO Agent (the “FILO Payoff Letter” and,
together with the ABL Payoff Letter, the “Payoff Letters”) in form and substance satisfactory to
each such party, Agent shall:

                       (i)    to the ABL Agent, for the benefit of the ABL Lenders, and certain
other persons as directed in the ABL Payoff Letter, (a) pay the amount in cash necessary to
indefeasibly pay in full in cash all Prepetition Revolving Obligations (as defined in the Cash
Collateral Order), including, without limitation, all outstanding principal, accrued interest, fees,
costs and expenses (including, without limitation, all attorneys’ fees, costs and expenses), and


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(b) provide and/or post cash collateral for (and/or replacement of) any issued and outstanding
letters of credit (in form and substance acceptable the Prepetition ABL Agent), in each case in
accordance with and as set forth in the ABL Payoff Letter (such amounts and other consideration,
the “ABL Payoff”); and

                         (ii)    pay to the FILO Agent, for the benefit of the FILO Lenders, and
certain other persons as directed in the FILO Payoff Letter, the amount in cash necessary to
indefeasibly pay in full in cash all Prepetition FILO Obligations (as defined in the Cash Collateral
Order), including, without limitation, all outstanding principal, accrued interest, fees, costs and
expenses (including, without limitation, all attorneys’ fees, costs and expenses) and make whole
obligations, all as set forth in the FILO Payoff Letter (such amounts and other consideration, the
“FILO Payoff” and, together with the ABL Payoff, the “Debt Payoff”).

           (b)     Wind-Down Funding. At Closing, Agent shall make an initial cash payment to
Merchant equal to sixty-five percent (65%) of the Wind-Down Budget (the “Initial Wind-Down
Payment”). Thirty (30) days after the Closing, Agent shall make a second cash payment to
Merchant equal to thirty-five percent (35%) of Wind-Down Budget (the “Second Wind-Down
Payment” and, together with the Initial Wind-Down Payment, the “Wind-Down Payments”). The
Wind-Down Payments shall not exceed the amounts set forth in Exhibit 3.1(b) (the “Wind-Down
Budget”); provided, however, that, solely with respect to the 503(b)(9) Claim subcategory of the
Wind-Down Budget, any amounts that have not been expended by Merchant as of the Designation
Rights Termination Date shall be returned to Agent upon the earlier of (i) the dismissal or
conversion of the Bankruptcy Cases; or (ii) the effective date of a plan of liquidation of Merchant.
With respect to the 503(b)(9) Claim subcategory, Merchant agrees not to make any payments until
the date that is 60 days from the Closing (unless extended upon mutual agreement between
Merchant and Agent). Merchant shall keep Agent informed on a timely basis of its efforts to
reconcile 503(b)(9) claims and shall use best efforts to negotiate settlements with respect to the
503(b)(9) claims, in consultation with Agent.

            (c)    Central Services Funding. At Closing, Agent shall make an initial cash
payment to Merchant equal to the agreed upon estimated amount to be incurred in the two weeks
following Closing, in an amount set forth in the Central Services Budget (the “Initial Central
Services Payment”). After Closing, from time to time, Agent, upon request by the Merchant, shall
make additional payments to Merchant on account of the Central Services Expenses
(the “Subsequent Central Services Payments” and, together with the Initial Central Services
Payment, the “Central Services Payments”). The Central Services Payments are subject to and to
be used solely as set forth in the budget and schedule attached as Exhibit 3.1(c) hereto (as may be
amended from time to time by agreement of the Parties, subject to approval by Agent in its sole
discretion, the “Central Services Budget”). Merchant shall provide Agent with a register of all
payments Merchant intends to issue for Central Services Expenses at least one business day before
issuance, which register shall identify the amounts and expense categories of such payments. Any
portion of the Subsequent Central Services Payments not expended by Merchant as of the
Designation Rights Termination Date shall be returned to Agent upon the earlier of (i) the
dismissal or conversion of the Bankruptcy Cases; or (ii) the effective date of a plan of liquidation
of Merchant. For the avoidance of doubt, Agent’s obligation to fund the Central Services
Payments shall not exceed the Central Services Budget; provided, however, that, in accordance
with Section 4.1, Agent shall be responsible for the payment of any Central Services Expenses in


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excess of the Central Services Budget to the extent such expenses are incurred at the direction of
the Agent, to facilitate Agent’s conduct under this Agreement, or otherwise as agreed to by the
Agent in writing.

          (d)     Expenses. Subject to and only upon Closing, Agent shall be responsible for the
payment of all Expenses pursuant to Section 4.1 below.

       3.2              Consideration to Agent.

            (a)   Proceeds. Upon the occurrence of the Closing and following the satisfaction of
the Initial Purchase Price Funding, all Proceeds (including proceeds from Additional Agent
Merchandise) shall be the exclusive property of Agent.

            (b)     Assets and Proceeds Held in Trust. Merchant shall hold all of the Assets in
trust for the benefit of Agent. Any Proceeds received by, or that otherwise come into the
possession of, Merchant at any time after the Closing shall be segregated and held strictly in trust
for the benefit of Agent, shall not be commingled with Merchant’s own assets, shall not become
property of Merchant’s bankruptcy estate, and shall be paid over to Agent promptly upon receipt
by Merchant or upon notice received by Merchant from Agent, but in any event no later than the
Weekly Sale Reconciliation.

            (c)    Remaining Merchandise. To the extent that there is Merchandise remaining at
the Sale Termination Date (the “Remaining Merchandise”), such Remaining Merchandise shall be
deemed automatically transferred to Agent free and clear of all liens, claims, and encumbrances
(other than Permitted Encumbrances). Agent and its affiliates shall be authorized to sell or
otherwise dispose of the Remaining Merchandise with all logos, brand names, and other
Intellectual Property intact, and shall be authorized to advertise the sale of the Remaining
Merchandise using the Intellectual Property.

       3.3              Proceeds of GOB Sales.

            (a)    Following the satisfaction of the Initial Purchase Price Funding, Agent may (but
shall not be required to) establish its own accounts (including without limitation credit card
accounts and systems), dedicated solely for the deposit of the Proceeds of the GOB Sales
(including Proceeds from Additional Agent Merchandise) (the “GOB Sale Proceeds”) and the
disbursement of amounts payable to Agent in connection with the GOB Sales (the “Agency
Accounts”); and Merchant shall promptly, upon Agent’s reasonable request, execute and deliver
all necessary documents to open and maintain the Agency Accounts, at no additional cost to
Merchant; provided, however, Agent shall have the right, in its sole and absolute discretion, to
continue to use the Merchant Designated Deposit Accounts (as defined below) as the Agency
Accounts in which case the Merchant Designated Deposit Accounts shall be deemed to be Agency
Accounts. Agent shall exercise sole signatory authority and control with respect to the Agency
Accounts. The Agency Accounts shall be dedicated solely to the deposit of GOB Sale Proceeds
and other amounts contemplated by this Agreement in connection with the GOB Sale and the
distribution of amounts payable hereunder in connection with the GOB Sale. Merchant shall not
be responsible for, and Agent shall pay as an Expense hereunder, all bank fees and charges,
including wire transfer charges, related to the GOB Sale and the Agency Accounts. Following


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Agent’s notice to Merchant of Agent’s designation of the Agency Accounts (other than the
Merchant Designated Deposit Accounts), all GOB Sale Proceeds (including credit card GOB Sale
Proceeds) shall be deposited into the Agency Accounts.

            (b)     Agent shall have the right to use Merchant’s credit card facilities, including
Merchant’s credit card terminals and processor(s), credit card processor coding, Merchant’s
identification number(s) and existing bank accounts for credit card transactions relating solely to
the GOB Sale; provided, that, Agent’s use of any such credit card facilities is in compliance with
Applicable General Laws and industry standards, including the Payment Card Industry Data
Security Standard (“PCI-DSS”). In the event that Agent elects to use Merchant’s credit card
facilities, Merchant shall process credit card transactions on behalf of Agent and for Agent’s
account, applying Merchant’s customary practices and procedures. Without limiting the
foregoing, Merchant shall make reasonable efforts to (i) cooperate with Agent to download data
from all credit card terminals each day during the Sale Term to effect settlement with Merchant’s
credit card processor(s), and (ii) take such other actions necessary to process credit card
transactions on behalf of Agent under Merchant’s identification number(s). At Agent’s request,
Merchant shall cooperate with Agent to establish Merchant’s identification numbers under Agent’s
name to enable Agent to process all such credit card GOB Sale Proceeds for Agent’s account.
Merchant shall not be responsible for, and Agent shall pay as an Expense hereunder, all credit card
fees, charges, and chargebacks related to the GOB Sale, whether received during or after the Sale
Term. Agent shall not be responsible for, as an Expense or otherwise, any credit card fees, charges,
or chargebacks relating to periods prior to the Closing.

            (c)     Unless and until Agent establishes its own Agency Accounts (other than the
Merchant Designated Deposit Accounts), all GOB Sale Proceeds and other amounts contemplated
by this Agreement (including credit card GOB Sale Proceeds), shall be collected by Merchant and
deposited on a daily basis into depository accounts owned in the name of Merchant and designated
solely for the deposit of GOB Sale Proceeds and other amounts contemplated by this Agreement
(including credit card GOB Sale Proceeds), and the disbursement of amounts payable to or by
Agent hereunder (the “Merchant Designated Deposit Accounts”). All funds in the Merchant
Designated Deposit Accounts shall at all times be held in trust for the benefit of Agent. The
Merchant Designated Deposit Accounts shall be cash collateral accounts, with all cash, credit card
payments, checks and similar items of payment, deposits and any other amounts in such accounts
being GOB Sale Proceeds or other amounts contemplated hereunder, and Merchant hereby grants
to Agent a first-priority senior security interest in and lien upon each of the Merchant Designated
Deposit Accounts and all funds on deposit in such accounts from and after the Closing.

            (d)    Merchant shall take all actions necessary to designate Agent as an authorized
signer on all Merchant Designated Deposit Accounts and to grant Agent the ability to initiate wire
transfers from such Merchant Designated Deposit Accounts.

            (e)    On each business day to the extent practicable, Merchant shall promptly pay to
Agent by wire transfer all funds in the Merchant Designated Deposit Accounts (including, without
limitation, GOB Sale Proceeds, GOB Sale Proceeds from credit card sales, and all other amounts)
deposited into the Merchant Designated Deposit Accounts for the prior day(s).




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Section 4. Expenses.

        4.1            Subject to and only upon Closing, Agent shall be responsible for all
“Expenses,” which shall be paid by Agent in accordance with Section 4.3 below. As used herein,
“Expenses” shall mean the actual operating expenses that arise solely after Closing through the
Sale Termination Date, that are incurred at the direction of the Agent, to facilitate Agent’s conduct
under this Agreement, or otherwise as agreed to by the Agent in writing, which are strictly limited
to the following expenses:

              (a)   actual hourly or salaried payroll, as applicable, with respect to all Retained
Employees and any temporary labor engaged for the GOB Sale that are used in connection with
conducting the GOB Sale for actual days/hours worked;

                (b)     any amounts related to (i) benefits arising, accruing or attributable to the
period between the Closing and the Sale Term: (w) vacation days or vacation pay, (x) sick days
or sick leave or any other form of paid time off, (y) maternity leave or other leaves of absence, and
(z) ERISA coverage and similar contributions, and (ii) any amounts payable by Merchant for
benefits (including FICA, unemployment taxes, workers’ compensation and healthcare insurance,
but excluding Excluded Payroll Benefits) for Retained Employees used in the GOB Sale
(the “Payroll Benefits”);

             (c)     subject to Section 6.1, the actual Occupancy Expenses in the amounts
shown on Exhibit 4.1(c);

               (d)    Retention Bonuses, if applicable, for Retained Employees, as provided for
in Section 9.4 below;

                (e)    advertising and direct mailings initiated by Agent relating to the GOB Sale,
Store interior and exterior signage and banners procured by Agent, and sign-walkers or drivers
procured by Agent, in each case relating to the GOB Sale;

               (f)    credit card fees, bank card fees, and chargebacks and credit/bank card
discounts with respect to Merchandise sold in the GOB Sale;

              (g)     bank service charges (for Store, corporate accounts, and Agency Accounts),
check guarantee fees, and bad check expenses to the extent directly attributable to the GOB Sale;

                (h)     costs for additional Supplies at the Stores necessary to conduct the GOB
Sale as solely to the extent requested by Agent;

             (i)     all fees and charges required to comply with applicable laws in connection
with the GOB Sale solely to the extent agreed to by Agent;

               (j)     Store cash theft and other Store cash shortfalls in the registers;

               (k)    any Central Services Expenses in excess of the Central Services Budget to
the extent such expenses are incurred at the direction of the Agent, to facilitate Agent’s conduct
under this Agreement, or otherwise as agreed to by the Agent in writing.


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               (l)     the Distribution Center Expenses;

                (m)     postage, courier and overnight mail charges requested by Agent to the
extent relating to the GOB Sale;

               (n)     third party payroll processing expenses associated with the GOB Sale; and

               (o)    costs of transfers initiated by Agent of Merchandise and Additional Agent
Merchandise between and among the Stores and Distribution Centers during the Sale Term,
including delivery and freight costs, it being understood that Agent shall be responsible for
coordinating such transfer of Merchandise.

Notwithstanding anything herein to the contrary, there will be no double counting or double
payment of Expenses to the extent that Expenses appear or are contained in more than one Expense
category.

       As used herein, the following terms have the following respective meanings:

                        (i)     “Central Services Expenses” means the actual costs and expenses,
including related to Merchant’s central administrative services necessary for the GOB Sale,
including, but not limited to, operation of the IT systems, internal payroll processing, MIS services,
cash and inventory reconciliation, data processing and reporting, information technology updates,
functionality and maintenance of the corporate headquarters, legal, human resources, accounting,
and functionality and maintenance of Merchant’s e-commerce site for purposes of advertising the
GOB Sale (collectively, “Central Services”).

                        (ii)   “Excluded Payroll Benefits” means (i) the following benefits
arising, accruing or attributable to the period prior to Closing or after the Sale Termination Date,
if any: (w) vacation days or vacation pay, (x) sick days or sick leave or any other form of paid time
off, (y) maternity leave or other leaves of absence, and (z) ERISA coverage and similar
contributions and/or (ii) any payments due under WARN Act or similar state laws.

                      (iii) “Distribution Center Expenses” means the actual costs and
expenses, including use and Occupancy Expenses and Distribution Center employee payroll, both
hourly and salary, and other obligations, of the operations of the Distribution Centers, and the
actual costs and expenses (including outbound freight) related to the processing, transfer, and
consolidation of Merchandise, Additional Agent Merchandise, and supplies in the Distribution
Centers and from the Distribution Centers to the Stores, and all actual costs and expenses
associated with Agent’s on-site supervision of the Stores, corporate offices and Distribution
Centers, including (but not limited to) any and all fees, wages, taxes, third party payroll costs and
expenses, and deferred compensation of Agent’s field personnel, travel to, from or between the
Stores, corporate offices, and Distribution Centers, and out-of-pocket and commercially
reasonable expenses relating thereto (including reasonable and documented corporate travel to
monitor and manage the GOB Sale).

                        (iv)    “Occupancy Expenses” means base rent, percentage rent, HVAC,
utilities, CAM, storage costs, real estate and use taxes, Merchant’s association dues and expenses,
utilities expenses, cash register maintenance, routine repairs, building maintenance, trash and snow


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removal, housekeeping and cleaning expenses, local and long-distance telephone and internet/wifi
expenses, security (including, without limitation, security systems, courier and guard service,
building alarm service and alarm service maintenance), and rental for furniture, fixtures and
equipment; provided that the Occupancy Expenses shall not exceed shall not exceed the amount
set forth on Exhibit 4.1(c).

                      (v)      “Third Party” means, with reference to any Expenses to be paid to a
Third Party, a party which is not affiliated with or related to Merchant.

                       (vi)     Notwithstanding any other provision of this Agreement to the
contrary, “Expenses” shall not include any other costs, expenses or liabilities payable by Merchant
not provided for herein, all of which shall be paid solely by Merchant.

       4.2             Payment of Expenses.

        Subject to and only upon Closing, Agent shall be responsible for the payment of all
Expenses out of Proceeds (or from Agent’s own accounts if and to the extent there are insufficient
Proceeds). All Expenses incurred during each week of the GOB Sale (i.e. Sunday through
Saturday) shall be paid by Agent to or on behalf of Merchant, or paid by Merchant and thereafter
reimbursed by Agent as provided for herein; provided, however, in the event that the actual amount
of an Expense is unavailable on the date of the reconciliation (such as payroll), Merchant and
Agent shall agree to an estimate of such amounts, which amounts will be reconciled once the actual
amount of such Expense becomes available. To the extent necessary or appropriate, Agent shall
work with Merchant in good faith to fund Expenses in advance as needed to ensure the timely
payment thereof. Agent and/or Merchant may review or audit the Expenses at any time. To the
extent such Expenses are paid by Merchant, Merchant shall provide Agent with payments that
Merchant intends to issue for such Expenses at least one business day before issuance, which
register shall identify amounts and expense categories of such payments.

Section 5. Merchandise.

       5.1             Merchandise Subject to This Agreement.

                (a)    “Excluded Goods” means all (1) goods that are not owned by Merchant,
including but not limited to goods that belong to sublessees, licensees, department lessees, or
concessionaires of Merchant and (2) goods held by Merchant on memo, on consignment (except
to the extent otherwise agreed by the applicable consignor), or as bailee. Merchant shall be solely
responsible for the disposition and/or abandonment of all Excluded Goods and all costs, expenses,
and obligations associated therewith. Agent shall incur no cost, expense, or obligation in
connection with any Excluded Goods.

                 (b)    “Merchandise” means all goods owned by Merchant for resale as of the
occurrence of the Closing, wherever located, including, for clarity, all goods that are on-order or
in-transit as of the Closing, other than Excluded Goods.




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       5.2     Valuation.

                (a)    “Cost Value” shall mean, with respect to each item of Merchandise, the
lower of (i) the lower of (x) the actual cost of such item and (y) the lowest cost of such item as
reflected in the Merchandise File and (ii) the Retail Price.

               (b)    “Retail Price” shall mean with respect to each item of Merchandise, the
lower of the lowest ticketed, marked, shelf, Merchandise File, or other file price as reflected in
Merchant’s books and records for such item.

               (c)    “Merchandise File” shall mean “7.10_Project Thread – Current Inventory
By Article.xlsx” and all subsequent and/or refreshed files received by Agent from and after the
date of this Agreement.

       5.3              Inventory Count.

                During the Sale Term, for purposes of counting the Merchandise and determining
the Merchandise Threshold, Merchant and Agent shall jointly keep (i) a strict count of gross
register receipts from the sale of Merchandise, less applicable taxes and excluding any prevailing
Sale-related discounts (“Gross Rings”), and (ii) cash reports of sales within each Store. Register
reports shall show for each item sold the Cost Value and Retail Price for such item and the
markdown or discount, if any, specifically granted by the Agent. All such records and reports shall
be made available to Merchant and Agent during regular business hours upon reasonable notice.

Section 6. Sale Term.

         6.1              Term. Subject to satisfaction of the conditions precedent set forth in
Section 10 hereof, the GOB Sale shall commence at each Store on a date determined by Agent in
its sole discretion after the occurrence of the Closing (the “Sale Commencement Date”) and shall
end at each Store no later than May 31, 2025 (the “Sale Termination Date”, and the period from
the Sale Commencement Date to the Sale Termination Date as to each Store being the “Sale
Term”). Agent may, in its discretion, earlier terminate the GOB Sale on a Store-by-Store basis or
close a Distribution Center, upon written notice to Merchant at least five (5) days prior to the end
of a calendar month (a “Vacate Notice”) and vacate such Store or Distribution Center, in
accordance with Section 6.2, by the end of such calendar month (the “Vacate Date”); provided,
however, that Agent’s obligations to pay all Expenses, including Occupancy Expenses, for each
Store or Distribution Center, as applicable, subject to a Vacate Notice shall continue only until the
applicable Vacate Date.

                6.2     Vacating the Stores. At the conclusion of the GOB Sale, Agent agrees to
leave each Store in “broom clean” condition, ordinary wear and tear excepted, except for unsold
items of Owned FF&E which may be abandoned by Agent in place in a neat and orderly manner
pursuant to Section 7 below. Agent shall vacate each Store or Distribution Center on or before the
earlier of (a) the Sale Termination Date or, if applicable, (b) the Vacate Date, as provided for
herein, at which time Agent shall surrender and deliver the Store or Distribution Center premises,
and, if in Agent’s possession, keys, to Merchant unless the applicable Lease is being conveyed
pursuant to the Lease/Contract Designation Rights. Notwithstanding the foregoing, Agent’s


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obligations to pay all Expenses for the Stores and Distribution Centers shall be limited as provided
for in Section 6.1.

Section 7. FF&E/ Merchandise.

       7.1              Abandonment of FF&E/Merchandise. Agent shall be authorized to
abandon any and all FF&E or Remaining Merchandise, whether owned or not by Merchant, in
place without any cost or liability to Agent. For the avoidance of doubt, Agent shall have no
responsibility whatsoever with respect to FF&E that is not owned by Merchant; provided that
nothing in this Section 7 shall limit Agent’s rights with respect to Owned FF&E under the Asset
Designation Rights or with respect to leased FF&E under the Lease/Contract Designation Rights.

Section 8. Conduct of the GOB Sale.

        8.1              Rights of Agent. Subject to entry of the Approval Order, in addition to any
other rights granted to Agent elsewhere in this Agreement, Agent shall be permitted to conduct the
GOB Sale as a “going out of business,” “store closing,” “sale on everything,” “everything must
go,” or similarly themed sale throughout the Sale Term, without compliance with any Liquidation
Sale Laws, subject to the Approval Order. Agent shall conduct the GOB Sale in the name of and
on behalf of Merchant in a commercially reasonable manner and in compliance with the terms of
this Agreement and Applicable General Laws and subject to the Approval Order. Agent shall
conduct the GOB Sale in accordance with the sale guidelines attached hereto as Exhibit 8.1
(the “Sale Guidelines”). In addition to any other rights granted to Agent hereunder in conducting
the GOB Sale, Agent shall have the right:

               (a)     to establish GOB Sale prices and discounts and Store hours;

                (b)    except as otherwise expressly included as an Expense, to use without charge
during the Sale Term all FF&E, IT Systems, existing Supplies, intangible assets (including
Merchant’s name, logo and tax identification numbers and, other Intellectual Property), Store keys,
case keys, security codes and safe and lock combinations required to gain access to and operate
the Stores, and any other assets of Merchant located at the Stores or Distribution Centers (whether
owned, leased, or licensed), solely to the extent such use does not violate any Applicable General
Law;

                 (c)     (i) subject to satisfaction of Agent’s payment obligations under this
Agreement, to be provided by Merchant with central office facilities, central administrative
services and personnel to process and perform Central Services and provide other central office
services reasonably necessary for the GOB Sale; (ii) to use reasonably sized offices located at
Merchant’s central office facility to effect the GOB Sale; and (iii) to use all customer lists, mailing
lists, email lists, and web and social networking sites and other Intellectual Property utilized by
Merchant in connection with its business (to the extent such items can be segregated to the Stores
or Distribution Centers and solely in connection with the GOB Sale and subject to Applicable
General Laws and any other restrictions requested by Merchant in order for Merchant and Agent
to comply with Merchant’s privacy policies, contracts, agreements, or applicable laws governing
the use and dissemination of personal or confidential information, including consumer personal
data);


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                (d)    to establish and implement advertising, signage and promotion programs
consistent with the “going out of business,” “store closing,” “sale on everything,” “everything must
go,” or similarly themed sale, including without limitation by means of media advertising, and
similar interior and exterior signs and banners, and the use of sign walkers or drivers, each at
Agent’s sole cost as an Expense;

               (e)    to include Additional Agent Merchandise in the GOB Sale in accordance
with Section 8.9; and

               (f)     to transfer Merchandise between and among the Stores and Distribution
Centers.

        8.2             Terms of Sales to Customers; Final/As Is Sales. During the Sale Term, all
sales of Merchandise and Additional Agent Merchandise will be “final sales” and “as is,” and
appropriate signage and sales receipts will reflect the same. Agent shall not warrant the
Merchandise in any manner, but will, to the extent legally permissible, pass on all manufacturers’
warranties to customers. Except as otherwise provided herein, during the Sale Term, all sales will
be made only for cash or nationally recognized bank credit or debit cards. Upon entry of the
Approval Order, Agent shall not accept or honor coupons during the Sale Term. Agent shall
clearly mark all receipts for the Merchandise sold at the Stores during the Sale Term so as to
distinguish the sale of such Merchandise from the goods sold prior to the Sale Commencement
Date.

       8.3              Tax Matters.

                (a)    During the Sale Term, all sales, use, excise, gross receipts and other taxes
attributable to sales of Merchandise and Additional Agent Merchandise, as indicated on
Merchant’s point of sale equipment (other than taxes on net income) payable to any taxing
authority having jurisdiction (collectively, “Sales Taxes”) shall be added to the sales price of
Merchandise and Additional Agent Merchandise and collected by Agent, on Merchant’s behalf, at
the time of sale. All Sales Taxes shall be deposited into a segregated account designated by
Merchant and Agent solely for the deposit of such Sales Taxes (the “Sales Taxes Account”). For
the avoidance of doubt, Merchant will have payment authority on the Sales Taxes Account from
inception until Merchant no longer has any obligation with respect to the payment of Sales Taxes
hereunder. For any Sales Taxes Account that Agent obtains control or payment authority over,
Agent agrees to remit any funds in such Sales Taxes Account to Merchant. Merchant shall prepare
and file all applicable reports and documents required by the applicable taxing authorities with
respect to Sales Taxes incurred on transactions processed under Merchant’s identification
number(s), and Merchant shall promptly pay all such Sales Taxes from the Sales Taxes Account.
Merchant will be given access to the computation of gross receipts for verification of all such tax
collections. Provided that Agent performs its responsibilities in accordance with this Agreement,
Agent shall have no further obligation to Merchant, any taxing authority, or any other party, and
Merchant shall indemnify and hold harmless Agent from and against any and all reasonable out-
of-pocket costs, including, but not limited to, reasonable attorneys’ fees, assessments, fines or
penalties, which Agent sustains or incurs as a result or consequence of the failure by Merchant to
promptly pay such taxes to the proper taxing authorities and/or the failure by Merchant to promptly
file with such taxing authorities all reports and other documents required by applicable law to be


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filed with or delivered to such taxing authorities. If Agent fails to perform its responsibilities in
accordance with this Section 8.3, and provided Merchant complies with its obligations hereunder,
Agent shall indemnify and hold harmless Merchant from and against any and all costs, including,
but not limited to, reasonable attorneys’ fees, assessments, fines or penalties which Merchant
sustains or incurs as a result or consequence of the failure by Agent to collect Sales Taxes and/or
the failure by Agent to promptly deliver any and all reports and other documents required to enable
Merchant to file any requisite returns with such taxing authorities. Agent shall use commercially
reasonable efforts to cooperate with Merchant to obtain any tax refunds in respect of Sales Taxes.

               (b)    Notwithstanding anything in this Agreement to the contrary, nothing in this
Agreement shall be interpreted as establishing the federal, state, or local tax consequences of the
transactions contemplated by this Agreement.

               (c)     Agent shall, and shall cause each of its respective affiliates to, use
commercially reasonable efforts to cooperate and consult with Merchant with respect to applicable
Sales Taxes matters and other tax matters reasonably associated with the transactions contemplated
by this Agreement, including the preparation and filing of applicable tax reports, returns, and
documents (including applicable allocations of purchase price) required by the applicable taxing
authorities with respect thereto and any audit, litigation, or other proceeding with respect thereto.

                (d)     Agent shall be responsible for all documentary, stamp, transfer (including
real property transfer), motor vehicle registration, sales, use, value added, excise, and other similar
non-income taxes and all filing and recording fees (and any interest, penalties and additions with
respect to such taxes and fees) arising from or relating to the consummation of the transactions
contemplated by this Agreement (collectively, “Transfer Taxes”), regardless of the party on whom
liability is imposed under the provisions of the applicable laws relating to such Transfer Taxes.
Merchant and Agent will consult and cooperate on a reasonable basis in preparing and timely filing
all tax returns, declarations, reports, estimates, information returns or other statements
(collectively, “Tax Returns”) with respect to any Transfer Taxes and will cooperate on a reasonable
basis and otherwise take reasonable best efforts to obtain any available exemptions from or
reductions in such Transfer Taxes.

            (e)    Merchant shall provide to Agent a properly completed and duly executed
IRS Form W-9 on behalf of each Selling Entity on or prior to the Closing Date.

        8.4            Supplies. Agent shall have the right to use, without charge, all existing
supplies located at the Stores, Distribution Centers and corporate office(s), including, without
limitation, boxes, bags, paper, twine and similar sales materials (collectively, “Supplies”);
provided, however, that the term “Supplies” does not include any IT System. In the event that
additional Supplies are required in any of the Stores during the GOB Sale, Merchant agrees to
promptly provide the same to Agent, if available, for which Agent shall reimburse Merchant at
Merchant’s cost therefor as set forth in Section 4 hereof.

         8.5             Returns of Merchandise. After the Closing Date, Merchant shall modify
its return policy such that all sales are “final” as of the Closing Date. Agent shall accept returns
of goods sold by Merchant for fourteen (14) days following the Closing Date. Following such
date, the Agent shall have no obligation to accept returns of goods sold.


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        8.6              Gift Certificates, Credits. By the Closing Date, Merchant shall use
commercially reasonable best efforts to modify its gift certificate, coupon, and loyalty program
policies such that Merchant’s gift cards, gift certificates, coupons and credits will only be accepted
during the fourteen (14) day period following the Closing and that Merchant’s loyalty program
will be terminated as of the Closing. Following such date, Agent shall have no obligation to accept
gift cards, gift certificates, coupons and credits or honor any of Merchant’s loyalty programs
during the Sale Term. After the Petition Date, Merchant shall discontinue the sale of gift
certificates and gift cards and use commercially reasonable best efforts to direct any third-party
merchants to stop the sale of such gift certificates and gift cards.

        8.7              Right to Monitor. Merchant shall have the right to monitor the GOB Sale
and activities attendant thereto and to be present in the Stores during the hours when the Stores are
open for business; provided that Merchant’s presence does not unreasonably disrupt the conduct
of the Sale. Merchant shall also have a right of access to the Stores at any time in the event of an
emergency situation and shall promptly notify Agent of such emergency.

         8.8             Sale Reconciliation. On each Wednesday during the Sale Term, Agent and
Merchant shall cooperate to reconcile the sales of Merchandise and Additional Agent
Merchandise, the sale of FF&E, Expenses, make payments/setoffs on account of the GOB Sale
Proceeds and reconcile such other GOB Sale-related items as either party shall reasonably request,
in each case for the prior week or partial week (i.e. Sunday through Saturday), all pursuant to
procedures agreed upon by Merchant and Agent (the “Weekly Sale Reconciliation”). Within
thirty (30) days after the end of the Sale Term, or as soon as practicable thereafter, Agent and
Merchant shall complete a final reconciliation of the Sale (the “Final Reconciliation”), the written
results of which shall be certified by representatives of each of the Merchant and Agent as a final
settlement of accounts between the Merchant and Agent with respect to the GOB Sale. Within
five (5) days after the completion of the Final Reconciliation and execution of a settlement letter
including an appropriate mutual release for the benefit of Merchant and Agent, Agent shall pay to
Merchant, or Merchant shall pay to Agent, as the case may be, any and all amounts due the other
pursuant to the Final Reconciliation. The Approval Order shall provide that the Final
Reconciliation, once agreed to by Merchant and Agent, shall be automatically deemed approved
pursuant to Bankruptcy Code section 105(a) and Rule 9019 of the Federal Rules of Bankruptcy
Procedure without further order of the Bankruptcy Court or action by any party. During the Sale
Term, and thereafter until all of Merchant’s and Agent’s obligations under this Agreement have
been satisfied, Merchant and Agent shall have reasonable access to each other’s records with
respect to the GOB Sale (including, but not limited to Merchandise, Additional Agent
Merchandise, GOB Sale Proceeds, and Expenses) to review and audit such records.

       8.9              Additional Agent Merchandise.

               (a)     Agent shall be entitled to include in the Sale additional merchandise
procured by Agent, which is of like kind as, and no lesser quality than, the Merchandise located in
the Stores or Distribution Centers (“Additional Agent Merchandise”). Agent shall be responsible
for payment of all costs associated with any Additional Agent Merchandise. All proceeds of the
sale of Additional Agent Merchandise shall remain the exclusive property of Agent.




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               (b)     The Additional Agent Merchandise shall be at all times subject to the
control of Agent. If requested by Agent, Merchant shall, at Agent’s expense, ensure the Additional
Agent Merchandise and, if required, promptly file any proofs of loss with regard to same with
Merchant’s insurers.

               (c)     Any transactions relating to the Additional Agent Merchandise are, and
shall be construed as, a true consignment from Agent to Merchant. Merchant acknowledges, and
the Approval Order (as and when applicable) shall provide, that the Additional Agent Merchandise
shall be consigned to Merchant as a true consignment under Article 9 of the Uniform Commercial
Code in effect in the State of Delaware (the “UCC”). Agent is hereby, and shall be through the
Approval Order, granted a first priority security interest in and lien upon (i) the Additional Agent
Merchandise and (ii) the Additional Agent Merchandise Proceeds, which security interest shall be
deemed perfected pursuant to the Approval Order without the requirement of filing UCC financing
statements or providing notifications to any prior secured parties; provided that Agent is hereby
authorized to deliver any notices and file any financing statements and amendments thereof under
the applicable UCC identifying Agent’s interest in the Additional Agent Merchandise and any
proceeds from the sale thereof as consigned goods thereunder and Merchant as the consignee
therefor, and Agent’s security interest in such Additional Agent Merchandise and Additional
Agent Merchandise proceeds.

              (d)   Agent shall provide signage in the Stores notifying customers that the
Additional Agent Merchandise has been included in the Sale.

              8.10     Force Majeure. If any casualty, act of war or terrorism, act of God, or
epidemic or pandemic prevents the conduct of business in the ordinary course at any Store for a
period in excess of five (5) consecutive days (a “Force Majeure Event”), such Store and the
Merchandise located at such Store may, in Agent’s sole discretion, be eliminated from the Sale
and considered to be deleted from this Agreement as of the first date of such event, and Agent and
Merchant shall have no further rights or obligations hereunder with respect thereto; provided,
however, that the proceeds of any insurance attributable to such Merchandise shall constitute
Proceeds hereunder and there shall be no adjustment to the Purchase Price.

Section 9. Employee Matters.

        9.1              Merchant’s Employees. Subject to the Central Services Budget and
payment of Expenses, Agent may use Merchant’s employees in the conduct of the GOB Sale to
the extent Agent deems necessary for the GOB Sale, and Agent may select and schedule the
number and type of Merchant’s employees required for the GOB Sale. Agent shall identify any
such employees to be used in connection with the GOB Sale (each such employee, a “Retained
Employee”) prior to the Sale Commencement Date. Notwithstanding the foregoing, Merchant’s
employees shall at all times remain employees of Merchant. Agent’s selection and scheduling of
Merchant’s employees shall at all times comply with all applicable collective bargaining
agreements, laws and regulations. Merchant and Agent agree that, except to the extent that wages
and benefits of Retained Employees constitute Expenses hereunder, nothing contained in this
Agreement and none of Agent’s actions taken in respect of the GOB Sale shall be deemed to
constitute an assumption by Agent of any of Merchant’s obligations relating to any of Merchant’s
employees including, without limitation, Worker Adjustment Retraining Notification Act


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(“WARN Act”) claims and other termination type claims and obligations, or any other amounts
required to be paid by statute or law; nor shall Agent become liable under any employment
agreement, collective bargaining agreement, or be deemed a joint or successor employer with
respect to such employees. For the avoidance of doubt, Merchant shall be responsible for
providing any required notice under the WARN Act or state laws with respect to its employees
and otherwise comply with the WARN Act or state laws with respect to any “plant closing” or
“mass layoff” (as defined in the WARN Act) or group termination or similar event affecting the
employees, whether before or after the date of this Agreement. Merchant shall not, without the
prior consent of Agent, raise the salary or wages or increase the benefits for, or pay any bonuses
or other extraordinary payments to, any Store or Distribution Center employees prior to the Sale
Termination Date. Merchant shall not transfer any employee in anticipation of the GOB Sale nor
any Retained Employee during the Sale Term, in each case without Agent’s prior consent, not to
be unreasonably withheld. To the extent reasonably requested in writing by Agent, and at Agent’s
expense, Merchant shall use commercially reasonable efforts to hire additional temporary
employees to facilitate the GOB Sale, which employees shall constitute Retained Employees for
purposes of this Agreement.

        9.2             Termination of Employees. Agent may in its discretion stop using any
Retained Employee at any time during the GOB Sale, subject to the conditions provided for herein.
In the event that Agent desires to cease using any Retained Employee, Agent shall notify Merchant
at least seven (7) days prior thereto in writing; provided, however, that, in the event that Agent
determines to cease using an employee “for cause” (such as dishonesty, fraud or breach of
employee duties), the seven (7) day notice period shall not apply; provided that Agent shall notify
Merchant immediately after such discontinuance. Contemporaneous with providing such notice,
Agent shall provide to Merchant all information and other materials in Agent’s knowledge,
possession or control concerning supporting Agent’s determination to terminate any Retained
Employee “for cause.” From and after the date of this Agreement and until the Sale Termination
Date, Merchant shall not transfer or dismiss employees of the Stores or Distribution Centers except
“for cause” without Agent’s prior consent, not to be unreasonably withheld. Notwithstanding the
foregoing, Agent shall not have the right to terminate the actual employment of any employee, but
rather may only cease using such employee in the GOB Sale and paying any Expenses with respect
to such employee (and all decisions relating to the termination or non-termination of such
employees shall at all times rest solely with Merchant). Notwithstanding any other provision
hereof, Agent will indemnify and hold Merchant harmless from and against any and all costs or
expenses incurred (including, without limitation, reasonable attorneys’ fees) in connection with
any claims by Retained Employees arising from Agent’s conduct in connection with Retained
Employees.

         9.3            Payroll Matters. During the Sale Term, Merchant shall process the payroll
for all Retained Employees and any former employees and temporary labor engaged for the GOB
Sale. Each Wednesday of each week during which payroll is being paid by Merchant (or such
other date as may be reasonably requested by Merchant to permit the funding of the payroll
accounts before such payroll is due and payable) during the Sale Term, Agent shall transfer to
Merchant’s payroll accounts an amount equal to the payroll for Retained Employees plus related
payroll taxes, workers’ compensation and benefits for each such week, to the extent such amount
constitutes Expenses hereunder.



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       9.4             Employee Retention Bonuses. Subject to approval by the Bankruptcy
Court, Agent may, in its sole discretion, pay, as an Expense, retention bonuses and/or severance
pay (“Retention Bonuses”), which bonuses shall be inclusive of payroll taxes, but as to which no
severance benefits shall be payable to such Retained Employees who do not voluntarily leave
employment, are not otherwise entitled to receive severance pay, and are not terminated “for
cause,” as Agent may determine in its reasonable and good faith discretion. Subject to approval
by the Bankruptcy Court, the amount of such Retention Bonuses shall be in an amount to be
determined by Agent, in its reasonable and good faith discretion, and shall be payable within thirty
(30) days after the Sale Termination Date and shall be processed through Merchant’s payroll
system.

Section 10. Conditions Precedent and Subsequent.

                (a)    Agent shall consummate the transactions contemplated under this
Agreement (the “Closing”) by February 14, 2025 (the “Closing Date”) subject only to the
satisfaction of the following conditions, unless specifically waived in writing by Agent in its
reasonable discretion:

                       (i)    The    Petition   Date   shall   have    occurred   no    later   than
January 15, 2025;

                     (ii)   On the Petition Date, Merchant shall have filed a motion and
proposed form of Bid Procedures Order;

                        (iii) The Bankruptcy Court shall have entered an order approving the use
of cash collateral (the “Cash Collateral Order”) on a final basis no later than February 10, 2025;

                        (iv)    The Bankruptcy Court shall have entered the Bid Procedures Order
on a final basis no later than February 10, 2025;

                     (v)      The bid deadline under the Bid Procedures Order shall be no later
than February 12, 2025;

                     (vi)     The Auction, if any, under the Bid Procedures Order shall be no later
than February 14, 2025;

                       (vii) The Bankruptcy Court shall have entered the Approval Order no
later than February 14, 2025, provided, however, that no Auction has occurred;

                        (viii) The Bankruptcy Court shall have entered an order, pursuant to
Section 365(d)(4) of the Bankruptcy Code, extending the Merchant’s time to assume or reject the
leases for the Stores to the date that is 210 days after the Petition Date;

                       (ix)   The Termination Declaration Date, as defined in the Cash Collateral
Order, shall not have occurred;

                       (x)    (A) All representations and warranties of Merchant in Section 11.1
(other than the representations and warranties set forth in Sections 11.1(a), (b), and (c)) shall be


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true and correct, except where the failure to be true and correct has not had and would not
reasonably be expected to have a material adverse effect on the Assets taken as a whole, (B) all
representations and warranties of Merchant in Sections 11.1(a), (b), and (c) shall be true and
correct in all material respects as of the Closing, and (C) Merchant shall have in all material
respects performed the obligations and complied with the covenants required by this Agreement
to be performed or complied with by it prior to the Closing;

                     (xi)    No chapter 11 trustee has been appointed and the Merchant’s
bankruptcy cases have not been converted to cases under Chapter 7 of the Bankruptcy Code;

                      (xii) There shall not have been a variance greater than five percent (5%)
of the expenses set forth in “Total Expenses/Wind Down Costs” line item of the cash collateral
budget without the written consent of Agent; and

                       (xiii) All of the Parties shall have executed this Agreement.

                (b)     The willingness of Merchant to enter into the transactions contemplated
under this Agreement, and the occurrence of the Closing, are directly conditioned upon the
satisfaction of the following conditions at the time or during the time periods indicated, unless
specifically waived in writing by Merchant, with the prior written consent of the Prepetition ABL
Agent and the Prepetition FILO Agent to the extent such waiver would materially affect their
interests:

                      (i)   No judgment enacted, promulgated, issued, entered, amended or
enforced by any governmental authority or any applicable law shall be in effect enjoining or
otherwise prohibiting consummation of the transactions contemplated hereby;

                       (ii)     All representations and warranties of Agent hereunder shall be true
and correct in all material respects as of the Closing, and Agent shall have in all material respects
performed the obligations and complied with the covenants required by this Agreement to be
performed or complied with by it prior to the Closing;

                       (iii) The ABL Agent, the FILO Agent and any other persons designated
by them have received full and indefeasible payment in cash (or other consideration as applicable)
of all Debt Payoff specified in the Payoff Letters on the Closing Date; and

                       (iv)    All of the Parties shall have executed this Agreement.

Section 11. Representations, Warranties and Covenants.

      11.1             Merchant’s Representations and Warranties. Merchant hereby represents
and warrants in favor of Agent as follows:

                (a)      As of the date of this Agreement and at the Closing, Merchant (i) is duly
organized, validly existing and in good standing under the laws of the State of its organization;
(ii) has all requisite corporate power and authority to own, lease and operate the Assets and to
carry on its business as presently conducted; (iii) is duly authorized and qualified to do business
and in good standing in each jurisdiction where the nature of its business or properties requires


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such qualification, including all jurisdictions in which the Stores are located, except, in each case,
to the extent that the failure to be in good standing or so qualified would not reasonably be expected
to have a material adverse effect on the ability of Merchant to execute and deliver this Agreement
and perform fully its obligations hereunder; and (iv) has paid when due all United States Trustee
fees.

               (b)     Subject only to entry of the Approval Order, Merchant, as of the date of this
Agreement and at the Closing, has the right, power and authority to execute and deliver this
Agreement and each other document and agreement contemplated hereby (collectively, together
with this Agreement, the “Agency Documents”) and to perform fully its obligations thereunder.
Subject only to entry of the Approval Order, Merchant has taken all necessary actions required to
authorize the execution, delivery and performance of the Agency Documents, and no further
consent or approval is required for Merchant to enter into and deliver the Agency Documents, to
perform its obligations thereunder and to consummate the Sale, except for any such consent the
failure of which to be obtained would not reasonably be expected to prevent or materially delay or
impair the ability of Merchant to execute and deliver this Agreement and perform fully its
obligations hereunder. Subject only to entry of the Approval Order, each of the Agency
Documents has been duly executed and delivered by Merchant and, upon the due authorization,
counter-execution, and delivery of this Agreement by Agent, constitutes the legal, valid and
binding obligation of Merchant enforceable in accordance with its terms.

               (c)     Merchant, as of the date of this Agreement and at the Closing, owns good
and valid title to all of the Assets, free and clear of all security interests, liens, claims and
encumbrances of any nature other than the security interests securing the Prepetition Secured
Obligations (as defined in the Cash Collateral Order) and Permitted Encumbrances.

                (d)     Since January 1, 2024, Merchant has maintained its pricing files, including
but not limited to the Merchandise File, in the ordinary course of business, and prices charged to
the public for goods are the same in all material respects as set forth in such pricing files, including
but not limited to the Merchandise File, for the periods indicated therein, all pricing files, including
but not limited to the Merchandise File, and records are true and accurate in all material respects
as to the actual cost to Merchant for purchasing the goods referred to therein and as to the selling
price to the public for such goods without consideration of any point of sale discounts, as of the
dates and for the periods indicated therein. Merchant represents that (i) the ticketed prices of all
items of Merchandise do not and shall not include any Sales Taxes and (ii) all registers located at
the Stores are programmed to correctly compute all Sales Taxes required to be paid by the customer
under applicable law, as such calculations have been identified to Merchant by its retained service
provider.

               (e)    Merchant has ticketed or marked all goods and items of inventory received
and currently located at the Stores or Distribution Centers in a manner consistent with similar
Merchandise located at the Stores or Distribution Centers, and in accordance with Merchant’s
ordinary course past practices and policies relative to pricing and marking goods and inventory.

               (f)    Since January 1, 2025, Merchant has not purchased for or transferred to or
from the Stores or Distribution Centers any inventory or goods outside the ordinary course.



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               (g)    To Merchant’s knowledge after reasonable inquiry, all Merchandise is in
compliance in all material respects with all applicable federal, state and local product safety laws,
rules and standards.

               (h)    Since January 1, 2024, Merchant has paid all self-insured or Merchant-
funded employee benefit programs for Store employees, including health and medical benefits and
insurance and all proper claims made or to be made in accordance with such programs.

                (i)   Since January 1, 2025, Merchant has not taken any actions with the intent
of increasing the Expenses of the Sale as compared to ordinary course operations prior to the Sale
Commencement Date, including without limitation increasing salaries or other amounts payable
to employees; except to the extent an employee was due an annual raise in the ordinary course.

                 (j)   Other than filing the Bankruptcy Case, no action, arbitration, suit, notice, or
legal, administrative or other proceeding before any court or governmental body is pending, by or
against Merchant, or has been settled or resolved, or to Merchant’s knowledge, is threatened
against or affects Merchant, relative to Merchant’s business or properties, or which questions the
validity of this Agreement, in any case, that would reasonably be expected to adversely affect the
conduct of the Sale.

               (k)      As of the Petition Date, the aggregate Cost Value of the Merchandise
included in the Sale is estimated to be not less than $538,300,000.

                11.2    Merchant’s Covenants.

                (a)     Merchant, during the Sale Term, (i) will continue to be duly authorized and
qualified to do business and in good standing in each jurisdiction where the nature of its business
or properties requires such qualification, including all jurisdictions in which the Stores are located,
except, in each case, to the extent that the failure to be in good standing or so qualified would not
reasonably be expected to have a material adverse effect on the ability of Merchant to execute and
deliver this Agreement and perform fully its obligations hereunder; and (ii) will continue to pay
when due all United States Trustee fees.

                 (b)    Merchant shall not create, incur, assume or suffer to exist any security
interest, lien or other charge or encumbrance (other than Permitted Encumbrances) upon or with
respect to any of the Assets. From and after the Closing, subject to the Central Services Budget
and Agent’s satisfaction of its payment obligations under this Agreement, Merchant shall use
commercially reasonable efforts to perform such tasks and services as are reasonably necessary,
in the ordinary course to maintain and preserve the Assets in saleable condition and to maintain
good and valid title to all of the Assets at all times until all Assets have been sold or otherwise
disposed of, and such other tasks and services as Agent may otherwise reasonably request in
connection with the GOB Sales, including but not limited to paying all ad valorem taxes and
utilities when due, performing all routine maintenance in the ordinary course, and renewing all
necessary licenses and registrations.

               (c)     Through the Sale Commencement Date, Merchant shall continue to ticket
or mark all goods and items of inventory received at the Stores or Distribution Centers in a manner
consistent with similar Merchandise located at the Stores or Distribution Centers, and in


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accordance with Merchant’s ordinary course past practices and policies relative to pricing and
marking goods and inventory.

              (d)    Through the Sale Commencement Date Merchant shall transfer inventory
or goods to or from Distribution Centers in the ordinary course and shall not deviate from that
schedule.

                 (e)   Through the Sale Commencement Date Merchant shall not, purchase for or
transfer to or from the Stores or Distribution Centers any inventory or goods outside the ordinary
course.

                (f)     Merchant shall provide Agent with reasonable access to and/or copies of its
historic policies and practices, if any, regarding product recalls, as Agent may reasonably request
prior to the Sale Commencement Date.

                (g)    Subject to the Agent satisfying its payment obligations under this
Agreement, Merchant shall, throughout the Sale Term, maintain in good working order, condition,
and repair all cash registers, heating systems, air conditioning systems, elevators, escalators and
all other mechanical devices necessary for the conduct of the GOB Sale at the Stores in the ordinary
course. Except as otherwise restricted by the Bankruptcy Code upon filing of the Bankruptcy
Case, and absent a bona fide dispute, throughout the Sale Term, Merchant shall remain current on
all expenses and payables necessary or appropriate for the conduct of the GOB Sale.

                (h)    Subject to payment of Expenses and other obligations under this Agreement
by Agent, and approval by the Bankruptcy Court, Merchant will continue to pay all self-insured
or Merchant-funded employee benefit programs for Store employees, including health and medical
benefits and insurance and all proper claims made or to be made in accordance with such programs.

                (i)   Payment of Expenses and other obligations under this Agreement by Agent,
and approval by the Bankruptcy Court, Merchant will continue to pay throughout the Sale Term
all self-insured or Merchant-funded employee benefit programs for Store employees, including
health and medical benefits and insurance and all proper claims made or to be made in accordance
with such programs.

                (j)   Merchant shall not throughout the Sale Term take any actions with the intent
of increasing the Expenses of the Sale as compared to ordinary course operations prior to the Sale
Commencement Date, including without limitation increasing salaries or other amounts payable
to employees; except to the extent an employee was due an annual raise in the ordinary course.

                (k)     Prior to the execution of this Agreement, Merchant has provided Agent
reasonable access to all pricing and cost files, including but not limited to the Merchandise File,
and data files, inter-Stores transfer logs, markdown schedules, invoices, style runs and all other
documents relative to the price, mix and quantities of inventory located at the Stores and the
Distribution Centers or on order or in transit.

              (l)   Merchant hereby acknowledges that, as of and after the date of this
Agreement, Agent intends to begin to make arrangements for the purchase of Additional Agent
Merchandise from Agent’s suppliers of goods as well as Merchant’s existing suppliers of goods.


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To assist Agent in that regard, from and after the date of this Agreement, Merchant shall use
Merchant’s best efforts to assist and cause Merchant’s employees to assist Agent with Agent’s
efforts to negotiate orders with Merchant’s suppliers for goods that Agent is interested in
purchasing as Additional Agent Merchandise and to assist Agent with creating SKUs in and
otherwise updating Merchant’s systems for and in connection with all such Additional Agent
Merchandise.

                (m)     Merchant (i) shall not, prior to or after the Sale Commencement Date, offer
any promotions or discounts at the Stores, through the e-commerce sites, social media sites, any
other retail location, or any other promotional or retail sales channel owned or controlled directly
by Merchant, except as detailed on Exhibit 11.2(m) (the “Promotional Calendar”) and (ii) shall
make commercially reasonable efforts to notify third party websites or social media sites of such
restrictions.

                 (n)     Merchant shall discontinue its current return program and shall stop the
sale of gift cards as of the execution date of this Agreement.

       11.3            Agent’s Representations, Warranties and Covenants.               Agent hereby
represents, warrants and covenants in favor of Merchant as follows:

                 (a)    Agent: (i) is duly and validly existing and in good standing under the laws
of the State of its organization; (ii) has all requisite power and authority to carry on its business as
presently conducted and to consummate the transactions contemplated hereby; (iii) is duly
authorized and qualified to do business and in good standing in each jurisdiction where the nature
of its business or properties requires such qualification, including, in the case of the entities
comprising Agent, all jurisdictions in which the Stores are located, except, in each case, to the
extent that the failure to be in good standing or so qualified would not reasonably be expected to
have a material adverse effect on the ability of Agent to execute and deliver this Agreement and
perform fully its obligations hereunder.

               (b)     Agent: (i) has the right, power and authority to execute and deliver each of
the Agency Documents to which it is a party and to perform fully its obligations thereunder; (ii) has
taken all necessary actions required to authorize the execution, delivery and performance of the
Agency Documents, and no further consent or approval is required on the part of Agent for Agent
to enter into and deliver the Agency Documents, to perform its obligations thereunder and to
consummate the transactions contemplated thereby, and (iii) has duly executed and delivered each
of the Agency Documents and, assuming the due authorization, execution, and delivery of this
Agreement by Merchant, constitutes the legal, valid and binding obligation of Agent enforceable
in accordance with its terms, except as such enforceability may be limited by bankruptcy,
insolvency, reorganization, moratorium, and similar laws affecting the rights of creditors generally
and by general principles of equity. No court order or decree of any federal, state or local
governmental authority or regulatory body is in effect that would prevent or impair, or is required
for, Agent’s consummation of the transactions contemplated by this Agreement, and no consent
of any third party which has not been obtained is required therefor, other than as provided herein.
No contract or other agreement to which Agent is a party or by which Agent is otherwise bound
will prevent or impair the consummation of the transactions contemplated by this Agreement.



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               (c)     No action, arbitration, suit, notice or legal administrative or other
proceeding before any court or governmental body has been instituted by or against Agent, or has
been settled or resolved or, to Agent’s knowledge, has been threatened against or affects Agent,
which questions the validity of this Agreement or any action taken or to be taken by Agent in
connection with this Agreement or which, if adversely determined, would have a material adverse
effect upon Agent’s ability to perform its obligations under this Agreement.

              (d)     The GOB Sale shall be conducted in compliance with all applicable state
and local laws, rules and regulations and Merchant’s leases and other agreements, except as
otherwise provided for in this Agreement, the Sale Guidelines or the Approval Order.

               (e)    Absent prior consent by Merchant, Agent will not cause any non-emergency
repairs or maintenance (emergency repairs are repairs necessary to preserve the security of a Store
premise or to ensure customer safety) to be conducted at the Stores.

               (f)     Agent will have at the Closing and at any time payments are required to be
made by Agent under this Agreement hereunder or under the other Agent documents sufficient
funds available in cash to pay the Purchase Price and any Expenses and any other fees and expenses
incurred by or otherwise required to be paid by Agent in connection with the transactions
contemplated by this Agreement.

                 (g)     Assuming (i) the satisfaction or waiver of the conditions set forth in
Section 10, and (ii) the accuracy of the Express Representations (without regard to any knowledge
or materiality qualifications contained therein), Agent and its subsidiaries will be Solvent. Agent
is not entering into the transactions contemplated by this Agreement with the intent to hinder, delay
or defraud either present or future creditors of Agent, Merchant or their respective subsidiaries.
For purposes of this Agreement, “Solvent,” when used with respect to any Person, means that such
Person (i) will not be insolvent as defined in Section 101 of the Bankruptcy Code, (ii) has property
with fair value greater than the total amount of their debts and liabilities, contingent, subordinated
or otherwise (it being understood that the amount of contingent liabilities at any time shall be
computed as the amount that, in light of all the facts and circumstances existing at such time, can
reasonably be expected to become an actual or matured liability), (iii) has assets with present fair
salable value not less than the amount that will be required to pay their liability on their debts as
they become absolute and matured, (iv) will be able to pay its debts and liabilities, subordinated,
contingent or otherwise, as they become absolute and matured, and (v) are not engaged in business
or a transaction, and are not about to engage in business or a transaction, for which they have
unreasonably small capital.

               (h)     As of the date of this Agreement, there are no contracts, undertakings,
commitments, agreements or obligations, whether written or oral, between Agent, on the one hand,
and any member of the management of Merchant or its respective board of directors (or applicable
governing body of any Affiliate of any Person within Merchant), any holder of equity or debt
securities of Merchant, or any lender or creditor of Merchant or any Affiliate of Merchant, on the
other hand, (a) relating in any way to the Assets or the transactions contemplated by this
Agreement, or (b) that would be reasonably likely to prevent, restrict, impede or affect adversely
the ability of Merchant or any of its Affiliates to entertain, negotiate or participate in any such
transactions.


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                 (i)      Except for the representations and warranties expressly contained in
Section 11.1 (as qualified by the Schedules and in accordance with the express terms and
conditions (including limitations and exclusions) of this Agreement) (the “Express
Representations”) (it being understood that Agent and its affiliates and representatives have relied
only on such Express Representations), Agent acknowledges and agrees, on its own behalf and on
behalf of its affiliates and representatives, that neither Merchant, any of its Affiliates, nor any other
Person on behalf of Merchant or any of its Affiliates makes, and neither Agent nor any of its
affiliates and representatives has relied on, is relying on, or will rely on the accuracy or
completeness of any express or implied representation or warranty with respect to Merchant, the
any of the Assets, or any businesses or liabilities of Merchant or its Affiliates, or with respect to
any information, statements, disclosures, documents, projections, forecasts or other material of any
nature made available or provided by any Person, including in any “dataroom” or elsewhere to
Agent or any of its affiliates or representatives on behalf of Merchant or any of its Affiliates or
representatives. Without limiting the foregoing, neither Merchant, any of its affiliates nor or any
of its or their representatives nor any other Person will have or be subject to any Liability
whatsoever to Agent, or any other Person, resulting from the distribution to Agent or any of its
Affiliates or representatives, or Agent’s or any of its Affiliates’ or Representatives’ use of or
reliance on, any such information, including in any dataroom or otherwise in expectation of the
transactions or any discussions with respect to any of the foregoing information or otherwise.

                 (j)    Agent acknowledges and agrees, on its own behalf and on behalf of its
affiliates and representatives, that it will not assert, institute, or maintain, and will cause each of
its affiliates and representatives not to assert, institute or maintain, any Action that makes any
claim contrary to the agreements and covenants set forth in Section 11.3(f).

Section 12. Efforts.

         12.1           Subject to the terms and conditions of this Agreement, each of the Agent
and Merchant shall cooperate with each other and use (and shall cause its affiliates to use) its
reasonable best efforts (unless, with respect to any action, another standard of performance is
expressly provided for herein) to promptly (i) take, or cause to be taken, all actions, and do, or
cause to be done, and assist and cooperate with each other in doing, all things necessary, proper or
advisable to cause the conditions to Closing to be satisfied as promptly as reasonably practicable
and to consummate and make effective, in the most expeditious manner reasonably practicable,
the Transactions, including preparing and filing promptly and fully all documentation to effect all
necessary filings, notices, petitions, statements, registrations, submissions of information,
applications and other documents, (ii) obtain all approvals, consents, registrations, waivers,
permits, authorizations, orders and other confirmations from any governmental authority or third
party necessary, proper or advisable to consummate the transactions contemplated hereby,
(iii) execute and deliver any additional instruments necessary to consummate the transactions
contemplated hereby and (iv) defend or contest in good faith any action brought by a third party
that could otherwise prevent or impede, interfere with, hinder or delay in any material respect the
consummation of the transactions contemplated hereby.




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Section 13. Insurance.

         13.1              Merchant’s Liability Insurance. Until the Designation Rights Termination
Date or as otherwise earlier directed by Agent or set forth in this Agreement, Merchant shall
continue to maintain, subject to the satisfaction by Agent of its payment obligations under this
Agreement, in such amounts as it currently has in effect, all of its liability insurance policies,
including but not limited to commercial general liability, products liability, comprehensive public
liability, auto liability and umbrella liability insurance, covering injuries to persons and property
in, or in connection with, the Assets and/or Merchant’s operation of its business and the Stores and
Distribution Centers; and Merchant shall make commercially reasonable efforts to cause Agent to
be named as an additional named insured (as its interest may appear) with respect to all such
policies. Merchant shall make commercially reasonable efforts to deliver to Agent certificates
evidencing such insurance setting forth the duration thereof and naming Agent as an additional
named insured. All such policies shall require at least thirty (30) days’ prior notice to Agent of
cancellation, non-renewal or material change. In the event of a claim under any such policies,
Merchant shall be responsible for the payment of all deductibles, retentions or self-insured
amounts thereunder (which shall be reimbursed as an Expense), unless it is determined that liability
arose by reason of the willful misconduct or grossly negligent acts or omissions of Agent, or
Agent’s employees, independent contractors or agents, in which case Agent shall be solely
responsible for any such deductibles, retentions or self-insured amounts. Merchant shall not make
any change in the amount of any deductibles or self-insurance amounts on or after the date of this
Agreement without Agent’s prior written consent or unless such a change is required by the
relevant insurer(s) in connection with a renewal or extension of the policy.

         13.2            Merchant’s Casualty Insurance. Until the Designation Rights Termination
Date, as otherwise earlier directed by Agent, or, if earlier, until the sale or other disposition of all
Assets covered by such policies, Merchant shall continue to maintain, subject to the satisfaction
by Agent of its payment obligations under this Agreement, all of its presently existing property
casualty coverage related to the Assets (including but not limited to fire, flood, wind, hail, natural
disaster, theft, and extended coverage casualty insurance). From and after the Closing, Merchant
will make commercially reasonable efforts to cause all such policies to also name Agent as an
additional named insured or loss payee, as applicable (as its interest may appear). In the event of
a loss to the Assets on or after the Closing, all proceeds of such insurance shall constitute Proceeds
hereunder after subtraction of any expenses reasonably incurred securing such proceeds. Merchant
shall make commercially reasonable efforts to deliver to Agent certificates evidencing such
insurance, setting forth the duration thereof and naming Agent as an additional insured or loss
payee, as applicable. Merchant will make commercially reasonable efforts to provide thirty (30)
days’ prior notice to Agent of cancellation, non-renewal or material change. Merchant shall not
make any change in the amount of any deductibles or self-insurance amounts on or after the date
of this Agreement without Agent’s prior written consent or unless such a change is required by the
relevant insurer(s) in connection with a renewal or extension of the policy. Upon the sale,
conveyance, or other disposition of any Asset specifically identified in any of Merchant’s casualty
insurance policies, Merchant may, with the Agent’s prior consent (such consent not to be
unreasonably withheld or delayed), cancel the casualty coverage specifically applicable to such
Asset.




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        13.3             Agent’s Insurance. Agent shall maintain, at Agent’s cost (as an Expense)
and in such amounts as Agent currently has in effect, commercial general liability policies covering
injuries to persons and property in or in connection with Agent’s agency at the Stores and shall
cause Merchant to be named as an additional insured with respect to such policies. Agent shall
deliver to Merchant certificates evidencing such insurance policies setting forth the duration
thereof and naming Merchant as an additional insured, in form and substance reasonably
satisfactory to Merchant. In the event of a claim under any such policies, Agent shall be
responsible for the payment of all deductibles, retentions or self-insured amounts thereunder,
unless it is determined that liability arose by reason of the willful misconduct or grossly negligent
acts or omissions of Merchant or Merchant’s employees, independent contractors or agents (other
than Agent or Agent’s employees, agents or independent contractors). Agent shall not make any
change in the amount of any deductibles or self-insurance amounts prior to the Sale Termination
Date without Merchant’s prior written consent.

        13.4           Worker’s Compensation Insurance. Merchant shall, at all times while any
employees are in its employ, maintain in full force and effect workers’ compensation insurance
(including employer liability insurance) in compliance with all statutory requirements.

         13.5            Risk of Loss. Without limiting any other provision of this Agreement,
Merchant acknowledges that Agent is conducting the GOB Sale on behalf of Merchant solely in
the capacity of an agent, and that in such capacity (a) except for any Additional Agent
Merchandise, Agent shall not be deemed to be in possession or control of the Stores, Distribution
Centers, or the assets located therein or associated therewith, or of Merchant’s employees located
at the Stores or Distribution Centers, and (b) except as expressly provided in this Agreement, Agent
does not assume any of Merchant’s obligations or liabilities with respect to any of the foregoing.
Agent shall not be deemed to be a successor employer. Merchant and Agent agree that, subject to
the terms of this Agreement, Merchant shall bear all responsibility for liability claims of customers,
employees, and other persons arising from events occurring at the Stores during and after the Sale
Term, except to the extent any such claim arises from the acts or omissions of Agent, or its
supervisors, agents, independent contractors, or employees located at the Stores (an “Agent
Claim”). In the event of any liability claim that Merchant and Agent agree is not an Agent Claim,
Merchant shall administer such claim and shall present such claim to Merchant’s liability insurance
carrier in accordance with Merchant’s policies and procedures existing immediately prior to the
Sale Commencement Date, and shall provide a copy of the initial documentation relating to such
claim to Agent at the address listed in this Agreement. To the extent that Merchant and Agent
agree that a claim constitutes an Agent Claim, Agent shall administer such claim and shall present
such claim to its liability insurance carrier, and shall provide copies of the initial documentation
relating to such claim to Merchant. In the event that Merchant and Agent cannot agree whether a
claim constitutes an Agent Claim, each party shall present the claim to its own liability insurance
carrier, and a copy of the initial claim documentation shall be delivered to the other party to the
address designated for delivery of notices hereunder.

       13.6            Merchant Indemnification. From and after the Closing, Merchant shall
indemnify and hold Agent, and its officers, directors, employees, agents, representatives, and
independent contractors (collectively, “Agent Indemnified Parties”) harmless from and against all
claims, causes of action, demands, penalties, losses, liability, damage, or other obligations,



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including, without limitation, reasonable attorneys’ fees and expenses, directly or indirectly
asserted against, resulting from or related to: (a) Merchant’s material breach of or failure to comply
with any of its agreements or covenants contained in this Agreement, in each case, solely to the
extent such covenant or agreement requires performance after the Closing; (b) any consumer
warranty or products liability claims relating to Merchandise; (c) any harassment or any other
unlawful, tortious, or otherwise legally actionable treatment of any customers, employees or agents
of Agent by Merchant or any of their respective representatives (other than Agent); and (d) the
willful misconduct of Merchant or its respective officers, directors, employees, agents (other than
Agent) or representatives.

       13.7             Agent Indemnification.

                (a)      From and after the Closing, Agent shall indemnify and hold Merchant and
its respective officers, directors, employees, agents and representatives harmless from and against
all claims, causes of action, demands, penalties, losses, liability, damage, or other obligations,
including, without limitation, reasonable attorneys’ fees and expenses, directly or indirectly
asserted against, resulting from, or related to: (a) Agent’s material breach of or failure to comply
with any of its agreements, or covenants, contained in this Agreement, in each case, solely to the
extent such covenant or agreement requires performance after the Closing; (b) any claims by any
party engaged by Agent as an employee or independent contractor arising out of such employment;
(c) any harassment or any other unlawful, tortious or otherwise legally actionable treatment of any
customers, employees or agents of Merchant by Agent or any of its representatives; (d) any
consumer warranty or products liability claims relating to Additional Agent Merchandise; (e) as
set forth in Section 8.3 above; (f) the willful misconduct of Agent, its officers, directors,
employees, agents or representatives.

                 (b)     Agent shall indemnify Merchant (and their respective estates) for up to
$10,000,000.00 on account of any Administrative Expense Claim or Priority Tax Claim
attributable to the tax consequences associated with the elimination or cancellation of, transfer of,
or withdrawal from the Key Man Insurance Policy Program provided for under certain Pre-1986
Corporate Owned Life Insurance policies issued in 1984 and 1985 by Provident Life and Accident
Insurance Company (the “Key Man Insurance Policies” and any associated tax liability, the “Key
Man Insurance Tax Liability”) upon the tax becoming payable to the relevant taxing
authority. Merchant shall use best efforts to, and reasonably cooperate with, Agent and its
professionals in efforts to, mitigate and/or offset the amount of any Key Man Insurance Tax
Liability, including by evaluating the availability of any tax attributes that could reduce or
eliminate the Key Man Insurance Tax Liability, considering the appropriate classification of any
Key Man Insurance Tax Liability, considering structuring alternatives to monetize the Key Man
Insurance Policies or otherwise preventing any Key Man Insurance Tax Liability from arising. For
the avoidance of doubt, Agent shall be entitled to the net proceeds (if any), after payment of any
associated tax liability, of the Key Man Insurance Policies, including if such proceeds become due
and payable prior to the Merchant’s withdrawal.

Section 14. Agent’s Security Interest.

              (a)    Upon the occurrence of the Closing and satisfaction of the Debt Payoff,
Agent is hereby granted first priority, senior security interests in and liens upon all Assets, all


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Proceeds, and any proceeds thereof, which security interests and liens shall be deemed by the
Approval Order to be automatically perfected. The Approval Order shall grant Agent relief from
the automatic stay, and nothing in the Approval Order shall inhibit Agent’s ability, to take any
action Agent deems appropriate to perfect such security interests and liens. From and after the
Closing, the Merchant shall not grant any other party any security interests in or liens upon the
Assets, Proceeds, or proceeds thereof. Any security interests in or liens upon the Assets prior to
the Closing and satisfaction of the Debt Payoff shall attach to the Purchase Price as of the Closing.

              (b)     Upon the occurrence of the Closing and until all Assets have been sold or
otherwise disposed of, Agent shall have a superpriority administrative expense claim against
Merchant, which is senior to all other administrative expenses (including any other superpriority
–administrative expense claims) to the extent of any amounts owing from Merchant to Agent in
connection with this Agreement, including as a result of any breach of this Agreement.

Section 15. Designation Rights.

       15.1     Lease/Contract Designation Rights.

               (a)     Upon the occurrence of the Closing and until the earlier to occur of (i) the
end of the Lease/Contract Designation Rights Period applicable to a particular Lease or Contract
and (ii) May 31, 2025 (as may be amended by written agreement of the Parties, the “Designation
Rights Termination Date”), Agent shall have the exclusive right to designate the purchasers,
assignees, sublessees, or other transferees of Merchant’s right, title, and interest in and to any or
all of the Leases and Contracts (the “Lease/Contract Designation Rights”) upon the terms and
conditions agreed upon between Agent and such designee.

                (b)      Merchant shall cooperate reasonably with Agent to arrange for the sale,
sublease, assignment, and other transfer, as applicable, of the Leases and Contracts, with such sale
and assignment to be on such terms as Agent deems acceptable in its sole and absolute discretion.
Without limiting the generality of the foregoing, Merchant agrees (1) to provide Agent with all
due diligence materials and information as Agent shall reasonably request in connection with its
efforts to market and attempt to sell or otherwise dispose of the Leases and Contracts (including
complete copies thereof and any abstracts prepared with respect thereto, and all communications
with the counterparties thereunder, all property surveys, all environmental reports and tax and
utility records), with Agent to bear all reasonable third party out-of-pocket costs and expenses
relating thereto, in all cases to the extent reasonably available to Merchant, and (2) to cooperate
with Agent, its agents, and any potential purchasers assignees, sublessees, or other transferees of
any of the Leases and/or Contracts.

               (c)    Solely to the extent requested by Agent, Merchant shall exercise renewal
and/or extension options under the Leases and Contracts.

               (d)     At any time prior to the end of the Lease/Contract Designation Rights
Period applicable to a particular Lease or Contract, Agent shall have the right, which right may be
exercised at any time and from time to time, to file a Lease/Contract Assumption Notice in the
Bankruptcy Cases designating the purchasers, assignees, sublessees, or other transferees (which
may in certain circumstances be Agent, any of the entities comprising Agent, any of their



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respective affiliates, and/or a new entity created by any of the foregoing) of one or more Leases
and/or Contracts (which may occur without further order of the Bankruptcy Court pursuant to the
Approval Order) and setting forth the proposed cure amount due pursuant to section 365 of the
Bankruptcy Code. The Approval Order shall provide that (a) the counterparties to the Leases or
Contracts identified in any Lease/Contract Assumption Notice shall have ten (10) days to object
to the proposed assumption and assignment, (b) if no objection to the proposed assumption and
assignment of a Lease or Contract is timely received, such Lease or Contract shall, upon payment
of the applicable cure payment, if any, to the applicable counterparty, automatically be deemed
assumed by Merchant and sold, assigned, or otherwise transferred to the purchasers, assignees, or
other transferees identified in the Lease/Contract Assumption Notice pursuant to sections 363 and
365 of the Bankruptcy Code, without further order of the Bankruptcy Court or further action by
any person or entity, and (c) if an objection to the proposed assumption and assignment of a Lease
or Contract is timely received, such Lease or Contract shall not be assumed or assigned until such
objection is resolved by agreement of the applicable counterparty or order of the Bankruptcy Court.

               (e)    The designee under any Lease/Contract Assumption Notice shall be
required, if requested by the applicable counterparty, to provide adequate assurance of future
performance with respect to such Lease or Contract if the applicable counterparty so requests.
Merchant shall have no responsibility for any cure amounts with respect to any Lease or Contract
assumption and assignment.

       15.2     Asset Designation Rights

                (a)      Upon the occurrence of the Closing, Agent shall have the exclusive right to
market and sell, and/or otherwise designate the purchasers, transferees, and/or assignees of (which
may in certain circumstances be Agent, any of the entities comprising Agent, any of their
respective affiliates, and/or a new entity created by any of the foregoing), any or all of the Assets
free and clear of all liens, claims, and encumbrances thereon (other than Permitted Encumbrances),
without further order of the Bankruptcy Court (the “Asset Designation Rights”). Agent is
authorized to execute, in the name of and as agent for Merchant, any and all deeds, bills of sale,
and other instruments or documents necessary to effectuate the sale, transfer, or other conveyance
of any of the Assets, none of which instruments or documents shall require Merchant to incur any
obligations or other liabilities beyond the terms of this Agreement.

                (b)     Pursuant to the Approval Order, the sale or other conveyance of any Assets
reflected in Asset Designation Notices filed in the Bankruptcy Cases from time to time by Agent
shall be automatically effective on the date reflected in the applicable Asset Designation Notice
and subject to the satisfaction of any closing conditions reflected therein, and the sale, transfer, or
other conveyance of such Assets shall be free and clear of all liens, claims, and encumbrances
(other than Permitted Encumbrances) without further order of the Bankruptcy Court; provided,
however, that nothing in the Approval Order shall inhibit the ability of Agent to seek other or
further orders of the Court in connection with the sale or other disposition of any Assets.

              (c)    The costs of maintaining the Assets available for marketing and sale shall
constitute Expenses. All costs of effectuating assumption and assignment shall be deemed an
Expense hereunder.



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         15.3 Agent Dropout Rights. At any time prior to the expiration of the Lease/Contract
Designation Rights Period or the Designation Rights Termination Date (as applicable), Agent shall
have the right, upon five (5) days’ written notice (the “Dropout Notice Period”), which right may
be exercised at any time and from time to time in Agent’s sole and absolute discretion, to provide
notice to Merchant (each such notice, a “Dropout Notice”) of Agent’s election to discontinue its
efforts to market and attempt to sell, assign, transfer, license, designate the acquirer or purchaser,
or otherwise dispose of any Asset (each, a “Dropout Asset” and, collectively, the “Dropout
Assets”). Upon the effective date of any Dropout Notice, (i) Agent shall have no further obligation
or liability with respect to the subject Dropout Asset, and (ii) Merchant shall thereafter be solely
responsible for all such Dropout Asset(s) from and after the effective date of the Dropout Notice.
Upon expiration of the Dropout Notice Period, all rights to the Dropout Assets shall revert to
Merchant, and Merchant may dispose of such Dropout Asset in such manner as Merchant may
elect, and one hundred percent (100%) of all proceeds realized upon a disposition of such Dropout
Asset shall be the exclusive property of Merchant (and shall not constitute Proceeds). The delivery
of a Dropout Notice shall not result in a reduction of the Purchase Price payable hereunder. Prior
to the expiration of the Dropout Notice Period, the Agent, in its sole and absolute discretion, may
withdraw any Dropout Notice upon written notice to Merchant. Effective upon the conclusion of
the Designation Rights Termination Date, and without any further act by or on behalf of the Agent
(such date, the “Deemed Drop Out Date”), Agent shall be deemed to have provided Merchant with
a Dropout Notice (the “Deemed Drop Out Notice”) for all remaining Assets (other than Assets that
were subject to a prior Asset Designation Notice, which Deemed Drop Out Notice shall be deemed
effective as of the Deemed Drop Out Date).

Section 16. Miscellaneous.

        16.1            Non-Survival of Representations and Warranties and Certain Covenants;
Certain Waivers. Each of the representations and warranties and the covenants and agreements
(to the extent such covenant or agreement contemplates or requires performance by such Party
prior to the Closing) of the Parties set forth in this Agreement or in any other Agency Document,
will terminate effective immediately as of the Closing such that no claim for breach of any such
representation, warranty, covenant or agreement, detrimental reliance or other right or remedy
(whether in contract, in tort or at law or in equity) may be brought with respect thereto after the
Closing. Each covenant and agreement that explicitly contemplates performance after the Closing,
will, in each case and to such extent, expressly survive the Closing in accordance with its terms,
and if no term is specified, then for five years following the Closing, and nothing in this
Section 16.1 will be deemed to limit any rights or remedies of any Person for breach of any such
surviving covenant or agreement.

        16.2              Expenses. Except with respect to the expense reimbursement provided for
in Section 16.19 herein, whether or not the Closing takes place, except as otherwise provided
herein, all fees, costs and expenses (including fees, costs and expenses of representatives) incurred
in connection with the negotiation of this Agreement, the performance of this Agreement and the
other Agent Documents and the consummation of the transactions contemplated by this Agreement
will be paid by the Party incurring such fees, costs and expenses.

      16.3            Notices. All notices and communications provided for pursuant to this
Agreement shall be in writing and sent by electronic mail and will be deemed to have been given


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(a) when personally delivered, (b) when transmitted by electronic mail (having obtained electronic
delivery confirmation thereof), if delivered by 5:00 P.M. local time of the recipient on a business
day and otherwise on the following business day, (c) the day following the day on which the same
has been delivered prepaid to a reputable national overnight air courier service or (d) the third
business day following the day on which the same is sent by certified or registered mail, postage
prepaid, in each case, to the respective Party at the number, electronic mail address or street
address, as applicable, set forth below, or at such other number, electronic mail address or street
address as such Party may specify by written notice to the other Party:

                       If to Merchant:

                       JOANN Inc.
                       5555 Darrow Rd.
                       Hudson, Ohio 44236
                       Attn: Ann Aber
                       Email: ann.aber@joann.com

                       With copies (which shall not constitute notice) to:

                       Kirkland & Ellis LLP
                       601 Lexington Avenue
                       New York, New York 10022
                       Attn: Joshua A. Sussberg, P.C. and Aparna Yenamandra, P.C.
                       Email: joshua.sussberg@kirkland.com; aparna.yenamandra@kirkland.com

                       -and-

                       Kirkland & Ellis LLP
                       333 West Wolf Point Plaza
                       Chicago, Illinois 60654
                       Attn: Anup Sathy, P.C; Jeffrey Michalik; and Lindsey Blumenthal
                       Email: anup.sathy@kirkland.com; jeff.michalik@kirkland.com; and
                              lindsey.blumenthal@kirkland.com

                       If to Agent:

                       GORDON BROTHERS RETAIL PARTNERS, LLC
                       101 Huntington Street, 11th Floor
                       Boston, Massachusetts 02119
                       Attn: Rick Edwards; Joseph Malfitano; and David Braun
                       Email: redwards@gordonbrothers.com; jmalfitano@gordonbrothers.com;
                              and dbraun@gordonbrothers.com

                       With copies (which shall not constitute notice) to:

                       Katten Muchin Rosenman LLP



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                       50 Rockefeller Plaza
                       New York, New York 10020
                       Attn: Steven J. Reisman and Cindi M. Giglio
                       Email: sreisman@katten.com; cgiglio@katten.com

       16.4             Governing Law/Exclusive Jurisdiction.

                (a)     Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees
that any Action of any kind whatsoever, including a counterclaim, cross-claim, or defense,
regardless of the legal theory under which any liability or obligation may be sought to be imposed,
whether sounding in contract or in tort or under statute, or whether at law or in equity, or otherwise
under any legal or equitable theory, that may be based upon, arising out of, or related to this
Agreement or the negotiation, execution, or performance of this Agreement or the Transactions
and any questions concerning the construction, interpretation, validity and enforceability of this
Agreement (each, an “Agreement Dispute”) brought by any other Party or its successors or assigns
will be brought and determined only in (a) the Bankruptcy Court and any federal court to which
an appeal from the Bankruptcy Court may be validly taken or (b) if the Bankruptcy Court is
unwilling or unable to hear such Action, in the Court of Chancery of the State of Delaware (or if
such court lacks jurisdiction, any other state or federal court sitting in the State of Delaware) (the
“Chosen Courts”), and each of the Parties hereby irrevocably submits to the exclusive jurisdiction
of the Chosen Courts for itself and with respect to its property, generally and unconditionally, with
regard to any Agreement Dispute. Each of the Parties agrees not to commence any Agreement
Dispute except in the Chosen Courts, other than Actions in any court of competent jurisdiction to
enforce any Order, decree or award rendered by any Chosen Courts, and no Party will file a motion
to dismiss any Agreement Dispute filed in a Chosen Court on any jurisdictional or venue-related
grounds, including the doctrine of forum non conveniens. The Parties irrevocably agree that venue
would be proper in any of the Chosen Court, and hereby irrevocably waive any objection that any
such court is an improper or inconvenient forum for the resolution of any Agreement Dispute.
Each of the Parties further irrevocably and unconditionally consents to service of process in the
manner provided for notices in Section 10.3. Nothing in this Agreement will affect the right of any
Party to serve process in any other manner permitted by Law.

                (b)    Governing Law; Waiver of Jury Trial. Except to the extent the mandatory
provisions of the Bankruptcy Code apply, this Agreement and any Agreement Dispute will be
governed by and construed in accordance with the internal Laws of the State of Delaware
applicable to agreements executed and performed entirely within such State without regards to
conflicts of law principles of the State of Delaware or any other jurisdiction that would cause the
Laws of any jurisdiction other than the State of Delaware to apply.

           (c)  EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
AGREEMENT DISPUTE IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT
ISSUES AND THEREFORE HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED
BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
AGREEMENT DISPUTE. EACH OF THE PARTIES AGREES AND CONSENTS THAT ANY
SUCH AGREEMENT DISPUTE WILL BE DECIDED BY COURT TRIAL WITHOUT A JURY
AND THAT THE PARTIES MAY FILE AN ORIGINAL COUNTERPART OF A COPY OF
THIS AGREEMENT WITH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF


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THE PARTIES TO THE IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.
EACH PARTY (I) CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF ANY AGREEMENT DISPUTE, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 16.4(c).

       16.5           Amendments. This Agreement may not be modified except in a written
instrument executed by all of the Parties.

        16.6             No Waiver. No consent or waiver by any Party, express or implied, to or
of any breach or default by the other in the performance of its obligations hereunder shall be
deemed or construed to be a consent or waiver to or of any other breach or default in the
performance by such other Party of the same or any other obligation of such Party. Failure on the
part of any Party to complain of any act or failure to act by the other Party or to declare the other
Party in default, irrespective of how long such failure continues, shall not constitute a waiver by
such Party of its rights hereunder.

        16.7             Currency. All reference to dollars in this Agreement and all schedules,
exhibits, and ancillary documents related to this Agreement shall refer to U.S. dollars.

        16.8            Successors and Assigns. This Agreement shall inure to the benefit of and
be binding upon Agent and, subject to entry and the terms of the Approval Order, Merchant and
their respective successors and assigns, including, but not limited to, any chapter 11 or chapter 7
trustee; provided, however, that this Agreement may not be assigned by any of the Parties without
the prior written consent of the other.

        16.9           Third Party Beneficiaries. Except as otherwise expressly provided herein,
nothing expressed or referred to in this Agreement will be construed to give any Person other than
(i) for purposes of Section 16.10, the Non-Recourse Persons, and (ii) the Parties hereto and such
permitted assigns, any legal or equitable right, remedy, or claim under or with respect to this
Agreement or any provision of this Agreement.

       16.10           Non-Recourse. This Agreement may only be enforced against, and any
Action based upon, arising out of or related to this Agreement may only be brought against, the
Persons that are expressly named as parties to this Agreement. Except to the extent named as a
party to this Agreement, and then only to the extent of the specific obligations of such parties set
forth in this Agreement, no past, present or future shareholder, member, partner, manager,
director, officer, employee, Affiliate, agent or advisor of any Party (each, a “Non-Recourse
Person”) will have any liability (whether in contract, tort, equity or otherwise) for any of the
representations, warranties, covenants, agreements or other obligations or liabilities of any of the
parties to this Agreement or for any Agreement Dispute and (ii) in no event shall any Party have
any shared or vicarious liability, or otherwise be the subject of legal or equitable claims, for the
actions or omissions (including through equitable claims (such as unjust enrichment) not
requiring proof of wrongdoing committed by the subject of such claims) of any other Person, and



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each of such Persons are intended third party beneficiaries of this Section 16.10 and shall be
entitled to enforce this Section 16.10 as if a party directly hereto.

        16.11            Construction. The language used in this Agreement will be deemed to be
the language chosen by the Parties to express their mutual intent, and no rule of strict construction
will be applied against any Person. The headings of the sections and paragraphs of this Agreement
have been inserted for convenience of reference only and will in no way restrict or otherwise
modify any of the terms or provisions hereof.

        16.12          No Right of Set-Off. Agent, on its own behalf and on behalf itself and its
Affiliates and representatives and its and their respective successors and permitted assigns, hereby
waives any rights of set-off, netting, offset, recoupment or similar rights that any of them has or
may have with respect to the payment of the Debt Payoff or Wind-Down Payments or any other
payments to be made by Agent pursuant to this Agreement or any other document or instrument
delivered by Agent in connection herewith.

        16.13           Fiduciary Obligations. Nothing in this Agreement, or any document
related to the Transactions, will require Merchant or any of its Affiliates or any of their respective
managers, officers or members, in each case, in their capacity as such, to take any action, or to
refrain from taking any action, to the extent inconsistent with their fiduciary obligations or
applicable law.

        16.14            Execution in Counterparts. This Agreement may be executed in one or
more counterparts. Each such counterpart shall be deemed an original, but all such counterparts
together shall constitute one and the same agreement. This Agreement, to the extent signed and
delivered by means of a facsimile machine, electronic mail, or other electronic transmission in
which the actual signature is evident, shall be treated in all manner and respects as an original
agreement or instrument and shall be considered to have the same binding legal effect as if it were
the original signed version thereof delivered in person. At the request of any Party, each other
Party shall re-execute original forms hereof and deliver them to all other Parties. No Party shall
raise the use of a facsimile machine, electronic mail, or other electronic transmission in which the
actual signature is evident to deliver a signature or the fact that any signature or agreement or
instrument was transmitted or communicated through the use of a facsimile machine, electronic
mail or other electronic transmission in which the actual signature is evident as a defense to the
formation of a contract and each Party forever waives such defense. In proving this Agreement, it
shall not be necessary to produce or account for more than one such counterpart signed by the
Party against which enforcement is sought.

        16.15           Section Headings. The headings of sections of this Agreement are inserted
for convenience only and shall not be considered for the purpose of determining the meaning or
legal effect of any provisions hereof.

       16.16           Wiring of Funds. All amounts required to be paid under any provision of
this Agreement shall be made by wire transfer of immediately available funds no later as 2:00 p.m.
(Eastern Time) on the date that such payment is due, so long as all information necessary to
complete the wire transfer has been received by the payor by 10:00 a.m. (Eastern Time) on the



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date that such payment is due. In the event that the date on which any such payment is due is not
a business day, then such payment shall be made by wire transfer on the next business day.

         16.17          Nature of Remedies. No failure to exercise and no delay in exercising, on
the part of Agent, any right, remedy, power, privilege or adjustment hereunder, shall operate as a
waiver thereof; nor shall any single or partial exercise of any right, remedy, power, privilege, or
adjustment hereunder preclude any other or further exercise thereof or the exercise of any other
right, remedy, power, privilege, or adjustment.

        16.18           Entire Agreement. This Agreement contains the entire agreement between
the Parties with respect to the transactions contemplated hereby and supersedes and cancels all
prior agreements, including, but not limited to, all proposals, letters of intent or representations,
written or oral, with respect thereto. In the event an ambiguity or question of intent or
interpretation arises with respect to this Agreement, the terms and provisions of the execution
version of this Agreement will control and prior drafts of this Agreement and the documents
referenced herein will not be considered or analyzed for any purpose (including in support of parol
evidence proffered by any Person in connection with this Agreement), will be deemed not to
provide any evidence as to the meaning of the provisions hereof or the intent of the Parties with
respect hereto and will be deemed joint work product of the Parties.

        16.19           Bidding and Auction. In consideration of Agent conducting its due
diligence and entering into this Agreement, Merchant shall pay Agent (on the first business day
following the entry of the approval order and consummation of such other transaction or such later
date as Agent may agree) an expense reimbursement of (x) up to $500,000 to cover Agent’s
reasonable out-of-pocket costs and expenses, associated with due diligence and professionals’ fees
and expenses associated with, among other things, negotiating, drafting, and obtaining approval of
this Agreement and (y) up to $1,600,000 for any actual, reasonable costs incurred to acquire signage
(“Signage”) for the Sale (together (x) and (y), the “Expense Reimbursement”). Upon the filing of
the Bankruptcy Cases, Merchant shall promptly file a motion for the approval of the terms reflected
in this Section 16.19 consistent with an order that is acceptable to the Agent (the “Bid Procedures
Order”).

       16.20            Potential Joint Ventures. Agent shall have the right, in its sole discretion,
to form a contractual joint venture with additional entities to serve as “Agent” hereunder as to this
Agreement. However, Gordon Brothers Retail Partners, LLC shall remain liable for all liabilities
and obligations of Agent hereunder.

       16.21            Certain Definitions.

                (a)    “Action” means any action, suit, litigation, arbitration, mediation, audit,
proceeding (including any civil, criminal, administrative, investigative or appellate proceeding) or
prosecution, of any kind whatsoever, whether sounding in contract or tort, or whether at law or in
equity, or otherwise under any legal or equitable theory, commenced, brought, conducted or heard
by or before any governmental body.

                (b)    “Affiliate” means, with respect to any Person, any other Person that, directly
or indirectly through one or more intermediaries, controls, or is controlled by, or is under common


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control with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means the possession, directly or indirectly, of the power to direct or cause
the direction of the management, affairs and policies of such Person, whether through ownership
of voting securities, by contract or otherwise.

                (c)    “Contract” means Merchant’s right, title, and interest in and to executory
contracts (together with all amendments, extensions, modifications, and other material documents
related thereto).

                (d)    “Excluded Assets” means:

                         (i)     all documents prepared or received by Merchant or any of its
affiliates or on their behalf in connection with the sale of the Assets, this Agreement or the other
Agency Documents, the transactions contemplated by this Agreement, or the Bankruptcy Case,
including (a) all records and reports prepared or received by Merchant or any of its Affiliates or
representatives in connection with the sale of the Assets or the transactions contemplated by this
Agreement, including all analyses relating to the business of Merchant or any of its Affiliates so
prepared or received, (b) all bids and expressions of interest received from third parties with
respect to the acquisition of any of Merchant’s or any of its Affiliates’ businesses or assets, (c) all
privileged materials, documents and records of Merchant or any of its Affiliates, (d) copies of the
documents, materials and data related to liabilities prior to the Closing, (e) confidentiality
agreements with prospective purchasers of the Assets, and (f) any other files or records to the
extent relating to any Excluded Assets or liabilities or the Bankruptcy Case;

                        (ii)   all current and prior insurance policies or employee benefit plans of
Merchant or any of its Affiliates, including for the avoidance of doubt all director and officer
insurance policies, and all rights and benefits of any nature of Merchant or any of its Affiliates
with respect thereto, including all insurance recoveries thereunder and rights to assert claims with
respect to any such insurance recoveries;

                       (iii)   all equity interests;

                       (iv)    Merchant’s claims, causes of action or other rights under this
Agreement, including the Purchase Price, or any agreement, certificate, instrument, or other
document executed and delivered between Merchant or its Affiliates and Agent or any of its
Affiliates or designees in connection with the transactions contemplated by this Agreement, or any
other agreement between Merchant or any of its Affiliates and Agent or any of its Affiliates or
designees entered into on or after the date hereof;

                       (v)     the Funded Reserve Account, as defined in the Cash Collateral
Order;

                       (vi)    all liabilities or other amounts owing from Merchant or any of its
Affiliates;

                       (vii)   all IT Systems; and




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                       (viii) tax attributes of Merchant and its Affiliates other than those
transferring to Agent by operation of applicable tax law, and, for the avoidance of doubt, other
than the proceeds of any tax refunds or credits of Merchant and its Affiliates realized in cash or by
reduction of a cash tax liability in lieu of cash that otherwise could have been received.

                 (e)    “IP Rights” means all intellectual property rights throughout the world
including all U.S. and foreign rights in any of the following: (a) patents, patent applications, patent
disclosures and inventions (whether or not protectable under patent law), together with all reissues,
continuations, continuations-in-part, revisions, divisionals, extensions, and reexaminations in
connection therewith; (b) trademarks, service marks, trade names (in each case, whether registered
or unregistered), domain names, logos, design rights, corporate names, and registrations and
applications for registration thereof and goodwill associated with any of the foregoing
(collectively, “Trademarks”); (c) copyrights and copyrightable works (registered or unregistered)
and registrations and applications for registration thereof; (d) computer programs (whether in
source code, object code, or other form), computer software, firmware, data, databases, and rights
therein, and all documentation, including user manuals and training materials, programmers’
annotations, notes, and other work product used to design, plan, organize, maintain, support or
develop, or related to any of the foregoing (collectively, “Software”); (e) confidential and
proprietary information, trade secrets and know-how, and all other inventions, proprietary
processes, formulae, models, and methodologies (collectively, together with Software, “Trade
Secrets”); (f) all customer information, customer lists, and related documentation and information;
and (g) all rights and remedies (including the right to sue for and recover damages) against past,
present, and future infringement, misappropriation, or other violation relating to any of the
foregoing.

                (f)    “IT Systems” means all (i) Software, computers, computer systems, servers,
hardware, telecommunications and network equipment firmware, middleware, websites,
databases, networks, servers, workstations, routers, hubs, switches, data communication
equipment and lines, telecommunications equipment and lines, co-location facilities and
equipment, and all other information technology equipment and related items of automated,
computerized or software systems, including any outsourced systems and processes and the data
transmitted thereby or thereon, in each case owned, leased or licensed by Merchant or used in or
relied on in connection with the business of Merchant.

                (f)     “Permitted Encumbrances” means (i) encumbrances for utilities and taxes
not yet due and payable, or that are being contested in good faith, or the nonpayment of which is
permitted or required by the Bankruptcy Code, (ii) easements, rights of way, restrictive covenants,
encroachments and similar non-monetary encumbrances or non-monetary impediments that do
not, individually or in the aggregate, adversely affect the operation of the Assets and, in the case
of the Leases, that do not, individually or in the aggregate, adversely affect the use or occupancy
of the respective leased real property, (iii) applicable zoning laws, building codes, land use
restrictions and other similar restrictions imposed by law, (iv) materialmans’, mechanics’,
artisans’, shippers’, warehousemans’ or other similar common law or statutory liens incurred in
the ordinary course for amounts not yet due and payable or that are being contested by appropriate
proceedings, (v) real estate taxes, assessments and other governmental levies, fees or charges
imposed with respect to real property which are not yet due or that are being contested in good



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faith, (vi) licenses granted on a non-exclusive basis, and (vi) solely prior to Closing, any
encumbrances that will be removed or released by operation of the Approval Order.

               (g)    “Person” means an individual, corporation, partnership, limited liability
company, joint venture, association, trust, unincorporated organization, labor union, organization,
estate, governmental body or other entity or group.

       16.22          Rules of Interpretation. Unless otherwise expressly provided in this
Agreement, the following will apply to this Agreement, the Schedules and any other certificate,
instrument, agreement or other document contemplated hereby or delivered hereunder.

                (a)     The terms “hereof,” “herein” and “hereunder” and terms of similar import
are references to this Agreement as a whole and not to any particular provision of this Agreement,
section, clause, schedule and exhibit references contained in this Agreement are references to
sections, clauses, schedules and exhibits in or to this Agreement, unless otherwise specified. All
Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated in and made
a part of this Agreement as if set forth in full herein. Any capitalized terms used in any Schedule
or Exhibit but not otherwise defined therein shall be defined as set forth in this Agreement.

               (b)    Whenever the words “include,” “includes” or “including” are used in this
Agreement, they will be deemed to be followed (even if not actually followed) by the words
“without limitation.” Where the context permits, the use of the term “or” will be equivalent to the
use of the term “and/or.”

               (c)     The words “to the extent” shall mean “the degree by which” and not simply
“if.”

               (d)     When calculating the period of time before which, within which or
following which any act is to be done or step taken pursuant to this Agreement, the date that is the
reference date in calculating such period will be excluded. If the last day of such period is a day
other than a business day, the period in question will end on the next succeeding business day.

               (e)     Words denoting any gender will include all genders, including the neutral
gender. Where a word is defined herein, references to the singular will include references to the
plural and vice versa.

               (f)    The word “will” will be construed to have the same meaning and effect as
the word “shall”. The words “shall,” “will,” or “agree(s)” are mandatory, and “may” is permissive.

               (g)     All references to a day or days will be deemed to refer to a calendar day or
calendar days, as applicable, unless otherwise specifically provided.

              (h)    Any reference to any agreement or Contract will be a reference to such
agreement or Contract, as amended, modified, supplemented or waived.

              (i)     Any reference to any particular Bankruptcy Code or Tax Code section or
any Law will be interpreted to include any amendment to, revision of or successor to that section
or Law regardless of how it is numbered or classified; provided that, for the purposes of the


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representations and warranties set forth herein, with respect to any violation of or non-compliance
with, or alleged violation of or non-compliance, with any Bankruptcy Code or Tax Code section
or Law, the reference to such Bankruptcy Code or Tax Code section or Law means such
Bankruptcy Code or Tax Code section or Law as in effect at the time of such violation or
noncompliance or alleged violation or non-compliance.

               (j)     A reference to any Party to this Agreement or any other agreement or
document shall include such Party’s successors and assigns, but only if such successors and assigns
are not prohibited by this Agreement.

               (k)     A reference to a Person in a particular capacity excludes such Person in any
other capacity or individually.

                                     [signature page follows]




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                    IN WITNESS WHEREOF, each Party hereby executes this Agreement by their
            respective duly authorized representatives as a sealed instrument as of the day and year first
            written above.



                                                             Merchant:

                                                             JOANN INC.




                                                             By:
                                                             Name: Jeff Dwyer
                                                             Title: Interim Chief Financial Officer




                                             [Signature Page to Agency Agreement]
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                                                         Agent:

                                                         GORDON BROTHERS RETAIL PARTNERS, LLC




                                                         By:
                                                         Name: Kyle Shonak
                                                         Title: Chief Transaction Officer




                                             [Signature Page to Agency Agreement]
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                                   List of Exhibits

Exhibit 1(a)(1)    Stores
Exhibit 1(a)(2)    Distribution Centers
Exhibit 2(b)(iv)   Form of Asset Designation Notice
Exhibit 3.1(b)     Wind-Down Budget
Exhibit 3.1 (c)    Central Services Budget
Exhibit 4.1(c)     Per Store Occupancy Expenses
Exhibit 8.1        Sale Guidelines
Exhibit 11.2(m)    Promotional Calendar
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                                        Annex 1

JOANN INC.
Creative Tech Solutions LLC
Creativebug, LLC
Dittopatterns LLC
JAS Aviation, LLC
JOANN DittoHoldings Inc.
JOANN Holdings 1, LLC
JOANN Holdings 2, LLC
Jo-Ann Stores, LLC
Jo-Ann StoresSupport Center, Inc.
joann.com, LLC
Needle Holdings, LLC
WeaveUp, Inc.
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                      Exhibit 1(a)(1)
                          Stores
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                                                                  Jo-Ann Stores
                                                                    Exhibit 1(a)(1)
                                                                      Store List


Store No.                  Store                                Address                        City       State   Zip Code Open Date Square Ft

  168       Creekside Plaza                     1830 E Parks Hwy Ste A122              Wasilla             AK      99654     07/03/98   12,243
  2545      University Center                   3801 Old Seward Highway                Anchorage           AK      99503     08/13/20   30,637
  2114      Gavora Mall                         250 3Rd St Ste1                        Fairbanks           AK      99701     09/23/05   35,800
  557       Soldotna Plaza                      35535 Kenai Spur Hwy                   Soldotna            AK      99669     09/12/92   12,525
  1096      Nugget Mall                         8745 Glacier Hwy                       Juneau              AK      99801     03/14/03   22,176
  2169      Riverchase Promenade                1709 Montgomery Hwy S                  Hoover              AL      35244     09/11/09   25,677
  2010      Cox Creek Plaza                     354 Cox Creek Pkwy                     Florence            AL      35630     08/27/10   17,542
  2184      Huntsville Plaza                    5900 B University Drive                Huntsville          AL      35806     02/04/11   15,459
  2376      Mobile Festival Centre              3725 Airport Blvd, Unit 100-C          Mobile              AL      36608     08/30/13   21,364
  2177      Eastchase Market SC                 7951 Eastchase Pkwy                    Montgomery          AL      36117     01/31/10   30,247
  2497      Freestanding                        1702 Veterans Memorial Pkwy East       Tuscaloosa          AL      35404     03/30/17   10,098
  1894      Spring Creek Centre                 3835 North Mall Ave                    Fayetteville        AR      72703     08/27/10   19,284
  2453      Scottsdale Center                   206 S Promenade Blvd                   Rogers              AR      72758     10/04/15   18,000
  2498      Fort Smith Marketplace              7609 Rogers Avenue                     Fort Smith          AR      72903     02/16/17   11,985
  2483      University Plaza                    2813 E Nettleton Avenue                Jonesboro           AR      72401     09/29/16   11,987
  2297      Lakewood Village                    2637 Lakewood Village Drive            No Little Rock      AR      72116     04/13/12   18,452
  2349      Shackleford Crossing                2616 S Shackleford Rd, Ste A           Little Rock         AR      72205     08/30/13   14,000
  1831      South Riordan Ranch Road            1514 S Riordan Ranch St                Flagstaff           AZ      86001     01/07/11   17,520
  2186      Riverview Mall                      2303 Miracle Mile Road                 Bullhead City       AZ      86442     02/04/11   23,545
  1305      Buckhorn Plaza                      6136 E Main St                         Mesa                AZ      85205     10/04/90    9,967
  1404      Santa Fe Square                     965 S Gilbert Rd                       Mesa                AZ      85204     05/14/96   21,638
  1913      North Valley S/C                    8195 W Bell Rd Ste M-3                 Peoria              AZ      85382     07/31/98   40,734
  1917      Ahwatuckee Foothills Towne Center   5021 E Ray Rd                          Phoenix             AZ      85044     09/02/99   46,535
  1965      Desert Ridge Market Place           21001 N Tatum Blvd                     Phoenix             AZ      85050     10/18/01   45,000
  2075      Santan Village Marketplace          2753 S. Market Street                  Gilbert             AZ      85295     08/12/05   35,000
  2132      Alameda Crossing                    1717 N Dysart Road                     Avondale            AZ      85392     10/20/06   25,308
  2137      The Riverview at Dobson             825 N Dobson Road                      Mesa                AZ      85201     06/15/07   35,000
  2210      Tri Valley Plaza                    1325 E. Florence Blvd                  Casa Grande         AZ      85122     07/28/11   15,045
  2281      Queen Creek Marketplace             21238 S. Ellsworth Loop Road           Queen Creek         AZ      85142     05/18/12   19,920
  2522      Arcadia Fiesta SC                   3049 East Indian School Road           Phoenix             AZ      85016     10/25/18   16,000
  1859      Village At The Boulder              1260 Gail Gardner Way                  Prescott            AZ      86305     02/08/06   22,400
  2042      East Broadway Blvd                  7255 East Broadway Blvd                Tucson              AZ      85710     03/19/04   36,454
  2302      Oracle Wetmore                      4380 N. Oracle Rd. Ste 150             Tucson              AZ      85705     02/03/13   16,050
  2330      Sahuarita Plaza                     18785 S I-19 Frontage Rd, Suite 113    Green Valley        AZ      85614     07/26/13   13,043
  1014      Ming Retail Center                  3010 Ming Ave                          Bakersfield         CA      93304     05/07/98   20,284
  2429      Ridgecrest Town Center              700 North China Lake Unit C            Ridgecrest          CA      93555     08/29/14   20,000
  920       Skypark Plaza                       2485 Notre Dame Blvd Ste 310           Chico               CA      95928     01/24/97   20,664
  2084      River Park Plaza                    8062 N Blackstone Ave                  Fresno              CA      93720     02/08/06   35,000
  2428      Clovis Crossing Shopping Center     1065 Herndon Ave.                      Clovis              CA      93611     05/16/14   18,000
  1152      Los Coyotes Centers                 3588 Palo Verde Ave                    Long Beach          CA      90808     02/01/74   12,000
  1288      La Verne Plaza                      2086 Foothill Blvd Ste A               La Verne            CA      91750     06/21/79   11,350
  1447      Towne House Plaza                   9901 Adams Ave                         Huntington Beach    CA      92646     04/01/98   19,000
  1798      Costco Plaza                        2115 W Commonwealth Ave                Alhambra            CA      91803     05/31/94   13,472
  1803      Foothill Blvd.                      2160 Foothill Blvd                     La Canada           CA      91011     01/12/87    8,400
  1873      Former Warehouse Music              5255 Lakewood Blvd                     Lakewood            CA      90712     03/12/10   14,850
  1919      Del Amo Fashion Center              21800 Hawthorne Blvd Ste 100           Torrance            CA      90503     11/05/99   50,000
  1954      Porter Ranch Town Center            19819 Rinaldi St                       Northridge          CA      91326     06/09/00   45,000
  2069      Destination Eight                   39818 10Th Street W.                   Palmdale            CA      93551     08/12/05   35,328
  2119      Buena Park Promenade                5885 Lincoln Avenue                    Buena Park          CA      90620     11/06/05   35,872
  2126      Von Karmen Plaza                    2170 Barranca Pkwy                     Irvine              CA      92606     07/26/06   35,700
  2374      Pride Center                        22914 W Victory Blvd                   Woodland Hills      CA      91367     08/30/13   28,434
  2389      Freestanding (former Albertson's)   1000 South Central Avenue              Glendale            CA      91204     11/08/13   33,699
  2406      La Cienega Square                   1250 S La Cienega Blvd                 Los Angeles         CA      90035     03/07/14   20,300
  2442      Fullerton Crossroads                3300 Yorba Linda Boulevard             Fullerton           CA      92831     05/15/15   20,100
  2449      Covina Town Square                  1460 North Azusa Avenue                Covina              CA      91722     04/10/15   25,196
  2452      Centre Point Village                26583 Carl Boyer Drive                 Santa Clarita       CA      91350     04/10/15   24,970
  2523      Orange Park Plaza                   1411 N. Tustin Streets                 Orange              CA      92867     11/08/18   18,547
  2526      Foothill Ranch Towne Center South   26742 Portola Parkway                  Foothill Ranch      CA      92610     11/15/18   22,500
  2546      Riverside Woodman Plaza             13730 Riverside Drive                  Sherman Oaks        CA      91423     04/07/20   46,956
  2568      Former Ralph's Market               27871 La Paz Rd                        Laguna Niguel       CA      92677     01/19/24   31,518
  2583      Westridge Plaza                     1310 S Beach Blvd                      La Habra            CA      90631     08/21/23   28,021
  1782      Standiford Avenue                   200 Standiford Ave                     Modesto             CA      95350     09/13/87   19,400
  2420      Monte Vista Crossing                2717 Countryside Drive                 Turlock             CA      95380     11/07/14   18,000
  812       Harris Street                       510 Harris St                          Eureka              CA      95503     04/26/76   15,990
  2202      Sonora Crossroads                   1151 Sanguinetti Road                  Sonora              CA      95370     11/11/11   17,440
  2441      Grocery Outlet SC                   11 N State Highway 49-88               Jackson             CA      95642     10/02/14   12,564
  1223      Conejo Valley Plaza                 1516 N Moorpark Rd                     Thousand Oaks       CA      91360     01/20/00   30,000
  1809      Shopping At The Rose                2351 N Rose Ave                        Oxnard              CA      93036     10/15/93   15,000
  1818      Santa Susana Plaza                  2242 Tapo St                           Simi Valley         CA      93063     07/15/85   22,869
  2353      Freestanding                        1175 Dana Drive                        Redding             CA      96003     04/12/13   28,588
  1440      Country Side Center                 2250 Griffin Way                       Corona              CA      92879     11/08/97   20,540
  1920      Commons At Temecula                 40462 Winchester Rd                    Temecula            CA      92591     02/18/00   35,150
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                                                                  Jo-Ann Stores
                                                                    Exhibit 1(a)(1)
                                                                      Store List


Store No.                   Store                               Address                        City        State   Zip Code Open Date Square Ft

  2096      Orange Tree Marketplace              1625 W Lugonia Avenue                 Redlands            CA       92374     03/22/06   35,350
  2142      Monterey Marketplace II              72765 Dinah Shore Dr                  Rancho Mirage       CA       92270     08/02/08   31,419
  2270      High Desert Gateway                  12779 Main Street                     Hesperia            CA       92340     03/08/12   20,004
  2422      Riverside Plaza                      3635 Riverside Plaza Dr. Ste.240      Riverside           CA       92506     05/16/14   15,131
  2527      Village West Shopping Center         2981 West Florida Avenue (Unit G1)    Hemet               CA       92545     06/27/19   21,398
  2529      Chino Town Square                    5545 Philadelphia St                  Chino               CA       91710     06/27/19   18,369
  2590      Town Center Square                   10930 Foothill Blvd                   Rancho Cucamonga    CA       91730     07/31/24   37,355
  1568      Arden Square                         3130 Arden Way                        Sacramento          CA       95825     11/28/95   19,500
  1771      Westgate S/C                         375 W Main St Ste E                   Woodland            CA       95695     12/13/87   12,024
  2033      Elk Grove Marketplace                8509 Bond Road                        Elk Grove           CA       95624     09/17/04   35,000
  2082      Fairway Commons                      5811 Five Star Blvd                   Roseville           CA       95678     05/13/05   35,000
  2203      Folsom Square                        1010 East Bidwell Street              Folsom              CA       95630     10/07/11   17,270
  2542      Sunrise Village Shopping Center      5489 Sunrise Blvd                     Citrus Heights      CA       95610     03/10/22   27,150
  2444      Westridge Center                     1425 N. Davis Road                    Salinas             CA       93907     10/03/14   16,355
  1011      Fletcher Hills Town & Country        2756 Fletcher Pkwy                    El Cajon            CA       92020     11/14/97   27,384
  1464      Camino Town & Country S/C            2227 S El Camino Real Ste C           Oceanside           CA       92054     01/26/97   17,262
  1843      Poway Center                         12313 Poway Rd                        Poway               CA       92064     12/01/87   20,250
  1845      Point Loma Plaza                     3633 Midway Dr                        San Diego           CA       92110     07/03/99   14,950
  1886      Bay Plaza S/C                        1410 E Plaza Blvd Ste A               National City       CA       91950     02/01/89   13,300
  2559      Grand Plaza                          177 South Las Posas Road              San Marcos          CA       92078     09/08/22   40,000
  112       Tamal Vista Blvd.                    245 Tamal Vista Blvd                  Corte Madera        CA       94925     01/01/75   12,450
  730       South El Camino Real                 1948 S El Camino Real                 San Mateo           CA       94403     01/30/92   14,008
  871       Peninsula Boardwalk                  308 Walnut St                         Redwood City        CA       94063     12/01/96   16,336
  2133      Park & Shop                          1675 B Willow Pass Road               Concord             CA       94520     03/22/06   38,088
  2150      El Cerrito Plaza                     300 El Cerrito Plz                    El Cerrito          CA       94530     07/11/08   34,310
  2189      Amador Plaza Rd                      7177 Amador Plaza Road                Dublin              CA       94568     05/20/11   25,377
  2271      Greenhouse Marketplace               699 Lewelling Blvd Suite 230          San Leandro         CA       94579     07/26/12   25,000
  2533      Westlake Shopping Center             423 Westlake Center (Second Level)    Daly City           CA       94015     10/24/19   22,900
  605       Portal Plaza                         19765 Stevens Creek Blvd              Cupertino           CA       95014     08/15/84   17,614
  1787      Tennant Station S/C                  225 Tennant Sta                       Morgan Hill         CA       95037     03/26/93   14,720
  1878      Safeway SC                           4950 Almaden Expy Ste 10              San Jose            CA       95118     04/30/10   23,563
  2200      Freestanding (Former Circuit City)   1535 South Bradley Road               Santa Maria         CA       93454     05/20/11   19,014
  154       Industrial Drive                     3620 Industrial Dr                    Santa Rosa          CA       95403     12/29/91   15,000
  1763      Expressway Mall                      425 Rohnert Park Expy W               Rohnert Park        CA       94928     09/01/92   20,000
  1877      Stadium Center                       2210 Daniels St                       Manteca             CA       95337     04/30/10   20,807
  2474      Park West Place                      10916-B Trinity Parkway               Stockton            CA       95219     06/30/16   18,192
  850       Vacaville Commons                    2051 Harbison Dr                      Vacaville           CA       95687     01/30/93   15,052
  2473      Sequoia Plaza                        3930 S. Mooney Blvd                   Visalia             CA       93277     10/20/16   21,282
  2462      Raley's Center                       704 West Onstott Rd                   Yuba City           CA       95991     11/06/15   19,794
  1674      Arapahoe Village S/C                 2440 Arapahoe Ave                     Boulder             CO       80302     11/01/87   17,258
  2062      First & Main Town Center             3795 Bloomington St                   Colorado Springs    CO       80922     10/29/04   35,000
  1095      Southwest Commons                    8601 W Cross Dr Unit Sm               Littleton           CO       80123     03/14/03   25,650
  1672      Aurora City Square                   13861 E Exposition Ave                Aurora              CO       80012     10/20/86   15,500
  1858      Marketplace At Northglenn            341 W 104Th Ave # 3                   Northglenn          CO       80234     11/22/02   21,916
  2055      Yosemite Park Mall                   9090 East Phillips Place              Centennial          CO       80112     10/29/04   35,350
  2071      Saddle Rock Village                  7360 South Gartrell Road              Aurora              CO       80016     03/25/05   35,000
  2179      University Hills                     2580 South Colorado Blvd              Denver              CO       80222     06/04/10   26,300
  2234      Freestanding, Former Circuit City    10750 W Colfax Ave # 100              Lakewood            CO       80215     09/02/11   20,970
  2390      Westminster City Center              9250 Sheridan Blvd #200               Westminster         CO       80031     07/25/14   23,261
  2124      The Marketplace at Centerra          1601 Fall River Drive                 Loveland            CO       80538     03/22/06   35,231
  2228      Thunderbird Plaza                    2701 S. College Ave. Unit 160         Fort Collins        CO       80525     02/03/12   22,220
  2238      Mesa Mall                            2424 Highway 6 & 50. Space 0015       Grand Junction      CO       81505     11/10/11   14,150
  2013      Pueblo Mall                          3449 Dillon Dr                        Pueblo              CO       81008     07/16/10   15,350
  2182      Shop Rite Plaza                      143 Federal Rd                        Brookfield          CT       06804     11/05/10   12,859
  701       Clinton Commons S/C                  274 E Main St                         Clinton             CT       06413     05/30/92   10,000
  1924      Plaza At Buckland Hills              1440 Pleasant Valley Rd               Manchester          CT       06042     10/07/98   45,900
  1942      Berlin Turnpike                      3105 Berlin Tpke                      Newington           CT       06111     10/01/99   39,239
  2266      Freshwater Plaza                     136 Elm Street, Suite A               Enfield             CT       06082     02/03/12   13,865
  2411      Shop Rite Plaza                      774 Queen St.                         Southington         CT       06489     02/02/14   19,693
  976       Hamden Mart S/C                      2300 Dixwell Ave                      Hamden              CT       06514     05/02/06   25,494
  2123      Milford Crossing                     1405 Boston Post Road                 Milford             CT       06460     06/19/07   35,000
  2367      Torrington Plaza                     39 South Main St                      Torrington          CT       06790     03/07/14   15,848
  1607      Ames S/C                             117 Salem Tpke                        Norwich             CT       06360     01/01/91   14,006
  630       Centre At Dover                      283 N Dupont Hwy Ste F                Dover               DE       19901     08/21/91   11,602
  2063      Christiana Town Center               341 W Main St                         Newark              DE       19702     08/06/04   36,250
  173       Merchants Crossing S/C               15201 N Cleveland Ave Ste 400         Fort Myers          FL       33903     06/02/93   16,000
  1922      South Plaza                          4610 S Cleveland Ave                  Fort Myers          FL       33907     11/17/98   45,000
  2537      Coconut Pointe                       8072 Mediterranean Drive              Estero              FL       33928     09/19/19   18,322
  816       Mariner Plaza                        224B Eglin Pkwy Ne                    Fort Walton Beach   FL       32547     01/12/93   15,750
  2580      Shoppes at Paradise Key              4437 Commons Dr.                      Destin              FL       32541     03/31/23   33,875
  1595      Volusia Plaza                        2400 W International Spdwy Blvd       Daytona Beach       FL       32114     09/11/08   22,352
  2391      The Esplanade At Butler Plaza        3202 Sw 35Th Blvd                     Gainesville         FL       32608     02/02/14   36,185
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  1925      Argyle S/C                          6001 Argyle Forest Blvd Ste 11         Jacksonville         FL      32244     09/11/98   48,945
  2039      St Johns Town Center                10261 River Marsh Drive Ste 149        Jacksonville         FL      32246     02/11/05   35,000
  2335      Village of Amelia                   463877 State Road 200                  Yulee                FL      32097     07/26/13   14,000
  312       North Lakeland Plaza                4241 Us Highway 98 N                   Lakeland             FL      33809     03/31/00   19,100
  902       Shops At Avenue O                   1522 3Rd St Sw                         Winter Haven         FL      33880     11/19/95   12,375
  135       Flagler Park Plaza                  8257 W Flagler St                      Miami                FL      33144     02/01/91   12,016
  583       JOANN Fabrics Plaza                 10875 Caribbean Blvd                   Miami                FL      33189     01/01/80   19,557
  968       The Greenery                        7706 N Kendall Dr                      Miami                FL      33156     06/03/88   18,490
  1023      Pompano Marketplace                 1131 S Federal Hwy                     Pompano Beach        FL      33062     10/19/97   20,200
  1044      Hollywood Blvd                      4700 Hollywood Blvd                    Hollywood            FL      33021     03/28/97   19,880
  1452      Riverwalk Shopping Plaza            1632 S Federal Hwy                     Boynton Beach        FL      33435     02/01/97   14,938
  1596      Margate Shopping Center             3340 Nw 62Nd Ave                       Margate              FL      33063     08/21/08   21,441
  1862      Shoppes at Isla Verde               940 S State Road 7                     Wellington           FL      33414     09/11/08   21,600
  2144      11251 Pines Blvd.                   11251 Pines Blvd                       Pembroke Pines       FL      33026     08/15/08   27,109
  2167      The Fountains                       801 South University Dr Suite 75       Plantation           FL      33324     06/24/11   20,000
  2435      Northlake Commons                   3942 Northlake Blvd                    West Palm Beach      FL      33403     04/28/16   25,345
  2077      The Shoppes at Naples Center        6424 Naples Blvd Suite 501             Naples               FL      34109     07/28/06   24,816
  998       The Landings                        4934 S Tamiami Trl                     Sarasota             FL      34231     10/01/97   20,411
  1107      Venice Village                      4143 Tamiami Trl S Bay 20              Venice               FL      34293     08/10/90   10,080
  2282      Shoppes at University Center        8441 Cooper Creek Blvd                 Bradenton            FL      34201     11/09/12   20,303
  1244      Shady Oaks Shopping Center          2405 Sw 27Th Ave                       Ocala                FL      34471     06/28/02   25,304
  772       Village Market Place                365 E Burleigh Blvd                    Tavares              FL      32778     11/01/94   20,306
  1598      Village Crossroads                  540 N Us Hwy 441                       Lady Lake            FL      32159     08/21/08   21,600
  1908      Colonial Landing                    3562 E Colonial Dr                     Orlando              FL      32803     02/27/98   37,308
  1915      Brantley Square                     924 W State Road 436 Ste 1450          Altamonte Springs    FL      32714     02/13/98   50,228
  2032      Waterford Lakes Town Center         825 N Alafaya Trail                    Orlando              FL      32828     11/21/03   35,000
  2058      Target At Kissimmee West            4801 W Irlo Bronson Memorial Hwy       Kissimmee            FL      34746     02/11/05   35,000
  2131      Town Center Plaza                   120 N Entrance Road                    Sanford              FL      32771     02/08/06   36,988
  2139      Orlando Market                      3379 Daniels Road                      Winter Garden        FL      34787     09/28/07   35,314
  2118      Shoppes of West Melbourne           1537 W New Haven Ave                   West Melbourne       FL      32904     09/23/05   35,759
  2298      23rd Street Plaza                   413 East 23Rd Street                   Panama City          FL      32405     07/26/13   20,579
  2109      Tradewinds S/C                      6601 N. Davis Highway Ste 25           Pensacola            FL      32504     08/12/05   35,190
  2164      Square One Shopping Center          3563 Nw Federal Hwy                    Jensen Beach         FL      34957     04/03/09   28,004
  1484      Bayshore Village                    4265 Tamiami Trl Unit I                Port Charlotte       FL      33980     06/25/92    9,500
  2279      Century Town Center                 5921 20Th St. Unit B                   Vero Beach           FL      32966     04/13/12   11,048
  736       Capitol Plaza                       1802 Thomasville Rd                    Tallahassee          FL      32303     07/14/94   18,765
  333       Lakewood Plaza                      4387 Commercial Way                    Spring Hill          FL      34606     03/02/97   14,000
  1333      Home Depot Plaza                    10057 Us Highway 19                    Port Richey          FL      34668     11/17/06   35,000
  1861      Market Square at Tampa Palms        6234 Commerce Palms Blvd               Tampa                FL      33647     08/21/08   21,600
  1958      Plaza At Citrus Park                12635 Citrus Plaza Dr                  Tampa                FL      33625     11/09/00   45,965
  1959      Lake Brandon Plaza S/C              11215 Causeway Blvd                    Brandon              FL      33511     04/26/01   41,947
  2025      Tyrone Corners SC                   2500 66Th St N                         Saint Petersburg     FL      33710     07/18/03   34,076
  2031      Curlew Crossing                     2343 Curlew Road                       Dunedin              FL      34698     08/21/03   41,865
  2534      Freestanding                        3055 Atlanta Highway                   Athens               GA      30606     09/19/19   21,500
  1549      Douglas Corners S/C                 9439 Highway 5                         Douglasville         GA      30135     10/08/99   24,000
  1921      Pleasant Hill Square                2255 Pleasant Hill Rd Ste 200          Duluth               GA      30096     04/07/00   26,000
  1960      North Point Commons                 965 N Point Dr                         Alpharetta           GA      30022     11/09/00   38,418
  2005      Presidential Commons                1630 Scenic Hwy N Ste O                Snellville           GA      30078     11/09/00   37,312
  2016      Fayette Pavilion                    250 Pavilion Pkwy                      Fayetteville         GA      30214     10/01/01   42,000
  2359      Conyers Plaza                       1380 Dogwood Drive                     Conyers              GA      30013     05/17/13   24,920
  2364      Newnan Pavilion                     1074 Bullsboro Drive, Unit #6          Newnan               GA      30265     08/30/13   18,239
  2412      Suburban Plaza                      2655 N. Decatur Road                   Decatur              GA      30033     04/28/16   20,035
  2414      Lakeland Plaza                      540 A Lakeland Plaza                   Cumming              GA      30040     11/07/14   17,793
  2547      Freestanding                        501 Roberts Ct                         Kennesaw             GA      30144     07/16/20   42,059
  2143      Richmond Plaza                      3435 Wrightsboro Road                  Augusta              GA      30909     05/16/08   36,736
  2247      Golden Isles Plaza                  137 Golden Isles Plaza Parkway         Brunswick            GA      31520     02/03/12   14,663
  1583      Columbus Park Crossing              5555 Whittlesey Blvd Ste 2900          Columbus             GA      31909     09/11/08   21,000
  2239      Lakeshore Marketplace               834-A Dawsonville Highway              Gainesville          GA      30501     07/29/11   19,800
  1891      Shoppes at River Crossing           5080 Riverside Dr Ste 1300             Macon                GA      31210     07/16/10   20,331
  2400      Tifton Mall                         612 Virginia Ave North                 Tifton               GA      31794     04/11/14   16,233
  1021      Savannah Centre                     7400 Abercorn St                       Savannah             GA      31406     09/19/97   15,650
  2490      Willow Lake Crossing                2951 Watson Blvd                       Warner Robins        GA      31093     09/29/16   12,277
  1650      Lincoln Center                      632 Lincoln Way                        Ames                 IA      50010     12/01/85   12,000
  2306      Lindale Mall                        255 Collins Road Ne                    Cedar Rapids         IA      52402     08/31/12   20,600
  1645      Village S/C                         902 W Kimberly Rd Ste 41               Davenport            IA      52806     03/31/01   25,200
  2249      Metro North Shopping Center         1205 Se 16Th Court, Suite 200          Ankeny               IA      50021     03/09/12   18,250
  2556      Valley Court Shopping Center        9999 University Avenue                 Clive                IA      50325     07/28/22   33,330
  2540      Plaza 20                            2600 Dodge Street (Suite A-1)- Temp    Dubuque              IA      52003     10/24/19   18,000
  2509      Iowa City Marketplace               1676 Sycamore Street                   Iowa City            IA      52240     05/10/18   27,000
  2333      Muscatine Mall                      1903 Park Avenue                       Muscatine            IA      52761     03/08/13   14,719
  2399      Willow Creek Crossing               500 Indianhead Drive                   Mason City           IA      50401     10/03/14   18,000
  2416      Burlington Commons                  3200 Agency Street, Ste 110            Burlington           IA      52601     11/07/14   18,000
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  2499      The Marketplace                 3271 Marketplace Drive Suite: C1      Council Bluffs       IA      51501     06/22/17   20,310
  2208      Crossroads Commons              1407 Flammang Drive                   Waterloo             IA      50702     06/24/11   18,197
  796       Federal Way Plaza               3275 S Federal Way                    Boise                ID      83705     11/19/94   16,000
  1683      Karcher Mall                    1509 Caldwell Blvd                    Nampa                ID      83651     03/31/01   21,120
  2162      Milwaukee Market Place          1085 N. Milwaukee St                  Boise                ID      83704     03/02/09   37,783
  2326      Silver Lake Mall                200 West Hanley Ave Suite 1101        Coeur D Alene        ID      83815     03/08/13   18,335
  2192      Grand Teton Plaza               2408 South 25Th East                  Idaho Falls          ID      83404     03/11/11   24,000
  1692      American Plaza                  840 Blue Lakes Blvd N                 Twin Falls           ID      83301     08/10/84   11,985
  2469      Palouse Mall                    1854 W. Pullman Road                  Moscow               ID      83843     02/16/17   17,680
  2183      Pocatello Square                1790 Hurley Dr.                       Pocatello            ID      83201     11/10/10   13,427
  2552      Bloomington Commons             1719 E Empire Street                  Bloomington          IL      61704     10/29/21   21,828
  2290      Champaign Town Center           722 West Town Center Blvd.            Champaign            IL      61822     04/12/12   17,642
  138       Rivercrest Centre               4917 Cal Sag Rd                       Crestwood            IL      60445     01/27/91   14,000
  140       Danada Square West S/C          36 Danada Sq W                        Wheaton              IL      60189     07/22/91   12,629
  957       Four Flaggs S/C                 8245 W Golf Rd                        Niles                IL      60714     11/19/89   16,985
  1579      Norridge Marketplace            4514 N Harlem Ave                     Norridge             IL      60706     10/08/97   14,558
  1589      Countryside Plaza               20 Countryside Plaza                  Countryside          IL      60525     05/13/05   26,653
  2024      Naper West Plaza                526 S State Route 59                  Naperville           IL      60540     08/21/03   36,493
  2048      Bloomingdale Court              362 W Army Trail Rd Ste 230           Bloomingdale         IL      60108     10/29/04   25,802
  2057      Marketplace at Vernon Hills     413 N Milwaukee Ave Unit 500          Vernon Hills         IL      60061     02/11/05   40,024
  2065      The Shoppes At Geneva Commons   714 Commons Drive                     Geneva               IL      60134     09/17/04   35,350
  2103      Lake View Plaza                 15752 S. La Grange Rd                 Orland Park          IL      60462     05/13/05   34,050
  2113      Town & Country SC               373 E Palatine Road                   Arlington Heights    IL      60004     11/04/05   36,400
  2117      Riverfront Plaza                2639 N. Elston Ave                    Chicago              IL      60647     09/23/05   43,233
  2176      Chestnut Court                  7511 Lemont Rd Ste 101                Darien               IL      60561     10/16/09   25,000
  2198      High Point Centre               441 E Roosevelt Rd Space #410         Lombard              IL      60148     09/02/11   17,040
  2220      Joliet Commons                  2741 Plainfield Road                  Joliet               IL      60435     06/24/11   15,000
  2259      Shops At Fox River              3310 Shoppers Drive                   Mchenry              IL      60050     03/09/12   17,172
  2386      Joffco Square                   555 W. Roosevelt Road                 Chicago              IL      60607     11/08/13   16,651
  2465      Freestanding                    2391 County Line Road                 Algonquin            IL      60102     11/06/15   19,875
  2455      Village Mall                    2917 North Vermillion Suite C17       Danville             IL      61832     07/24/15   16,427
  2476      Freestanding Building           3911 16Th Street                      Moline               IL      61265     10/27/16   16,900
  2587      Bradley Commons                 2056 N State Rt. 50 (Unit 15)         Bourbonnais          IL      60914     08/21/23   21,421
  503       Quincy Mall                     425 N 32Nd St                         Quincy               IL      62301     08/18/78   15,193
  521       University Plaza S/C            1332 E Main St                        Carbondale           IL      62901     02/10/92   12,004
  527       Eagle Center                    1920 N Henderson St                   Galesburg            IL      61401     09/27/96   14,040
  2250      Sterling Lincoln Center         3201 East Lincolnway                  Sterling             IL      61081     08/31/12   15,000
  2324      Peru Mall                       3940 Route 251 Suite A1               Peru                 IL      61354     11/09/12   15,000
  2418      Freeport Shopping Center        1611 South West Avenue                Freeport             IL      61032     07/25/14   18,018
  2438      Cross County Mall               700 Broadway East                     Mattoon              IL      61938     08/24/14   13,670
  1637      Metro S/C                       4700 N University St                  Peoria               IL      61614     11/01/92   20,200
  2586      State Street Market             6360 E. State Street                  Rockford             IL      61108     11/10/23   28,500
  2246      Former Circuit City             3051 W. Wabash Avenue                 Springfield          IL      62704     11/11/11   22,000
  2156      Commerce Plaza                  10865 Lincoln Trl                     Fairview Heights     IL      62208     03/27/09   25,546
  607       Whitehall Plaza                 3483 W 3Rd St                         Bloomington          IN      47404     08/19/98   28,365
  2068      The Shoppes Of Schererville     715 Us Highway 41                     Schererville         IN      46375     03/25/05   35,266
  2373      Merrillville Plaza              1916 E 80Th Ave No 14                 Merrillville         IN      46410     02/02/14   26,008
  2503      Eastbrook Plaza                 2610 25Th Street                      Columbus             IN      47201     10/05/17   14,329
  2532      Market Centre                   4024 Elkhart Road #25                 Goshen               IN      46526     05/09/19   21,494
  2128      Shoe Carnival Towne Centre      929 N Green River Rd                  Evansville           IN      47715     02/08/06   37,227
  2108      JOANN Plaza                     4616 Coldwater Rd                     Fort Wayne           IN      46825     08/12/05   35,400
  1910      Castle Glen Plaza               8714 Castle Creek Parkway East Dr     Indianapolis         IN      46250     08/15/97   35,264
  1966      Avon Town Square                10401 E Us Highway 36                 Avon                 IN      46123     08/19/01   28,000
  2030      Greenwood Pavilion              1260 Us 31 North                      Greenwood            IN      46142     10/10/03   35,007
  2229      Washington Plaza                10030 East Washington Street          Indianapolis         IN      46229     07/29/11   21,500
  2312      Greenbriar Shopping Center      1361 86Th Street West                 Indianapolis         IN      46260     08/31/12   21,500
  1863      Kokomo Shopping Center          2130 E Markland Ave                   Kokomo               IN      46901     07/03/09   20,700
  1149      Sagamore @ 26 Shopping Center   311 Sagamore Pkwy N                   Lafayette            IN      47904     11/01/74   18,728
  2569      Waterford North                 1025 Veterans Pkwy                    Clarksville          IN      47129     11/14/22   24,961
  566       Lake Park S/C                   4333 Franklin St                      Michigan City        IN      46360     02/01/93   15,000
  525       Northwest Plaza                 1625 W Mcgalliard Rd                  Muncie               IN      47304     09/13/75   18,000
  328       Five Points Mall                1129 N Baldwin Ave Ste 32             Marion               IN      46952     11/10/71   11,160
  573       Wal-Mart Plaza                  3527 E Main St                        Richmond             IN      47374     10/23/92   13,600
  889       Pilgrim Place S/C               1406 Pilgrim Lane                     Plymouth             IN      46563     10/03/92   10,048
  899       Vincennes Plaza                 630 Niblack Blvd # 6                  Vincennes            IN      47591     01/10/93   16,750
  995       Angola Plaza                    2010 N Wayne St Ste G                 Angola               IN      46703     01/15/90    7,500
  2439      Town Fair Center                1224 James Ave                        Bedford              IN      47421     06/15/14   12,175
  2515      Germantown Center               3703 N. Newton St                     Jasper               IN      47546     05/10/18   14,036
  665       Wilshire Plaza                  5612 Grape Rd                         Mishawaka            IN      46545     05/18/97   21,690
  2424      Broadmoor Plaza                 1131 E. Ireland Road                  South Bend           IN      46614     05/16/14   16,527
  2165      Honey Creek Commons             5705 Us Hwy 41                        Terre Haute          IN      47802     08/07/09   25,127
  1926      Overland Park S/C               11401 Metcalf Ave                     Overland Park        KS      66210     08/24/98   42,810
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  2070      West 63Rd Street                 11215 West 63Rd Street                 Shawnee             KS      66203     06/25/04   35,488
  2481      Park Plaza                       2108 W 27Th Street                     Lawrence            KS      66047     10/27/16   14,148
  2344      West Loop Shopping Center        1000 West Loop Place, Ste 120          Manhattan           KS      66502     11/08/13   22,000
  1046      Central Mall                     2259 S 9Th St Ste 38                   Salina              KS      67401     10/16/98   16,159
  2434      Crosswinds Commons               1133 Sw Wanamaker Rd Ste 200           Topeka              KS      66604     02/01/15   24,709
  2193      North Rock Road                  3665 North Rock Road                   Wichita             KS      67226     03/11/11   26,398
  2460      Westgate Market                  6930 W. Kellogg Drive                  Wichita             KS      67209     03/10/16   22,182
  2261      Houston Lakes                    87 Spiral Drive                        Florence            KY      41042     03/09/12   23,936
  2489      Towne Centre                     219 Towne Drive                        Elizabethtown       KY      42701     10/27/16   12,000
  2392      Ashland Towne Center             500 Winchester Ave, Suite 700          Ashland             KY      41101     11/08/13   19,190
  2538      Crossroads SC                    125 East Reynolds Road, Suite 110      Lexington           KY      40517     09/19/19   30,000
  2145      Shelbyville Road Plaza           4600 Shelbyville Rd Ste 280            Louisville          KY      40207     11/14/08   30,236
  2343      Trademart Shopping Center        14569 N Us Highway 25 E, Unit 26       Corbin              KY      40701     03/08/13   15,000
  2419      Barren River Plaza               376 North L Rogers Wells Blvd          Glasgow             KY      42141     05/16/14   17,163
  2233      Owensboro Towne Center           5241 Frederica St. Space #3            Owensboro           KY      42301     07/29/11   13,560
  2486      Power Center                     1804 Macarthur Blvd                    Alexandria          LA      71301     05/18/17   16,327
  2269      Siegen Lane Marketplace          10545 South Mall Drive                 Baton Rouge         LA      70809     03/09/12   22,000
  2256      Ambassador Row                   3559 Ambassador Caffery Parkway        Lafayette           LA      70503     11/11/11   28,000
  2363      Village at Northshore            105 Northshore Blvd Suite 135          Slidell             LA      70460     03/08/13   20,125
  2508      Westside North Shopping Center   91 Westbank Expressway Ste 490         Gretna              LA      70053     10/05/17   17,935
  2544      Wilshire Plaza                   725 Veterans Blvd                      Metairie            LA      70005     08/06/20   20,250
  2504      Bayou Walk Shopping Center       6634 Youree Drive                      Shreveport          LA      71105     02/15/18   23,500
  814       Christmas Tree Promenade         665 Iyannough Rd                       Hyannis             MA      02601     10/28/92   17,645
  107       Middleton Market Place           232A South Main St                     Middleton           MA      01949     09/04/92   18,500
  403       Hanover Commons                  1302 Washington St                     Hanover             MA      02339     05/16/92   13,280
  408       Worcester Road                   244 Worcester Rd                       Natick              MA      01760     12/02/92   20,300
  472       Westford Valley Mkt              174 Littleton Rd                       Westford            MA      01886     06/26/92   11,620
  777       Middlesex Commons                43 Middlesex Tpke                      Burlington          MA      01803     12/11/92   15,000
  858       Treble Cove Plaza                199 Boston Rd                          North Billerica     MA      01862     05/24/92   12,754
  1610      Village Mall                     436 Broadway                           Methuen             MA      01844     04/10/87   14,600
  2161      Broadway Shopping Center         1073 Broadway                          Saugus              MA      01906     11/14/08   22,500
  2403      Walpole Mall                     96 Providence Highway                  East Walpole        MA      02032     11/07/14   24,760
  292       Dalton Ave Plaza                 457 Dalton Ave                         Pittsfield          MA      01201     12/15/91   12,000
  177       Dartmouth Town Ctr               454 State Rd                           North Dartmouth     MA      02747     04/06/91   12,000
  477       Shaw'S Plaza                     300 New State Hwy                      Raynham             MA      02767     09/15/91   15,775
  2129      North Attleboro Marketplace      1360 South Washington St Unit 3        North Attleboro     MA      02760     09/08/06   35,000
  2565      Ann & Hope Plaza                 85 Highland Avenue                     Seekonk             MA      02771     11/11/22   21,700
  677       Holyoke Plaza                    2267 Northampton St                    Holyoke             MA      01040     09/03/87   15,120
  826       Big Y Plaza                      433 Center St Ste B                    Ludlow              MA      01056     12/25/91   15,228
  1609      Hampshire Mall                   367 Russell St Ste A06                 Hadley              MA      01035     11/22/02   15,000
  418       Milford Plaza                    91 Medway Rd Ste#3                     Milford             MA      01757     06/06/92   23,250
  1611      Old Shrewsbury Village           1000 Boston Tpke                       Shrewsbury          MA      01545     04/14/00   20,000
  1879      Mall at Whitney Field            100 Commercial Rd Space H              Leominster          MA      01453     04/28/10   18,304
  245       Annapolis Plaza                  150 Jennifer Rd Ste C                  Annapolis           MD      21401     09/28/91   10,562
  395       Westminster S/C                  20 Englar Rd                           Westminster         MD      21157     09/07/90   14,000
  722       Garrison Forest Plaza            10377 Reisterstown Rd                  Owings Mills        MD      21117     10/30/99   15,296
  1906      Columbia Crossing                6161 Columbia Crossing Dr              Columbia            MD      21045     06/05/98   45,218
  1912      Tollgate Plaza                   615 Bel Air Rd Ste F                   Bel Air             MD      21014     06/05/98   46,000
  2090      Perring Plaza                    1951 Joppa Road                        Parkville           MD      21234     10/29/04   34,421
  640       Lavala Plaza S/C                 1313 National Hwy                      Lavale              MD      21502     11/12/77    9,000
  480       South End S/C                    1109 Maryland Ave                      Hagerstown          MD      21740     11/09/95   17,344
  431       Patuxent Crossing                22576 Macarthur Blvd Ste 300           California          MD      20619     11/06/94   14,058
  106       Diamond Square S/C               2A Bureau Dr                           Gaithersburg        MD      20878     02/16/79   15,000
  123       Beltway Plaza Mall               6200 Greenbelt Rd                      Greenbelt           MD      20770     01/31/98   14,000
  1951      Frederick County S/C             1003-C West Patrick St.                Frederick           MD      21702     06/08/99   39,063
  2148      Brandywine Crossing              15920 Crain Highway Se                 Brandywine          MD      20613     04/03/09   25,310
  2381      Fox Run Shopping Center          521 N. Solomon'S Island Rd, Ste 34     Prince Frederick    MD      20678     11/08/13   12,020
  2382      Westfield Wheaton Plaza          11160 Veirs Mill Road, Unit 180        Wheaton             MD      20902     10/04/13   22,218
  873       Stillwater Avenue                710 Stillwater Ave                     Bangor              ME      04401     08/13/92   23,400
  875       Auburn Plaza                     732 Center St                          Auburn              ME      04210     07/15/92   12,189
  410       Jfk Mall                         180 Jfk Plz                            Waterville          ME      04901     11/25/91   12,500
  329       Topsham Fair Mall                49 Topsham Fair Mall Rd Ste 17         Topsham             ME      04086     05/17/97   17,900
  429       Pine Tree S/C                    1064 Brighton Ave                      Portland            ME      04102     05/04/92   21,025
  176       Oak Valley Center                2897 Oak Valley Dr                     Ann Arbor           MI      48103     12/01/90   12,750
  2004      Valley View Center S/C           3737 Carpenter Rd                      Ypsilanti           MI      48197     04/26/01   45,000
  2377      Minges Creek Plaza               5420 Beckley Road, Suite M             Battle Creek        MI      49015     08/30/13   19,790
  492       Majestic Square                  2950 Center Ave                        Essexville          MI      48732     08/02/96   14,672
  306       Grosse Pointe Farms              18850 Mack Ave                         Grosse Pointe       MI      48236     07/01/71   17,000
  351       Twenty-Fourth Avenue             4405 24Th Ave                          Fort Gratiot        MI      48059     06/06/93   20,000
  539       New Towne Centre                 44740 Ford Rd                          Canton              MI      48187     11/04/05   35,303
  690       Madison Place S/C                32065 John R Rd                        Madison Heights     MI      48071     02/06/04   35,861
  733       Bloomfield Village Sq            4107 Telegraph Rd                      Bloomfield Hills    MI      48302     10/10/03   28,000
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  753       Lapeer S/C                           1865 W Genesee St                     Lapeer              MI      48446     11/01/95   12,650
  1927      Shelby Town Center                   14367 Hall Rd                         Shelby Township     MI      48315     04/23/99   31,941
  1933      West Oaks II                         43570 W Oaks Dr # B-3                 Novi                MI      48377     11/05/99   49,675
  1940      Freestanding (Former Circuit City)   20550 E. 13 Mile Road                 Roseville           MI      48066     08/30/13   32,863
  1948      The Crossings At Taylor              23877 Eureka Rd                       Taylor              MI      48180     09/01/00   45,000
  1962      The Auburn Mile                      600 Brown Rd                          Auburn Hills        MI      48326     07/18/00   44,015
  2003      Brighton Mall                        8449 W Grand River Ave                Brighton            MI      48116     07/22/01   36,280
  2061      Hampton Plaza                        2105 S Rochester Road                 Rochester Hills     MI      48307     10/29/04   37,500
  2104      Independence Market Place            23125 Outer Drive                     Allen Park          MI      48101     09/23/05   35,000
  2277      White Lake Market Place              9052 Highland Road                    White Lake          MI      48386     07/26/12   25,660
  2405      Livonia Commons                      13489 Middlebelt Rd                   Livonia             MI      48150     11/07/14   24,100
  2407      Waterside Market Place               50809 Waterside Drive                 Chesterfield        MI      48051     02/01/15   25,000
  1590      Courtland Center                     4190 E Court St Ste 101               Burton              MI      48509     02/08/06   26,000
  2017      Genessee Commons S/C                 G3603 Miller Rd                       Flint               MI      48507     04/26/01   42,901
  2163      The Shoppes At Centerpoint           3665 28Th St Se                       Grand Rapids        MI      49512     03/27/09   38,500
  2274      Former Best Buy                      3900 Alpine Ave. Nw Suite B           Comstock Park       MI      49321     02/03/12   22,500
  2378      Century Center                       3323 Century Center St Sw             Grandville          MI      49418     08/30/13   21,177
  305       Felch Street Plaza                   12635 Felch St Ste 60                 Holland             MI      49424     06/07/98   15,194
  2122      Wisner Street Plaza                  1099 N Wisner St                      Jackson             MI      49202     11/04/05   37,232
  498       Toy'S R'Us Plaza                     6151 S Westnedge Ave                  Portage             MI      49002     04/04/94   20,016
  2022      Frandor S/C                          533 Mall Ct                           Lansing             MI      48912     03/14/03   30,077
  2332      Westland Shopping Center             3750 West Saginaw Street              Lansing             MI      48917     11/09/12   20,084
  2116      Lake Crossings                       5663 Harvey Street                    Norton Shores       MI      49444     11/04/05   35,350
  2555      Scottdale Plaza                      1800 M-139 Unit A                     Benton Harbor       MI      49022     07/28/22   25,470
  279       Southland Plaza                      2576 S Main St                        Adrian              MI      49221     12/01/96   12,103
  294       Northwest Plaza                      1910 N Saginaw Rd                     Midland             MI      48640     06/14/88   15,000
  348       Bear Point Plaza                     2686 Us Highway 23 S                  Alpena              MI      49707     02/01/89   13,000
  414       East Bay Plaza                       724 Munson Ave                        Traverse City       MI      49686     08/01/73   22,606
  1594      Bear Creek Plaza                     1608 Anderson Rd                      Petoskey            MI      49770     11/07/08   20,026
  1869      Indian Hills Plaza                   4208 E. Bluegrass Rd Ste A            Mount Pleasant      MI      48858     04/28/10   21,060
  2521      Ferris Commons                       1250 W. Perry Avenue                  Big Rapids          MI      49307     10/25/18   15,000
  1901      Saginaw Square                       2920 Tittabawassee Rd                 Saginaw             MI      48604     11/15/97   31,000
  697       Irongate Mall                        990 W 41St St Ste 2                   Hibbing             MN      55746     10/24/79   15,750
  2477      Burning Tree Plaza                   5115 Burning Tree Plaza               Duluth              MN      55811     10/13/16   17,682
  2191      Madison East Mall                    1400 Madison Avenue Suite #500        Mankato             MN      56001     02/03/11   19,080
  473       Bonaventure Plaza                    1635 Plymouth Rd                      Minnetonka          MN      55305     06/01/92   18,000
  1876      Crossroads of Roseville              1649 W. County Rd B2                  Roseville           MN      55113     03/05/10   23,023
  1902      Tamarack Village                     8208 Tamarack Vlg                     Woodbury            MN      55125     08/07/97   45,215
  1935      Arbor Lakes S/C                      12550 Elm Creek Blvd N                Maple Grove         MN      55369     11/19/99   46,000
  1941      Riverdale Village                    12779 Riverdale Blvd Nw               Coon Rapids         MN      55448     04/07/00   45,850
  1952      Apple Valley Square                  7614 150Th St W                       Apple Valley        MN      55124     02/18/00   45,384
  2026      Yorktown Mall                        3411 Hazelton Rd                      Edina               MN      55435     08/21/03   34,066
  2263      Elk Park Center                      19154 Freeport Street Nw              Elk River           MN      55330     11/09/11   18,009
  2283      Dean Lakes                           4120 Dean Lakes Boulevard             Shakopee            MN      55379     05/18/12   17,040
  2596      Birch Run Station                    1717 Beam Avenue                      Maplewood           MN      55109     10/23/24   27,000
  863       Hutchinson Mall                      1060 Highway 15                       Hutchinson          MN      55350     06/19/83   13,060
  1666      Paul Bunyan Mall                     1401 Paul Bunyan Dr Nw Ste 60         Bemidji             MN      56601     06/17/93   14,766
  1864      Kandi Mall                           1605 1St St S                         Willmar             MN      56201     11/07/08   17,519
  1892      Westgate Mall                        14136 Baxter Drive Suite 120          Brainerd            MN      56401     10/01/10   15,945
  2166      Viking Plaza Mall                    3015 Highway 29 South                 Alexandria          MN      56308     10/01/10   18,336
  2404      Faribo West Mall                     200 Western Ave Nw, Suite C10         Faribault           MN      55021     02/02/14   14,544
  2573      Rochester Marketplace                3839 Marketplace Drive NW             Rochester           MN      55901     04/03/23   23,725
  518       Division Street Plaza                3332 W Division St                    Saint Cloud         MN      56301     07/12/75   20,600
  2289      Rockbridge Shopping Center           509 East Nifong                       Columbia            MO      65201     02/03/13   19,002
  1577      Capital Mall                         3600 Country Club Dr Spc 408          Jefferson City      MO      65109     01/04/97   17,043
  2273      Northpark Mall                       101 N Range Line Road, Suite 354      Joplin              MO      64801     08/31/12   22,659
  1918      Bolger Square                        3810 Crackerneck Rd                   Independence        MO      64055     11/19/99   46,350
  2091      Platte Purchase Plaza                2201 Nw Barry Road                    Kansas City         MO      64154     11/04/05   35,406
  2257      Belton Marketplace                   1153 E. North Avenue                  Belton              MO      64012     03/09/12   21,000
  1649      Primrose Market Place                3370 S Glenstone Ave                  Springfield         MO      65804     06/11/99   16,000
  1495      Hillcrest Plaza                      603 N Belt Hwy                        Saint Joseph        MO      64506     10/03/99   14,350
  2153      Central Plaza                        15355 Manchester Rd                   Ballwin             MO      63011     05/05/09   30,244
  2178      Mid Rivers                           5610 Suemandy Rd                      St Peters           MO      63376     07/16/10   34,250
  2219      Former Circuit City                  6910 S. Lindbergh Blvd                Saint Louis         MO      63125     07/29/11   28,575
  2294      Twin City Plaza                      101 Twin City Mall                    Crystal City        MO      63019     03/07/12   15,614
  2310      Deer Creek Shopping Center           3200 Laclede Station Rd               Saint Louis         MO      63143     03/08/13   19,710
  2361      Phoenix Center                       1976 Phoenix Center Drive             Washington          MO      63090     10/04/13   15,000
  2268      The Junction                         6361 I-55 North                       Jackson             MS      39213     02/03/12   18,036
  1874      Southaven Town Center                6535 Towne Center Crossing            Southaven           MS      38671     02/05/10   18,243
  2225      Big Oaks Crossing                    3875 North Gloster Street             Tupelo              MS      38804     05/20/11   22,000
  2315      Market Place                         2833 King Avenue West                 Billings            MT      59102     07/26/12   20,000
  2585      Holiday Village Mall                 1200 10th Ave S                       Great Falls         MT      59405     11/08/24   21,062
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  791       Holiday Village                   1900 Brooks St                        Missoula            MT      59801     02/01/94   24,265
  856       Butte Plaza Mall                  3100 Harrison Ave                     Butte               MT      59701     11/24/95    9,000
  1695      Gallatin Valley Mall              2825 W Main St Unit S                 Bozeman             MT      59718     01/08/01   20,020
  1696      Shopko Plaza                      3131 N Montana Ave                    Helena              MT      59602     09/20/02   12,000
  1697      Brookstone Square                 2165 Hwy 2 East Suite E               Kalispell           MT      59901     06/12/00   18,000
  2284      Overlook Village                  80 South Tunnel Road Suite 30         Asheville           NC      28805     05/17/12   22,835
  2352      Blue Ridge Mall                   1800 Four Seasons Blvd, Space D1      Hendersonville      NC      28792     05/17/13   14,826
  2248      Carolina Pavilions                9523 South Blvd                       Charlotte           NC      28273     11/11/11   23,500
  2426      Monroe Mall                       2115 W. Roosevelt Blvd, Suite 111     Monroe              NC      28110     05/16/14   20,059
  1078      Oakcreek Village S/C              4600 Chapel Hill Blvd Ste 8           Durham              NC      27707     01/29/00   16,051
  1098      Cross Creek Plaza                 1800 Skibo Rd                         Fayetteville        NC      28303     10/10/03   20,905
  2252      Berkley Mall                      625 N Berkeley Blvd #H                Goldsboro           NC      27534     11/08/13   15,313
  1511      The Shoppes On Market             4644 W Market St                      Greensboro          NC      27407     08/06/98   19,175
  2318      Morganton Heights                 E132 Morganton Heights Blvd           Morganton           NC      28655     11/08/13   12,500
  2480      Valley Crossing                   2102 Us Hwy 70 Se                     Hickory             NC      28602     09/29/16    7,780
  2205      Mooresville Consumer Square       221 Norman Station Blvd. Suite 2211   Mooresville         NC      28117     06/23/11   12,000
  1074      Centrum At Crossroads             2420 Walnut St                        Cary                NC      27518     03/30/00   24,975
  1478      The Falls Centre                  4412 Falls Of Neuse Rd Ste 101        Raleigh             NC      27609     07/20/97   18,250
  2253      Sutters Creek Crossing            572 Sutter'S Creek Blvd               Rocky Mount         NC      27804     04/12/12   14,355
  1471      University Centre                 352 S College Rd Ste 24               Wilmington          NC      28403     08/13/92   14,000
  2562      Silas Creek Crossing              3208 Silas Creek Parkway              Winston-Salem       NC      27103     10/27/22   27,410
  2243      Gateway Mall                      2700 State Street, Suite C            Bismarck            ND      58503     03/08/12   15,975
  1865      TJ Maxx Plaza                     4340 13Th Ave S Ste 101               Fargo               ND      58103     11/07/08   19,952
  653       Columbia Junction Mall            2781 32Nd Ave S                       Grand Forks         ND      58201     08/10/91   12,000
  172       Town & Country S/C                1015 S Broadway                       Minot               ND      58701     04/30/92   11,981
  2371      East Park Plaza                   220 N 66Th St Ste 270                 Lincoln             NE      68505     05/17/13   31,650
  2175      Baker Square                      13415 W Center Rd                     Omaha               NE      68144     11/05/10   31,837
  2456      Wolf Creek Plaza                  10521 S. 15Th Street                  Bellevue            NE      68123     04/10/15   23,865
  266       Newington Park                    2064 Woodbury Ave Ste 302             Newington           NH      03801     10/17/92   22,500
  824       Seacoast S/C                      270 Lafayette Rd Unit 8               Seabrook            NH      03874     11/23/91   12,000
  2301      Rochester Crossing                160 Washington St Ste 606             Rochester           NH      03839     05/18/12   13,037
  2564      Nashua Mall Plaza                 31 Gusabel Avenue                     Nashua              NH      03063     09/02/22   37,113
  132       Hooksett Village Shops            1328 Hooksett Rd                      Hooksett            NH      03106     06/09/90   12,500
  830       Belknap Mall S/C                  12 Old State Rd                       Belmont             NH      03220     09/19/92   16,395
  904       Capitol S/C                       80 Storrs St Ste 5                    Concord             NH      03301     06/01/85   18,872
  1614      Target Plaza                      200 S Main St Rt 12A                  West Lebanon        NH      03784     03/22/91   15,573
  545       Festival At Hamilton S/C          3926 Festival At Hamilton             Mays Landing        NJ      08330     01/09/92   11,910
  593       Shrewsbury Plaza                  1026 Broad St                         Shrewsbury          NJ      07702     11/01/76   15,000
  1106      Colonia Plaza                     1272 State Rt 27                      Colonia             NJ      07067     06/01/72   15,700
  2217      Freestanding (Former Comp USA)    30 A & S Drive                        Paramus             NJ      07652     06/24/11   30,000
  2341      Roxbury Mall                      281-28 Rt 10E                         Succasunna          NJ      07876     02/03/13   30,425
  2383      Riverdale Crossing                48 Route 23                           Riverdale           NJ      07457     10/04/13   21,807
  2409      1379 Hooper Avenue                1379 Hooper Avenue                    Toms River          NJ      08753     03/07/14   20,000
  2089      Centerton Square                  66 Centerton Road                     Mount Laurel        NJ      08054     05/13/05   35,350
  2355      Garden State Pavillion            2234 W Marlton Pike Rd Plot E3        Cherry Hill         NJ      08002     05/17/13   25,287
  2558      Deptford Plaza                    1120 Hurffville Road                  Deptford            NJ      08096     10/26/22   40,003
  551       Mercer On One                     3371 Brunswick Ave                    Lawrenceville       NJ      08648     02/02/76   18,115
  1524      Cottonwood West Shopping Center   10131 Coors Blvd Nw Ste D3            Albuquerque         NM      87114     11/15/97   16,000
  1669      Wyoming Blvd Northeast            2240 Wyoming Blvd Ne                  Albuquerque         NM      87112     01/01/86   24,000
  2576      Plaza Farmington                  3558 E Main St                        Farmington          NM      87402     10/24/22   20,020
  1309      Pan America Plaza                 1711 E University Ave                 Las Cruces          NM      88001     08/01/81    9,550
  1668      Plaza Princessa S/C               3140 Cerrillos Rd Ste B               Santa Fe            NM      87507     02/05/85   12,000
  1769      Carson Mall                       1344 S Stewart St                     Carson City         NV      89701     10/01/90   10,240
  1903      Best In The West S/C              2160 N Rainbow Blvd                   Las Vegas           NV      89108     09/27/97   46,140
  2015      Sunmark Plaza                     651 Marks St                          Henderson           NV      89014     08/21/01   42,000
  2204      Elko Junction                     2759 Mountain City Hwy                Elko                NV      89801     09/02/11   15,000
  1774      Peckham Square                    3750 Kietzke Ln                       Reno                NV      89502     06/01/91   24,700
  1602      Village Square                    19 Clifton Country Rd                 Clifton Park        NY      12065     01/09/92   10,500
  1929      Northway Mall                     1440 Central Ave Ste 2                Albany              NY      12205     09/26/00   45,491
  2579      Parkway Plaza                     3120 Vestal Parkway East              Vestal              NY      13850     05/19/23   30,000
  455       Niagara Square                    2429 Military Rd                      Niagara Falls       NY      14304     03/27/89   13,001
  1930      Burlington Plaza                  1551 Niagara Falls Blvd               Amherst             NY      14228     11/06/98   38,668
  1932      McKinley Milestrip Plaza          3540 Mckinley Pkwy                    Blasdell            NY      14219     05/21/99   48,592
  2087      JOANN Plaza                       4101 Transit Road Ste 1               Williamsville       NY      14221     09/17/04   38,903
  1868      Southern Tier Crossing            1530 County Route 64                  Horseheads          NY      14845     09/11/09   20,331
  206       Queensbury Plaza                  756 Upper Glen St Ste 15              Queensbury          NY      12804     10/18/95   15,260
  2342      Cayuga Mall                       2309 N Triphammer Rd, Unit 1          Ithaca              NY      14850     04/12/13   18,350
  645       Kingston Plaza                    1385 Ulster Ave                       Kingston            NY      12401     06/19/96   14,678
  153       Salisbury Plaza                   580 Old Country Rd                    Westbury            NY      11590     05/09/98   15,574
  257       Great South Bay S/C               735 W Montauk Hwy                     West Babylon        NY      11704     04/28/00   18,469
  2241      Midway Plaza                      965 Central Park Ave                  Scarsdale           NY      10583     09/02/11   31,843
  2567      Sayville Plaza                    5159 Sunrise Hwy                      Bohemia             NY      11716     04/05/23   31,484
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  301       Chautauqua Mall                     318 E Fairmount Ave Rm 106            Lakewood             NY       14750     04/15/71   11,612
  358       Riverside Plaza                     162 Clinton St # 2                    Cortland             NY       13045     08/01/72   14,132
  461       The Shoppes at Dove Creek           4908 State Hwy 30 Ste#8               Amsterdam            NY       12010     09/11/97   14,000
  822       K-Mart Plaza                        228 W Main St Ste 12                  Malone               NY       12953     12/21/91   10,408
  1089      Tops Plaza                          2503B W State Street                  Olean                NY       14760     01/24/03   17,855
  2195      Arsenal Plaza                       1283 Arsenal Street                   Watertown            NY       13601     06/24/11   18,795
  2356      Fairview Plaza                      160 Fairview Avenue Suite # 83        Hudson               NY       12534     11/08/13   15,360
  898       Dunning Farms S/C                   88 Dunning Rd Ste 23                  Middletown           NY       10940     12/05/92   16,000
  1603      Poughkeepsie Plaza Mall             2600 South Rd                         Poughkeepsie         NY       12601     11/15/93   11,370
  631       Wegmans Plaza                       2157 Penfield Rd                      Penfield             NY       14526     11/16/92   15,675
  1943      Southtown Plaza                     3333 W Henrietta Rd Ste 90            Rochester            NY       14623     11/05/99   45,460
  1949      JOANN / Petsmart Plaza              3042 Ridge Rd W                       Rochester            NY       14626     11/04/99   25,000
  2211      Roseland Center                     3225 State Route 364                  Canandaigua          NY       14424     05/20/11   19,389
  2064      Towne Center At Fayetteville        330 Towne Center Dr                   Fayetteville         NY       13066     06/25/04   35,252
  2264      Marketfair North                    4154 State Route 31                   Clay                 NY       13041     11/11/11   26,878
  1604      New Hartford S/C                    120 Genesee St                        New Hartford         NY       13413     01/24/01   25,000
  171       Darrow Road                         5381 Darrow Rd                        Hudson               OH       44236     11/17/95   46,700
  417       Tri-County Plaza                    1500 Canton Rd                        Akron                OH       44312     08/31/83   13,600
  2021      Acme Plaza                          3977 Medina Rd                        Akron                OH       44333     10/31/02   29,198
  1900      Belden Parke Crossing               5487 Dressler Rd Nw                   North Canton         OH       44720     06/01/97   46,042
  1621      Village Crossing                    10400 Reading Rd                      Evendale             OH       45241     03/28/01   17,138
  2147      Arbor Square                        8125 Arbor Square Drive               Mason                OH       45040     02/05/09   29,768
  2181      Eastgate Crossing                   4530 Eastgate Blvd.                   Cincinnati           OH       45245     02/02/11   16,730
  2240      Colerain Towne Center               10166 Colerain Avenue                 Cincinnati           OH       45251     10/07/11   23,500
  2513      Indian Springs Shopping Center      3177 Princeton Road                   Hamilton             OH       45011     06/21/18   22,400
  2589      Hyde Park Plaza                     3872 C Paxton Avenue)                 Cincinnati           OH       45209     07/16/24   24,393
  1586      Southland S/C                       6901 Pearl Rd                         Middleburg Heights   OH       44130     09/17/04   29,887
  1592      Medina Grande Shoppes               5005 Grande Blvd                      Medina               OH       44256     05/03/06   24,126
  1907      Erie Commons                        8000 Plaza Blvd                       Mentor               OH       44060     02/27/98   35,984
  1923      Great Northern S/C                  26337 Brookpark Rd                    North Olmsted        OH       44070     09/18/98   45,161
  2272      Golden Gate                         1533 Golden Gate Plaza, Suite #153    Mayfield Heights     OH       44124     05/18/12   23,528
  2410      Midway Market Square                380 Market Drive                      Elyria               OH       44035     03/07/14   25,594
  523       Edgewood Plaza                      1216 N Memorial Dr                    Lancaster            OH       43130     11/23/96   15,000
  866       Park Plaza                          789 Hebron Rd                         Heath                OH       43056     06/15/95   15,200
  1928      Polaris Towne Centre                1265 Polaris Pkwy                     Columbus             OH       43240     03/26/99   45,650
  1947      The Festival At Sawmill             2747 Festival Ln                      Dublin               OH       43017     11/05/99   48,737
  2001      Easton Square                       3880 Morse Rd                         Columbus             OH       43219     09/28/00   51,950
  2012      Taylor Square S/C                   2891 Taylor Rd                        Reynoldsburg         OH       43068     06/18/01   42,420
  2054      Lincoln Village Plaza               4600 W Broad Street                   Columbus             OH       43228     03/19/04   30,743
  603       Beavercreek Towne Centre            2850 Centre Dr Ste G                  Fairborn             OH       45324     07/01/97   19,800
  608       Shiloh Springs Plaza                5001 Salem Ave                        Dayton               OH       45426     03/26/77   18,172
  944       Miami Valley Crossing               1256 E Ash St                         Piqua                OH       45356     05/02/01   27,500
  2136      South Towne Centre                  2270 Miamisburg Centerville Rd        Dayton               OH       45459     05/03/06   36,293
  227       Lima Center                         2720 Elida Rd                         Lima                 OH       45805     09/08/89   16,608
  975       Springfield S/C                     594 N Lexington Springmill Rd         Mansfield            OH       44906     07/27/06   35,000
  284       St Clair Plaza                      15765 State Route 170 Ste 1           East Liverpool       OH       43920     11/25/83   12,000
  309       Potter Village                      1212 Oak Harbor Rd                    Fremont              OH       43420     08/01/71   13,120
  384       Zane Plaza                          1080 N Bridge St                      Chillicothe          OH       45601     02/01/73   10,032
  2227      New Towne Mall                      400 Mill Ave Se Suite 15              New Philadelphia     OH       44663     06/24/11   26,579
  2242      Northtowne East                     1001 N. Clinton St. Ste 01            Defiance             OH       43512     10/07/11   22,527
  2380      Athens Mall                         743 E. State Street, Suite O          Athens               OH       45701     07/26/13   20,152
  2448      Former Home Depot                   1991 Tiffin Avenue                    Findlay              OH       45840     02/01/15   21,073
  506       Lafayette Center                    448 Pike St                           Marietta             OH       45750     11/20/89    9,000
  2451      Crossings at Sandusky               756 Crossings Road                    Sandusky             OH       44870     03/06/15   16,000
  308       Springfield Plaza S/C               1608J Upper Valley Pike Ste C9        Springfield          OH       45504     09/25/92   12,800
  378       Hollywood City Center               282 S Hollywood Blvd                  Steubenville         OH       43952     11/30/72   15,800
  379       Reynolds Plaza                      2559 S Reynolds Rd                    Toledo               OH       43614     11/01/75   17,193
  2300      Freestanding (frm Circuit City)     4948 Monroe St                        Toledo               OH       43623     04/13/12   31,903
  2459      Ohio Valley Mall                    67800 Mall Ring Rd Unit 305           St. Clairsville      OH       43950     08/28/15   16,398
  2502      Boulevard Centre at Eastwood Mall   5555 Youngstown Warren Road #14       Niles                OH       44446     02/15/18   22,341
  2519      Shops @ Boardman Park               441 Boardman Poland Road              Youngstown           OH       44512     05/10/18   28,881
  2393      Lawton Towne Center                 449 Nw 2Nd St                         Lawton               OK       73501     07/25/14   18,000
  2291      Bradford Plaza                      519 N Main St.                        Stillwater           OK       74075     05/17/12   15,047
  2358      Shawnee Mall                        4901 N. Kickapoo Street               Shawnee              OK       74804     10/04/13   13,863
  2267      Rockwell Plaza                      8345 N. Rockwell Avenue               Oklahoma City        OK       73132     02/03/12   24,400
  2548      Champtions Centre                   530 Ed Noble Parkway                  Norman               OK       73072     09/08/22   30,244
  2557      Union Plaza                         10007 E 71st St                       Tulsa                OK       74133     09/08/22   34,392
  2168      Pioneer Crossing                    61284 S Highway 97                    Bend                 OR       97702     10/01/10   23,290
  2397      Freestanding                        732 Sw 6Th Street                     Redmond              OR       97756     11/08/13   15,300
  2216      Corvallis Crossing                  932 Nw Circle Blvd                    Corvallis            OR       97330     05/20/11   18,656
  800       Mohawk Market Place                 2122 Marcola Rd                       Springfield          OR       97477     08/22/92   14,040
  2317      Freestanding                        1024 Green Acres Road                 Eugene               OR       97408     11/09/12   20,491
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  1739      Poplar Drive                        2350 Poplar Dr                        Medford             OR      97504     02/01/90   19,980
  792       Bi-Mart Plaza                       2248 Santiam Hwy Se                   Albany              OR      97322     06/01/81   13,500
  870       Miracle Village S/C                 4069 Nw Logan Rd                      Lincoln City        OR      97367     06/15/94   18,500
  915       Cascade Square                      1324 W 6Th St                         The Dalles          OR      97058     11/01/85   12,000
  1591      Sw 4Th Ave                          2255 Sw 4Th Ave                       Ontario             OR      97914     11/11/05   25,600
  1731      Pony Village Mall                   1611 Virginia Ave                     North Bend          OR      97459     07/01/87   17,522
  2232      Un-Named Shopping Center            180 Se Neptune Drive, Suite A         Warrenton           OR      97146     02/03/12   16,214
  2311      Grants Pass Shopping Center         1090 Northeast E Street               Grants Pass         OR      97526     08/31/12   16,500
  2321      Jefferson Square                    2880 South 6Th Street                 Klamath Falls       OR      97603     10/05/12   22,839
  2461      Roseburg Marketplace                1438 Nw Garden Valley Blvd            Roseburg            OR      97471     03/10/16   18,000
  633       Mcminnville Town Ctr                1401 N Highway 99W                    Mcminnville         OR      97128     01/28/93   12,000
  1742      Molalla Avenue                      1842 Molalla Ave                      Oregon City         OR      97045     10/01/89   20,000
  2101      Crossroads at Orenco Station        7270 Ne Butler St                     Hillsboro           OR      97124     11/04/05   35,399
  2120      Tigard Shopping Plaza               11945 Sw Pacific Hyw Ste 250          Tigard              OR      97223     11/04/05   32,108
  2396      Canyon Place                        4005 Sw 117Th Street                  Beaverton           OR      97005     11/08/13   17,442
  2554      Former Salvation Army               10174 SE 82nd Avenue                  Clackamas           OR      97086     04/30/22   40,259
  2582      Gresham Town Fair                   604 NW Eastman Pkwy                   Gresham             OR      97030     05/18/23   24,948
  2218      Lancaster Mall                      783 Lancaster Dr. Ne. Suite #133      Salem               OR      97301     06/24/11   26,218
  145       Macarthur Towne Center              2570 Macarthur Rd Ste 12              Whitehall           PA      18052     09/01/97   31,000
  1073      Pleasant Valley S/C                 3415 Pleasant Valley Blvd, Ste 78     Altoona             PA      16602     04/16/99   14,220
  485       Summit Town Center                  7200 Peach St Unit 150                Erie                PA      16509     03/18/91   15,000
  1131      West Shore Plaza                    1200 Market St                        Lemoyne             PA      17043     09/01/74   20,125
  2160      Colonial Commons                    5084 Jonestown Rd                     Harrisburg          PA      17112     10/10/08   25,500
  2338      University Park S/C                 1425 Scalp Ave, Space 110             Johnstown           PA      15904     04/12/13   18,614
  181       Parkview Plaza                      838 Plaza Blvd                        Lancaster           PA      17601     04/01/91   17,014
  644       Cedar Crest Sq S/C                  1860 Quentin Rd                       Lebanon             PA      17042     01/04/90   14,000
  372       South Park Plaza                    18921 Park Avenue Plz                 Meadville           PA      16335     01/07/93   18,000
  387       Dubois Mall                         5456 Shaffer Rd                       Du Bois             PA      15801     02/12/73   18,000
  495       Lincoln Way East S/C                1678 Lincoln Way E # 7                Chambersburg        PA      17201     11/04/95   12,432
  692       Regency Mall                        1570 Oakland Ave                      Indiana             PA      15701     05/25/01   14,965
  2345      Susquehanna Valley Mall             1 Susquehanna Valley Mall Dr, D6      Selinsgrove         PA      17870     03/08/13   12,958
  615       Norriton Square S/C                 45 E Germantown Pike                  Norristown          PA      19401     09/27/91   12,250
  1185      Gateway S/C                         153 E Swedesford Rd                   Wayne               PA      19087     10/01/75   12,000
  1588      Quakertown Plaza                    1465 W Broad St Ste 20                Quakertown          PA      18951     03/25/05   22,888
  1626      Montgomery Commons S/C              1200 Welsh Rd                         North Wales         PA      19454     09/09/91    9,812
  2078      Ashbridge Square                    931 E Lancaster Ave                   Downingtown         PA      19335     02/11/05   28,258
  2092      The Court At Oxford Valley          320 Commerce Blvd                     Fairless Hills      PA      19030     02/11/05   36,525
  2111      Marple Crossroads                   400 S. State Rd                       Springfield         PA      19064     09/23/05   30,600
  2303      Concordville Town Center            600 Town Centre Drive Suite D-108     Glen Mills          PA      19342     07/26/12   13,199
  2354      Creekview Center                    397 Easton Rd                         Warrington          PA      18976     04/12/13   24,825
  2357      Boulevard Plaza                     11000 Roosevelt Blvd                  Philadelphia        PA      19116     11/08/13   30,330
  2512      The Shops at Coventry               351 West Schuylkill Rd                Pottstown           PA      19465     05/10/18   14,310
  221       Great Southern S/C                  1155 Washington Pike                  Bridgeville         PA      15017     06/01/77   22,461
  224       Pullman Square                      160 Pullman Sq                        Butler              PA      16001     10/23/93   16,905
  683       Tri-County Plaza                    360 Tri County Ln                     Belle Vernon        PA      15012     07/01/79   10,560
  970       Southland Four Seasons              513 Clairton Blvd                     Pittsburgh          PA      15236     08/01/88   18,960
  2045      Ross Towne Center                   7375 Mcknight Road                    Pittsburgh          PA      15237     03/19/04   38,542
  2050      Cranberry Mall                      20111 Rt 19                           Cranberry Twp       PA      16066     02/06/04   36,301
  2051      William Penn Hwy                    3700 William Penn Highway             Monroeville         PA      15146     02/06/04   36,500
  2053      Robinson Town Centre                1800 Park Manor Blvd Unit 5           Pittsburgh          PA      15205     03/19/04   40,684
  2059      Greengate Centre                    1600 Greengate Centre Blvd            Greensburg          PA      15601     03/25/05   35,250
  2447      Pittsburgh Mills                    133 Pittsburgh Mills Circle           Tarentum            PA      15084     03/06/15   21,903
  2286      Former Borders                      1075 Woodland Road                    Reading             PA      19610     04/13/12   25,023
  507       West Side Mall                      150 W Side Mall Ste 150               Edwardsville        PA      18704     07/07/02   24,000
  2574      Dickson City Crossing               638 Commerce Blvd                     Dickson City        PA      18519     09/02/22   20,000
  236       Suburban Plaza                      505 Benner Pike                       State College       PA      16801     11/17/92   16,960
  200       TJ Maxx Plaza                       1746 E 3Rd St                         Williamsport        PA      17701     06/07/91   10,400
  1103      South York Crossing                 2136 S Queen St                       York                PA      17403     03/07/98   16,316
  2262      North Point Plaza                   1150 Carlisle Street Suite #3         Hanover             PA      17331     02/03/12   14,335
  235       Hermitage Towne Plaza               2481 E State St                       Hermitage           PA      16148     10/17/91   13,960
  2125      Marketplace Center                  1500 Bald Hill Road Ste A             Warwick             RI      02886     09/08/06   35,000
  2492      Market Place Shopping Center        123 Marketplace Drive                 Anderson            SC      29621     09/29/16   11,250
  2328      Ashley Crossing                     2243 Ashley Crossing Dr, Suite C      Charleston          SC      29414     04/12/13   15,074
  2351      Main St Marketplace                 1215-B North Main Street              Summerville         SC      29483     05/17/13   23,125
  1126      Fountain S/C                        1200 Charleston Hwy                   West Columbia       SC      29169     04/19/99   15,000
  2172      Northpointe Commons                 10050 Two Notch Rd Ste 13             Columbia            SC      29223     08/27/10   21,500
  2201      Florence Mall                       1945 West Palmetto Street #270        Florence            SC      29501     03/11/11   14,501
  2314      Cross Pointe Plaza                  840 Woods Crossing Road               Greenville          SC      29607     07/26/13   18,000
  2566      Seaboard Commons                    1120 Seaboard St                      Myrtle Beach        SC      29577     07/29/22   32,500
  2207      Westgate Crossing                   660 Spartan Blvd.                     Spartanburg         SC      29301     06/24/11   25,000
  2511      University Mall                     930 22Nd Avenue S.                    Brookings           SD      57006     02/15/18   12,335
  2475      Haines Station Plaza                2255 N Haines Avenue                  Rapid City          SD      57701     10/13/16   11,622
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  516       Plaza 41 (Former Holz Haus)        2725 West 41St Street                  Sioux Falls         SD      57105     10/05/12   21,110
  2171      Hamilton Village                   2020 Gunbarrel Road Suite 198          Chattanooga         TN      37421     10/01/10   24,200
  2479      Governors Square Plaza             2831 Wilma Rudolph                     Clarksville         TN      37040     02/16/17   26,079
  2194      The Columns                        1185 Vann Dr                           Jackson             TN      38305     07/29/11   15,000
  2494      Johnson City Plaza                 108 Johnson City Plaza Dr              Johnson City        TN      37601     02/16/17    8,000
  2500      Kingsport Shopping Center          1409 East Stone Drive                  Kingsport           TN      37660     06/22/17   14,300
  2313      Harvest Park Shopping Center       4627 Greenway Drive                    Knoxville           TN      37918     11/09/12   15,000
  2563      The Centre at Deane Hill           276 Morrell Road                       Knoxville           TN      37919     08/12/22   40,000
  2536      Shops of Forest Hill               3150 Village Shops Drive (Temp)        Germantown          TN      38138     10/03/19   24,970
  1893      Towne Centre                       1923 Old Fort Pkwy                     Murfreesboro        TN      37129     08/27/10   20,010
  1905      Cool Springs Market                2000 Mallory Ln Ste 270                Franklin            TN      37067     07/19/97   43,000
  2135      Providence Marketplace             401 S Mount Juliet Rd Ste 640          Mount Juliet        TN      37122     07/27/06   35,384
  2305      Village Of Rivergate               2088 Gallatin Pike North               Madison             TN      37115     08/30/13   33,741
  2170      Governors Crossing                 208 Collier Dr                         Sevierville         TN      37862     08/27/10   12,000
  2402      Northgate Mall                     1600 Jackson St. Northgate Mall        Tullahoma           TN      37388     05/16/14   15,000
  2482      Park Central Shopping Center       3206 South Clack Drive                 Abilene             TX      79606     10/13/16   21,500
  1001      Shops At Soncy                     3220 S Soncy Rd                        Amarillo            TX      79124     09/25/01   30,000
  2140      Shops at Arbor Walk                10515 N Mo Pac Expy Bldg 1             Austin              TX      78759     03/09/07   35,000
  2155      University Oaks                    201 University Oaks Blvd               Round Rock          TX      78665     03/05/09   25,000
  2571      Southpark Meadows                  9500 S IH 35 Frontage Rd               Austin              TX      78748     12/07/22   35,000
  1102      Dowlen Town Center                 4035 N Dowlen Road                     Beaumont            TX      77706     02/08/06   22,033
  1268      Tejas Center                       725 E Villa Maria Rd Ste 4100          Bryan               TX      77802     03/02/78   15,140
  1032      Staples Crossing S/C               5625 S Padre Island Dr # B             Corpus Christi      TX      78412     02/23/01   26,700
  1227      East Mockingbird Lane              6330 E Mockingbird Ln                  Dallas              TX      75214     07/01/76   17,959
  1291      Village At Collin Creek            700 Alma Dr                            Plano               TX      75075     04/01/97   25,014
  2027      South Frisco Village               2930 Preston Rd Ste 800                Frisco              TX      75034     04/25/03   35,000
  2035      William D Tate Ave                 1250 William D Tate Ave                Grapevine           TX      76051     06/13/03   26,185
  2036      Preston Forest S C                 11700 Preston Rd #810                  Dallas              TX      75230     07/18/03   48,686
  2083      Market Street Village              1439 W Pipeline Rd                     Hurst               TX      76053     10/29/04   35,384
  2106      Ridgemar Town Square               1400 Green Oaks Rd                     Fort Worth          TX      76116     07/01/05   36,805
  2134      Arlington Highlands S/C            137 Merchants Row Ste 165              Arlington           TX      76018     10/20/06   35,000
  2197      The Plaza At Rockwall              1049 E. I.H. 30                        Rockwall            TX      75087     09/02/11   15,000
  2212      Rayzor Ranch                       2640 West University Dr                Denton              TX      76201     05/17/13   21,890
  2265      Hulen Fashion Center               5212 S Hulen Street                    Fort Worth          TX      76132     11/11/11   21,795
  2296      Towne Center                       2050 West University Dr Suite 250      Mc Kinney           TX      75070     07/26/12   20,331
  2501      Midlothian Towne Crossing          2000 F.M. 663 St 500                   Midlothian          TX      76065     10/26/17   15,000
  2560      Lakepointe Towne Crossing          715 Hebron Parkway                     Lewisville          TX      75057     10/26/22   33,862
  2575      Marketplace at Towne Centre        19105 Lyndon B Johnson Fwy             Mesquite            TX      75150     11/14/22   23,755
  2446      Yarbrough Plaza                    10501 Gateway Blvd W Bld 9             El Paso             TX      79925     02/01/15   27,515
  1402      Copperfield Crossing               15520 Fm 529 Rd                        Houston             TX      77095     01/07/96   14,500
  1433      Willowchase Center                 12918 Willow Chase Dr                  Houston             TX      77070     05/16/14   20,918
  2152      Baybrook Village                   1529 W Bay Area Blvd                   Webster             TX      77598     11/14/08   29,668
  2206      Colony Square                      16626 Southwest Freeway                Sugar Land          TX      77479     03/11/11   27,134
  2226      Price Plaza                        1219 North Fry Road                    Katy                TX      77449     07/29/11   33,890
  2292      Woodlands Home Center              25415 Interstate 45 Ste D              Spring              TX      77380     04/13/12   34,450
  2415      Witte Plaza                        9960 Old Katy Rd                       Houston             TX      77055     04/11/14   25,000
  2561      Meyerland Plaza                    290 Meyerland Plaza                    Houston             TX      77096     07/28/22   33,733
  2570      Deerbrook Marketplace              20424 US-59                            Humble              TX      77338     05/19/23   39,581
  1488      Rockridge Plaza                    5217 82Nd St Unit 123                  Lubbock             TX      79424     03/31/94   15,595
  2464      Pharr Town Center                  500 N. Jackson Rd                      Pharr               TX      78577     11/17/16   20,157
  2325      Chimney Rock                       6351 E. Hwy 191                        Odessa              TX      79762     05/17/13   13,160
  2157      The Pavillions                     25 Ne Loop 410 Ste 114                 San Antonio         TX      78216     10/10/08   33,735
  2251      Bandera Pointe                     11655 Bandera Road                     San Antonio         TX      78250     02/03/12   25,000
  2387      Interstate Plaza                   1671 Ih-35 South, Suite 208            New Braunfels       TX      78130     02/02/14   17,979
  2485      City Base Landing                  3142 Se Military Drive Suite 126       San Antonio         TX      78235     10/27/16   15,200
  2308      Sherman Commons                    4127 N Hwy 75                          Sherman             TX      75090     07/26/12   20,451
  2572      The Village at Cumberland Park     8950 S Broadway Ave                    Tyler               TX      75703     10/26/22   28,751
  2445      Central Texas Marketplace          4633 S. Jack Kultgen Expy Unit 104     Waco                TX      76706     04/10/15   25,000
  1752      South Main Street                  190 S Main St                          Logan               UT      84321     12/01/91   20,839
  2180      Renaissance Square                 622 South Main Street                  Cedar City          UT      84720     10/15/10   19,424
  2365      Gardner Towne Center               2089 West Hwy 40                       Vernal              UT      84078     03/04/14   15,032
  2107      Family Center at Riverdale         4978 South 1050 West                   Riverdale           UT      84405     11/04/05   35,347
  2295      Centerville Marketplace            302 North Marketplace Dr               Centerville         UT      84014     04/13/12   23,815
  2334      Clinton Towne Center               1803 West 1800 North Suite G1          Clinton             UT      84015     07/26/12   23,985
  1756      The Family Center At Orem          172 E University Pkwy                  Orem                UT      84058     11/16/01   27,873
  2331      American Fork Shopping Center      640 East State Road                    American Fork       UT      84003     07/26/12   25,436
  2379      Northgate Shopping Center          1082 N Main Street                     Spanish Fork        UT      84660     03/06/15   21,931
  2074      The Crossroads of Taylorsville     5790 S Redwood Rd                      Taylorsville        UT      84123     08/06/04   40,057
  2121      Draper Retail Center               268 E 12300 S                          Draper              UT      84020     04/29/06   35,000
  2213      Freestanding (Former Albertsons)   852 N Main St                          Tooele              UT      84074     05/20/11   15,000
  2528      Former Dan's Market                2330 E. 3000 South (Temp)              Salt Lake City      UT      84109     06/27/19   23,445
  2329      Cotton Mill Shopping Center        720 W. Telegraph                       Washington          UT      84780     07/26/12   23,500
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  2505      New River Valley Center          145 Shoppers Way                        Christiansburg     VA       24073     06/21/18   20,525
  2255      Rio Hill SC                      1774 Rio Hill Center                    Charlottesville    VA       22901     04/12/12   21,080
  2309      River Ridge Mall                 3405 Candlers Mountain Rd               Lynchburg          VA       24502     11/09/12   14,174
  2454      Village of Martinsville          240 Commonwealth Blvd W                 Martinsville       VA       24112     10/02/15   14,957
  2506      Dominion Square                  705 Dominion Square S/C                 Culpeper           VA       22701     10/05/17   12,000
  2141      Westchester Commons              125 Perimeter Dr                        Midlothian         VA       23113     02/27/09   35,194
  2222      Merchant's Walk                  7504 West Broad                         Richmond           VA       23294     03/09/12   18,419
  2185      Tower Shopping Center            2043 Colonial Ave                       Roanoke            VA       24015     04/15/11   22,832
  1094      DW Center                        14346 Warwick Blvd Ste 480              Newport News       VA       23602     10/19/90   15,300
  1270      Riverdale Plaza                  1076 W Mercury Blvd                     Hampton            VA       23666     05/12/99   14,000
  2209      Newtown Shops on Main            5103 Main St.                           Williamsburg       VA       23188     04/15/11   15,334
  2507      Crossways Shopping Center        1593 Crossways Blvd                     Chesapeake         VA       23320     10/05/17   19,867
  2520      Hilltop Plaza                    551 Hiltop Plaza                        Virginia Beach     VA       23454     06/21/18   24,140
  102       Seven Corners Center             6320 Seven Corners Ctr                  Falls Church       VA       22044     10/10/60   13,824
  820       Warrenton Center                 251 W Lee Hwy Ste 659                   Warrenton          VA       20186     11/01/91   12,000
  1875      Fairfax Towne Center             12124 Fairfax Towne Center              Fairfax            VA       22033     04/27/10   23,000
  2158      Prince William Square            14350 Smoke Town Rd                     Woodbridge         VA       22192     02/06/09   23,890
  2159      Cosner's Corner                  9685 Jefferson Davis Hwy                Fredericksburg     VA       22407     02/06/09   25,331
  2550      Sugarland Crossing               47100 Community Plaza                   Sterling           VA       20164     08/06/21   35,000
  511       Millwood Pike                    1092 Millwood Pike                      Winchester         VA       22602     06/01/75   13,440
  526       Commerce Square                  45 Hinesburg Rd                         South Burlington   VT       05403     12/07/91   19,560
  289       Green Mountain S/C               308 Us Route 7 S                        Rutland Town       VT       05701     08/04/92   16,800
  2340      Central Vermont Shopping Cente   1400 Us Route 302, Suite 10             Barre              VT       05641     02/03/13   12,000
  1725      Sunset Square                    1125 E Sunset Dr Ste 125                Bellingham         WA       98226     09/05/03   28,000
  794       High Point S/C                   1029 Bethel Ave                         Port Orchard       WA       98366     09/01/94   12,648
  2007      Silverdale Plaza                 2886 Nw Bucklin Hill Rd                 Silverdale         WA       98383     07/16/01   29,903
  2577      Columbia Center                  1321 N Columbia Center Blvd Suite 456   Kennewick          WA       99336     07/07/23   29,378
  810       Gateway Square                   470 Bridge St                           Clarkston          WA       99403     01/12/93   17,089
  1867      Twin City S/C                    700 Ocean Beach Hwy Ste 100             Longview           WA       98632     05/05/09   19,457
  2199      Mount Vernon Plaza               510 East College Way                    Mount Vernon       WA       98273     05/20/11   24,450
  802       Port Angeles Plaza               150 Port Angeles Plz                    Port Angeles       WA       98362     10/26/70   14,300
  1687      North Wilber Avenue              481 N Wilbur Ave                        Walla Walla        WA       99362     06/01/88   15,000
  2443      Town Center                      1020 Stratford Road                     Moses Lake         WA       98837     10/03/14   16,600
  2038      Target Place Plaza               2725 Harrison Ave Nw Ste 500            Olympia            WA       98502     11/21/03   38,187
  2102      Orchards Market Center           11505 Ne Fourth Plain Blvd Ste 86       Vancouver          WA       98662     05/13/05   35,546
  2394      Totem Pole                       7907 Ne Highway 99                      Vancouver          WA       98665     02/02/14   16,998
  354       Kent Hill Plaza                  25810 104Th Ave Se                      Kent               WA       98030     05/01/84   18,067
  789       Cascade Plaza                    7601 Evergreen Way                      Everett            WA       98203     03/01/78   19,284
  793       Northeast Sunset Blvd.           2823 Ne Sunset Blvd                     Renton             WA       98056     07/01/81   15,804
  805       Aurora Ave North                 15236 Aurora Ave N                      Shoreline          WA       98133     06/29/77   22,880
  1711      Nw 57Th Street                   2217 Nw 57Th St                         Seattle            WA       98107     06/01/85   14,000
  1944      Pavilions Centre                 31523 Pacific Hwy S                     Federal Way        WA       98003     09/16/99   43,506
  1950      Southcenter Parkway              17501 Southcenter Pkwy                  Tukwila            WA       98188     05/26/00   43,056
  2044      Meridian Town Center             13410 Meridian East Ste A               Puyallup           WA       98373     08/06/04   35,023
  2067      Cross Roads S/C                  15600 Ne 8Th Street Ste H1              Bellevue           WA       98008     08/06/04   35,090
  2081      Lynnwood Center                  5824 196Th Street Sw                    Lynnwood           WA       98036     09/17/04   42,538
  2093      Boulevard Centre                 4104 Tacoma Mall Blvd                   Tacoma             WA       98409     09/17/04   42,584
  2173      Gateway Shopping Center          3704 172Nd St Ne Ste F                  Arlington          WA       98223     11/05/10   22,864
  784       Five Mile S/C                    1840 W Francis Ave                      Spokane            WA       99205     12/01/79   28,000
  1701      East 29Th Avenue                 2801 E 29Th Ave                         Spokane            WA       99223     12/18/90   21,647
  1872      Market Pointe I                  15110 E. Indiana Ave                    Spokane Valley     WA       99216     02/05/10   23,452
  1700      Valley Mall Parkway              300 Valley Mall Pkwy                    East Wenatchee     WA       98802     02/01/83   12,000
  783       Tieton Village S/C               3702 Tieton Dr                          Yakima             WA       98902     06/23/69   22,500
  2149      Fox River Valley SC              720 N Casaloma Drive                    Appleton           WI       54913     08/15/08   24,962
  1866      Oak Pointe Plaza                 4045 Commonwealth Ave                   Eau Claire         WI       54701     03/05/09   23,028
  2187      Forest Plaza                     806 West Johnson Street                 Fond Du Lac        WI       54935     02/04/11   17,570
  2099      Bayside Market Place             2777 S. Oneida Street                   Green Bay          WI       54304     03/25/05   37,777
  2510      Marketplace at Janesville        2700 N. Pontiac Dr Ste 150              Janesville         WI       53545     03/29/18   18,774
  2478      Crossing Meadows Plaza           1220 Crossing Meadows                   Onalaska           WI       54650     10/13/16   17,885
  319       East Town Plaza                  2021 Zeier Rd                           Madison            WI       53704     10/01/99   20,000
  2086      Westland Plaza                   6741 Odana Road                         Madison            WI       53719     10/29/04   35,000
  2236      Market Place SC                  121 Commerce Street, Suite 1            Wisconsin Dells    WI       53965     11/10/11   15,000
  324       Silver Nail S/C                  2020 Silvernail Rd                      Pewaukee           WI       53072     11/13/91   10,462
  862       Packard Plaza                    5656 S Packard Ave                      Cudahy             WI       53110     01/29/93   14,310
  2046      Greenfield Fashion Center        4950 South 74Th St                      Greenfield         WI       53220     02/06/04   37,420
  2079      Brookfield Fashion Center        16800 W Bluemound Road                  Brookfield         WI       53005     08/06/04   31,901
  2347      North Pointe Centre              N78 W14531 Appleton Ave                 Menomonee Falls    WI       53051     05/17/13   18,166
  728       Rivers Edge Mall                 401 Bernard St                          Watertown          WI       53094     02/01/92   11,300
  2215      Crossroads Commons               1150 Meridian Drive                     Plover             WI       54467     03/09/12   15,000
  2322      Geneva Commons                   600 N. Edwards Blvd                     Lake Geneva        WI       53147     11/08/13   15,000
  2327      Heritage Village                 1645 North Spring St.                   Beaver Dam         WI       53916     02/03/13   14,900
  2487      Marshfield Center                1919 N Central Avenue                   Marshfield         WI       54449     09/29/16   12,325
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                                                                 Jo-Ann Stores
                                                                   Exhibit 1(a)(1)
                                                                     Store List


Store No.                  Store                               Address                           City       State   Zip Code Open Date Square Ft

  2517      Pine Tree Mall                    2402 Roosevelt Road                        Marinette           WI      54143     08/02/18   15,166
  2348      Koeller Plaza                     1226 Koeller St                            Oshkosh             WI      54902     04/12/13   18,000
  2468      Regency Mall                      2629 S. Green Bay Road                     Racine              WI      53406     09/01/16   23,371
  2280      Deer Trace Shopping Center        4079 Highway 28                            Sheboygan Falls     WI      53085     07/26/12   20,388
  1585      Rib Mountain Drive                3300 Rib Mountain Dr                       Wausau              WI      54401     07/18/03   23,000
  569       Fletcher Square                   9 Fletcher Sq                              Dunbar              WV      25064     10/07/95   17,211
  2450      Raleigh Mall                      4293 Robert C. Byrd Drive                  Beckley             WV      25801     03/10/16   21,000
  363       Memorial Bridge Plaza             2311 Ohio Ave Unit C                       Parkersburg         WV      26101     06/08/96   14,000
  2223      Frontier Mall                     1400 Del Range Blvd                        Cheyenne            WY      82009     09/02/11   14,458
  2366      White Mountain Mall               2441 Foothill Blvd, Suite 5                Rock Springs        WY      82901     05/17/13   15,716

  802       Total Stores




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                        Exhibit 1(a)(2)
                      Distribution Centers
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                                            Jo-Ann Stores
                                              Exhibit 1(a)(2)
                                            Distribution Center

                                                                            Zip
    Distribution Center           Address              City        State   Code   Open Date   Square Ft

Visalia DC                2500 N Plaza Dr         Visalia          CA      93291 10/19/2006      635,281
Visalia DC #2             7530 W. Sunnyview Ave   Visalia          CA      93291   6/1/2021      104,870
Opelika DC                3101 Anderson Rd        Opelika          AL      36801   6/7/2021      702,623
West Jefferson            1020 Enterprise Pkwy    West Jefferson   OH      43162   2/1/2021      832,600
Hudson                    5555 Darrow Road        Hudson           OH      44236 9/20/2023     1,453,419
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                     Exhibit 2(b)(iv)
             Form of Asset Designation Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )        Chapter 11
                                                             )
    JOANN INC., et al., 1                                    )        Case No. 25-[_____] (___)
                                                             )
                            Debtors.                         )        (Jointly Administered)
                                                             )

                    NOTICE OF DESIGNATION OF DESIGNATED ASSET

       PLEASE TAKE NOTICE that, Gordon Brothers Retail Partners, LLC (“Agent”), 2 and
JOANN INC. and its debtors affiliates (collectively, the “Debtors”), are parties to that certain
Agency Agreement dated as January 15, 2025 (the “Agency Agreement”), pursuant to which Agent
agreed to act as the Debtors’ Agent as set forth in the Agency Agreement.

       PLEASE TAKE FURTHER NOTICE that, on February [●], 2025, the Bankruptcy Court
entered an order (the “Approval Order”) [Docket No. ●], approving the Agency Agreement,
including with respect to Agent’s designation rights thereunder.

       PLEASE TAKE FURTHER NOTICE that, on February [●], 2025, the Closing under
the Agency Agreement occurred.

       PLEASE TAKE FURTHER NOTICE that, in accordance with Section 15 of the Agency
Agreement, Agent desires to (a) designate the assets identified in Exhibit A hereto and
incorporated herein (collectively, the “Designated Assets”) as a “Designated Asset”, and (b)
designate [●] as the Designee with respect to the sale, license, transfer, or other conveyance of
such Designated Assets.

                            DESIGNATION OF DESIGNATED ASSETS

        1.      In accordance with Section 15 of the Agency Agreement, Agent hereby (a)
designates the Designated Assets as a “Designated Asset”, and (b) designates [●] as the Designee
with respect to the sale, license, transfer, or other conveyance of such Designated Assets, effective
as of February [●], 2025.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech Solutions
LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com, LLC (1594);
JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030); JOANN Holdings
2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address is 5555 Darrow Road,
Hudson, Ohio 44236.
2
  All capitalized undefined terms used in this Notice shall have the same meaning as in the Agency Agreement.
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          IN WITNESS WHEREOF, this Notice of Designation has been signed by as of the date
hereof.

 Dated: February [●], 2025                Respectfully submitted,
        New York, New York
                                          KATTEN MUCHIN ROSENMAN LLP

                                          By: /s/
                                              Steven J. Reisman
                                              Cindi M. Giglio
                                              50 Rockefeller Plaza
                                              New York, NY 10020-1605
                                              Tel: (212) 940-3828
                                              Email: sreisman@katten.com
                                                     cgiglio@katten.com

                                          Attorneys for Gordon Brothers Retail Partners, LLC




                                              2
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                        EXHIBIT A

                    DESIGNATED ASSETS
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                      Exhibit 3.1(b)
                    Wind-Down Budget
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                        Jo-Ann Stores
                         Exhibit 3.1(b)
                       Wind-Down Budget


Debtor/UCC Professional Fees Escrow Funding       $ 24,707,111
ABL/FILO/TL Professional Fees                     $ 3,111,000
Stub Rent                                         $ 9,010,687
503(b)(9) Claims                                  $ 30,000,000
U.S. Trustee Fee                                  $    500,000

Total                                             $ 67,328,798
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                         Exhibit 3.1(c)
                    Central Services Budget
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Jo Ann Stores
Exhibit 3.1(c)
Central Service Budget


                                    2/22/25   3/1/25   3/8/25   3/15/25 3/22/25 3/29/25   4/5/25   4/12/25 4/19/25 4/26/25   5/3/25   5/10/25 5/17/25 5/24/25 5/31/25   Total

 Corporate Labor                       -        1.61      -       1.61      -      1.61      -       0.12      -      0.12      -       0.12     -       0.12     -      5.29
 Corporate Opex                       0.91      0.74     0.74     0.74     0.74    0.74     0.58     0.58     0.58    0.58     0.38     0.38    0.38     0.38    0.38    8.81
 Corporate Non-Opex                    -         -        -        -        -       -        -        -        -       -        -        -       -        -       -       -
   Operating Expenses - Corporate     0.91      2.35     0.74     2.35     0.74    2.35     0.58     0.70     0.58    0.70     0.38     0.49    0.38     0.49    0.38   14.10



Corporate Labor includes:
Store Operations
Field Leadership
Finance
Merchandising
Inventory Management
Supply Chain
Legal
IT
Marketing
CEO Group
Asset Protection & Security
Human Resources
Product Development & Sourcing
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                             Exhibit 4.1(c)
                     Per Store Occupancy Expenses
                                                                  Case 25-10068-CTG       Doc 17    Filed 01/15/25   Page 170 of 209
                                                                                        Jo-Ann Stores
                                                                                          Exhibit 4.1(c)
                                                                                       Occupancy Analysis


                                                                                                                   Per Diem Occupancy
Store No.                 Location              Rent      CAM         Tech        Insurance   Tax + Licenses Facilities Service  Waste        Housekeeping   R+M         Phone        Utilities    Total

  168       Creekside Plaza                         539           0          15          32                0               3              5             17          83           12           69        776
  2545      University Center                     1,767         264          17         138               65               2             34              2          21           36          141      2,488
  2114      Gavora Mall                           1,146           1          15          57                3               5             21             37         126           29          305      1,745
  557       Soldotna Plaza                          450           0          15          13                0               2             19             11          20           27           63        620
  1096      Nugget Mall                             418         181          15          86                5               2             27              1          49           19           42        844
  2169      Riverchase Promenade                    818         226          15          21               23              26              7             22          52           21           69      1,301
  2010      Cox Creek Plaza                         382          10          15           8                6               2              6              2          24           13           53        521
  2184      Huntsville Plaza                        451         108          15          19               15              25             18             13          71           18           58        810
  2376      Mobile Festival Centre                  356         118          15          17               16               1              8             17          74           20          115        757
  2177      Eastchase Market SC                     508         146          15          10               17               4              9             17          76           31          168      1,002
  2497      Freestanding                            166          39          15           6                8              19             19              8          23           19           69        392
  1894      Spring Creek Centre                     543         133          15          18               14               2              8             18          38           16           61        864
  2453      Scottsdale Center                       470         128          15          41               18               6             16              3          40           18           60        815
  2498      Fort Smith Marketplace                  358          73          15           9               12              12             18             12          37           16           52        614
  2483      University Plaza                        385           0          15          24                9               2             10             10          56           17           27        555
  2297      Lakewood Village                        463         184          15          11               25               2              9             16          77           22           53        878
  2349      Shackleford Crossing                    299          87          15          10               24               7              9              1          20           15           37        525
  1831      South Riordan Ranch Road                403         168          15          12               15               7             19              3          45           17           73        779
  2186      Riverview Mall                          281           0          15          10                7               3             14             12          90           16           94        542
  1305      Buckhorn Plaza                          259           0          15          11                7               3              0              1          24           12           35        368
  1404      Santa Fe Square                         372          30          15          14                9               2              0              4          57           10           77        588
  1913      North Valley S/C                      1,777         396          17          55               50               1             25              7         158           17          201      2,703
  1917      Ahwatuckee Foothills Towne Center     1,139         377          15         117               59               0             25             18         133           21          190      2,096
  1965      Desert Ridge Market Place             2,121         908          18          47               98              10             15              0         135           12          319      3,682
  2075      Santan Village Marketplace            1,211         262          15          45               36               4             22             10          78           22          193      1,898
  2132      Alameda Crossing                        814         319          15          73               45              17              8              6          94           13          140      1,545
  2137      The Riverview at Dobson               1,199         377          15          41               41               1              7              9          32           13          104      1,840
  2210      Tri Valley Plaza                        296          85          15           9                9               7              9              2          22           13           78        544
  2281      Queen Creek Marketplace                 839           0          16          18               24               6             15              5          38           15           95      1,070
  2522      Arcadia Fiesta SC                       560         278          15          30               42               3             15              1          17           10           44      1,015
  1859      Village At The Boulder                  764         191          15          17               19              14             19              6          86           13          149      1,293
  2042      East Broadway Blvd                    1,175         266          15          49               47               3              9              4          53           14          287      1,922
  2302      Oracle Wetmore                          748           0          15          17               21               3             11              2          64           19          120      1,019
  2330      Sahuarita Plaza                         648          95          15           8                9               2             16              2          29           15           63        901
  1014      Ming Retail Center                      617         240          15          34               16              10             88             10         239           18          163      1,450
  2429      Ridgecrest Town Center                  273         195          15          11               10              10             28             -1         105           15          140        802
  920       Skypark Plaza                           606         293          15          17                4              18             34              3          67           20          284      1,361
  2084      River Park Plaza                      1,469         580          15          47               20              24             23             28          58           31           68      2,362
  2428      Clovis Crossing Shopping Center         729         153          15          37               13              15             19             -5          32            8          153      1,168
  1152      Los Coyotes Centers                     652         179          15          29                6               8             26              2          68            8           57      1,051
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                                                                                        Jo-Ann Stores
                                                                                          Exhibit 4.1(c)
                                                                                       Occupancy Analysis


                                                                                                                   Per Diem Occupancy
Store No.                 Location              Rent      CAM         Tech        Insurance   Tax + Licenses Facilities Service  Waste        Housekeeping   R+M         Phone        Utilities    Total

  1288      La Verne Plaza                          437         285          15          24                 7              2             16              1          55            9           68        920
  1447      Towne House Plaza                     1,123         216          15          34                 7             15             66              5          78            9          146      1,713
  1798      Costco Plaza                            806         599          15          22                 9              2             52             10          82           14          151      1,761
  1803      Foothill Blvd.                          612          56          15          11                 5             35             24              7          84           10           74        934
  1873      Former Warehouse Music                  834         428          15          38                 8              1             18              4          40           43          134      1,562
  1919      Del Amo Fashion Center                1,796         569          17          72               116              1             21             40          58           40          411      3,141
  1954      Porter Ranch Town Center              2,204         551          16          49                27             -3             61             11         151           13          218      3,298
  2069      Destination Eight                     1,141         278          15          22                12             87             33              6         134           15          370      2,112
  2119      Buena Park Promenade                  1,571         587          15          36                13             14             26             29         428           10          325      3,053
  2126      Von Karmen Plaza                      1,436         632          15          56                10             13              9             40         111           22          306      2,651
  2374      Pride Center                          1,104         239          15          24                20             11             82              0          36           13          162      1,706
  2389      Freestanding (former Albertson's)     2,711         733          15          70                14             35             36             28         144           17          300      4,103
  2406      La Cienega Square                     1,067         296          15          32                33              9              0              1          83           17          114      1,667
  2442      Fullerton Crossroads                    823         334          15          19                19             24             31              4          94           16          147      1,527
  2449      Covina Town Square                      795         248          15          43                14              9             46              2          74           21          171      1,436
  2452      Centre Point Village                    862         429          15          83                14             12             32              0          85           33          202      1,767
  2523      Orange Park Plaza                       696         214          15          18                29              2             31              4          61           22          109      1,200
  2526      Foothill Ranch Towne Center South       810         410          15          15                25             21             17              1          54           24          133      1,526
  2546      Riverside Woodman Plaza               3,182         795          17          68                81              3             87             10         178           24          412      4,855
  2568      Former Ralph's Market                 1,226         406          14          25                 3              5             32              5          39            9          182      1,948
  2583      Westridge Plaza                       1,408         447          15          26                55             10             37              2          41           25          281      2,347
  1782      Standiford Avenue                       644          25          15          74                13             35             76             -1          55            7          115      1,059
  2420      Monte Vista Crossing                    521         127          15          14                10              9             28              1          33           14           66        839
  812       Harris Street                           653          22          16          27                 6             25             46              0          44           10           82        932
  2202      Sonora Crossroads                       547         139          15          31                24              6             44              2          68           16          124      1,017
  2441      Grocery Outlet SC                       344          91          15          10                16             14             52              0          23           18          120        703
  1223      Conejo Valley Plaza                   1,072         290          15          17                10              8              0             30         102           23          188      1,754
  1809      Shopping At The Rose                    659         281          15          17                13              2              0              1          41           16           78      1,122
  1818      Santa Susana Plaza                      809         313          15          18                10              6             31              0         178            8          145      1,532
  2353      Freestanding                            863         202          15          19                19             11             20              7         122           15          152      1,445
  1440      Country Side Center                     131         321          15          14                 8              2              0             11          86           13          138        738
  1920      Commons At Temecula                   1,376         374          15          36                17              9             29              8          70           14          167      2,115
  2096      Orange Tree Marketplace               1,171         662          15          67                19              6             56              9         204           21          340      2,570
  2142      Monterey Marketplace II               1,019         347          17          21                10              8             43             25          92           20          248      1,851
  2270      High Desert Gateway                     809         284          15          55                 8             11             45              5          58           12          151      1,452
  2422      Riverside Plaza                         525         384          15          16                16              4             36              7          83           21           74      1,182
  2527      Village West Shopping Center            500         357          15          50                25             13             39              1          43           13          171      1,227
  2529      Chino Town Square                       620         339          15          14                41              3             22              1          64           12          171      1,301
  2590      Town Center Square                      720         211           0           0                 2             28             13              5          55            4          100      1,138
  1568      Arden Square                            896         314          15          19                13             33              0              1          23           10          111      1,435
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  1771      Westgate S/C                             355         119          15          29                7               3            24              1          41           10           87        690
  2033      Elk Grove Marketplace                  1,456         480          16          32               10               6            31              6          48           21          186      2,292
  2082      Fairway Commons                        1,239         587          17          36                9              37            64             25          75           23          153      2,266
  2203      Folsom Square                            669         110          15          18                7               5            42              3          42           17           72      1,002
  2542      Sunrise Village Shopping Center        1,161         511          15          46               71               6            32              2          33           15          113      2,006
  2444      Westridge Center                         657         142          15          33               22               9            91              1          91           14          100      1,176
  1011      Fletcher Hills Town & Country          1,493         422          15          72                9             -11            30              9          65           17          167      2,289
  1464      Camino Town & Country S/C                547         244          15          30                9               5            41              2          48           11          123      1,075
  1843      Poway Center                           1,114         168          15          20                8               7            28              4          82            9          134      1,589
  1845      Point Loma Plaza                         748         266          15          20               13              21            38              6          65           11          138      1,340
  1886      Bay Plaza S/C                            437           0          15          34                5              -1            18              1          21           11          105        645
  2559      Grand Plaza                            1,892         632          15          43               78               2            35              0          54           10          328      3,088
  112       Tamal Vista Blvd.                      1,800         168          15          29               11             -21            29              1          43           10          119      2,203
  730       South El Camino Real                     999         385          15          14               15              14             0              4          83           16           85      1,629
  871       Peninsula Boardwalk                      983         188          15          14               13               4            30              3         108            9          176      1,544
  2133      Park & Shop                            3,016         651          15          40               28               8            40             25          46           13         -117      3,765
  2150      El Cerrito Plaza                       1,903         972          17          50               17              27             9             30          36           14          260      3,334
  2189      Amador Plaza Rd                        1,118         326          15          58               56              34           213              2          63           16          208      2,109
  2271      Greenhouse Marketplace                 1,269         755          15          37               15               6            79              5          43           16          136      2,377
  2533      Westlake Shopping Center               1,124         583          15          63               83               6             0              0         243           23          165      2,304
  605       Portal Plaza                           1,153         347          15          26               15               5            26              2          33           14          176      1,812
  1787      Tennant Station S/C                      461         130          15          13               16               6            46              1          53           10          112        863
  1878      Safeway SC                             1,156         259          16          43               24              16            35             20          58           22          194      1,844
  2200      Freestanding (Former Circuit City)       626         102          15          18               19              40             4              1          37           20          109        992
  154       Industrial Drive                       1,033         208          16          25                9               4            32              2          21           15          124      1,489
  1763      Expressway Mall                          741         186          15          18               10               5            46              1          42           13          108      1,186
  1877      Stadium Center                           621         324          15          43               13               4            17              1          80           13          176      1,308
  2474      Park West Place                          845         225          15          28               18              26            27              1          32           16          215      1,446
  850       Vacaville Commons                        505         236          15          28                5               4            55              1          68           12          121      1,049
  2473      Sequoia Plaza                            600         151          15          25               22              33            17              0          45           15          153      1,076
  2462      Raley's Center                           514         217          15          50               12               4            41              1          48           14          171      1,087
  1674      Arapahoe Village S/C                     693         591          15          13                4               1            74              1          63           10           51      1,515
  2062      First & Main Town Center               1,772         573          16          84               16               2            10             37          39           10          143      2,703
  1095      Southwest Commons                        908         429          15           5               10               1             8              2          23           23           55      1,479
  1672      Aurora City Square                       446          54          15          12                3               2            10              2          35           12           34        625
  1858      Marketplace At Northglenn                820         326          15          21                7               3             7              4          42           23           81      1,349
  2055      Yosemite Park Mall                     1,372         836          16          79               16               6             8             30          51           16          119      2,549
  2071      Saddle Rock Village                      945         426          15          13               12              23             6              2          43           16          122      1,623
  2179      University Hills                         663         543          15          22               11               2             8              3          25           15          128      1,435
  2234      Freestanding, Former Circuit City        546         289          15          71                6               4             8              4          33           14           57      1,048
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  2390      Westminster City Center             757         329          15          39                 4              5              8             -1          61           14           63      1,295
  2124      The Marketplace at Centerra       1,431         777          17          58                25              5             13             32          70           11           95      2,535
  2228      Thunderbird Plaza                   762         171          15          43                 6             -2              8              3          29           14           49      1,096
  2238      Mesa Mall                           393          88          15          12                 4              9             31              1          30           13           45        641
  2013      Pueblo Mall                         379           0          15          45                 9              1             13              3          39           11           63        578
  2182      Shop Rite Plaza                     642         256          16          12                20              6             26             11          20           15           55      1,078
  701       Clinton Commons S/C                 326         219          15           7                 5              2             18              9          60            9           36        705
  1924      Plaza At Buckland Hills           1,568         515          16          98                70             12             62             39         241           21          304      2,946
  1942      Berlin Turnpike                   1,214         576          19          67                16              5             39             26          97           25          303      2,387
  2266      Freshwater Plaza                    398         192          15          22                11              2             35             14          75           14           65        842
  2411      Shop Rite Plaza                     631         363          15          16                24              3             28             16          41           14          103      1,254
  976       Hamden Mart S/C                     595         303          15          13                45              3             40              8         101           15          115      1,254
  2123      Milford Crossing                  1,811         756          17          68                27             14             51             34          62           18          233      3,092
  2367      Torrington Plaza                    279         197          15           8                28              5              9             16          21           16           57        651
  1607      Ames S/C                            406         165          15          62                13              6             35              4          63           10           56        835
  630       Centre At Dover                     146         113          15          27                 2              1              0              2          27            9           51        393
  2063      Christiana Town Center            2,124         137          15          41                 9              6             23             13          46           13          129      2,556
  173       Merchants Crossing S/C              374         157          15          13                21              6             39             -1          49           13           52        737
  1922      South Plaza                       1,666           0          15          23               131             25             27             37         227           20          242      2,414
  2537      Coconut Pointe                      578         254          15          10                75             11             24              1          46           22          118      1,156
  816       Mariner Plaza                       323           9          15           9                15              4             16              2          55           13           88        550
  2580      Shoppes at Paradise Key             964         436          15          14                79              5             40              9          95           14          164      1,835
  1595      Volusia Plaza                     1,031          59          15          27                47              7             24             16          35           12          119      1,392
  2391      The Esplanade At Butler Plaza       862         425          15          56                76              9             13              5          58           18          188      1,725
  1925      Argyle S/C                        1,329         184          15          22                84             27             19             12         189           17          255      2,153
  2039      St Johns Town Center              1,092         585          17          43                73              8             24             14         198           20          183      2,257
  2335      Village of Amelia                   463         180          15          10                33              8             16              2         116           17           50        909
  312       North Lakeland Plaza                520           0          15          33                26             -1             16              5         144           10           78        845
  902       Shops At Avenue O                   368           2          16          30                20              2             14              1          46           10           59        567
  135       Flagler Park Plaza                  635         178          15           9                39              0             11              4          56           15           87      1,047
  583       JOANN Fabrics Plaza                 647         214          15          12                47             40             29              4         177           11          127      1,322
  968       The Greenery                      1,646         557          15          17               105              3              0              4         286           18           97      2,747
  1023      Pompano Marketplace                 880         274          15          10                62              3             36              6          39           16           93      1,433
  1044      Hollywood Blvd                      642         205          15          12                49              7             14              5          52           10          107      1,119
  1452      Riverwalk Shopping Plaza            420          77          15          39                27             16              0              4          53           21           67        739
  1596      Margate Shopping Center             762         419          17          11                56             15             43              1         146           16          143      1,629
  1862      Shoppes at Isla Verde             1,274         419          15          32               117              0             34              1          59           15          121      2,088
  2144      11251 Pines Blvd.                 1,378         577          15          20               110             25             55              4         115           18          142      2,459
  2167      The Fountains                       826         509          15          25                64              7             45              5          36           15           97      1,645
  2435      Northlake Commons                   521         363          16          13                60              1              9              2          43           20           86      1,132
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  2077      The Shoppes at Naples Center       872         340          15          33                58             -3             26              3         114           16          107      1,581
  998       The Landings                       619         247          15          11                42              2             28              7          97           13           93      1,174
  1107      Venice Village                     313         110          15           8                21              2             22              1          48            9           43        592
  2282      Shoppes at University Center       671         368          15          20                50              3             38             12          50           17           67      1,312
  1244      Shady Oaks Shopping Center         715         333          15          25                63              4             27              7         107           16          179      1,493
  772       Village Market Place               466         111          15          14                21              8             32              3          37           10          134        850
  1598      Village Crossroads                 699         354          17          42                46             24             34              3          65           18          111      1,413
  1908      Colonial Landing                   712          28          15          67                35              5             41             28         242           11          182      1,367
  1915      Brantley Square                    929          56          15          58                61              9             16              2         132           19          315      1,613
  2032      Waterford Lakes Town Center      1,249         457          15          43                71              5             12             30         172           19          197      2,269
  2058      Target At Kissimmee West         1,034         373          15          20                82             15             15              2          32           17          193      1,799
  2131      Town Center Plaza                  768           0          15          68                60              6             14              2          55           20          150      1,159
  2139      Orlando Market                   1,607         936          18          48               108              9             61              4         115           15          219      3,139
  2118      Shoppes of West Melbourne        1,216         307          15          43                89              0             12             17         177           14          192      2,083
  2298      23rd Street Plaza                  554         200          15          18                71             17             22              1          42           14          105      1,061
  2109      Tradewinds S/C                     909         322          15          60                65             25             17             16          50           18          169      1,666
  2164      Square One Shopping Center         663         350          15          19                49              5             14              7          79           17          151      1,369
  1484      Bayshore Village                   222         189          15          26                18              7             17              3          86           15           53        651
  2279      Century Town Center                270         175          15           8                24              5             13              3          29           20           30        591
  736       Capitol Plaza                      433         124          15          38                32              3             15              1          82           12           94        849
  333       Lakewood Plaza                     365          92          15          28                22              2             15              2          21            9           42        613
  1333      Home Depot Plaza                   757           0          15          25                35             20             15             28         127           12          196      1,228
  1861      Market Square at Tampa Palms       886         166          15          12                68              9             32              1          29           13          129      1,360
  1958      Plaza At Citrus Park             1,571         587          17          70               111             36             59             11         229           15          123      2,831
  1959      Lake Brandon Plaza S/C           1,415         554          18          53               147             23             21             54         144           19          136      2,582
  2025      Tyrone Corners SC                1,614           0          16          62                73              9              8              9         131           17          154      2,092
  2031      Curlew Crossing                  1,635         708          17          25               106             -2             15             39         251           15          296      3,105
  2534      Freestanding                       645         208          15          15                29              7             16              1          43           15          131      1,126
  1549      Douglas Corners S/C                520         182          15          11                36              1             11              3          31           10           87        908
  1921      Pleasant Hill Square               474           0          15          12                33              2             20              4          85           14          162        823
  1960      North Point Commons              1,542         285          15          74                42             13             11              2         255           21          128      2,387
  2005      Presidential Commons               951         301          18          16                51             17              6              8          73           27          138      1,606
  2016      Fayette Pavilion                   720         147          15          15                37             12             13              2          82           14          208      1,265
  2359      Conyers Plaza                    1,000         255          15          13                46              1             11              5          38           17           98      1,498
  2364      Newnan Pavilion                    538          97          15          12                15              3             24              2          24           14           61        804
  2412      Suburban Plaza                     590         395          15          38                34              6             30              5          40           15           95      1,262
  2414      Lakeland Plaza                     407         143          15          11                15              1             14              1          34           15           39        696
  2547      Freestanding                     1,446         434          17          82                59              4             47              4         114           23          170      2,401
  2143      Richmond Plaza                     753         154          15          34                27             12             19              6         111           19          170      1,320
  2247      Golden Isles Plaza                 342          78          15           7                12              5              4              7          61           16           98        645
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  1583      Columbus Park Crossing              829      174           15          15               37               1              5             11          40           12          126      1,265
  2239      Lakeshore Marketplace               623      131           15          15               22               5              9              8          32           14           80        952
  1891      Shoppes at River Crossing           554        0           15          11               14              90             10              4          40           20           93        852
  2400      Tifton Mall                         298       86           15           9               22              -5             15              1          20           17           74        552
  1021      Savannah Centre                     567      143           15          32               23               5             16              2         116           12           95      1,027
  2490      Willow Lake Crossing                386       60           15           8               18               2             25              2          34           20           56        625
  1650      Lincoln Center                      321      142           16           9                0               2             13              1          24           12           62        601
  2306      Lindale Mall                        499      217           15          28                0               4             18              0          37           20           70        907
  1645      Village S/C                         686        7           15          18                1               0             13              0          42           14           65        862
  2249      Metro North Shopping Center         565      286           15          32                0               4              9              2          31           16           33        995
  2556      Valley Court Shopping Center        898      371           15          64                0               3             37              2          66            5           77      1,538
  2540      Plaza 20                            402       76           15          12                0               3             26              0          36           18           94        683
  2509      Iowa City Marketplace               630      222           15          12                0               3              5             -2          53           31           52      1,021
  2333      Muscatine Mall                      199        0           15           7                0               7             12              0          39           13           46        337
  2399      Willow Creek Crossing               538      -17           15          10                0               7             12              1          48           16           62        691
  2416      Burlington Commons                  404      141           15          60                0               2              6              0          25           16           66        735
  2499      The Marketplace                     539      297           15          13                0               9              2              1          51           14           50        991
  2208      Crossroads Commons                  521      220           15          12                0               4             10              2          21           14           36        856
  796       Federal Way Plaza                   464       19           15          13                0               2             13              1          26            8           29        591
  1683      Karcher Mall                        269      289           15          15                0               2             18              1          39            8           54        710
  2162      Milwaukee Market Place            1,400      254           17          86                1               9             20             24          58           17           66      1,952
  2326      Silver Lake Mall                    184        0           15          24                3              15             48              1          34           13           26        363
  2192      Grand Teton Plaza                   674        0           15          46                0              -3             13              1          27           16           49        839
  1692      American Plaza                      331       54           15          30                0               5             15              1          33           10           29        523
  2469      Palouse Mall                        514      109           15          10                0               9             29              0          23           12           43        763
  2183      Pocatello Square                    399     -185           15          11                2               6             17              1          25           15           27        333
  2552      Bloomington Commons                 667      362           15          16                0              -2             20              1          27           14          104      1,225
  2290      Champaign Town Center               556      236           15          13                0               2             17              1         130           14           74      1,058
  138       Rivercrest Centre                   545      348           15          47                2               1             13              1          49            7           40      1,069
  140       Danada Square West S/C              366      210           15           8                0               1              9             10          88           11           41        759
  957       Four Flaggs S/C                     524      429           15          13                1               2             18              6          40           12           64      1,122
  1579      Norridge Marketplace                572      364           15          11                2               2             13              4          28           16           59      1,086
  1589      Countryside Plaza                   942      670           15          36                3              19             11              3          88           14           90      1,891
  2024      Naper West Plaza                  1,220      283           15          39                0               3             11             22         118           14          115      1,840
  2048      Bloomingdale Court                  737      456           16          16                1              13              7             10          38           28           80      1,402
  2057      Marketplace at Vernon Hills         995      358           17          55                0               2             11             29          82           14          222      1,784
  2065      The Shoppes At Geneva Commons     1,503      630           15          76                0               3             13             26          49           16           89      2,419
  2103      Lake View Plaza                   1,249      915           16          13                2              12             16             24         120           15          125      2,508
  2113      Town & Country SC                 1,235      700           17          43                0               8             11             30         112           23          136      2,316
  2117      Riverfront Plaza                  3,481    1,645           17          57                4               9              8             32         104           18          156      5,530
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  2176      Chestnut Court                      673         253          15          29                1               2              9              6          56           12           79      1,136
  2198      High Point Centre                   274         258          15          10                0               4             36              3          59            0           64        723
  2220      Joliet Commons                      453         158          16          24                1               1             14             -1          22           14           60        761
  2259      Shops At Fox River                  386         164          15           9                0              21              3              3          32           14           54        701
  2386      Joffco Square                       602           0          15          14                4               4             20              1         195           33           79        967
  2465      Freestanding                        762         447          15          16                0              31              7              1           7           12           57      1,356
  2455      Village Mall                        213         104          15           8                0               2             10              1          25           16           66        459
  2476      Freestanding Building               310         113          15          24                0               3             12              1          66           15           33        593
  2587      Bradley Commons                     591         199          15          48                0               6             33              1          52           14           72      1,032
  503       Quincy Mall                         460           0          15          10                0               2             12              1          40           10           49        598
  521       University Plaza S/C                288         123          15           8                0               1             12              2          49           10           35        541
  527       Eagle Center                        264          77          15           9                0               3              9              3          45           10           58        492
  2250      Sterling Lincoln Center             398           0          15          24                0               7             11              2          26           13           37        533
  2324      Peru Mall                           332          81          15           7                0               2              7              1          52           17           45        558
  2418      Freeport Shopping Center            448         285          15          10                0               4              9              1          40           14           59        886
  2438      Cross County Mall                   156          67          15           9                0               4             20             12          71           22           65        440
  1637      Metro S/C                           540         315          16          18                0               6              9              3          27           10           41        984
  2586      State Street Market                 879         264          14          20                0               5             26             14          57           11            6      1,297
  2246      Former Circuit City                 816         202          15          23                0               3              8              2          52           15           56      1,191
  2156      Commerce Plaza                      805         233          16          40                1              20             10              3          35           21           85      1,269
  607       Whitehall Plaza                     697         219          15          35                3               3             30             23          60           13          120      1,218
  2068      The Shoppes Of Schererville       1,048         319          16          36               13              12             10             35          55           17          215      1,773
  2373      Merrillville Plaza                  714         365          15          16               13              20             12              2          80           14          101      1,352
  2503      Eastbrook Plaza                     318          76          15          10                6               1             11              1          28           17           47        530
  2532      Market Centre                       471         221          15          11               10               4              5              1          56           15           80        889
  2128      Shoe Carnival Towne Centre          944         243          15          25               26               9             17             28          61           14          162      1,545
  2108      JOANN Plaza                       1,148         292          15          43               13               4             18             32          40           20          122      1,747
  1910      Castle Glen Plaza                 1,060         269          17          40               10              14             12             30          61           15          122      1,649
  1966      Avon Town Square                    883         276          15          24               12               3             10              5          49           16          115      1,407
  2030      Greenwood Pavilion                1,093         213          15          48               17              27             18             28          58           15          155      1,686
  2229      Washington Plaza                    618           0          15          30               10               9              6              3          40           17           76        824
  2312      Greenbriar Shopping Center          481         192          15          14               11               5              6              3          99           15           75        915
  1863      Kokomo Shopping Center              529         115          15          12               10               2             10              4          21           17           52        786
  1149      Sagamore @ 26 Shopping Center       427         126          15          19                3               6             15             16         126           10           68        830
  2569      Waterford North                     743         321          15          15               18              -1             16              1          22           10           93      1,254
  566       Lake Park S/C                       223          96          15           6                7               2             14              2         100           10           57        531
  525       Northwest Plaza                     664           0          15          11                5               1             13             13          28           10           74        835
  328       Five Points Mall                    200           0          15          23                3               1              4              9          26           10           83        374
  573       Wal-Mart Plaza                      421          99          15           8                6               1              2              2          19            9           41        624
  889       Pilgrim Place S/C                   269           0          15           7                3               1             11              1         269           13           33        621
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  899       Vincennes Plaza                      282           0          15           6                4               1             13             12          24        11           36        405
  995       Angola Plaza                          87          40          15           5                2               1             10              1          21        15           31        227
  2439      Town Fair Center                     228          75          15           8                9              16             12              1          24        14           37        439
  2515      Germantown Center                    375          88          15           8                2               2              8              1          28        15           52        592
  665       Wilshire Plaza                       694         187          15          34                9               1             12              3          71        12           58      1,096
  2424      Broadmoor Plaza                      552           0          15          22               11               2              8              2          36        14           60        722
  2165      Honey Creek Commons                  356          60          15          15                9               4              9              4          51        21           97        641
  1926      Overland Park S/C                  1,422         377          15          27                1              83             13              2         153        16          220      2,328
  2070      West 63Rd Street                     860         437          15          24               12               4              7              4          46        14          146      1,570
  2481      Park Plaza                           290         199          15          10                1               1              0              2          39        17           45        618
  2344      West Loop Shopping Center            607         364          15          15                1               3             10              3          36        29           84      1,166
  1046      Central Mall                         104           0          15           6                2               1             10              3          27        11           82        261
  2434      Crosswinds Commons                   778         294          15          12                0               4              9              3          32        19           86      1,252
  2193      North Rock Road                      855          20          15          55                1             -12             10              2          40        20           95      1,099
  2460      Westgate Market                      678           0          16          19                1              10             26              1          22        16           69        857
  2261      Houston Lakes                        738         238          15          57               33              13             21              0          80        15           88      1,297
  2489      Towne Centre                         374          64          15           8                9               0              0             12          33        15           66        596
  2392      Ashland Towne Center                 703           0          15          13               21               1             15              1          41        14           80        903
  2538      Crossroads SC                        929         129          16          40               26              10             12              2          50        14          151      1,378
  2145      Shelbyville Road Plaza             1,409         407          17          62               29               2              9             26          34        13          138      2,145
  2343      Trademart Shopping Center            326           8          15           8               23               5              0             11          90        15           74        574
  2419      Barren River Plaza                   311          39          15           8               21               9              6              2          28        23           54        514
  2233      Owensboro Towne Center               358         152          15           8               15              11              6             13          26        15           52        671
  2486      Power Center                         327          69          15           7               39               4              9              2          54        14           65        604
  2269      Siegen Lane Marketplace              933         154          15          18               51              13             11              4          26        12          102      1,340
  2256      Ambassador Row                       507         192          15          31               34               9             10             -8         103        15          109      1,017
  2363      Village at Northshore                334         255          15          22               50               8             13             13          64        13           64        851
  2508      Westside North Shopping Center       455         131          15          27               49               6              5              2          29        17           68        803
  2544      Wilshire Plaza                       982         393          15          23               65              -6             19              3          90        19           96      1,698
  2504      Bayou Walk Shopping Center           762         173          15          14               70               4             21              2          52        15           83      1,209
  814       Christmas Tree Promenade             197         303          15          12                1               1             18             14          86         8          122        777
  107       Middleton Market Place               667         171          15          31                0               3             24              2          21         9           51        994
  403       Hanover Commons                      570         138          15          32                2               1             28             10         171        10           48      1,025
  408       Worcester Road                       916         171          15          11                1              68             24             17          54        10          115      1,402
  472       Westford Valley Mkt                  537           8          15           8                0               2             21              2          39        11           62        704
  777       Middlesex Commons                  1,043         399          15          16                0               2             26             13          38       112           64      1,727
  858       Treble Cove Plaza                    262         181          15           8                0               2             17              3          61         9           59        616
  1610      Village Mall                         584         200          15          14                1               1             34              0          26         9           98        981
  2161      Broadway Shopping Center           1,287         437          15          40                3               7             18              4          59        17          147      2,034
  2403      Walpole Mall                         877         450          15          20                2               2             34             21          17        12          153      1,605
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  292       Dalton Ave Plaza                  389         190          15          26                 5              1             0              7          13            8           46        700
  177       Dartmouth Town Ctr                306         183          15           9                 1              1            18              9         378            9           49        978
  477       Shaw'S Plaza                      650         127          15          24                 1              5            17              1          53           11           91        994
  2129      North Attleboro Marketplace     1,204         384          15          20                 1             20            33             28         100           14          112      1,932
  2565      Ann & Hope Plaza                  840         324          15          15                10              3            21              0          33           10            3      1,273
  677       Holyoke Plaza                     408           0          15           8                 0              1            25             12          49           11           73        602
  826       Big Y Plaza                       521         146          15          13                 1              1            25             10          49            7           75        863
  1609      Hampshire Mall                    612           0          15           9                 1              3             7              2          18            7          159        833
  418       Milford Plaza                     407         163          15          16                 1              6            20              8         132            9          112        890
  1611      Old Shrewsbury Village            882         237          15          15                 1              1            23              5          22            9           38      1,248
  1879      Mall at Whitney Field             222           0          15          10                 6              2            52             15          35            9           72        437
  245       Annapolis Plaza                   504         112          15          15                 5              4            18              1          10           12           24        719
  395       Westminster S/C                   367         174          15          25                 3              3            13              2          57           14           29        701
  722       Garrison Forest Plaza             596         179          15          27                 3              3            23              2          76           12           67      1,003
  1906      Columbia Crossing               2,120         598          18          49                46             12           111              3          74           13          183      3,225
  1912      Tollgate Plaza                  1,689         223          19          27                38              4            21             33          75           12          208      2,350
  2090      Perring Plaza                   2,001         298          17          31                 5             13            19             21          47           14          159      2,627
  640       Lavala Plaza S/C                  196          42          15           7                 1              2            13              6         128           10           30        450
  480       South End S/C                     324         117          15          30                 0              2            14              2          69           14           95        682
  431       Patuxent Crossing                 378          22          15           8                 1              2            23              2          66            9           49        576
  106       Diamond Square S/C                624         134          15          13                 2              3            22              2          79            9           74        977
  123       Beltway Plaza Mall                537         194          15          10                20              5             0              2          10            8           82        885
  1951      Frederick County S/C            1,659         486          17          68                 2             15            29             15          55           12          142      2,500
  2148      Brandywine Crossing               968         472          15          62                 2              1             7              5          36           13           81      1,661
  2381      Fox Run Shopping Center           388          96          15           8                 1              4            22              3          40           14           43        633
  2382      Westfield Wheaton Plaza         1,174          65          15          15                 1              1            19              2          18           12           75      1,397
  873       Stillwater Avenue               1,022         183          15          31                16             21            45             15          61           10           93      1,511
  875       Auburn Plaza                      132         174          15           9                 5              1            21             13          36            8           81        495
  410       Jfk Mall                          322          82          15          26                12              1            22             10          29           12           66        597
  329       Topsham Fair Mall                 633         257          16          37                11              2            21             12          64           12          153      1,218
  429       Pine Tree S/C                     944         139          15          44                11              1            33             15          33           12          113      1,359
  176       Oak Valley Center                 468         194          15          24                 0             -7             0              1          17           10           78        797
  2004      Valley View Center S/C          1,459         623          17          29                16              5            11              5          36           14          191      2,406
  2377      Minges Creek Plaza                331         145          15          11                21              2            12              1          38           17           60        654
  492       Majestic Square                   242          82          15           9                -6            -10            13              2          45            8           46        446
  306       Grosse Pointe Farms               533         270          15          10               -10             46             7              1          33           10           59        974
  351       Twenty-Fourth Avenue              488          79          15          32                -3              4            14              3          24            8           85        748
  539       New Towne Centre                1,203         400          15          32                 7             22             6              4          79           11          204      1,983
  690       Madison Place S/C               1,369         280          15          41                17              3            57             15          60           10          183      2,051
  733       Bloomfield Village Sq             768         219          17          25                 6              6            12              2          50           19           62      1,187
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  753       Lapeer S/C                               263       59           15          25               -3               1            12              2          34         7           39        453
  1927      Shelby Town Center                     1,209      235           17          21                6               6             9              3         183         7          166      1,862
  1933      West Oaks II                           1,779      434           17          75               11               6            11              3         213        19          147      2,716
  1940      Freestanding (Former Circuit City)       869      320           17          42               39              77            10              2          51       -10          146      1,563
  1948      The Crossings At Taylor                1,051      524           15          22               10               4             8              5          79        15          203      1,935
  1962      The Auburn Mile                        1,316      470           17          34               21              15             8              3         240        12          197      2,334
  2003      Brighton Mall                          1,760      162           17          26               16              -1            13              5         118        20          132      2,271
  2061      Hampton Plaza                          1,481      261           18          21                2               4            11              2          45        14          153      2,011
  2104      Independence Market Place              1,086      417           15          28               21               3             7             15          45        17          150      1,805
  2277      White Lake Market Place                  744      238           15          16               13               1             8              4          46        12          107      1,204
  2405      Livonia Commons                          730      183           16          20                9               1             5              1          38        16           77      1,095
  2407      Waterside Market Place                   690      362           15          15                6               9            10              2          60        16           78      1,262
  1590      Courtland Center                         744      238           15          19               16               5             8              3          54        14          111      1,228
  2017      Genessee Commons S/C                   1,390      298           15          61               10               2            26              5          39        17          141      2,004
  2163      The Shoppes At Centerpoint             1,116      430           15          31                8               2            18             20          54        16          152      1,862
  2274      Former Best Buy                          613      180           15          17               -7               2             7             10          35        21           70        962
  2378      Century Center                           506      208           15          34               -8               2            14              0          28        17           70        886
  305       Felch Street Plaza                       433       99           15          28               -5               2            19              7          33         8           56        693
  2122      Wisner Street Plaza                    1,063      272           15          58               10               2             8             18          59        15          161      1,681
  498       Toy'S R'Us Plaza                         569      157           15          20               -8               8            19              8         108         9           83        987
  2022      Frandor S/C                            1,071      459           15          59               34               5            20             15          57        19          158      1,911
  2332      Westland Shopping Center                 504      133           15          13               17               3             6              4          72        14           90        869
  2116      Lake Crossings                         1,404      388           15          23                9               3            11              2          25        12          123      2,014
  2555      Scottdale Plaza                          520       66           15          32               47               2            22              2          32        40          117        894
  279       Southland Plaza                          280        4           15          24                1               1             9              2          25        10           39        410
  294       Northwest Plaza                          399        0           15          29                0              10            11              1          36        11           76        588
  348       Bear Point Plaza                         245        0           15          26               -4               7            19              1          56         7           40        412
  414       East Bay Plaza                           739      193           15          54               -9              25             9             13          16        15           55      1,124
  1594      Bear Creek Plaza                         768      172           15          12               -4               7            24             13          28        17           64      1,115
  1869      Indian Hills Plaza                       568      138           15          16               -7               3             9             15          28        14           84        884
  2521      Ferris Commons                           358      114           15          10               10               1             9              0          42        24           52        634
  1901      Saginaw Square                           964      323           15          83               -9               2            10              4          46        18          140      1,597
  697       Irongate Mall                            178       11           15           7                0               1             6              0          38        10           57        322
  2477      Burning Tree Plaza                       479      250           15          14                0               2            30              0          43        16           51        899
  2191      Madison East Mall                        371      287           15          15                0               3            13              1          67        16           96        883
  473       Bonaventure Plaza                        684      433           15          16                1               2            18             11          45         9           35      1,269
  1876      Crossroads of Roseville                1,075      454           15          24                1               2           105              4          89        16           60      1,844
  1902      Tamarack Village                       1,718    1,261           17          33                0               2            32             38          22        16          180      3,320
  1935      Arbor Lakes S/C                        1,546      982           17          26                0               2            18              3         137        19          118      2,869
  1941      Riverdale Village                      1,793        0           15          43                0               8            27             66          32        26          117      2,127
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  1952      Apple Valley Square            1,784         691          17          45                0               3             40             66          69           17          119      2,852
  2026      Yorktown Mall                  1,723         985          17          31                0               1             32              9          56           17           90      2,962
  2263      Elk Park Center                  600          45          15          49                0               1             19              2          21           11           45        809
  2283      Dean Lakes                       693         258          15          27                0               6             22              2          31           15           42      1,113
  2596      Birch Run Station                157          37           0           0                0               0              3              0           5            0           25        227
  863       Hutchinson Mall                  302          29          15           8                0               1             10              1          37           17           32        452
  1666      Paul Bunyan Mall                 251           0          15           8                0               2              6              0          28            9           28        346
  1864      Kandi Mall                       109           0          15           7                0               2             19              2          27           10           61        251
  1892      Westgate Mall                    560           0          15          16                0               2              0              0          22           12           39        665
  2166      Viking Plaza Mall                245          14          15          31                0               3             21              2          49           14           43        437
  2404      Faribo West Mall                 421           0          15          27                0               2             15              2          21           14           48        564
  2573      Rochester Marketplace            701         540          15          34                0               2             51              2          23           15          114      1,496
  518       Division Street Plaza            484         195          15          33               15               4             18             33         119            7           85      1,006
  2289      Rockbridge Shopping Center       696         333          15          19                4               2              6              9          19           17           58      1,180
  1577      Capital Mall                     420          42          15           9                2               2              9              9          25           11           94        638
  2273      Northpark Mall                   520           0          15          18                3               8              0              1          93           16           80        754
  1918      Bolger Square                  1,269         683          15         151               11              11             30              9          66           19          177      2,440
  2091      Platte Purchase Plaza            948         430          15          28               39              16             13              6          43           16          151      1,704
  2257      Belton Marketplace               427          45          15          12                3               3              4             11          35           14           57        626
  1649      Primrose Market Place            508         119          15          23                3               4             20              0          48           11           58        810
  1495      Hillcrest Plaza                  280           0          15           9                2               4             11              1          23           10           48        404
  2153      Central Plaza                  1,116         488          15          32               28               8             11             13          34           13           90      1,848
  2178      Mid Rivers                     1,008         213          15          32                6              91             15             30          95           26          145      1,676
  2219      Former Circuit City            1,006         279          15          23                5              -2              8              0          64           23           30      1,451
  2294      Twin City Plaza                  489          85          15           9                4               3             11              2          37           15           51        722
  2310      Deer Creek Shopping Center       590         325          15          23               14               1             14              4          38           37           76      1,137
  2361      Phoenix Center                   497         193          15           9                2               2             10              1          18           15           30        792
  2268      The Junction                     454         123          15          11               54               6             10              2          47           16           64        802
  1874      Southaven Town Center            550           0          15          32               40               2              8              2          49           12           95        806
  2225      Big Oaks Crossing                428         170          15          11               38               2              7              4          55           15           99        844
  2315      Market Place                     723         324          15          22                2               3              4              2          58           12           58      1,224
  2585      Holiday Village Mall              39           0           0           0                1               0              2              0           0            0            0         42
  791       Holiday Village                1,019         171          15          20                4               3             36             22          29           11           81      1,412
  856       Butte Plaza Mall                 188           0          15          43                1               1              0              1          15           10           33        305
  1695      Gallatin Valley Mall             447           0          15          30                1              -9             27              3          53            9           79        653
  1696      Shopko Plaza                     258          87          15           9                1               1              4              2          82           12           51        520
  1697      Brookstone Square                568         126          15          13                1               1             16              1          39            9           26        816
  2284      Overlook Village                 689         289          15          16                4               5             12             -9          70           17           62      1,171
  2352      Blue Ridge Mall                  574           3          15          10                8               4             11              8          20           16           38        706
  2248      Carolina Pavilions               826         167          15          21                5               9             34             12          35           19           72      1,216
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  2426      Monroe Mall                           407           0          15          17               14               3             51              3          51           12           67        639
  1078      Oakcreek Village S/C                  468         144          15          17                6               6             17              4          60           11           68        817
  1098      Cross Creek Plaza                     407         120          15          20                5               6             20              5          63           14          100        775
  2252      Berkley Mall                          479          53          15           8                5               2             11              3          37           16           47        675
  1511      The Shoppes On Market                 538         122          15          19                4               6             12              2          32           14           50        814
  2318      Morganton Heights                     357          70          15           8                3               6             25              1          41           16           29        570
  2480      Valley Crossing                       185          42          15           5                2               2              7              0          31           14           31        334
  2205      Mooresville Consumer Square           344          80          15          11                3               3             14              1          21           15           39        546
  1074      Centrum At Crossroads                 982         254          16          27                5               9             38              2          64           13           84      1,492
  1478      The Falls Centre                      619         166          15          57                5               0             22              0          76           12           66      1,037
  2253      Sutters Creek Crossing                199          86          15           7               10               6             14              1          43           15           70        465
  1471      University Centre                     394         129          15          17                2               3             18              3          32            9           51        672
  2562      Silas Creek Crossing                  884         242          15          44               40               5             34              5         108           14           98      1,490
  2243      Gateway Mall                          216           0          15          11                0              12             15              0          42           13           46        371
  1865      TJ Maxx Plaza                         887         211          15          11                0               2             60              0          27           15           77      1,304
  653       Columbia Junction Mall                399         170          15           6                0               2             10              3           9           15           40        669
  172       Town & Country S/C                    359           0          15           7                0               1             15              2          15           13           35        462
  2371      East Park Plaza                     1,006          69          15          46                1               1              8              7          82           14           59      1,309
  2175      Baker Square                          598         258          16          51               31               3              7              7          55           14           99      1,138
  2456      Wolf Creek Plaza                      560         415          15          17               -4               5             -1              7          56           23           70      1,164
  266       Newington Park                      1,068         298          15          17                0               3             32             13          41            9           57      1,553
  824       Seacoast S/C                          192          99          15           7                0               2             21              1          28           12           82        458
  2301      Rochester Crossing                    423          60          15          40                0               1             24              2          79           13           66        723
  2564      Nashua Mall Plaza                   1,395         445          15          30                0              58             39              2          53           10          154      2,199
  132       Hooksett Village Shops                394          32          15          28                0               2             18              2          21            9           53        575
  830       Belknap Mall S/C                      171          50          15          25                0               1              9             12          22           12           49        367
  904       Capitol S/C                           845         211          15          34                1               6             18              3          15           11           54      1,212
  1614      Target Plaza                          817         189          15          13                0               3              0              2          34            9           70      1,152
  545       Festival At Hamilton S/C              377         193          15           9                1               2             16              3          21           12           53        703
  593       Shrewsbury Plaza                      662         235          15          14                3               4             34              3          53           10           94      1,127
  1106      Colonia Plaza                         668         313          15          16                4               5             46             13          41           12           91      1,224
  2217      Freestanding (Former Comp USA)      1,581         422          15          68                6              80             20              2          69           16          154      2,433
  2341      Roxbury Mall                        1,133         603          18          24                4               6             29              6          48           16          282      2,169
  2383      Riverdale Crossing                    947         281          15          23                4               6             31              0          77           19           86      1,488
  2409      1379 Hooper Avenue                    907         198          15          71                1              12             26              1          41           13           95      1,381
  2089      Centerton Square                    1,703         650          17          35                4              13             18             38          98           12          217      2,805
  2355      Garden State Pavillion                738         436          15          22                1              10             13              2          37           17          125      1,416
  2558      Deptford Plaza                      1,249         701          15          46                1              19             25              2          58            5          172      2,295
  551       Mercer On One                       1,018         353          15          14                3               5             25              5          97            9           75      1,619
  1524      Cottonwood West Shopping Center       425         166          20          17                5               2             33             11          25           12           54        770
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Store No.                  Location        Rent      CAM         Tech        Insurance   Tax + Licenses Facilities Service  Waste        Housekeeping   R+M         Phone     Utilities    Total

  1669      Wyoming Blvd Northeast             900         143          16          43                3               2             22              6          99        10          100      1,343
  2576      Plaza Farmington                   623          93          15          14               31              12             21             -1          88        11           98      1,006
  1309      Pan America Plaza                  265           2          15          44                1               2             10              1          28        12           40        419
  1668      Plaza Princessa S/C                425          90          15          44                1               4             23              1          20        14           44        682
  1769      Carson Mall                        452          22          15          10                5               6             11              2          32         8           44        607
  1903      Best In The West S/C             1,795           8          15          51               18               5             42             26         118        21          202      2,302
  2015      Sunmark Plaza                    1,714         348          17          32               18             -13             53             21          54        20           96      2,359
  2204      Elko Junction                      443           4          15          10                7               3             14              1          41        13           38        589
  1774      Peckham Square                     862         320          15          20               13              27             86             19          23        19           43      1,447
  1602      Village Square                     273         157          15           8                0               1             17              1          18         8           41        537
  1929      Northway Mall                    1,790         588          17          34                0               5             56              1         108        13           99      2,713
  2579      Parkway Plaza                      984         378          15          26                0               3             28              2          33        11           91      1,572
  455       Niagara Square                     387         102          15           8                0               1             15              3          48        11           27        615
  1930      Burlington Plaza                 1,285         432          15          26                4              10             20              5         255        11          108      2,172
  1932      McKinley Milestrip Plaza         1,730         878          17          24                3               2             24              6          91        11          143      2,929
  2087      JOANN Plaza                      1,259         503          15          28                4               7             11              5          89        19          121      2,059
  1868      Southern Tier Crossing             620         266          15          14                0               7             16              4           4        13           76      1,035
  206       Queensbury Plaza                   462         158          15          32                0               1             20              1           8        12           29        740
  2342      Cayuga Mall                        506         210          15          10                0               4             11              2          41        12           51        863
  645       Kingston Plaza                     442         183          15          11                0               1             30              1          40         8           56        786
  153       Salisbury Plaza                    849         646          15          29                0               9             39              1          51        12          170      1,820
  257       Great South Bay S/C                862         507          15          12                1              15             43             14          58        12          113      1,651
  2241      Midway Plaza                     2,093         147          15          39                1               4             26             14         130        14          123      2,605
  2567      Sayville Plaza                   1,658         589          15          41                0              17             34              4         117        11          156      2,642
  301       Chautauqua Mall                    243          84          15           7                3               2             15              1           9        14           22        414
  358       Riverside Plaza                    164          73          15           6                0               1             21              3          18         8           29        339
  461       The Shoppes at Dove Creek          290          21          15           9                0               1             22              1          44         8           40        450
  822       K-Mart Plaza                       236           0          15          25                0               1             25              0          46         8           40        397
  1089      Tops Plaza                         492         193          15          26                0               2             20              1          47         8           55        860
  2195      Arsenal Plaza                      509         160          15          13                0               3             14             -6          50        11           58        828
  2356      Fairview Plaza                     527           6          15           8                0               4             22              1          34        14           48        679
  898       Dunning Farms S/C                  569         222          15          47                0               4             15             12          27        13           67        991
  1603      Poughkeepsie Plaza Mall            397           0          15          27                0               1             25              0          44        10           48        568
  631       Wegmans Plaza                      435         176          15          17                0               3             15              1          25         9           42        738
  1943      Southtown Plaza                    996         341          17          32                0              11             35              6          48        18          133      1,638
  1949      JOANN / Petsmart Plaza             938         289          15          15                0               6             14             -5          64       -34           94      1,397
  2211      Roseland Center                    447          18          15          12                0               2              5              3          63        19           47        631
  2064      Towne Center At Fayetteville     1,348         509          17          24                0               3             31              5          47        11           98      2,094
  2264      Marketfair North                   740         434          15          20                0               3             18              2          48        11           88      1,379
  1604      New Hartford S/C                   373           0          15          70                0              21             22              5          76        11           59        653
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  171       Darrow Road                        1,197           0          18         131               1                6             56             39          96           20           48      1,611
  417       Tri-County Plaza                     214           7          15          27               0                3             14              4          40            9           57        390
  2021      Acme Plaza                         1,072         225          17          37               0                1             10             26          19           17           80      1,504
  1900      Belden Parke Crossing              2,167         161          17          55               2                1             13             48          44            8          117      2,635
  1621      Village Crossing                     371          57          15          10               0                4             12             11          52           14           60        604
  2147      Arbor Square                       1,172         434          15          42               0               14              8              6          52           14           84      1,840
  2181      Eastgate Crossing                    441          41          15          16               0                6              6              2          28           13           43        610
  2240      Colerain Towne Center                674         251          15          15               0                2              7              3          70           14           64      1,116
  2513      Indian Springs Shopping Center       540         149          15          12               0                5             11              0          24           17           50        822
  2589      Hyde Park Plaza                      321         191           0           0               0                3              6             12           3            0           26        562
  1586      Southland S/C                        712         211          15          41               0               10              2              7          68           17          107      1,190
  1592      Medina Grande Shoppes                793         268          15          16               0               16             12              6          34           15           65      1,240
  1907      Erie Commons                         637         269          15          72               1                2             34             30          99           12           84      1,254
  1923      Great Northern S/C                 1,574         214          17          61               0                9             19             16          46           13          101      2,070
  2272      Golden Gate                          870         362          15          18               0               12             25              3          25           13           54      1,397
  2410      Midway Market Square                 395         279          15          15               1               10             14              2          33           18           83        864
  523       Edgewood Plaza                       303          66          15           8               0                4             13              3          26           10           39        485
  866       Park Plaza                           227           0          15           9               0                2             16              4          44            9           45        372
  1928      Polaris Towne Centre               1,177         677          18          68               0               10             15              7         132           29          131      2,265
  1947      The Festival At Sawmill            1,196         986          15          26               0                6             14             13          68           14          244      2,581
  2001      Easton Square                      1,713         749          15          48               0                6             15             14          70           16          177      2,823
  2012      Taylor Square S/C                  1,471         540          17          26               1                0             13              8          46           17          125      2,263
  2054      Lincoln Village Plaza                684         155          15          17               1                2             10              6          57           12           91      1,049
  603       Beavercreek Towne Centre             642         297          15          18               0                2             14              3          92           10           86      1,178
  608       Shiloh Springs Plaza                 167          76          15          27               0               13             12             11          80           12           57        467
  944       Miami Valley Crossing               -741         151          15          20               1                3             34              7          63           11           91       -345
  2136      South Towne Centre                 1,315         423          15          49               0                3             12             28         113           13          103      2,073
  227       Lima Center                          456         154          15          11               0                2              0              4          21           10           43        716
  975       Springfield S/C                      933         148          15          28               1                6             12              9          62           14           87      1,316
  284       St Clair Plaza                       161           8          15          24               0                2             10              4          30           10           40        304
  309       Potter Village                       246          34          15           9               0                2             10              4          39            7           43        409
  384       Zane Plaza                           245          68          15          25               0                6             15              3          39           15           28        458
  2227      New Towne Mall                       471           0          15          17               0                2              9              7         105            8           82        715
  2242      Northtowne East                      460          16          15          10               0                9              5              4          18           15           62        614
  2380      Athens Mall                          371           0          15          12               0                6             22              7         113           16           67        629
  2448      Former Home Depot                    534           9          15          25               0                4             16              1          39           14           84        742
  506       Lafayette Center                     249          53          15           7               0                2             21              2          27            9           28        413
  2451      Crossings at Sandusky                348         125          15           8               0                3             12              0          38           13           39        601
  308       Springfield Plaza S/C                270           0          15           7               0                1              7              4          31           10           27        372
  378       Hollywood City Center                404          55          15          10               0                2             14              4          42           10           51        607
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  379       Reynolds Plaza                          365          78          15          14                0               2             13              5          27            9           31        558
  2300      Freestanding (frm Circuit City)       1,012         416          15          24                0               8              9              4          31           14           93      1,627
  2459      Ohio Valley Mall                        333         265          16           9                2               0             16              2          43           13          106        805
  2502      Boulevard Centre at Eastwood Mall       641         321          15          30                3               5             33              1          21           13           61      1,145
  2519      Shops @ Boardman Park                   925         148          15          37                0              97              7              2          53           16           91      1,391
  2393      Lawton Towne Center                     354         143          15          12               20              16              8              0          52           13           55        689
  2291      Bradford Plaza                          387           4          15           8               17               8             16              0          56           14           88        613
  2358      Shawnee Mall                            371          34          15          10               27              -5             14              1         145           19           41        671
  2267      Rockwell Plaza                          470         145          17          71               33               5              2              0          50           18           56        868
  2548      Champtions Centre                       814         236          15          34               57               2             16              0          30           14          149      1,366
  2557      Union Plaza                           1,137         215          15          30               37               6             27              0          47           14           82      1,610
  2168      Pioneer Crossing                        633         192          15          41                7               6             21             17          24           12           76      1,043
  2397      Freestanding                            572          75          15          15                7              48              8              1         116           13           48        917
  2216      Corvallis Crossing                      584         183          15          15               28              15             31              2          30           13           64        980
  800       Mohawk Market Place                     514           0          15          11                4               1             12              4          24            9           20        614
  2317      Freestanding                            799         289          15          23                7              10             35              0          32           19           74      1,302
  1739      Poplar Drive                            614         185          15          53                2               5             22             15         174            7           60      1,152
  792       Bi-Mart Plaza                           365          83          15          12                4               8             12              1          29            9           26        565
  870       Miracle Village S/C                     632         221          15          31                5               3             14              6          47           14           37      1,025
  915       Cascade Square                          327         150          15          11                4               1             10              0          17            8           48        591
  1591      Sw 4Th Ave                              497          78          15          20                8               4             10              0          40           14           59        745
  1731      Pony Village Mall                       545          90          15          11                5               3              0             13          31            8           47        766
  2232      Un-Named Shopping Center                530         137          15          12                5               2             53             11          32           11           51        860
  2311      Grants Pass Shopping Center             489          76          15          27                7               5             26             12          15           12           56        741
  2321      Jefferson Square                        692         202          15          12                8               4              3             15         170           11           77      1,209
  2461      Roseburg Marketplace                    499         134          15          14                7               5             14             13          32           14           51        799
  633       Mcminnville Town Ctr                    333         131          15          10                3               3             19              3          52           10           21        600
  1742      Molalla Avenue                          774         272          15          18                6               7             21              5          20           12           94      1,243
  2101      Crossroads at Orenco Station          1,554         529          18          61               19              36             27             13          75           15          163      2,511
  2120      Tigard Shopping Plaza                   435           0          15          25               17              38             21              5          43           13          154        766
  2396      Canyon Place                            714         308          15          32                8               6              0              1          27           13           56      1,179
  2554      Former Salvation Army                 1,568         310          15          30               65               6             89              2          66           15          147      2,313
  2582      Gresham Town Fair                       807         406          15          24               20               3             49              2          35           14           94      1,468
  2218      Lancaster Mall                          698         373          15          81               16               3             22             23          32           20           77      1,359
  145       Macarthur Towne Center                  825         372          15          21               15              11             20             10          76           14          103      1,483
  1073      Pleasant Valley S/C                     391          43          15          10                5               3             20              2         103           12           57        662
  485       Summit Town Center                      508         145          15          12                0              -2             12             10          36           11           54        803
  1131      West Shore Plaza                        624         191          15          35                0               3             23              5          27            9           96      1,030
  2160      Colonial Commons                        485         194          15          40                0               1             14             11          23           16           89        887
  2338      University Park S/C                     481         142          15           8                5               1             13             11          33           16           68        793
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  181       Parkview Plaza                     583         150          15          20                 0              3             20              5         37           13           69        914
  644       Cedar Crest Sq S/C                 267         137          15           9                 0              2              0              8         48           14           38        538
  372       South Park Plaza                   456          46          15          13                 0              5             11              3         55           16           54        672
  387       Dubois Mall                        324         154          15           8                 0              4             15              2         36           14           67        640
  495       Lincoln Way East S/C               325          34          15           8                 0              2             12             15         22           11           34        477
  692       Regency Mall                       290         107          15           7                 0              1              9              3         29           15           78        555
  2345      Susquehanna Valley Mall             92           0          15           6                 0              1             13              4         33           16           38        218
  615       Norriton Square S/C                245         177          15           8                 5              1             16             11         12           12           33        534
  1185      Gateway S/C                        839         167          15          28                 0              4             32              2         47           11           31      1,176
  1588      Quakertown Plaza                   854         249          15          16                 1              1             20              3         29           13          153      1,354
  1626      Montgomery Commons S/C             313          62          15           7                 0              2             10              1         47           12           74        544
  2078      Ashbridge Square                   884         400          17          31                 0              7             19              2         48           12          105      1,525
  2092      The Court At Oxford Valley       1,407         409          15          42                 1              5             17             22         78           12          209      2,217
  2111      Marple Crossroads                1,139         526          15          26                10              2              0              4         45           18           79      1,861
  2303      Concordville Town Center           359         215          15           9                 0              3              0              2         65           13           51        732
  2354      Creekview Center                   837         305          15          34                 1              5             20              2         67           14          108      1,406
  2357      Boulevard Plaza                    958         420          15          33               106              4             12              2         43           13          110      1,716
  2512      The Shops at Coventry              499         105          15          10                 4              7             19              2         48           17           81        806
  221       Great Southern S/C                 639         322          15          67                 8              2              6              3         40            9          104      1,214
  224       Pullman Square                     348          46          17          26                 5              1             15             11         27            9           81        587
  683       Tri-County Plaza                   222          83          15           6                 4              2              5              1         17            9           25        390
  970       Southland Four Seasons             578         328          15          12                11              3             10              4         30           15           68      1,072
  2045      Ross Towne Center                1,449         355          17          25                14             -7             17             17         29           17          166      2,098
  2050      Cranberry Mall                   1,092         413          17          37                11            -20             25              4         80           22          119      1,800
  2051      William Penn Hwy                   937         407          15          33                20              3             17             19         71           19          188      1,730
  2053      Robinson Town Centre             1,214         371          15          20                 0             -1             11              8         42           15          161      1,857
  2059      Greengate Centre                 1,381         446          15          60                 3              3             26              2         35           13          109      2,096
  2447      Pittsburgh Mills                   645           0          15          12                 1              5              9              3         51           13           29        783
  2286      Former Borders                     941         330          15          44                13              7             13             13         60           16           71      1,522
  507       West Side Mall                     772         217          15          21                11              1             35             18         63           15           86      1,253
  2574      Dickson City Crossing              804         257          15          17                 9              3             30              3         27           17           67      1,248
  236       Suburban Plaza                     516          94          15          11                 0              4             15             20         23            9           55        763
  200       TJ Maxx Plaza                      325         110          15           7                 4              2             31             13         19           10           25        561
  1103      South York Crossing                379          91          15          32                 6              0             23             18         30            9           37        642
  2262      North Point Plaza                  341         101          15           9                 0              2             13             17         16           16           49        580
  235       Hermitage Towne Plaza              459          86          15           9                 1             -3             11              3         27           11           46        666
  2125      Marketplace Center               1,819         283          15          46                93              7             27             28         41           17          214      2,590
  2492      Market Place Shopping Center       212          55          15           7                 6              0             12              2         43           13           40        405
  2328      Ashley Crossing                    514         169          15          13                12              3             34              1         53           16           53        883
  2351      Main St Marketplace                629         219          15          35                18             17              5              1         71           15           81      1,107
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  1126      Fountain S/C                       376       85           15          31                 6              1             10              2          65           11           70        672
  2172      Northpointe Commons                482      299           15          23                12              8              7              3          33           16           83        982
  2201      Florence Mall                      352      191           15           8                10              1             12              8         -12           14           68        667
  2314      Cross Pointe Plaza                 521      243           15          20                15              1             19             -6          69           13           70        981
  2566      Seaboard Commons                   872      480           15          24                33              8             16              2          56            5           98      1,608
  2207      Westgate Crossing                  656        6           15          13                 5             15             10              3          34           19           71        849
  2511      University Mall                    425        0           15           7                 0              1             24              2           8           21           41        544
  2475      Haines Station Plaza               243       84           15          10                 0              2             16              3          24           14           28        439
  516       Plaza 41 (Former Holz Haus)        672      209           15          45                 0              2              7              1          22           16           53      1,042
  2171      Hamilton Village                   346       20           15          20                18              4              5             21          59           15          104        628
  2479      Governors Square Plaza             664      279           15          18                15             16             22              5          62           14           97      1,207
  2194      The Columns                        482      173           15          10                11              4             13             13          31           16           52        820
  2494      Johnson City Plaza                 193       59           15           7                 7              3             12              2          28           14           40        379
  2500      Kingsport Shopping Center          219       57           15           8                 5              2             10             12          40           17           50        435
  2313      Harvest Park Shopping Center       281      132           15          12                13              2              9             13          35           13          108        632
  2563      The Centre at Deane Hill         1,128      313           17          37                63              1             38              2          60           12          213      1,883
  2536      Shops of Forest Hill               913      300           15          51                14              7             48              3          48           16          159      1,575
  1893      Towne Centre                       604      198           15          65                18              6              8             19          40           15           86      1,073
  1905      Cool Springs Market              1,513      479           16          58                28             22             17             22         165           20          183      2,523
  2135      Providence Marketplace           1,316      213           17          21                23             14             14              6          84           22          179      1,910
  2305      Village Of Rivergate             1,073      115           15          22                12              3             10             27          83           23          189      1,573
  2170      Governors Crossing                 310        0           15           7                 8              6              9              2          27           13           41        440
  2402      Northgate Mall                     300        0           15           9                10              3             11              1          95           16           61        520
  2482      Park Central Shopping Center       496      164           15          30                28              3              7              9          98           15           78        942
  1001      Shops At Soncy                     508       85           16          21                31              3              5             12         120           13           78        894
  2140      Shops at Arbor Walk              1,447      891           17          53                31              7             23              7          69           19          212      2,777
  2155      University Oaks                  1,064      560           15          30                18              3             10              2         135           14           77      1,927
  2571      Southpark Meadows                1,016      668           15          25               -33             11             40              2          58           14          234      2,049
  1102      Dowlen Town Center                 453      223           15          17                29              5              8              3          62           21           59        894
  1268      Tejas Center                       257      120           15          11                23              1              6              1         102           10           49        595
  1032      Staples Crossing S/C               801      186           15          25                34             11             19              0          43            9           78      1,222
  1227      East Mockingbird Lane              943      478           15          17                32              4             13             17          67           13           49      1,647
  1291      Village At Collin Creek            611      366           15          55                29             11              0              2          29           17           87      1,221
  2027      South Frisco Village               719      227           15          21                39             25             24             27          67           15          127      1,307
  2035      William D Tate Ave                 648      117           15          36                27             -1             12             15          61           14           93      1,036
  2036      Preston Forest S C               1,682    1,731           18          62                56              4             84              3         298           38          252      4,227
  2083      Market Street Village            1,104      526           15          20                48              6             31              4         161           18          142      2,073
  2106      Ridgemar Town Square               674      323           16          32                49             15             18             35          99           15          128      1,405
  2134      Arlington Highlands S/C          1,467      826           15          52                48             13             40             14          73           13          113      2,673
  2197      The Plaza At Rockwall              582      107           15          30                10              1             17              5          49           15           51        881
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  2212      Rayzor Ranch                           690      456           15          37                11              4             20              1          20           13           81      1,347
  2265      Hulen Fashion Center                   654       10           15          36                39             -3             10             10          64           15           63        913
  2296      Towne Center                           479      440           15          36                22             15             12              5          38           13           75      1,150
  2501      Midlothian Towne Crossing              514      208           15          12                14              3              3              1          25           16           52        863
  2560      Lakepointe Towne Crossing              862      301           15          17               -25              3             43              2          53           11          313      1,596
  2575      Marketplace at Towne Centre            723      249           15          12                63             -1             30              2          28           11           86      1,217
  2446      Yarbrough Plaza                        962      256           15          59                54             26             13              2          54           17          138      1,595
  1402      Copperfield Crossing                   309      154           15           9                15              0             10              3          25           11           27        578
  1433      Willowchase Center                     431      217           15          17                25             23              6              0          42           21           58        854
  2152      Baybrook Village                     1,072      642           16          31                31              3             26            -16         179           16           20      2,020
  2206      Colony Square                          958      209           15          38                32              6             13              3          47           17           71      1,409
  2226      Price Plaza                            918      479           15          34                32             13              0              5          64           13          110      1,682
  2292      Woodlands Home Center                  815      330           15          27                27              8              4              4          87           16           88      1,419
  2415      Witte Plaza                          1,025      436           15          16                24             12             17              0         108           17           91      1,761
  2561      Meyerland Plaza                      2,185    1,004           15          27                37              2             21              2          52           16          161      3,523
  2570      Deerbrook Marketplace                  986      352           15          21                89              5             29              0          24           13          487      2,021
  1488      Rockridge Plaza                        326      181           15          36                14              2             22              0          47           10           72        724
  2464      Pharr Town Center                      576      350           15          13                51              8              0              0         105           15           58      1,192
  2325      Chimney Rock                           473       67           15           9                21             18             53              0         105           24           38        822
  2157      The Pavillions                       1,154      399           15          38                56             17             26             11          90           15          119      1,940
  2251      Bandera Pointe                         638      406           15          23                37              3             19             12          30           16          116      1,314
  2387      Interstate Plaza                       442      339           15          37                17             12              6              1          35           14           71        989
  2485      City Base Landing                      199      289           15          11                31              1              7              1          32           13           61        660
  2308      Sherman Commons                        520      349           15          14                29             10              8              1          53           17           59      1,075
  2572      The Village at Cumberland Park         927      302           15          22               -78              5             19              0          94           11          223      1,541
  2445      Central Texas Marketplace              751      316           17          43                23             15             13              0          24           20           70      1,291
  1752      South Main Street                      524      108           15          23                 3             -7             11              1          57           16           64        816
  2180      Renaissance Square                     451        0           15          56                 4              4              8             15          62           18           88        720
  2365      Gardner Towne Center                   454      180           15          13                 2              3             28              1          16           13           47        772
  2107      Family Center at Riverdale           1,117      370           17          73                 9             11             11              6          89           14          115      1,833
  2295      Centerville Marketplace                793      223           15          19                 3              7              0             20          63           13           71      1,228
  2334      Clinton Towne Center                   718      261           15          16                 5             10             11             20          30           16           91      1,193
  1756      The Family Center At Orem            1,002      238           15          29                 7              2             21             24          22           11           80      1,449
  2331      American Fork Shopping Center          895      155           15          42                 3             19              8             21          40           16           70      1,283
  2379      Northgate Shopping Center              718      192           15          39                 3             10             13              1          49           18           53      1,112
  2074      The Crossroads of Taylorsville       1,417        0           17          33                10             12             13             12          55           29          133      1,730
  2121      Draper Retail Center                 1,376      253           15          30                 6             17             10             26          25           16          117      1,891
  2213      Freestanding (Former Albertsons)       450        0           15          12                 3              7             11             14          25           13           40        592
  2528      Former Dan's Market                    773      467           15          19                18              5             19              1         133            6          113      1,570
  2329      Cotton Mill Shopping Center            773      231           17          28                 3              2              9             18          69           15          148      1,313
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                                                                                     Jo-Ann Stores
                                                                                       Exhibit 4.1(c)
                                                                                    Occupancy Analysis


                                                                                                                Per Diem Occupancy
Store No.                 Location           Rent      CAM         Tech        Insurance   Tax + Licenses Facilities Service  Waste        Housekeeping   R+M         Phone        Utilities    Total

  2505      New River Valley Center              656         217          15          10               10               7             17              1          58           15           80      1,085
  2255      Rio Hill SC                          943         309          15          14               16               4             14              5          48           17           78      1,464
  2309      River Ridge Mall                     284           0          15          10               15               3             22              4          21           15           66        454
  2454      Village of Martinsville              514           3          15           9               11              24             19             -1          47           17           40        698
  2506      Dominion Square                      300          74          15           6                7               2             13              3         140           15           62        636
  2141      Westchester Commons                1,348           0          17          45               32               7             20             13          68           15           95      1,659
  2222      Merchant's Walk                      535         153          15          39               20               2             32              6          39           12           55        909
  2185      Tower Shopping Center                747         288          15          24               27               4              0              6          25           13           83      1,232
  1094      DW Center                            296          35          15          25               20              13              7              4          26           10           28        479
  1270      Riverdale Plaza                      291         124          15          10               15               1              7              4          18           10           49        543
  2209      Newtown Shops on Main                543          31          15          43               20               4              0              3          46           13           44        761
  2507      Crossways Shopping Center            709         128          15          40               26              -5             15              3          30           14           64      1,040
  2520      Hilltop Plaza                      1,037         240          15          19               35               8             15             12          55           21           74      1,530
  102       Seven Corners Center               1,249         198          15          17               19               2              0              2          38           13           49      1,600
  820       Warrenton Center                     440         143          15           8                5               3             13              3          13            9           27        680
  1875      Fairfax Towne Center                 977         328          19          34               23               8             45              4         187           15           48      1,689
  2158      Prince William Square                970         319          16          25               17              13             21              3          71           15           98      1,566
  2159      Cosner's Corner                    1,056         227          17          77               25               4             24              5          55           13          113      1,616
  2550      Sugarland Crossing                 1,250         310          15          23               51               2             31              2          72           20          105      1,880
  511       Millwood Pike                        360          66          15          11               19               1             14              4          25           11           39        564
  526       Commerce Square                    1,301         250          15          22                0               1             47              2          19            8          151      1,815
  289       Green Mountain S/C                   368         156          15          26                2               2             22              2          15            9           82        700
  2340      Central Vermont Shopping Cente       283         113          15           9               11               2             26             17          51           16          100        643
  1725      Sunset Square                      1,049         358          15          42               19               4             -7              5          44           14           39      1,583
  794       High Point S/C                       253          59          15          19                0               1             32             11         101           11           34        536
  2007      Silverdale Plaza                   1,055         293          17          37                4               8             18             18          18           15           75      1,558
  2577      Columbia Center                    1,045         194          15          52               11              10              0              2          20           11           63      1,424
  810       Gateway Square                       532          67          15          25                2              12             25              0         129           10           80        900
  1867      Twin City S/C                        650         147          15          22                7               8             32              5          25           14           33        956
  2199      Mount Vernon Plaza                   673         168          15          22                2              17             29              4          27           13           54      1,024
  802       Port Angeles Plaza                   389          56          15          16                1               3              6              3          10           12           31        542
  1687      North Wilber Avenue                  270         -18          15          14                1              46             24              4          21            9           50        436
  2443      Town Center                          513          13          15          18                3               3             19              1          34           19           30        668
  2038      Target Place Plaza                 1,448         600          17          66               20              32             58             30         158           21          170      2,620
  2102      Orchards Market Center             1,394         239          17          59               18               9             16              8          51           13           93      1,919
  2394      Totem Pole                           484          53          15          22                2               4             38              2          61           13           49        743
  354       Kent Hill Plaza                      620         180          15          34                5               6             69             20         104           13           77      1,143
  789       Cascade Plaza                        629         179          15          22                6               4             24             17          42           10           33        981
  793       Northeast Sunset Blvd.               389         113          15          15                5               4             24             14          15           13           69        674
  805       Aurora Ave North                   1,114         241          15          35                7               3             32              2          50           17           82      1,598
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                                                                                 Jo-Ann Stores
                                                                                   Exhibit 4.1(c)
                                                                                Occupancy Analysis


                                                                                                            Per Diem Occupancy
Store No.                 Location       Rent      CAM         Tech        Insurance   Tax + Licenses Facilities Service  Waste       Housekeeping   R+M         Phone     Utilities    Total

  1711      Nw 57Th Street                   674         277          15          19               34              13            29             -3         106        10           47      1,222
  1944      Pavilions Centre                 601         358          17          28                5              16            30             10          22        13           88      1,188
  1950      Southcenter Parkway            2,668         487          17          43               13              12           269             10          48        13          105      3,684
  2044      Meridian Town Center           1,510         340          15          34               14              17            44             20          50        11           93      2,149
  2067      Cross Roads S/C                  278          59          15          37               16               7            16             21          69        12          226        756
  2081      Lynnwood Center                1,859         632          18          54                3              10            21             25          56        25          108      2,811
  2093      Boulevard Centre               1,952         509          16          38               24              17            76              7          66        20           53      2,777
  2173      Gateway Shopping Center          690         263          15          21                1               4            34              4          43        15           49      1,138
  784       Five Mile S/C                    803         215          15          39                2               9            95             12         114        15          108      1,427
  1701      East 29Th Avenue                 755         129          15          25                1               4            82             13          30        13           49      1,114
  1872      Market Pointe I                  842         163          15          31                1               8            31             -1          75        16           71      1,251
  1700      Valley Mall Parkway              374          41          15          14                1              44            26              6          53        14           22        610
  783       Tieton Village S/C               575         127          15          28                3              10            17              4          31         8           81        897
  2149      Fox River Valley SC              877         168          15          25                0               3            12              1          31        15           63      1,211
  1866      Oak Pointe Plaza                 735         104          15          21                0               2            24              4          36        11           77      1,029
  2187      Forest Plaza                     497         182          15          10                2               4             8              1          43        18           52        832
  2099      Bayside Market Place             979         278          15          48                3               2            11              0          50        14          104      1,502
  2510      Marketplace at Janesville        440         235          15          14                0              10             8              1          21        16           75        833
  2478      Crossing Meadows Plaza           557         190          15          14                0               1            25              1          26        19           67        915
  319       East Town Plaza                  733         197          15          16               -1               3            32             -1         106        17          106      1,222
  2086      Westland Plaza                 1,154         338          16           7                0              10            24              2          98        13          170      1,832
  2236      Market Place SC                  534           0          15          12                0               2            12              1          21        14           50        662
  324       Silver Nail S/C                  302          72          15          26                0               1             0              7          36        10           37        507
  862       Packard Plaza                    248           0          15           8                0               1             9             11          55         9           49        405
  2046      Greenfield Fashion Center      1,269         330          17          38                1               2            18              4          39        18          113      1,849
  2079      Brookfield Fashion Center      1,384         485          17          43                0               2            18             23          79        14          132      2,196
  2347      North Pointe Centre              568         144          15          12               -1               1            11              1          30        13           49        844
  728       Rivers Edge Mall                 252           0          15           6                0               1             8              2         115         8           50        456
  2215      Crossroads Commons               179           0          15           9               -1               2            13              0          39        13           35        303
  2322      Geneva Commons                   459         163          15          11                0               2            14              0          23       133           45        866
  2327      Heritage Village                 326          58          15           8                0               4             5              1          55        13           42        527
  2487      Marshfield Center                279          91          15           6               -1               1             8              1          30        14           45        490
  2517      Pine Tree Mall                   372         134          15           8                1               6             8              0          25        22           42        634
  2348      Koeller Plaza                    574         224          15          12                0               6            17             -1          40        13           62        962
  2468      Regency Mall                     740         276          15          16                0               1            16              0          40        16           64      1,184
  2280      Deer Trace Shopping Center       638         184          15          13                0              18            17              1          54        13           68      1,021
  1585      Rib Mountain Drive               735         202          15          17                1              14            24             15          36        20           79      1,158
  569       Fletcher Square                  471          21          15          15               57               3            14              5          27        13           58        700
  2450      Raleigh Mall                     384         141          15          14               73              11            21              6          60        16           77        818
  363       Memorial Bridge Plaza            317          45          15           9               33               1            18              4          24         8           45        519
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                                                                                             Jo-Ann Stores
                                                                                               Exhibit 4.1(c)
                                                                                            Occupancy Analysis


                                                                                                                        Per Diem Occupancy
Store No.                 Location                 Rent         CAM        Tech        Insurance   Tax + Licenses Facilities Service  Waste        Housekeeping   R+M         Phone        Utilities    Total

  2223      Frontier Mall                                 320          5          15           8                 3              1             20              1          13           22           61           469
  2366      White Mountain Mall                           301         12          15           7                 3              4             15              8          35           20           38           458

  802                                      Total   596,169      187,005     12,114        20,983          11,572            5,663      16,227             5,564   47,589       11,704         76,218    990,809

                                  Per Store Week     5,203        1,632       106            183               101             49           142              49         415       102             665      8,648




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                               Exhibit 8.1
                             Sale Guidelines
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                                           Exhibit 8.1

                                         Sale Guidelines

       1.     The GOB Sales will be conducted during normal business hours or such hours as
otherwise permitted by the applicable Lease for each Store.

      2.      The GOB Sales will be conducted in accordance with applicable state and local
“Blue Laws,” and thus, where such a law is applicable, no GOB Sale will be conducted on
Sunday unless Merchant was operating such stores on Sundays before the Sale Commencement
Date.

        3.      On “shopping center” property, neither Merchant nor Agent shall distribute
handbills, leaflets, or other written materials to customers outside of any Stores’ premises, unless
permitted by the applicable lease or if distribution is customary in the “shopping center” in
which such Store is located; provided that Merchant and Agent may solicit customers in the
Stores themselves. On “shopping center” property, neither Merchant nor Agent shall use any
flashing lights or amplified sound to advertise the GOB Sale or solicit customers, except as
permitted under the applicable Lease or agreed in writing by the landlord.

         4.    At the conclusion of the GOB Sale, Agent shall vacate the Stores in broom clean
condition; provided that the Agent may leave in place and without further responsibility or
liability of any kind any furniture, fixtures, and equipment (including, but not limited to,
machinery, rolling stock, office equipment and personal property, and conveyor systems and
racking) (collectively, “FF&E”) not sold in the GOB Sale at the conclusion of the GOB Sale,
without cost or liability of any kind to Agent. For the avoidance of doubt, as of the conclusion of
the GOB Sale or the Vacate Date, as applicable, the Agent may leave in place and without
further responsibility or liability of any kind, any FF&E.

        5.     Merchant and Agent shall have the right to use and sell the FF&E. Merchant and
Agent may advertise the sale of the FF&E in a manner consistent with these Sale Guidelines.
The purchasers of any FF&E sold during the GOB Sale shall be permitted to remove the FF&E
either through the back or alternative shipping areas at any time, or through other areas after
Store business hours; provided, however, that the foregoing shall not apply to de minimis FF&E
sales made whereby the item can be carried out of the Store in a shopping bag.

        6.    Merchant and Agent may, but are not required to, advertise all of the GOB Sales
as “going out of business,” “store closing,” “sale on everything,” “everything must go,” or
similarly themed sales. Merchant and Agent may also have a “countdown to closing” sign
prominently displayed in a manner consistent with these Sale Guidelines.

      7.    Agent shall be entitled to include Additional Agent Merchandise (as defined in
the Agency Agreement) in the GOB Sale in accordance with the terms of the Agency
Agreement.
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        8.      Merchant and Agent shall be permitted to utilize sign walkers, display, hanging
signs, and interior banners in connection with the GOB Sale; provided that such sign walkers,
display, hanging signs, and interior banners shall be professionally produced and hung in a
professional manner. Neither Merchant nor Agent shall use neon or “day-glo” on its sign
walkers, display, hanging signs, or interior banners if prohibited by the applicable lease or
applicable law. Furthermore, with respect to enclosed mall locations, no exterior signs or signs
in common areas of a mall shall be used unless otherwise expressly permitted in these Sale
Guidelines. In addition, Merchant and Agent shall be permitted to utilize exterior banners at (a)
non-enclosed mall Stores and (b) enclosed mall Stores to the extent the entrance to the applicable
Store does not require entry into the enclosed mall common area; provided, however, that such
banners shall be located or hung so as to make clear that the GOB Sale is being conducted only
at the affected Store, and shall not be wider than the storefront of the Store. In addition,
Merchant and Agent shall be permitted to utilize sign walkers in a safe and professional manner.
Merchant and Agent shall also be permitted to use 4’x40’ exterior banners, A-frames, feather
flags, and banners listing “building for sale” with contact information. Nothing contained in
these Sale Guidelines shall be construed to create or impose upon Merchant or Agent any
additional restrictions not contained in the applicable lease agreement.

        9.     Neither Merchant nor Agent shall make any alterations to the storefront, roof, or
exterior walls of any Stores or shopping centers, or to interior or exterior store lighting, except
with respect to the hanging of exterior banners or as authorized by the applicable Lease. The
hanging of exterior banners or in-store signage shall not constitute an alteration to a Store.

        10.    Affected landlords will have the ability to negotiate with Agent, any particular
modifications to the Sale Guidelines pursuant to side letter agreements. Agent and the landlord
of any Store are authorized to enter into side letters without further order of the Court; provided
that such agreements do not have a material adverse effect on Merchant or its estate.

         11.     Conspicuous signs will be posted in each of the affected stores to the effect that
all sales are “final.”

       12.     Merchant will keep store premises and surrounding areas clear and orderly,
consistent with past practices.

       13.    An unexpired non-residential real property lease will not be deemed rejected by
reason of a GOB Sale or the adoption of these Sale Guidelines.

        14.     The rights of landlords against Merchant for any damages to a Store shall be
reserved in accordance with the provisions of the applicable Lease; provided that (a) closed
Stores shall be surrendered in as-is condition and (b) to the extent certain Leases of closed Stores
require written confirmation of receipt of a key to effectuate surrender, this requirement is
waived.
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        15.    If and to the extent that the landlord of any Store contends that Merchant or Agent
is in breach of or default under these Sale Guidelines, such landlord shall provide at least five
days’ written notice, served by email or overnight delivery, on:


                     If to Merchant:

                     JOANN Inc.
                     5555 Darrow Rd.
                     Hudson, Ohio 44236
                     Attn: Ann Aber
                     Email: ann.aber@joann.com

                     With copies (which shall not constitute notice) to:

                     Kirkland & Ellis LLP
                     601 Lexington Avenue
                     New York, New York 10022
                     Attn: Joshua A. Sussberg, P.C. and Aparna Yenamandra, P.C.
                     Email: joshua.sussberg@kirkland.com;
                     aparna.yenamandra@kirkland.com

                     -and-

                     Kirkland & Ellis LLP
                     333 West Wolf Point Plaza
                     Chicago, Illinois 60654
                     Attn: Anup Sathy, P.C; Jeffrey Michalik; and Lindsey Blumenthal
                     Email: anup.sathy@kirkland.com; jeff.michalik@kirkland.com; and
                     lindsey.blumenthal@kirkland.com

                     If to Agent:

                     GORDON BROTHERS RETAIL PARTNERS, LLC
                     101 Huntington Street, 11th Floor
                     Boston, Massachusetts 02199
                     Attn: Rick Edwards; Joseph Malfitano; and David Braun
                     Email: redwards@gordonbrothers.com;
                     jmalfitano@gordonbrothers.com; and dbraun@gordonbrothers.com

                     With copies (which shall not constitute notice) to:

                     Katten Muchin Rosenman LLP
                     50 Rockefeller Plaza
                     New York, New York 10020
                     Attn: Steven J. Reisman and Cindi M. Giglio
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                      Email: sreisman@katten.com; cgiglio@katten.com



        16.    If the parties are unable to resolve the dispute, either the landlord or Merchant
shall have the right to schedule an emergency hearing before the Bankruptcy Court on no less
than three business days’ notice, unless the parties agree to a hearing on shorter notice, subject to
the Bankruptcy Court’s availability.
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                       Exhibit 11.2(m)
                    Promotional Calendar


                         TO COME
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                        Exhibit 3

                       Sale Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (___)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )

                NOTICE OF AUCTION FOR THE SALE OF THE DEBTORS’ ASSETS

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        On [●], 2025, the United States Bankruptcy Court for the District of Delaware (the “Court”) entered
the Order (I) Approving Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with Respect
Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Approving the Stalking Horse
Agreement, (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and
Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts and Leases,
(VII) Approving the Sale of Assets, and (VIII) Granting Related Relief [Docket No. [●]] (the “Order”),2
authorizing the above-captioned debtors and debtors in possession (collectively, the “Debtors”) to market
and conduct an auction (the “Auction”) to sell the Assets free and clear of liens, claims, encumbrances, and
other interests (except as may be set forth in the Definitive Sale Documents), with all such liens, claims,
encumbrances, and other interests attaching with the same validity and priority to the applicable sale
proceeds. The Auction (if any) will be governed by the bidding procedures approved pursuant to the Order
and attached to the Order as Exhibit 1 thereto (the “Bidding Procedures”).

Copies of the Order, the Bidding Procedures, the Stalking Horse Agreement, and other documents related
thereto,     are     available   upon    visiting     the   Debtors’   restructuring     website     at
https://cases.ra.kroll.com/Joann2025.

        Any person or entity who wishes to participate in the Auction must comply with the
participation requirements, bid requirements, and other requirements set forth in the Bidding
Procedures. The Bid Deadline is February 12, 2025, at 5:00 p.m. (prevailing Eastern Time).

         The Debtors intend to conduct the Auction (if required) at which they will consider Qualified Bids
(as defined in the Bidding Procedures) submitted to the Debtors and their advisors, by and pursuant to the
Bidding Procedures and as set forth in the Order. The Debtors intend to commence the Auction
(if applicable) on February 14, 2025, at 10:00 a.m. (prevailing Eastern Time), either in-person or by


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.

2     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Order or the Bidding
      Procedures, as applicable.
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videoconference or such other form of remote communication established by the Debtors (to be
communicated to Qualified Bidders in advance).

       The Debtors reserve the right to modify the Bidding Procedures in accordance with the Bidding
Procedures and the Order.

        All requests directed to the Debtors in connection with the foregoing, or for further information
regarding the Bidding Procedures and participation therein, or for further information regarding the Assets,
must be directed to: Centerview Partners, LLC, the Debtors’ proposed investment banker, at Ryan Kielty
(rkielty@centerview.com),      Karn     Chopra      (kchopra@centerview.com),         Daniel     Bendetson
(dbendetson@centerview.com). All Potential Bidders are instructed to review the Bidding Procedures in
consultation with counsel.
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                        Exhibit 4(A)

          Notice of Winning Bidder (if no Auction)
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (___)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )

             NOTICE OF WINNING BIDDER FOR CERTAIN OF THE DEBTORS’ ASSETS

PLEASE TAKE NOTICE OF THE FOLLOWING:

         On [●], 2025, the United States Bankruptcy Court for the District of Delaware (the “Court”) entered
the Order (I) Approving Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with Respect
Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Approving the Stalking Horse
Agreement, (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and
Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts and Leases,
(VII) Approving the Sale of Assets, and (VIII) Granting Related Relief] [Docket No. [●]] (the “Order”),2 by
which the Court approved procedures setting forth the process by which the Debtors are authorized to
conduct a marketing and auction process for the sale or sales (the “Sale Transactions”) of the Debtors’
assets (the “Assets”).

             The Debtors select the following Winning Bidder:

                                                                                                Key Terms of
              Assets                Winning Bidder               Back-Up Bidder
                                                                                                Proposed Sale
    [●]

        The Sale Hearing to consider approval of the sale of the Assets to the Winning Bidder(s) will be
held before the Honorable [●], at the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Courtroom #[●], Wilmington, Delaware 19801, on February 14, 2025, at 10:00
a.m. (prevailing Eastern Time).

        At the Sale Hearing, the Debtors will seek the Court’s approval of the Winning Bid(s) for the
applicable Assets. Unless the Court orders otherwise, the Sale Hearing shall be an evidentiary hearing on
matters relating to the sale(s) for the applicable Assets, and there will be no further bidding at the

1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Order, the Motion,
      or the Bidding Procedures, as applicable.
             Case 25-10068-CTG            Doc 17      Filed 01/15/25       Page 202 of 209



Sale Hearing.

         This notice is subject to the terms and conditions of the Motion and the Order, with such Order
controlling in the event of any conflict, and the Debtors encourage parties in interest to review such
documents, including the Bidding Procedures, in their entirety. Parties interested in receiving additional or
other information regarding the proposed Sale Transaction or other disposition of the applicable Assets may
make a written request to Kroll Restructuring Administration LLC (“Kroll”) (the notice and claims agent
retained in these chapter 11 cases) or by calling (844) 712-2239 (US/Canada Toll Free) or
+1 (646) 863-7121 (International) for calls originating outside of the U.S.

         Copies of the Motion, the Order, the Bidding Procedures, this notice, and any other related
documents are available: (a) upon request to Kroll by calling (844) 712-2239 (US/Canada Toll Free) or
+1 (646) 863-7121 (International) for calls originating outside of the U.S.; (b) by visiting the Debtors’
restructuring website at https://cases.ra.kroll.com/Joann2025; or (c) for a fee via PACER by visiting
https://pacer.uscourts.gov.
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                         Exhibit 4(B)

       Notice of Winning Bidder (if there is an Auction)
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (___)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )

                               NOTICE OF WINNING BIDDER AND
                     BACK-UP BIDDER FOR CERTAIN OF THE DEBTORS’ ASSETS

PLEASE TAKE NOTICE OF THE FOLLOWING:

         On [●], 2025, the United States Bankruptcy Court for the District of Delaware (the “Court”) entered
the Order (I) Approving Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with Respect
Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Approving the Stalking Horse
Agreement, (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and
Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts and Leases,
(VII) Approving the Sale of Assets, and (VIII) Granting Related Relief [Docket No. [●]] (the “Order”),2 by
which the Court approved procedures setting forth the process by which the Debtors are authorized to
conduct a marketing and auction process for the sale or sales (the “Sale Transactions”) of the Debtors’
assets (the “Assets”).

       On February 14, 2025, at 10:00 a.m. (prevailing Eastern Time), pursuant to the Order, the
Debtors commenced the Auction either in-person or by videoconference or such other form of remote
communication established by the Debtors.

             At the conclusion of the Auction, the Debtors selected the following Winning Bidder and Back-Up
Bidder:

                                                                                                Key Terms of
              Assets                Winning Bidder               Back-Up Bidder
                                                                                                Proposed Sale
    [●]

       The Sale Hearing to consider approval of the sale of the Assets to the Winning Bidder(s) at the
Auction will be held before the Honorable [●], at the United States Bankruptcy Court for the District of

1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Order, the Motion,
      or the Bidding Procedures, as applicable.
             Case 25-10068-CTG            Doc 17      Filed 01/15/25       Page 205 of 209



Delaware, 824 Market Street, 3rd Floor, Courtroom #[●], Wilmington, Delaware 19801, on February 22,
2025, at 10:00 a.m. (prevailing Eastern Time).

        At the Sale Hearing, the Debtors will seek the Court’s approval of the Winning Bid(s) and the
designation of the Back-Up Bid(s) (if any) for the applicable Assets. Unless the Court orders otherwise,
the Sale Hearing shall be an evidentiary hearing on matters relating to the sale(s) for the applicable Assets,
and there will be no further bidding at the Sale Hearing.

         If a Winning Bidder cannot or refuses to consummate the Sale Transaction following entry of the
Sale Order because of the breach or failure on the part of the Winning Bidder, the Back-Up Bidder (if any)
shall be deemed the new Winning Bidder and the Debtors shall be authorized, but not required, to close the
applicable Sale Transaction with such Back-Up Bidder(s) on the terms and provisions of such applicable
Back-Up Bid(s) without further order of the Court upon filing a notice with the Court providing for a three
(3) business days period to object to such sale.

         This notice is subject to the terms and conditions of the Motion and the Order, with such Order
controlling in the event of any conflict, and the Debtors encourage parties in interest to review such
documents, including the Bidding Procedures, in their entirety. Parties interested in receiving additional or
other information regarding the proposed Sale Transaction or other disposition of the applicable Assets may
make a written request to Kroll Restructuring Administration LLC (“Kroll”) (the notice and claims agent
retained in these chapter 11 cases) or by calling (844) 712-2239 (US/Canada Toll Free) or
+1 (646) 863-7121 (International) for calls originating outside of the U.S.

         Copies of the Motion, the Order, the Bidding Procedures, this notice, and any other related
documents are available: (a) upon request to Kroll by calling (844) 712-2239 (US/Canada Toll Free) or
+1 (646) 863-7121 (International) for calls originating outside of the U.S.; (b) by visiting the Debtors’
restructuring website at https://cases.ra.kroll.com/Joann2025; or (c) for a fee via PACER by visiting
https://pacer.uscourts.gov.
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                        Exhibit 5

                       Cure Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (___)
                                                                )
                              Debtors.                          )        (Joint Administration Requested)
                                                                )

                        NOTICE OF POTENTIAL ASSUMPTION OR
             ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS OR LEASES

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        On [●], 2025, the United States Bankruptcy Court for the District of Delaware (the “Court”) entered
the Order (I) Approving Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with Respect
Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Approving the Stalking Horse
Agreement, (V) Establishing Notice and Procedures for the Assumption and Assignment of Contracts and
Leases, (VI) Authorizing the Assumption and Assignment of Assumed Contracts and Leases,
(VII) Approving the Sale of Assets, and (VIII) Granting Related Relief [Docket No. [●]] (the “Order”),2 by
which the Court approved procedures for the assumption or assumption and assignment of executory
contracts and unexpired leases and granted related relief, as set forth in the Order.

        Pursuant to the Order and by this notice (this “Cure Notice”), the Debtors hereby notify you that
they have determined, in the exercise of their reasonable business judgment, that each executory contract
or unexpired lease set forth on Schedule 1 attached hereto (the “Potential Assumption List”) may be
assumed (and, if applicable, assigned) effective as of the date (the “Assumption Date”) set forth in
Schedule 1 or such other date as the Debtors and the counterparty or counterparties to such executory
contracts or unexpired leases may agree.

        The Debtors believe that the party to which each applicable executory contract or unexpired lease
may be assigned has the financial wherewithal to meet all future obligations under such contract or lease
and the Debtors will, at the request of the applicable counterparty, use commercially reasonable efforts to
provide evidence thereof to such applicable counterparty (and their counsel, if known) thereby
demonstrating that the assignee of the contract or lease has the ability to comply with the requirements of
adequate assurance of future performance.



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Order, the Motion,
      or the Bidding Procedures, as applicable.
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         Parties objecting to the proposed assumption and assignment (including a Winning Bidder’s
proposed form of adequate assurance of future performance) must file and serve a written objection (each,
a “Cure Objection”) so that such objection is filed with the Court and actually received by the following
parties no later than [●], 2025, at 5:00 p.m. (prevailing Eastern Time) (the “Cure Objection Deadline”):
(a) the Debtors, JOANN Inc., 5555 Darrow Road, Hudson, Ohio 44236, Attn.: Ann Aber, EVP, Chief
Legal and Human Resources Officer; (b) proposed co-counsel to the Debtors, (i) Kirkland & Ellis LLP, 601
Lexington Avenue, New York, New York 10022, Attn.: Aparna Yenamandra, P.C.
(aparna.yenamandra@kirkland.com) and 333 West Wolf Point Plaza, Chicago Illinois 60654,
Attn.:      Jeffrey     Michalik      (jeff.michalik@kirkland.com),      and      Lindsey     Blumenthal
(lindsey.blumenthal@kirkland.com) and (ii) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410,
Wilmington, Delaware 19801, Attn.: Patrick J. Reilley (preilley@coleschotz.com), Stacy L. Newman
(snewman@coleschotz.com), Michael E. Fitzpatrick (mfitzpatrick@coleschotz.com), and Jack M.
Dougherty (jdougherty@coleschotz.com); (c) the United States Trustee, 844 King Street, Suite 2207,
Lockbox 35, Wilmington, Delaware 19801, Attn.: Malcolm M. Bates (malcolm.m.bates@usdoj.gov);
(d) counsel to the Prepetition ABL Agent, Morgan, Lewis & Bockius LLP, One Federal Street, Boston,
Massachusetts 02110, Attn.: Christopher L. Carter (christopher.carter@morganlewis.com) and Marjorie
Crider (marjorie.crider@morganlewis.com); (e) counsel to the Prepetition FILO Agent,
Choate Hall & Stewart LLP, 2 International Place, Boston, Massachusetts 02110, Attn.: John Ventola
(jventola@choate.com) and Jonathan Marshall (jmarshall@choate.com); (f) counsel to the Prepetition
Term Loan Agent, ArentFox Schiff LLP, 1301 Avenue of the Americas, 42nd Floor, New York, New York
10019, Attn.: Jeffrey Gleit (jeffrey.gleit@afslaw.com) and 1717 K Street NW, Washington, D.C. 20006,
Attn.: Jonathan Bagg (jonathan.bagg@afslaw.com), and 233 South Wacker Drive, Suite 7100, Chicago,
Illinois 60606, Attn.: Matthew Bentley (matthew.bentley@afslaw.com); (g) counsel to Gordon Brothers
Retail Partners, LLC, Katten Muchin Rosenman LLP, 50 Rockefeller Plaza, New York, New York 10020,
Attn.: Steven Reisman (sreisman@katten.com) and Cindi Giglio (cgiglio@katten.com); and (h) any
statutory committee appointed in these chapter 11 cases.

         Absent a Cure Objection being timely filed, the assumption of each executory contract or unexpired
lease may become effective on the Assumption Date set forth in Schedule 1, or such other date as the Debtors
and the counterparty or counterparties to such executory contract or unexpired lease may agree.

        If an objection is timely filed and not withdrawn or resolved, such objection will be heard at the
Sale Hearing or on such other date and time as agreed to by the Debtors and the objecting party or ordered
by the Court. If such objection is overruled or withdrawn, the applicable executory contract or unexpired
lease shall be assumed as of the Assumption Date set forth in Schedule 1 or such other date as the Debtors
and the counterparty or counterparties to such executory contract unexpired lease may agree.
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                       Schedule 1

                Potential Assumption List
